   Case 20-4238, Document 38, 02/11/2021, 3035076, Page1 of 298




  20-4238-cv
      United States Court of Appeals
                                     for the

                       Second Circuit

  MARCIA MELENDEZ, JARICAN REALTY INC., 1025 PACIFIC LLC,
   LING YANG, TOP EAST REALTY LLC, HAIGHT TRADE LLC,
       ELIAS BOCHNER, 287 7TH AVENUE REALTY LLC,

                                                             Plaintiffs-Appellants,

                                     – v. –

 CITY OF NEW YORK, a municipal entity, MAYOR BILL DE BLASIO, as
  Mayor of the City of New York, COMMISSIONER LOUISE CARROLL,
  Commissioner of New York City Department of Housing Preservation &
   Development, COMMISSIONER JONNEL DORIS, Commissioner of
          New York City Department of Small Business Services,

                                                            Defendants-Appellees.
                    ––––––––––––––––––––––––––––––
        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK


                      JOINT APPENDIX
             Volume 5 of 16 (Pages A-1116 to A-1392)


JAMISON DAVIES                                 CLAUDE G. SZYFER
NEW YORK CITY LAW DEPARTMENT                   STROOCK & STROOCK & LAVAN LLP
Attorneys for Defendants-Appellees             Attorneys for Plaintiffs-Appellants
100 Church Street                              180 Maiden Lane
New York, New York 10007                       New York, New York 10038
(212) 356-2490                                 (212) 806-5400
Case 20-4238, Document 38, 02/11/2021, 3035076, Page2 of 298




                                              i


                            TABLE OF CONTENTS
                                                                                Page
    District Court Docket Entries ....................................           A-1
    Complaint, dated July 10, 2020 .................................            A-14
    Notice of Motion for Preliminary Injunctive and
      Declaratory Relief, dated July 22, 2020 ................                  A-78
    Declaration of Stephen P. Younger in Support of
      Plaintiffs’ Motion for Preliminary Injunctive and
      Declaratory Relief, dated July 22, 2020 ................                  A-80
       Exhibit 1 to Younger Declaration -
       July Reopening Survey Summary .........................                  A-107
       Exhibit 2 to Younger Declaration -
       Partnership for New York City – A Call for
       Action and Collaboration .......................................         A-109
       Exhibit 3 to Younger Declaration -
       The New York Times Article: New Threat to New
       York City: Commercial Rent Payments Plummet,
       dated May 21, 2020 ...............................................       A-177
       Exhibit 4 to Younger Declaration -
       The Real Deal Article: About 25% of NYC
       renters didn’t pay in May: survey, dated
       May 19, 2020 .........................................................   A-183
       Exhibit 5 to Younger Declaration -
       Complaint in The Gap, Inc. v. 44-45 Broadway
       Leasing Co., LLC, dated June 23, 2020 .................                  A-187
       Exhibit 6 to Younger Declaration -
       Complaint in The Gap, Inc. v. 170 Broadway
       Retail Owner, LLC, dated July 2, 2020 ..................                 A-213
Case 20-4238, Document 38, 02/11/2021, 3035076, Page3 of 298




                                              ii
                                                                                  Page
      Exhibit 7 to Younger Declaration -
      Complaint in Bath & Body Works, LLC v. 304
      PAS Owner LLC, dated June 8, 2020 .....................                     A-237
      Exhibit 8 to Younger Declaration -
      Complaint in Victoria’s Secret Stores, LLC v.
      Herald Square Owner LLC, dated June 8, 2020 ....                            A-258
      Exhibit 9 to Younger Declaration -
      The New York Times Article: Tenants’ Troubles
      Put Stress on Commercial Real Estate, dated
      June 5, 2020 ...........................................................    A-282
      Exhibit 10 to Younger Declaration -
      The New York Times Article: 5 Ways the
      Coronavirus Has Changed Suburban Real Estate,
      dated July 17, 2020 ................................................        A-289
      Exhibit 11 to Younger Declaration -
      The New York Times Article: Coronavirus
      Escape: To the Suburbs, dated May 8, 2020 ..........                        A-299
      Exhibit 12 to Younger Declaration -
      Snapshot: IBO’s Updated Economic and Revenue
      Forecast and Review of the Adopted Budget for
      2021, dated July 21, 2020 ......................................            A-310
      Exhibit 13 to Younger Declaration -
      New York City Independent Budget Office –
      Focus on: The Executive Budget, dated
      May 2020 ...............................................................    A-351
      Exhibit 14 to Younger Declaration -
      The New York Times Article: N.Y.C. Budget and
      a Cut to N.Y.P.D. Funding, Explained, dated
      July 1, 2020 ............................................................   A-377
Case 20-4238, Document 38, 02/11/2021, 3035076, Page4 of 298




                                       iii
                                                                     Page
      Exhibit 15 to Younger Declaration -
      Chapter 23 of the New York State Session Laws
      of 2020, effective March 3, 2020 ...........................   A-385
      Exhibit 16 to Younger Declaration -
      New York State Assembly Memorandum in
      Support of Legislation submitted in Accordance
      with Assembly Rule III, Sec 1(f) ...........................   A-388
      Exhibit 17 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202, dated March 7, 2020 .....................       A-390
      Exhibit 18 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.3, dated March 16, 2020 ................         A-394
      Exhibit 19 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.6, dated March 18, 2020 ................         A-397
      Exhibit 20 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.7, dated March 19, 2020 ................         A-400
      Exhibit 21 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.8, dated March 20, 2020 ................         A-403
      Exhibit 22 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.16, dated April 12, 2020 ................        A-406
      Exhibit 23 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.28, dated May 7, 2020 ...................        A-409
      Exhibit 24 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.38, dated June 6, 2020 ...................       A-413
Case 20-4238, Document 38, 02/11/2021, 3035076, Page5 of 298




                                             iv
                                                                                Page
      Exhibit 25 to Younger Declaration -
      State of New York Executive Chamber Executive
      Order No. 202.48, dated July 6, 2020 ....................                 A-416
      Exhibit 26 to Younger Declaration -
      Chapter 125 of the New York State Session Laws
      of 2020, effective June 17, 2020 ............................             A-420
      Exhibit 27 to Younger Declaration -
      Chapter 127 of the New York State Session Laws
      of 2020, effective June 30, 2020 ............................             A-423
      Exhibit 28 to Younger Declaration -
      Proposed Int. No. 1914-A ......................................           A-426
      Exhibit 29 to Younger Declaration -
      Proposed Int. No. 1932-A ......................................           A-430
      Exhibit 30 to Younger Declaration -
      Proposed Int. No. 1936-A ......................................           A-434
      Exhibit 31 to Younger Declaration -
      Transcript of Remote Hearing, dated
      May 13, 2020 .........................................................    A-438
      Exhibit 32 to Younger Declaration -
      New York City Council Article: New York City
      Council Announces COVID-19 Legislative
      Relief Package To Be Introduced on Wednesday,
      dated April 21, 2020 ..............................................       A-516
      Exhibit 33 to Younger Declaration -
      Transcript of Remote Hearing, dated
      April 28, 2020 ........................................................   A-525
      Exhibit 34 to Younger Declaration -
      Transcript of Remote Hearing, dated
      April 29, 2020 ........................................................   A-669
Case 20-4238, Document 38, 02/11/2021, 3035076, Page6 of 298




                                             v
                                                                                Page
      Exhibit 35 to Younger Declaration -
      The New York City Council Committee Report
      of the Infrastructure and Government Affairs
      Division, dated April 28, 2020 ...............................            A-959
      Exhibit 36 to Younger Declaration -
      The Council of the City of New York Briefing
      Paper and Committee Report of the
      Governmental Affairs Division, dated
      April 29, 2020 ........................................................   A-973
      Exhibit 37 to Younger Declaration -
      The Council of the City of New York Committee
      Report of the Governmental Affairs Division,
      dated May 13, 2020 ............................................... A-1052
      Exhibit 38 to Younger Declaration -
      The New York City Council Committee Report
      of the Infrastructure Division, dated
      May 13, 2020 ......................................................... A-1108
      Exhibit 39 to Younger Declaration -
      Summary – Brooklyn Chamber of Commerce
      Surveys .................................................................. A-1114
      Exhibit 40 to Younger Declaration -
      MetLife & U.S. Chamber of Commerce Small
      Business Coronavirus Impact Poll, dated
      June 3, 2020 ........................................................... A-1116
      Exhibit 41 to Younger Declaration -
      NYC’s Nightlife Economy Impact, Assets, and
      Opportunities ......................................................... A-1132
      Exhibit 42 to Younger Declaration -
      Emails, dated June 19, 2020 .................................. A-1213
Case 20-4238, Document 38, 02/11/2021, 3035076, Page7 of 298




                                           vi
                                                                               Page
       Exhibit 43 to Younger Declaration -
       The Stoop NYU Furman Center Blog Article:
       Understanding the Potential Magnitude of Rent
       Shortfalls in New York Due to COVID, dated
       June 4, 2020 ........................................................... A-1216
       Exhibit 44 to Younger Declaration -
       Small Business First – Better Government
       Stronger Businesses ............................................... A-1229
       Exhibit 45 to Younger Declaration -
       Guaranty, dated October 18, 2018 ......................... A-1278
    Declaration of Santo Golino in Support of Plaintiffs’
      Motion for a Preliminary Injunction, dated
      July 22, 2020 .......................................................... A-1281
    Declaration of Ling Yang in Support of Plaintiffs’
      Motion for a Preliminary Injunction, dated
      July 9, 2020 ............................................................ A-1323
    Declaration of Marcia Melendez in Support of
      Plaintiffs’ Motion for a Preliminary Injunction,
      dated July 9, 2020 .................................................. A-1330
    Notice of Motion to Dismiss, dated August 12, 2020 A-1336
    Declaration of Carlos F. Ugalde Alvarez in Support
      of Defendants’ Motion to Dismiss and in
      Opposition to Plaintiffs’ Motion for Preliminary
      Injunctive and Declaratory Relief, dated
      August 12, 2020 ..................................................... A-1338
       Exhibit A to Alvarez Declaration -
       Chapter 23 of the New York State Laws of 2020 .. A-1366
       Exhibit B to Alvarez Declaration -
       New York State Gubernatorial Executive Order
       No. 202 dated March 7, 2020 ................................ A-1370
Case 20-4238, Document 38, 02/11/2021, 3035076, Page8 of 298




                                    vii
                                                                  Page
      Exhibit C to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.3 dated March 16, 2020 ........................... A-1374
      Exhibit D to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.5 dated March 18, 2020 ........................... A-1377
      Exhibit E to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.6 dated March 18, 2020 ........................... A-1381
      Exhibit F to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.7 dated March 19, 2020 ........................... A-1384
      Exhibit G to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.8 dated March 20, 2020 ........................... A-1387
      Exhibit H to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.9 dated March 21, 2020 ........................... A-1390
      Exhibit I to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      Nos. 202.13, 202.14, 202.18 dated March 29,
      2020, April 7, 2020 and April 16, 2020 ................. A-1393
      Exhibit J to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.16, dated April 12, 2020........................... A-1404
      Exhibit K to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.28, dated May 7, 2020 ............................. A-1407
      Exhibit L to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.29, dated May 8, 2020 ............................. A-1411
Case 20-4238, Document 38, 02/11/2021, 3035076, Page9 of 298




                                    viii
                                                                    Page
      Exhibit M to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.31, dated May 14, 2020 ........................... A-1413
      Exhibit N to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.34, dated May 28, 2020 ........................... A-1416
      Exhibit O to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.35, dated May 29, 2020 ........................... A-1419
      Exhibit P to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.36, dated June 2, 2020 ............................. A-1422
      Exhibit Q to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.38, dated June 6, 2020 ............................. A-1425
      Exhibit R to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.39, dated June 7, 2020 ............................. A-1428
      Exhibit S to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.41, dated June 13, 2020 ........................... A-1431
      Exhibit T to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.45, dated June 26, 2020 ........................... A-1434
      Exhibit U to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.48, dated July 6, 2020 .............................. A-1437
      Exhibit V to Alvarez Declaration -
      New York State Gubernatorial Executive Order
      No. 202.49, dated July 7, 2020 .............................. A-1441
Case 20-4238, Document 38, 02/11/2021, 3035076, Page10 of 298




                                             ix
                                                                                  Page
       Exhibit W to Alvarez Declaration -
       New York State Gubernatorial Executive Order
       No. 202.50, dated July 9, 2020 .............................. A-1443
       Exhibit X to Alvarez Declaration -
       New York State Gubernatorial Executive Order
       No. 202.53, dated July 21, 2020 ............................ A-1445
       Exhibit Y to Alvarez Declaration -
       New York State Gubernatorial Executive Order
       No. 202.55, dated August 5, 2020 ......................... A-1448
       Exhibit Z to Alvarez Declaration -
       New York State Gubernatorial Executive Order
       No. 202.55.1, dated August 6, 2020 ...................... A-1452
       Exhibit AA to Alvarez Declaration -
       Administrative Order No. AO/68/20, dated
       March 16, 2020 ...................................................... A-1454
       Exhibit BB to Alvarez Declaration -
       Administrative Order No. AO/127/20, dated
       June 18, 2020 ......................................................... A-1464
       Exhibit CC to Alvarez Declaration -
       Administrative Order No. AO/131/20, dated
       June 23, 2020 ......................................................... A-1474
       Exhibit DD to Alvarez Declaration -
       Administrative Order No. AO/143/20, dated
       July 7, 2020 ............................................................ A-1480
       Exhibit EE to Alvarez Declaration -
       Chapter 112 of the New York State Laws of 2020
       and Chapter 126 of the New York State Laws of
       2020 ....................................................................... A-1482
       Exhibit FF to Alvarez Declaration -
       Chapter 125 of the New York State Laws of 2020                          A-1492
Case 20-4238, Document 38, 02/11/2021, 3035076, Page11 of 298




                                           x
                                                                              Page
       Exhibit GG to Alvarez Declaration -
       Chapter 127 of the New York State Laws of 2020                      A-1501
       Exhibit HH to Alvarez Declaration -
       Introduction No. 1914 ............................................ A-1504
       Exhibit II to Alvarez Declaration -
       Introduction No. 1932 ............................................ A-1508
       Exhibit JJ to Alvarez Declaration -
       Introduction No. 1936 ............................................ A-1516
       Exhibit KK to Alvarez Declaration -
       Transcript of Meeting, dated April 22, 2020.......... A-1520
       Exhibit LL to Alvarez Declaration -
       Committee Report of the Infrastructure and
       Governmental Affairs Divisions, dated
       April 28, 2020 ........................................................ A-1620
       Exhibit MM to Alvarez Declaration -
       NYU Furman Center Article: What are the
       Housing Costs of Households Most Vulnerable to
       Job Layoffs? An Initial Analysis, dated
       March 30, 2020 ...................................................... A-1634
       Exhibit NN to Alvarez Declaration -
       The New York Times Article: 11 Numbers That
       Show How the Coronavirus Has Changes N.Y.C.,
       dated April 20, 2020 .............................................. A-1643
       Exhibit OO to Alvarez Declaration -
       Transcript of Hearing, dated April 28, 2020 .......... A-1654
       Exhibit PP to Alvarez Declaration -
       Written Testimony in Connection with April 28,
       2020 Hearing on Intro. No. 1936 ........................... A-1798
Case 20-4238, Document 38, 02/11/2021, 3035076, Page12 of 298




                                           xi
                                                                              Page
       Exhibit QQ to Alvarez Declaration -
       Briefing Paper and Committee Report of the
       Governmental Affairs Divisions, dated
       April 29, 2020 ........................................................ A-1906
       Exhibit RR to Alvarez Declaration -
       New York City Comptroller Scott M. Stringer:
       City must take immediate action to prepare for
       economic impacts of COVID-19 and protect vital
       services for most vulnerable New Yorkers, dated
       March 16, 2020 ...................................................... A-1985
       Exhibit SS to Alvarez Declaration -
       New York State Restaurant Association,
       Restaurant industry impact survey: New York
       State, dated April 2020 .......................................... A-1991
       Exhibit TT to Alvarez Declaration -
       National Bureau of Econ. Research Article: How
       are small businesses adjusting to COVID-19?
       Early evidence from a survey, dated April 2020 .... A-1993
       Exhibit UU to Alvarez Declaration -
       Info. Station Article: How important are small
       businesses?, dated January 3, 2017........................ A-2030
       Exhibit VV to Alvarez Declaration -
       United States Small Business Administration,
       Small Businesses generate 44 percent of U.S.
       economic activity, dated January 30, 2019 ............ A-2034
       Exhibit WW to Alvarez Declaration -
       N.Y.C. Department of Small Business Services,
       Comprehensive Guide to Commercial Leasing in
       New York City ....................................................... A-2037
Case 20-4238, Document 38, 02/11/2021, 3035076, Page13 of 298




                                         xii
                                                                           Page
       Exhibit XX to Alvarez Declaration -
       Entrepreneur Article: Hayden Field, 5 most
       common red flags entrepreneurs should know
       before signing a commercial real estate lease in
       New York, dated June 6, 2019 ............................... A-2078
       Exhibit YY to Alvarez Declaration -
       Transcript of Hearing, dated April 29, 2020 .......... A-2091
       Exhibit ZZ-1 to Alvarez Declaration -
       Written Testimony in Connection with April 28,
       2020 Hearing on Intro. Nos. 1914 and 1932 ......... A-2381
       Exhibit ZZ-2 to Alvarez Declaration -
       Written Testimony in Connection with April 28,
       2020 Hearing on Intro. Nos. 1914 and 1932 ......... A-2550
       Exhibit ZZ-3 to Alvarez Declaration -
       Written Testimony in Connection with April 28,
       2020 Hearing on Intro. Nos. 1914 and 1932 ......... A-2745
       Exhibit ZZ-4 to Alvarez Declaration -
       Written Testimony in Connection with April 28,
       2020 Hearing on Intro. Nos. 1914 and 1932 ......... A-2925
       Exhibit ZZ-5 to Alvarez Declaration -
       Written Testimony in Connection with April 28,
       2020 Hearing on Intro. Nos. 1914 and 1932 ......... A-3128
       Exhibit AAA to Alvarez Declaration -
       Intro. No. 1914-A .................................................. A-3335
       Exhibit BBB to Alvarez Declaration -
       Intro. No. 1932-A .................................................. A-3339
       Exhibit CCC to Alvarez Declaration -
       Intro. No. 1936-A .................................................. A-3344
       Exhibit DDD to Alvarez Declaration -
       Intro. No. 1914- A’s Plain Language Summary ..... A-3348
Case 20-4238, Document 38, 02/11/2021, 3035076, Page14 of 298




                                         xiii
                                                                             Page
       Exhibit EEE to Alvarez Declaration -
       Intro. No. 1932- A’s Plain Language Summary ..... A-3350
       Exhibit FFF to Alvarez Declaration -
       Intro. No. 1936- A’s Plain Language Summary ..... A-3352
       Exhibit GGG to Alvarez Declaration -
       Committee Report of the Infrastructure Division,
       dated May 13, 2020 ............................................... A-3354
       Exhibit HHH to Alvarez Declaration -
       Transcript of Hearing, dated May 13, 2020 ........... A-3360
       Exhibit III to Alvarez Declaration -
       Committee Report of the Governmental Affairs
       Divisions, dated May 13, 2020 .............................. A-3368
       Exhibit JJJ to Alvarez Declaration -
       Transcript of Hearing, dated May 13, 2020 ........... A-3425
       Exhibit KKK to Alvarez Declaration -
       City Council’s Meeting .......................................... A-3438
       Exhibit LLL to Alvarez Declaration -
       Letter from the City’s Office of the Mayor, dated
       May 26, 2020 ......................................................... A-3516
       Exhibit MMM to Alvarez Declaration -
       Commercial Harassment Law, effective
       May 26, 2020 ......................................................... A-3519
       Exhibit NNN to Alvarez Declaration -
       Guaranty Law, effective May 26, 2020 ................. A-3523
       Exhibit OOO to Alvarez Declaration -
       Residential Harassment Law, effective
       May 26, 2020 ......................................................... A-3528
       Exhibit PPP to Alvarez Declaration -
       Local Law No. 62 of 2020 ..................................... A-3533
Case 20-4238, Document 38, 02/11/2021, 3035076, Page15 of 298




                                            xiv
                                                                                  Page
       Exhibit QQQ to Alvarez Declaration -
       Local Law No. 63 of 2020 ..................................... A-3536
       Exhibit RRR to Alvarez Declaration -
       Resolution No. 1349 of 2020 ................................. A-3540
       Exhibit SSS to Alvarez Declaration -
       Resolution No. 1350 of 2020 ................................. A-3543
       Exhibit TTT to Alvarez Declaration -
       Document Produced by Plaintiff Jarican Realty
       Inc., dated July 31, 2020 ........................................ A-3546
       Exhibit UUU to Alvarez Declaration -
       Document Produced by Plaintiff Top East Realty
       LLC ........................................................................ A-3580
       Exhibit VVV to Alvarez Declaration -
       Document Produced by Plaintiff Top East Realty
       LLC ........................................................................ A-3595
    Letter from Arthur Kats to the Honorable Ronnie
      Abrams, dated August 13, 2020 ............................. A-3614
    Brief of Amicus Curiae Volunteers of Legal Service
      in Opposition to Plaintiffs’ Motion for
      Preliminary Injunctive and Declaratory Relief,
      dated August 13, 2020 ........................................... A-3617
    Declaration of Arthur Kats in Opposition to
      Plaintiffs’ Motion for Preliminary Injunctive and
      Declaratory Relief, dated August 13, 2020 ............ A-3646
       Exhibit 1 to Kats Declaration -
       The New York Times Article: How Prepared Is
       the U.S. for a Coronavirus Outbreak?, dated
       February 29, 2020 .................................................. A-3658
Case 20-4238, Document 38, 02/11/2021, 3035076, Page16 of 298




                                          xv
                                                                             Page
       Exhibit 2 to Kats Declaration -
       New York Times U.S. COVID-19 Map and Case
       Tracker, last visited August 11, 2020 ..................... A-3669
       Exhibit 3 to Kats Declaration -
       The New York Times Article: New York City
       Region Is Now an Epicenter of the Coronavirus
       Pandemic, dated March 22, 2020 .......................... A-3687
       Exhibit 4 to Kats Declaration -
       New York Times N.Y. Covid-19 Map and Case
       Tracker, last visited August 11, 2020 ..................... A-3693
       Exhibit 5 to Kats Declaration -
       New York State Gubernatorial Executive Order
       No. 202.8 dated March 20, 2020 ........................... A-3704
       Exhibit 6 to Kats Declaration -
       The Wall Street Journal Article: Times Square Is
       Eerily Empty During the Pandemic, but
       Advocates Are Focused on a Comeback, dated
       May 19, 2020 ......................................................... A-3707
       Exhibit 7 to Kats Declaration -
       Report Published by the U.S. Small Business
       Administration’s Office of Advocacy: Small
       Business GDP: 1998-2014 ..................................... A-3711
       Exhibit 8 to Kats Declaration -
       Office of the N.Y. State Comptroller, Small
       Business in New York State: An Economic
       Snapshot 1, dated 2019 .......................................... A-3787
       Exhibit 9 to Kats Declaration -
       U.S. Small Business Administration’s 2019 Small
       Business Profile for the State of New York ........... A-3792
Case 20-4238, Document 38, 02/11/2021, 3035076, Page17 of 298




                                           xvi
                                                                                Page
       Exhibit 10 to Kats Declaration -
       The New York Times Article: One-Third of New
       York’s Small Businesses May Be Gone Forever,
       dated August 3, 2020 ............................................. A-3797
       Exhibit 11 to Kats Declaration -
       The Wall Street Journal Article: Amid
       Coronavirus Shutdowns, Landlords Often
       Determine Fate of Small Businesses, dated
       June 4, 2020 ........................................................... A-3802
       Exhibit 12 to Kats Declaration -
       Article: For Small Businesses With High Rents,
       Coronavirus Aid Falls Short .................................. A-3808
       Exhibit 13 to Kats Declaration -
       Article: On a Vibrant Street in Brooklyn,
       Businesses Are Struggling for Survival ................. A-3814
       Exhibit 14 to Kats Declaration -
       Brooklyn Chamber of Commerce, July
       Reopening Survey Summary, dated July 2020 ...... A-3820
       Exhibit 15 to Kats Declaration -
       The Wall Street Journal Article: Small Business
       Sector Highly Vulnerable to Coronavirus Crisis,
       dated April 7, 2020 ................................................ A-3822
       Exhibit 16 to Kats Declaration -
       U.S. Fed. Reserve Bank of N.Y., 2020 Report on
       Employer Firms: Small Business Credit Survey,
       dated 2020 .............................................................. A-3825
       Exhibit 17 to Kats Declaration -
       Fed. Reserve Bank of N.Y., Can Small Firms
       Weather the Effects of COVID-19?, dated
       April 2020 .............................................................. A-3863
Case 20-4238, Document 38, 02/11/2021, 3035076, Page18 of 298




                                           xvii
                                                                                 Page
       Exhibit 18 to Kats Declaration -
       Local Law 53 ......................................................... A-3867
       Exhibit 19 to Kats Declaration -
       Local Law 55 ......................................................... A-3871
       Exhibit 20 to Kats Declaration -
       Committee Report of the Governmental Affairs
       Division on Local Law 53 ..................................... A-3876
       Exhibit 21 to Kats Declaration -
       Testimony of the Volunteers of Legal Service
       Microenterprise Project Int. Nos. 1914 & 1932 .... A-3932
       Exhibit 22 to Kats Declaration -
       Partnership for New York City: A Call for Action
       and Collaboration................................................... A-3936
    Letter from Jeffrey Turkel to the Honorable Ronnie
      Abrams, dated August 25, 2020 ............................. A-4004
    Reply Declaration of Stephen P. Younger in Further
      Support of Plaintiffs’ Motion for Preliminary
      Injunctive and Declaratory Relief and in
      Opposition to Defendants’ Motion to Dismiss,
      dated August 26, 2020 ........................................... A-4030
       Exhibit 1 to Younger Declaration -
       Rentec Direct’s August 2020 Rental Trends
       Report .................................................................... A-4043
       Exhibit 2 to Younger Declaration -
       New York Hospitality Alliance’s July 2020 Rent
       Report .................................................................... A-4046
       Exhibit 3 to Younger Declaration -
       Sydney Pereira New Article: Thousands of New
       Yorkers at Risk of Eviction as Cuomo’s
       Moratorium Expires ............................................... A-4056
Case 20-4238, Document 38, 02/11/2021, 3035076, Page19 of 298




                                          xviii
                                                                                 Page
       Exhibit 4 to Younger Declaration -
       News Article: Retail Chains Abandon Manhattan:
       It’s Unsustainable................................................... A-4067
       Exhibit 5 to Younger Declaration -
       Screenshot of Post from Newman Ferrara LLP’s
       Website................................................................... A-4077
       Exhibit 6 to Younger Declaration -
       Complaint in The Maramont Corporation v.
       Generation Next Realty, Inc., dated July 20, 2020                     A-4082
       Exhibit 7 to Younger Declaration -
       Report: Landlords and Renters Struggling to
       Make Ends Meet During COVID-19 Uncertainty,
       dated August 20, 2020 ........................................... A-4094
       Exhibit 8 to Younger Declaration -
       Press Release: Small Property Owners of New
       York Announces Majority of Owners and
       Managers of Small Properties Are Working with
       Tenants by Reducing, Forgoing, and Offering
       Rent Concessions, dated August 25, 2020 .............                 A-4111
       Exhibit 9 to Younger Declaration -
       The New York Post Article: New Yorker’s Keep
       Moving Out of the City to Suburbs, Other States,
       dated August 11, 2020............................................ A-4115
       Exhibit 10 to Younger Declaration -
       The New York Times Article: Movers in N.Y.C.
       Are So Busy They’re Turning People Away,
       dated August 20, 2020 ........................................... A-4120
       Exhibit 11 to Younger Declaration -
       CNBC Article: Retail Rents Plummet Across
       New York City, as America’s Glitzy Shopping
       Districts Turn Into Ghost Towns, dated
       August 2, 2020 ....................................................... A-4130
Case 20-4238, Document 38, 02/11/2021, 3035076, Page20 of 298




                                      xix
                                                                      Page
       Exhibit 12 to Younger Declaration -
       The City Article: New York’s Rent Drops as
       Vacancies Increase. Could Rent Regulation Be
       Next Thing to Fall?, dated July 27, 2020 ............... A-4138
       Exhibit 13 to Younger Declaration -
       New York State Gubernatorial Executive Order
       No. 202.55, dated August 5, 2020 ......................... A-4148
       Exhibit 14 to Younger Declaration -
       New York State Gubernatorial Executive Order
       No. 202.55.1, dated August 6, 2020 ...................... A-4152
       Exhibit 15 to Younger Declaration -
       New York State Gubernatorial Executive Order
       No. 202.57, dated August 20, 2020 ....................... A-4154
       Exhibit 16 to Younger Declaration -
       New York City Council Bill Int. No. 2007-2020 ... A-4157
       Exhibit 17 to Younger Declaration -
       New York State Senate Bill No. S8904 ................. A-4160
       Exhibit 18 to Younger Declaration -
       August 2020 Resolution ........................................ A-4163
       Exhibit 19 to Younger Declaration -
       Gotham Gazette Article: Requestions for
       Emergency Rent Grants Fell During Pandemic,
       But Expected to Skyrocket When Evictions
       Resume, dated July 24, 2020 ................................. A-4179
       Exhibit 20 to Younger Declaration -
       New York State Senate Bill No. S8139 ................. A-4187
       Exhibit 21 to Younger Declaration -
       New York State Senate Bill No. S8190-A ............. A-4191
       Exhibit 22 to Younger Declaration -
       New York State Senate Bill No. S8125-A ............. A-4201
Case 20-4238, Document 38, 02/11/2021, 3035076, Page21 of 298




                                         xx
                                                                           Page
       Exhibit 23 to Younger Declaration -
       Screenshot from New York City Department of
       Health, dated August 19, 2020 ............................... A-4204
       Exhibit 24 to Younger Declaration -
       Guidance Published by Centers for Disease
       Control and Prevention: COVID-19 Pandemic
       Planning Scenarios................................................. A-4210
    Reply Declaration of Santo Golino in Further
      Support of Plaintiffs’ Motion for Preliminary
      Injunctive and Declaratory Relief and in
      Opposition to Defendants’ Motion to Dismiss,
      dated August 26, 2020 ........................................... A-4219
    Reply Declaration of Marcia Melendez in Further
      Support of Plaintiffs’ Motion for Preliminary
      Injunctive and Declaratory Relief, dated
      August 21, 2020 ..................................................... A-4242
    Declaration of Elias Bochner in Support of
      Plaintiffs’ Motion for Preliminary Injunctive and
      Declaratory Relief, dated August 25, 2020 ............ A-4245
    Reply Declaration of Carlos F. Ugalde Alvarez in
      Further Support of Defendants’ Motion to
      Dismiss, dated September 2, 2020 ......................... A-4250
    Amended Complaint, dated September 2, 2020 ........ A-4268
    Transcript of Oral Argument, dated
      September 11, 2020 ............................................... A-4334
    Notice of Appeal, dated December 21, 2020 ............ A-4394
Case 20-4238, Document 38, 02/11/2021, 3035076, Page22 of 298
                          A-1116


Case 1:20-cv-05301-RA   Document 29-40   Filed 07/22/20   Page 1of 16




              Exhibit 40
Case 20-4238, Document 38, 02/11/2021, 3035076, Page23 of 298
                          A-1117


Case 1:20-cv-05301-RA   Document 29-40    Filed 07/22/20   Page 2 of 16




             MetLife & U.S. Chamber of Commerce
             Small Business Coronavirus Impact Poll
                           June 3, 2020




                                                                          1
          Case 20-4238, Document 38, 02/11/2021, 3035076, Page24 of 298
                                    A-1118


          Case 1:20-cv-05301-RA                  Document 29-40              Filed 07/22/20         Page 3 of 16




Index Summary


NEW REPORT SHOWS MANY SMALL BUSINESSES HAVE REOPENED
BUT GROWING NUMBER BELIEVE RECOVERY WILL TAKE MORE THAN SIX MONTHS


American small businesses report they have reopened in some capacity and are showing signs
of optimism about the future, even while still dealing with many ongoing challenges related to
the pandemic, according to the latest MetLife & U.S. Chamber of Commerce Small Business
Coronavirus Impact Poll.'


This month, we find that small businesses' level of concern about the impact of COVID -
                                                                                      19 has
subsided slightly. Overall, 82% of small businesses are concerned about the impact of the
pandemic, similar to the last two months of the survey. However, the number of small
businesses reporting they are very concerned is now 43 %, a10 percentage-point drop from a
month ago, and a15 -point drop from two months ago.


Perceptions of cash flow and revenue have also improved. 56% feel comfortable with their
company's cash flow situation, up from last month's low of 48% and similar to late March
(59%). Also, 50% expect next year's revenues to increase, while 19% expect them to decrease.
Last month, 47% expected an increase in revenue and 25% expected adecrease in revenue.


Most small businesses report being at least partially open. 79% of small businesses are either:
fully (41 %) or partially (38 %) open. One in five are closed, either temporarily (19 %) or
permanently (1%). However, most believe it will take longer for the small business economic
climate to return to normal: 55% of small businesses believe it will take six months to ayear
before the U.S. business climate returns to normal, up from 50% last month and 46% two
months ago.


More than eight in ten small businesses report that they are making, or planning to make,
adaptations in response to the coronavirus. Nearly half (48 %) have either started, or plan to
start, more frequent cleaning/disinfecting of surfaces, while 44% are asking, or plan to ask,
employees to self-monitor for symptoms and stay home if they feel sick. Four in ten are also
making, or planning to make, adaptations around employees wearing protective gear (40 %) or
requiring six feet of distance (39 %) between employees and customers.




'The MetLife/U.S. Chamber of Commerce Small Business Coronavirus Impact Poll was conducted via amonthly online survey, in
place of the typical phone-based approach. This methodological shift is in response to anticipated lower response rates in dialing
business locations as aresult of mandated closures related to the COVID-19 outbreak. During Q2, we fielded three waves, each
one month apart, with each survey comprised cf 500 respondents. Results of the June survey are summarized in this report.
While significant changes in data points can largely be attributed to the recent economic environment, switching from aphone
to online approach may have also generated amode effect.




                                                                                                                                2
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page25 of 298
                                 A-1119


       Case 1:20-cv-05301-RA        Document 29-40      Filed 07/22/20    Page 4 of 16




Overall, sentiment toward the economy remains similar to last month, but negative sentiments
toward the U.S. economy are softening. 53% of businesses believe their business is in good
health (50% last month). One in four (24%) rate the U.S. economy as "good," compared to 21%
last month. 27% believe their local economy is in good health (last month the finding was 25%).
However, the number of small businesses saying the U.S. economy is in "very poor" health has
shrunk to 18%, from 29% last month.




                                                                                               3
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page26 of 298
                                 A-1120


       Case 1:20-cv-05301-RA          Document 29-40       Filed 07/22/20     Page 5 of 16




Index Highlights


• Most businesses are partially open. Seventy-nine percent of small businesses are either
   fully (41 %) or partially (38 %) open. One in five are closed, either temporarily (19 %) or
   permanently (1%). 51% of small businesses in the South report they are fully open.
• Most say it will take longer for the business climate to return to normal. Fifty-five percent
   of small businesses believe it will take six months to ayear before the U.S. business climate
   returns to normal (up from 50% last month and 46% two months ago).
• More than eight in ten small businesses report that they are making or planning to make
   adaptations in response to the coronavirus. Of those doing so, nearly half (48 %) of small
   businesses have either started, or plan to start, more frequent cleaning/disinfecting of
   surfaces, while 44% are asking, or plan to ask, employees to self-monitor for symptoms and
   stay home if they feel sick. Four in ten are also making, or planning to make, adaptations
   around employees wearing protective gear (40 %) or requiring six feet of distance between
   employees and customers (39%).
• Fewer businesses are very concerned about the coronavirus' impact. The number of small
   businesses reporting they are very concerned about the impact of COVID-19 is now 43 %, a
   10 percentage-point drop from amonth ago and a15 -point drop from two months ago.
• Most larger small businesses concerned about lawsuits. Two-thirds (67 %) of small
   businesses with 20-500 employees are concerned about the possibility of lawsuits related to
   the coronavirus. Those with less than five employees are less concerned at 22%.
• Negative sentiments toward the economy are softening. Twenty-four percent of small
   businesses rate the U.S. economy as "good," (21% last month). However, the number of
   small businesses saying the U.S. economy is in "very poor" health has shrunk 11 points to
   18% (29% last month).
• Business health steady overall, increases substantially in Northeast. 53% of small
   businesses report good overall health (similar to last month's 50%). Retailers continue to
   report the lowest percentage of those in good health (46%), while small businesses in the
   Northeast saw an increase in good health since last month: from 41% to 59% this month.
• Revenue expectations improve. Now, 50% expect next year's revenues to increase, while
   19% expect them to decrease. Last month 47% expected an increase and 25% expected a
   decrease.
• Cash flow improves. Cash flow has been aperennial concern for small businesses during
   the pandemic. Currently, 56% feel comfortable with their company's cash flow situation, up
   from last month's low of 48 %, and in line with findings in late March (59%).
• Fewer see poor local economy. Slightly more believe their local economy is in good health
   (28 %, similar to last month's 24%). This month, fewer perceive their local economy's health
   to be poor (38% believe it is in poor health vs. 50% last month), and more say it is average
   (33% vs. 25% last month).
• Most firms which shed workers anticipate rehiring them. Seventy-one percent of small
   businesses say they have the same number of employees as in February before the
   pandemic began. Among those that report having fewer employees now, more than half

                                                                                                   4
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page27 of 298
                                 A-1121


        Case 1:20-cv-05301-RA               Document 29-40           Filed 07/22/20   Page 6 of 16




   (55%) anticipate rehiring or bringing back most workers at some point in the next six
   months.
Spotlight: The Impact of the Coronavirus on Small Business


MOST SMALL BUSINESSES REPORT AT LEAST PARTIAL REOPENING
Nearly eight in ten small businesses are at least partially open, and most are making—or plan to
make—adaptations regarding business operations.


Nearly aquarter (23%) of small businesses report temporarily closing their business entirely
since the start of the COVID-19 pandemic. As of right now, however, eight in ten report they are
either fully (41%) or partially (38%) open.



                Please select the option that best describes your current
                                                   situation.
                     My business is                      FDon't know]
                   permanently closed
                                                                1%
                           1%

                     My business is     '   •' 11 ■
                   temporarily closed •
                          19%         J
                                                                                 My business is fully
                                                                                        open
                                                                                        41%       J



                        My business is partially
                                 open
                                 38%
                      L




Retail small businesses are reporting more temporary business closures, and they are the least
likely to be fully operational. Currently, 29% of retail businesses report having temporarily
closed their business at any point since the COVID-19 pandemic began, and 43% say they are
partially open, versus 32% who are fully open.


Current operating status not only varies by sector, but by region and business size. Small
businesses in the West region are more likely to be only partially open, while more in the
Northeast remain temporarily closed when compared to other regions. Nearly half of the
smallest businesses remain fully open and are least likely to say they are temporarily closed.




                                                                                                        5
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page28 of 298
                                           A-1122


                 Case 1:20-cv-05301-RA          Document 29-40           Filed 07/22/20            Page 7 of 16




Please select                              Region               Employee Size                           Industry
the option that
best fits your         Total     North   Mid-                    Less                   Manu-                             Prof.
                                                South   West              5-19   20+                 Services   Retail
                                         west                   than 5                 facturing                         Services
current                          -east



situation.
My business is fully
                         41       37     39      51      31      45       35     33      48            38        32        51
open
My business is
partially open
                         38       37     38      31     49       38       38     41      33            36        43        37
My business is
                         19       25     19      16      19      15       25     26       19           22        24        11
temporarily closed
My business is
                          1        1      1       1      1        0        2     0        0             1         1         0
permanently closed

Don't know                1       0       2       1      0        1        0     0        0             2         0         1

Open                     79       74     77      82     80       83       73     74      81            75        75        88

Closed                   20       26     20      17     20       16       27     26      19            23        25        11




    For small businesses who reported atemporary closure at some point since the start of the
    COVID -
          19 pandemic (23%), 43% have reopened. At present, 19% of all small businesses remain
    temporarily closed, while just 1% have closed permanently. Those who are still temporarily
    closed are split on if they will open in the next two weeks (49% say it is likely, 47% say unlikely).


    Most small businesseS 2 are concerned about the financial hardships due to prolonged business
    closure (71 %), and more than half worry about having to permanently close their business
    (57%). Looking ahead, 66% are concerned about having to stay closed, or closing again, if there
    is asecond wave of COVID -
                             19. More are anxious about this in the West (77 %) and Northeast
    (74 %) than in the Midwest (62 %) and South (55%).




    z Note: the 1% of businesses that report being permanently closed were not asked this question.


                                                                                                                          6
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page29 of 298
                                 A-1123


        Case 1:20-cv-05301-RA        Document 29-40      Filed 07/22/20    Page 8 of 16




MOST SAY IT WILL TAKE LONGER FOR BUSINESS CLIMATE TO RETURN TO NORMAL
Currently, 55% of small businesses believe it will take six months to ayear before the U.S.
business climate returns to normal (with another 6% saying it never will), up from 50% last
month and 46% two months ago. Retailers are most optimistic, with 43% predicting normal
operations in under six months, followed by manufacturing (37%). 27% and 26% among
professional service and services small businesses, respectively, predict normal operations in
under six months.


Though small businesses now think it will take longer for the business climate to get back on
track, they are more optimistic about their own projections. For small businesses who have not
shut down entirely, most believe they can continue to operate without permanent closure for
six months or more (52%), up from 44% last month. Interestingly, smaller-sized businesses with
less than five employees are most likely to believe they can continue to operate indefinitely
(37%), while mid-sized and larger-sized small businesses are less optimistic (27% with 5-19
employees and 14% with 20-500 employees).


 How long do you believe your business
                                                           Less than 5        5-19            20+
 can continue to operate without                Total
                                                            employees     employees      employees
 shutting down permanently?
 Less than amonth                                 3              4             1                 1
 1-2 months                                      12              9             18               18
 3-under 6months                                 21             16             24               39
 6months-1 year                                  21             19             24               25
 Indefinitely                                    31             37             27               14
 Don't know                                      11             15             7                3
 Under 6months                                   36             29             43               58
 6months or more                                 52             56             51               39


FIRMS WHICH SHED WORKERS ANTICIPATE REHIRING THEM
71% of small businesses say they have the same number of employees as in February before
the pandemic began. Among those that report having fewer employees now, more than half
(55 %) anticipate rehiring or bringing back most workers at some point in the next six months.


Manufacturers are most likely across sectors to report achange in number of employees
compared to before the pandemic, with 14% saying they have more (2-4% across other small
business sectors) and 30% saying they have fewer employees (17-26% across other sectors).




                                                                                                     7
         Case 20-4238, Document 38, 02/11/2021, 3035076, Page30 of 298
                                   A-1124


         Case 1:20-cv-05301-RA       Document 29-40        Filed 07/22/20    Page 9 of 16




MOST ARE ADAPTING TO COPE WITH THE PANDEMIC
More than eight in ten small businesses report that they are making, or planning to make,
adaptations in response to the coronavirus. Of those, nearly half (48 %)of small businesses have
either started, or plan to start, more frequent cleaning/disinfecting of surfaces, while 44% are
asking, or plan to ask, employees to self-monitor for symptoms and stay home if they feel sick.
Four in ten are also making, or planning to make, adaptations around employees wearing
protective gear (40 %) or requiring six feet of distance between employees and customers
(39%).


The most common response to the outbreak has been shortening hours of operations (30%
have done so since the start of the pandemic). One in five (22 %) report transitioning some or all
of their employees to teleworking, and another 20% have sought capital from other sources—a
15- percentage point increase from last month.


The smallest-sized businesses (fewer than five employees) are least likely to report adjusting
employee salaries or hours (17 %, versus 39% of businesses with 5-19 employees, and 44% of
businesses with 20 or more employees), furloughing employees (7%, versus 14% of mid-sized,
and 24% of larger-sized businesses) or laying off employees (10%, versus 26% of mid-sized, and
23% of larger-sized businesses).


Though small businesses are pressing onward, concerns abound. Two-thirds (67 %) are anxious
about the low business demand due to continued social distancing measures. Sixty-two percent
are concerned about the risks COVID-19 poses to their customers and employees. Half (48%)
are worried about the lack of guidance on proper reopening procedures.


As small businesses adapt to the new environment, three in ten anticipate needing more
guidelines on how to keep customers and employees safe and well. This month, less see aneed
for more loans and financial assistance (26 %, down from 35% last month) over the next few
months. Around one in five expect needing more guidance from political leaders on how to
respond (21%), more resources for understanding the outbreak (20%), and guidance on
healthcare, insurance, or accounting issues (19%).


While few report aneed for more legal advice (15 %) and liability insurance (13 %) over the next
few months, anewer concern for some small businesses is the possibility of lawsuits related to
the coronavirus. Overall, more than one in three (36 %) are concerned, including amajority
(51 %) of mid-size small businesses and two-thirds (67 %) of larger small businesses who are
worried by this possibility. The smallest employers (fewer than five employees) are the least
concerned with just over one in five (22 %) expressing concern about these lawsuits.
Manufacturers (43 %) and retailers (40 %) are most likely to express worry about lawsuits, with
less in professional services (33 %) and services (30 %) sharing the sentiment.


AMONG PPP USERS PAYING EMPLOYEES REMAINS TOP PRIORITY



                                                                                                   8
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page31 of 298
                                 A-1125


       Case 1:20-cv-05301-RA        Document 29-40       Filed 07/22/20    Page 10 of 16




This month, three in ten (29%) of the small business population has applied, or tried to apply,
for aPaycheck Protection Program (PPP) loan. This includes those who have applied for aloan
but did not receive it (7%), those who tried to apply but were unsuccessful (7%), and those who
applied for and received aloan (15%, up from 9% last month).


Eight percent of small businesses report that they are planning on applying for aPPP loan,
down five percentage points from last month (13%). As noted in this report above, fewer report
aneed for loans and financial assistance this month compared to last month.


Paying current employee salaries and benefits remains the top intended use among those who
have gone through the PPP application process, or plan to (36%, nearly unchanged from last
month), while paying for rent or utilities has fallen six points to 15% from 21% last month.




                                                                                                  9
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page32 of 298
                                 A-1126


       Case 1:20-cv-05301-RA         Document 29-40        Filed 07/22/20    Page 11 of 16




KEY FINDINGS


SMALL BUSINESS OPERATIONS


BUSINESS HEALTH STABILIZES, WHILE CASH FLOW IMPROVES
This month, small businesses report improving cash flow and stabilizing views of their own
business health.


Overall health among small businesses remains statistically unchanged from last month. This
month, 53% report good health (compared to 50% last month). This represents adecrease of
four percentage points from two months ago and 12 points from Q1 2020.


As seen throughout the second quarter, manufacturing (60 %) and professional services (57%)
are the most likely to report good health, while those in retail (46 %) remain the least likely to
do so. By sector, small businesses in the services industry saw the largest increase in optimism
regarding business health since last month, asix-point increase to 51%.


Reported small business health has increased significantly in the Northeast to 59 %, from 41%
last month. The Northeast and South (57 %) are now the most likely to report good health, with
the Midwest and West trailing behind (both 47%). The smallest businesses remain the least
optimistic, by size: only 45% report good health compared to 64% and 71% of mid- (5-19
employees) and large-sized (20+) small businesses, respectively.


This month, pessimism surrounding cash flow has lessened, with 56% of small businesses
reporting comfort with their cash flow—closer to what was seen two months ago (59 %) from
last month's low (48%). This measure still remains dramatically low, after falling from 80% or
higher before the start of the pandemic.


While small businesses across all regions feel more optimistic about their cash flow, those in
the Northeast report the largest increase (54% now, up 16 percentage points from last month).
Additionally, retail (58 %) and services (50 %) small businesses also experienced spikes in
optimism, increasing 17 and 11 points, respectively, but still falling behind the continued
optimism felt by professional services (62%). The smallest businesses are still least likely to
report comfort with their cash flow (50 %, compared to 66% of mid-sized and 64% of large-sized
small businesses).




                                                                                                     10
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page33 of 298
                                 A-1127


       Case 1:20-cv-05301-RA        Document 29-40       Filed 07/22/20     Page 12 of 16




KEY FINDINGS


SMALL BUSINESS ENVIRONMENT


FEWER SEE 'VERY POOR' NATIONAL ECONOMY
Sentiments toward the national economy are softening slightly from last month, but amajority
still perceive it as "poor" (57% vs. 63% last month). While nearly three in ten small businesses
(29 %) rated the U.S. economy "very poor" last month, just 18% feel the same this month.
Across regions, those in the Midwest (22 %) and West (27 %) are now more likely to perceive the
U.S. economy as good when compared to last month (up six and seven points, respectively),
and those in the Northeast and South are unchanged.


Slightly more small businesses perceive their local economy as in good health (28 %) when
compared to the national economy (24%). This month, fewer perceive their local economy's
health to be poor (38% believe it is in poor health vs. 50% last month), and more say it is
average (33% vs. 25% last month). Optimism is greatest among large-sized small businesses
(20+ employees): 42% believe their local economy is in good health.




                                                                                                   11
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page34 of 298
                                  A-1128


       Case 1:20-cv-05301-RA          Document 29-40       Filed 07/22/20   Page 13 of 16




KEY FINDINGS


SMALL BUSINESS EXPECTATIONS


60% OF SMALL BUSINESSES EXPECT TO RETAIN SAME AMOUNT OF STAFF
Small businesses are slightly more optimistic about future revenues than last month. Half (50%)
expect to see an increase (was 47% last month), compared to 19% that expect next year's
revenues to decrease (was 25% last month).


Small businesses continue to feel uncertain about their future investments. Currently, 27%
report expectations to increase investment, statistically unchanged from last month's 25%. As
seen previously, afair amount (16 %) are unsure whether they will increase or decrease
investment in the next year.


Despite ongoing closures, retailers are still hopeful about the future. Thirty-four percent
anticipate increasing investments in the upcoming year (compared to 27% among
manufacturing, 26% among professional services, and 20% among services). With reopening
economies, small businesses in the services industry are more likely this month to foresee an
increase in investments in the next year (20% vs. 13% last month). Even so, they remain the
least optimistic, as we saw last month, with fewer predicting increases in revenue, staffing, or
investment than other sectors.


Expectations to hire also remain mostly unchanged from last month. A quarter (23 %) anticipate
increasing staff (24% last month), while most (60%) plan to retain the same staffing size (55%
last month). Like last month, one in 10 plan to reduce staff (13% last month).


NOTE: The latest Small Business Coronavirus Impact Poll was in the field May 21 —27, 2020,
prior to the civil unrest now gripping cities across our country.




                                                                                                   12
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page35 of 298
                                  A-1129


       Case 1:20-cv-05301-RA            Document 29-40   Filed 07/22/20    Page 14 of 16




U.S. Chamber Resources for Small Businesses
For small business resources on the coronavirus, visit uschamber.com/co.


Step-by-step guidelines on applying for aloan through the Paycheck Protection Program are
available at uschamber.com/sbloans.


Aguide to the Small Business Administration's expanded Economic Injury Disaster Loan
Program (EIDL) program to assist small businesses is available at uschamber.com/report/guide-
sbas-economic-injury-disaster-loans.


Aguide to CARES Act Relief for independent contractors or those who are self-employed and
don't have any employees is available at https://www.uschamber.com/report/independent-
contractors-gu ide-ca res-act-relief.




                                                                                            13
           Case 20-4238, Document 38, 02/11/2021, 3035076, Page36 of 298
                                     A-1130


       Case 1:20-cv-05301-RA         Document 29-40       Filed 07/22/20     Page 15 of 16




Methodology


SURVEY METHODOLOGY
These are the findings of an Ipsos poll conducted between May 21-27, 2020. For this survey, a
sample of roughly 500 small business owners and operators age 18+ from the continental U.S.
Alaska and Hawaii was interviewed online in English.


The sample for this study was randomly drawn from Ipsos' online panel, partner online panel
sources, and "river" sampling and does not rely on apopulation frame in the traditional sense.
Ipsos uses fixed sample targets, unique to the study, in drawing sample. Small businesses are
defined in this study as companies with fewer than 500 employees that are not sole
proprietorships. Ipsos used fixed sample targets, unique to this study, in drawing sample. This
sample calibrates respondent characteristics to be representative of the U.S. small business
population using standard procedures such as raking-ratio adjustments. The source of these
population targets is U.S. Census 2016 Statistics of U.S. Businesses dataset. The sample drawn
for this study reflects fixed sample targets on firmographics. Post-hoc weights were made to
the population characteristics on region, industry sector and size of business.


Statistical margins of error are not applicable to online non-probability polls. All sample surveys
and polls may be subject to other sources of error, including, but not limited to coverage error
and measurement error. Where figures do not sum to 100, this is due to the effects of
rounding. The precision of Ipsos online polls is measured using acredibility interval. In this case,
the poll has acredibility interval of plus or minus 5.0 percentage points for all respondents.
Ipsos calculates adesign effect (DEFF) for each study based on the variation of the weights,
following the formula of Kish (1965). This study had acredibility interval adjusted for design
effect of the following (n =500, DEFF =1.5, adjusted Confidence Interval=+/-6.5 percentage
points).




                                                                                                  14
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page37 of 298
                                 A-1131


      Case 1:20-cv-05301-RA       Document 29-40      Filed 07/22/20    Page 16 of 16




Percentage breakdowns for region, employee size, and sector:



   Manufacturing                      Employee
                      18%                            61%               Northeast   20%
   and Resources                       Size: 1-4


                                      Employee
      Services        25%                            27%               Midwest     21%
                                      Size: 5-19


                                      Employee
        Retail        24%                            9%                 South      34%
                                      Size: 20-99


     Professional                     Employee
                      28%                            2%                  West      25%
       services                       Size: 100+



        Other         5%




                                                                                         15
Case 20-4238, Document 38, 02/11/2021, 3035076, Page38 of 298
                          A-1132


Case 1:20-cv-05301-RA   Document 29-41   Filed 07/22/20   Page 1of 81




              Exhibit 41
                Case 20-4238, Document 38, 02/11/2021, 3035076, Page39 of 298
                                          A-1133


                Case 1:20-cv-05301-RA   Document 29-41   Filed 07/22/20   Page 2 of 81




NYC's Nightlife Economy
Impact, Assets, and Opportunities

Commissioned by The Mayor's Office of Media and Entertainment




                                                                 northhighland.
                                                                  WORLDWIDE CONSULTING
                                                                                         URBANE
Media &
Entertainment
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page40 of 298
                                       A-1134


              Case 1:20-cv-05301-RA           Document 29-41          Filed 07/22/20      Page 3 of 81




About the Mayor's Office of Media and Entertainment

The Mayor's Office of Media and Entertainment encompasses the key economic and creative sectors of film,
TV, theater, music, advertising, publishing, digital content and real estate as it relates to these industries. The
office promotes New York City as athriving center of creativity, issuing permits for productions filming on public
property, and facilitating production throughout the five boroughs. In June 2017, Mayor Bill de Blasio announced
that the Mayor's Office of Media and Entertainment (MOME), led by Commissioner Julie Menin, would support
NYC's diverse nightlife community with adepartment dedicated to its management. The Office of Nightlife
cements New York's position as aleader in this growing global movement that recognizes nightlife's value to
cities, and represents the first time a NYC agency has been tasked with promoting an economically and culturally
vibrant nightlife industry.

About the Consulting Team

The NYC Nightlife Economy report was conducted by athree-firm consulting team: The North Highland
Company, Econsult Solutions, Inc. (ESI), and Urbane Development.

The North Highland Company

The North Highland Company is aglobal consulting organization serving multiple industries and functional areas.
The Firm's Consumer, Media and Entertainment, Public Sector and Strategy practices contributed to this study.

Econsult Solutions, Inc.

Econsult Solutions, Inc. (ESI) provides businesses and public policy makers with economic consulting services
in urban economics, real estate economics, transportation, public infrastructure, development, public policy and
finance, community and neighborhood development, planning, as well as litigation support.

Urbane Development

Urbane Development (Urbane) is acommunity development venture and certified M/WBE based in New York
City. Founded in 2008, Urbane cultivates innovative solutions to build dynamic neighborhoods and positively
impact underserved communities.




                                                           z
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page41 of 298
                                       A-1135


             Case 1:20-cv-05301-RA            Document 29-41        Filed 07/22/20      Page 4 of 81




Executive Summary

Throughout its long history, nightlife has been central to
New York City's identity. The "city that never sleeps" is
adestination for dreamers and doers and an epicenter
of creativity. It boasts something for everyone once the
sun sets, including opportunities for dining, dancing,
performing, socializing, or building acareer. Over many
decades, New York nightlife has launched cultural and
social movements that resonated far beyond the city's
shores: from the social consciousness of beat poetry,
folk music, and hip-hop, to the rhythms of jazz, salsa,
disco, punk rock, and many more. New York nightlife
has inspired artists and entertainers to push boundaries,
and provided places for people to come together to
find community, all of which contributes to the city's
distinctive energy.

Not surprisingly, nightlife is amajor economic, as well as cultural driver for New York City, with more than 25,000
nightlife establishments citywide. In 2016 (the most recent year where standardized data sets were available), the
nightlife industry supported 299,000 jobs with $13.1 billion in employee compensation and $35.1 billion in total
economic output. This annual economic impact also yielded $697 million in tax revenue for New York City.

The popularity of nightlife is reflected in economic activity that has outpaced New York City's overall economy,
driven by a2percent annual growth rate in nightlife establishments between 2011 and 2016. The five-year
annualized growth rate' for jobs in the nightlife industry was 5percent, compared to the city's overall job growth
of 3percent. Nightlife wages have been rising at double the annual rate for the city, at 8percent as compared to
4 percent citywide.

Defining the Nightlife Economy

NYC's nightlife comprises five subsectors, and the economic activity that occurs within those subsectors between
the hours of 6PM and 6AM:

Food Service: Food Service, asubsector that encompasses full- and partial-service restaurants, cafes, and food
trucks, is the backbone of NYC's nightlife industry, with 19,400 establishments across the five boroughs. The
Food Service subsector supported atotal of 141,000 jobs, $4.2 billion in wages, and $12 billion in direct economic
output. Fine dining is anotable contributor to this subsector; NYC is home to 72 Michelin-starred restaurants,
more than any other U.S. city.

Bars: The Bars subsector, which includes drinking establishments that primarily serve alcoholic beverages, and
nightclubs, comprises 2,100 establishments, and boasts afive-year annualized growth rate that outpaced the
nightlife industry as awhole. The Bars subsector generated 13,400 jobs, $492 million in wages, and $2 billion in
direct economic output.




                                                             3
                  Case 20-4238, Document 38, 02/11/2021, 3035076, Page42 of 298
                                            A-1136


                   Case 1:20-cv-05301-RA                            Document 29-41                     Filed 07/22/20                Page 5 of 81

EXECUTIVE SUMMARY


Arts: The Arts subsector, which includes galleries,                                        Nightlife's Economic Impact
museums, live performing arts spaces, movie
                                                                                           In total, the five subsectors that comprise NYC
theaters, and Broadway, has 1,800 establishments.
                                                                                           nightlife—Food Service, Bars, Arts, Venues, and
Most of the subsector's jobs and wages-75 percent
                                                                                           Sports and Recreation —were responsible for a
and 90 percent—are clustered in Manhattan.
                                                                                           direct economic impact of 196,000 jobs, $6.2 billion in
However, Brooklyn has seen robust job and wage
                                                                                           wages (or $7.4 billion in employee compensation), and
growth in this subsector (10 and 12 percent,
                                                                                           $19.1 billion in economic output.
respectively). Nightlife in the Arts subsector supported
18,300 jobs, $804 million in wages, and $3.1 billion in                                    Beyond the economic impact of nightlife businesses
direct economic output.                                                                    themselves, the nightlife sector yields additional
                                                                                           benefits for NYC's economy. The goods and services
Venues: The Venues subsector includes concert and
                                                                                           locally purchased by nightlife establishments have an
entertainment venues, independent venues, informal
                                                                                           indirect impact in the NYC economy of 25,000 jobs,
cultural and performance spaces—commonly referred
                                                                                           $1.8 billion in employee compensation, and $5.1 billion
to as "do-it-yourself," or DIY venues. As of 2016,
                                                                                           in economic output. The induced economic impact of
there were 2,400 establishments in this subsector
                                                                                           nightlife is the result of spending by those employed
throughout NYC. Notably, Queens' venues have grown
                                                                                           directly in the nightlife industry. In 2016, this amounted
by 10 percent in the last 5years, in comparison to
                                                                                           to more than 29,000 jobs with $1.7 billion in employee
citywide growth of 4 percent. Venues operating at
                                                                                           compensation and $4.9 billion in economic output.
night generated 19,900 jobs, $373 million in wages,
and $1.2 billion in direct economic output. 2                                              There is also an ancillary impact on NYC's economy
                                                                                           from additional spending on retail, transportation,
Sports and Recreation: New York City offers no
                                                                                           lodging, and other services that happens only
shortage of family-friendly nightlife, including arcades,
                                                                                           because of people enjoying New York City's nightlife.
amusement venues, billiards, bowling alleys, and
                                                                                           This ancillary spending supports 48,000 jobs, $2.3
spectator and participatory sports. The Sports
                                                                                           billion in wages and $6.0 billion in economic output.
and Recreation subsector represents the smallest
component of NYC's nightlife industry, with 100 total                                      Finally, the nightlife industry generates afiscal impact
establishments as of 2016. Nightlife's total economic                                      of $1.8 billion in tax revenues to New York City and
impact in this subsector included 3,900 jobs, $352                                         New York State. This includes taxes from nightlife
million in wages, and $735 million in economic output.                                     employees, sales, liquor and hotel taxes, totaling $697
                                                                                           million to the City and $1.1 billion to the State.


                                            Exhibit 1.1: NYC's Nightlife Economy by Subsector

              Subsector                              Establishments                             Jobs                      Wages                       Output
              Food Service                                          19,400                 141,000                          $4.213                    $12.06
              Bars                                                    2,100                  13,400                        $492M                        $2.013
              Arts                                                    1,800                  18,300                        $804M                        $3.1 B
              Venues                                                  2,400                  19,900                        $373M                        $1.213
              Sports & Recreation                                        100                   3,900                       $352M                      $735M
              Total                                                 25,800                 196,000                          $6.213                    $19.1 B
                            Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                                   Columns may not sum due to rounding.


Direct economic impact was modeled using direct wages from the Bureau of Labor Statistics. IMPLAN then estimates the employee compensation of these direct wages and calculates
the portion of indirect and induced impacts', employee compensation and total output.



                                                                                       4
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page43 of 298
                                       A-1137


             Case 1:20-cv-05301-RA                          Document 29-41                   Filed 07/22/20              Page 6 of 81

EXECUTIVE SUMMARY

           Exhibit 1.2: Direct, Ancillary, Induced, and Indirect Impact of NYC's Nightlife Economy


                                 299,000                                                                     $35.1 B
        % 100 —
                                  25,000                                 $1.813                               $5.1 B        Indirect Impact


             80 —                                                    ".7
                                                                                                                            Induced Impact



                                                                         $2.313                                             Ancillary Impact
            60 —




            40-
                                                                         $7.413
                                                                                                                            Direct Impact
            20 —




              0
                                   Jobs                             Employee                                Economic
                                                                  Compensation                               Output

                        Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                              Columns may not sum due to rounding.




Nightlife's Citywide Reach                                                        Brooklyn has witnessed the highest growth in
                                                                                  nightlife, with 5,500 total establishments as of 2016,
One of New York's many strengths is that every
                                                                                  growing at an annual rate of 5percent. There were
neighborhood has something different to offer, and
                                                                                  31,100 direct nightlife jobs supporting $608 million
New Yorkers' nightlife choices reflect this. Nightlife
                                                                                  in wages, with annualized growth rates of 10 and 15
establishments are distributed throughout the city,
                                                                                  percent, respectively—double the citywide rate. Total
generating economic activity and providing local jobs
                                                                                  liquor licenses have grown at an annualized rate of 4
in all five boroughs:
                                                                                  percent since 2000, with 2,586 active licenses in 2018.

The Bronx experienced asteady growth in nightlife
                                                                                  Manhattan had 13,000 nightlife establishments
establishments until 2015, when the growth reversed.
                                                                                  as of 2016, the highest across all five boroughs.
As of 2016, there were 1,700 nightlife establishments
                                                                                  Manhattan's nightlife establishments have seen
in the Bronx, and the borough matched the city's
                                                                                  modest growth of 2percent annually, leveling
overall annual growth rate of 2percent. There were
                                                                                  off between 2015 and 2016. Manhattan nightlife
7,600 direct nightlife jobs supporting $129 million
                                                                                  supported 128,900 direct jobs with $4.8 billion in
in wages, with annualized growth rates of 7and 9
                                                                                  wages, with annualized growth of 4and 7percent,
percent, respectively. The Bronx experienced the
                                                                                  respectively. Total liquor licenses have grown at an
highest growth in the Venues subsector (3 percent),
                                                                                  annualized rate of 1.6 percent since 2000, with 6,011
but adecline in the Bars subsector (-2 percent). This
                                                                                  active licenses across the borough as of 2018.
data from the New York State Liquor Authority (S LA)
shows an annualized growth rate for liquor licenses of                            Queens had 4,800 nightlife establishments in 2016,
0.2 percent since 2000.                                                           and experienced annualized growth of about 3percent



                                                                              5
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page44 of 298
                                             A-1138


                   Case 1:20-cv-05301-RA                            Document 29-41                     Filed 07/22/20                Page 7 of 81

EXECUTIVE SUMMARY


since 2011. Queens' venues spaces have grown by                                            license serial numbers over time demonstrated that 44
10 percent in the last five years in comparison to                                         percent of licenses were still active after six years, 22
NYC's venue growth of 4 percent. There were 24,900                                         percent were still active after 12 years, and roughly 20
direct nightlife jobs supporting $622 million in wages.                                    percent were still active after 18 years.
The annualized growth rate forjobs and wages were
                                                                                           Data from the NYC Taxi and Limousine Commission
7and 9percent, respectively, outpacing nightlife
                                                                                           (TLC) show that approximately 32 percent of all taxi
growth citywide. Until the mid-2000s, Queens had
                                                                                           and FHV trips are nightlife related. The rise of FHVs
more nightlife establishments and liquor licenses than
                                                                                           has contributed to increased activity across NYC,
Brooklyn—making it second to Manhattan. According
                                                                                           with an annualized growth rate for total taxi and FHV
to 2018 SLA data, the borough has 2,332 active
                                                                                           pick-ups during prime nightlife hours (12AM to 4AM)
licenses, which represents 1.7 percent annualized
                                                                                           of 12 percent each year between 2013 and 2017. The
growth since 2000.
                                                                                           growth of taxi and FHV trips is especially pronounced
Staten Island had 800 nightlife establishments, down                                       outside Manhattan:
from 815 in 2015—the fewest establishments of any
                                                                                             • Brooklyn has seen an increase in the volume
borough. It has experienced adecline in nightlife
                                                                                                  of taxi/FHV activity in Bushwick (92 percent
establishments across all subsectors over the last 5
                                                                                                  annualized growth in 12AM to 4AM trips) and
years. There are 3,900 direct nightlife jobs supporting
                                                                                                  Williamsburg (33 percent annualized growth).
$64 million in wages, with annualized growth rates of 5
and 6percent, respectively. SLA data show 404 active                                         • In the Bronx, the greatest increase in taxi/FHV
liquor licenses in the borough in 2018, an annualized                                             pick-ups were in: West Concourse (133 percent
growth of 0.6 percent since 2000.                                                                 annualized growth), East Concourse (175 percent
                                                                                                  annualized growth), Co-op City (389 percent
Two additional historical analyses were completed to
                                                                                                  annualized growth), and Mott Haven (90 percent
contextualize nightlife's economic impact—examining
                                                                                                  annualized growth).
the retention rate of establishments with liquor
licenses and the growth of taxi and For-Hire Vehicles                                        • In Queens, neighborhoods with the greatest increase
(FHV) across NYC.                                                                                 in the volume of taxi and FHV pick-ups include
                                                                                                  Jackson Heights (68 percent annualized growth in
Data provided by SLA show that NYC had 11,961
                                                                                                  trips) and Astoria (34 percent annualized growth).
active on-premises liquor licenses in 2018, atotal
that has grown at an annual rate of 2percent since
2000, despite significant turnover. Tracking liquor


                                               Exhibit 1.3: NYC's Nightlife Economy by Borough

                                  Establishment                   Growth                     Jobs               Growth                    Wages              Growth
       Bronx                                     1,700                   2%                  7,600                     7%                  $129M                    9%
       Brooklyn                                  5,500                    5%               31,100                    10%                   $608M                   15%
       Manhattan                               13,000                    2%              128,900                       4%                   $4.813                  7%
       Queens                                    4,800                    3%               24,900                      7%                  $622M                    9%
       Staten Island                                800                   1%                 3,900                     4%                    $64M                   6%
       Total                                   25,800                    2%              196,000                       5%                   $6.213                  8%
                            Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)



Direct economic impact was modeled using direct wages from the Bureau of Labor Statistics. IMPLAN then estimates the employee compensation of these direct wages and calculates
the portion of indirect and induced impacts', employee compensation and total output.




                                                                                       6
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page45 of 298
                                       A-1139


             Case 1:20-cv-05301-RA             Document 29-41           Filed 07/22/20       Page 8 of 81

EXECUTIVE SUMMARY


Nightlife Stakeholder Perspectives                             Where they work and live: A large majority of
                                                               artists (80 percent) reported that they primarily
To complement the economic impact analysis, more
                                                               perform in Manhattan, followed by 18 percent who
than 1,300 nightlife stakeholders—consumers/residents,
                                                               focus on Brooklyn for their performances. Manhattan
owners/operators, artists/entertainers, and employees—
                                                               and Brooklyn were the most popular boroughs for
participated in asurvey about their experiences.
                                                               residence, with 39 percent and 23 percent of artists
Owners/Operators: Of the 83 owners and operators               living in these boroughs, respectively. Of the 22
surveyed, respondents operated restaurants (69                 percent who commute from outside New York City, the
percent), bars (60 percent), and dance clubs (24               overwhelming majority live in New Jersey and other
percent), among other types of establishments.
                                                               parts of New York.

 • Revenue and profits: Over the last 3years,
                                                                • Challenges: Eighty percent of artists and
    respondents reported modest revenue growth, with
                                                                     entertainers cited lack of income stability as a
    35 percent stating that revenues had increased, 31
                                                                     moderate or major challenge. The lack of benefits
    percent stating that revenues had stayed flat, and
                                                                     and low wages were also cited as challenges.
    24 percent reporting declining revenues over the
                                                                     Competition for gigs remains asignificant hurdle for
    last 3years (the remainder were either unsure or
                                                                     performers, with 80 percent citing it as amoderate
    preferred not to answer). Furthermore, 47 percent
                                                                     or major challenge. Sixty-eight percent of surveyed
    reported adecrease in profit over the same period,
                                                                     artists pointed out that establishment closures and
    with 17 percent experiencing adecrease that
                                                                     reduced hours adversely impacted them.
    exceeded 10 percent.
                                                                • Outlook: Despite challenges, over three-fourths
 • Outlook: Sixty percent of respondents believe
                                                                     of respondents (79 percent) indicated they will still
    their businesses will be open in three years.
                                                                     work in the NYC nightlife industry in three years.
    Nearly 40 percent were either unsure or indicated
    that their businesses would not be open in three
    years. Thirty-five percent of owners anticipate
    expanding their business within New York City,
    while 41 percent plan to expand into other cities.

 • Challenges: Eighty-seven percent of respondents
    indicated the rise of commercial rent prices is a
    challenge to varying degrees. For 68 percent of
    owners, regulations or red tape were cited as a
    challenge and 67 percent reported staffing their
    establishments as challenging.
                                                                  .Despitechallenges, over
Artists/Entertainers: Among the 187 artists and
entertainers surveyed, respondents had an average              rrA three-fourth's of artists
tenure in their role exceeding 23 years. Over half
of nightlife artists and entertainers (60 percent) are
employed full-time in their craft; the balance (40
percent) work part-time in other non-related industries.
Of artists surveyed, 28 percent reported performing at
three to five establishments at the time they took the
survey. Another 23 percent were performing at six or
more establishments.


                                                           7
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page46 of 298
                                       A-1140


             Case 1:20-cv-05301-RA              Document 29-41         Filed 07/22/20       Page 9 of 81

EXECUTIVE SUMMARY


Nightlife Employees: Nightlife is asource of                       to experience art and culture (64 percent).
employment across many roles: establishment                        Non-residents also have ahigher propensity
managers, security, chefs and other food preparation               for sightseeing at night (more than 50 percent
roles, bartenders, hosts, service staff, and more.                 compared to 22 percent for residents).
Among 106 survey respondents spanning these roles,
                                                                • Influences shaping their choices: Besides their
the average tenure exceeded 18 years in the nightlife
                                                                   personal preferences and tastes, the top factors
industry. The majority work full-time in their role (77
                                                                   that shape consumers' nightlife decisions are the
percent). Forty-two percent of employees surveyed
                                                                   opportunity to attend aunique experience or event
indicated that they worked at one establishment,
                                                                   (93 percent), price or affordability (89 percent),
23 percent worked in two locations and another 22
                                                                   minimal wait time (84 percent), and accessibility
percent worked in three to five locations (the remainder
                                                                   via public transportation (83 percent).
indicated that they work in six or more establishments).

                                                                • Challenges: Cost was atop consumer concern,
 • Where they work and live: Those surveyed
                                                                   with 66 percent of respondents agreeing that
    work predominantly in Manhattan (74 percent)
                                                                   affordability is achallenge to participating in
    and Brooklyn (21 percent). Employees reported
                                                                   nightlife. For residents living in neighborhoods
    living in Manhattan (39 percent) and Brooklyn (34
                                                                   dense with nightlife establishments, quality of life
    percent) most frequently. Twelve percent reported
                                                                   concerns relating to noise, sanitation, and lack of
    residence outside New York City.
                                                                   retail diversity were major challenges cited.
 • Challenges: Fifty-four percent of survey
                                                               New York City's nightlife is thriving, outpacing growth
    respondents cited the lack of benefits as a
                                                               in the citywide economy, supporting 299,000 jobs
    moderate or major obstacle of working in the
                                                               and $35 billion in economic activity, and providing
    nightlife industry. Close to half of employees
                                                               spaces for New Yorkers of all stripes to gather.
    surveyed (49 percent) indicated that income
                                                               However, the New Yorkers who rely on nightlife for
    volatility is achallenge.
                                                               their livelihood do face challenges, as do residents
 • Outlook: Despite challenges, amajority                      living in neighborhoods dense with nightlife
    of employee respondents (65 percent) see                   establishments. The City's new Office of Nightlife is
    themselves continuing to work in the nightlife             uniquely positioned to help mitigate these pressures
    industry within the next three years.                      and to ensure that the City's services and support
                                                               systems that are available during the day are equally
Consumers/Residents: Of the 864 nightlife
                                                               coordinated at night.
consumers surveyed, 73 percent were NYC residents,
while the balance (27 percent) were non-residents              As the Office of Nightlife sets its policy agenda, it
(commuters, day-trippers, tourists, business travelers).       can improve the nightlife ecosystem by working
Most fell between the ages of 21-40 (66 percent), with         across City agencies to reduce red tape; increase
32 percent age 41 or older.                                    regulatory transparency; address quality of life
                                                               concerns; and identify opportunities for investment in
 • Where they go: NYC's nightlife consumers most
                                                               economic development and cultural retention, through
    commonly enjoy restaurants (85 percent), bars
                                                               partnerships with both City and non-City entities.
    and nightclubs (73 percent), and live music and
                                                               These efforts will help not only those who work in New
    concerts (56 percent).
                                                               York City's nightlife, but also the millions of people

 • Reasons they go out: Consumers engage                       who venture out, from near and far, to enjoy all the city

    in nightlife to connect with friends/family (77            offers when the sun goes down, as well as those who

    percent), to relax and unwind (69 percent) and             prefer the comforts of staying in.



                                                           a
Case 20-4238, Document 38, 02/11/2021, 3035076, Page47 of 298
                          A-1141


Case 1:20-cv-05301-RA   Document 29-41   Filed 07/22/20   Page 10 of 81




  (n    03 Executive Summary
  H     10 Introduction
  Z     16 Economic Impact of NYC's Nightlife
  W     42 NYC's Nightlife Assets
  Z     46 Nightlife Perspectives
  Q     62 Opportunities for the Future
  V     66 Appendix




                                 9
Case 20-4238, Document 38, 02/11/2021, 3035076, Page48 of 298
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page49 of 298
                                      A-1143


            Case 1:20-cv-05301-RA            Document 29-41         Filed 07/22/20            Page 12 of 81




Introduction


The City that never sleeps. New York City's famous nickname recognizes that nightlife is part of NYC's
identity and history. NYC's nightlife is known globally for its diversity and innovation, which are afunction of its
defining characteristics:

 • Long immigrant history drawing from cultures across the world;

 • Diverse population and economic base;

 • Destination for commuters and tourists;

 • Epicenter for artists and creatives seeking to develop their craft and be discovered; and

 • Cultural appetite that values history alongside the new, innovative, and unusual.

Throughout its long history, NYC's nightlife has incubated cultural and social trends with impact well beyond its
five boroughs: beat poetry, pop art, disco, hip-hop, punk rock, jazz—the list goes on. From world-famous venues
and concert halls such as Harlem's Apollo Theater, Staten Island's St. George Theater, Broadway theaters and
Madison Square Garden, and underground venues at the cutting edge of culture—New York City's nightlife
is second to none. New York attracts, and is home to, artists across all genres, who develop their talents and
draw inspiration from across NYC's nightlife venues. Experience in New York City nightlife provides musicians,
entertainers, and performing artists the chance to hone their craft and build demand for their talent. Throughout
its history, New York City nightlife's contributions to economic, artistic, and cultural trends have been fueled by
businesses, artists, employees, and nightlife patrons.

Across the globe, many cities have planned primarily for the daytime economy, with nightlife managed in aless
formal manner. In recent years, many have now started to take aproactive approach to managing nightlife,
including not only its economic effects, but also its social and cultural impacts   .3   These efforts have resulted in
reductions in noise complaints, improved quality of life, and stronger nighttime economies. There are many case
studies and ideas for proactive management, City agency cooperation, and creative solutions that New York can
benefit from.

New York has now joined more than 40 cities around the world with so-called "nightlife leaders," such as
Amsterdam, Berlin, London, and Paris as well as in American cities like Orlando, Pittsburgh, and San Francisco.
In June 2017, Mayor Bill de Blasio announced that the Mayor's Office of Media and Entertainment (MOME),



                                       NYC Nightlife: Economic Indicators
              Case 20-4238, Document 38, 02/11/2021, 3035076, Page50 of 298
                                        A-1144


             Case 1:20-cv-05301-RA            Document 29-41           Filed 07/22/20       Page 13 of 81

INTRODUCTION


led by Commissioner Julie Menin, would support                      Methodology Overview'
NYC's diverse nightlife community with adepartment
                                                                This study used the following steps to assess the
dedicated to its management. In August 2017, the City
                                                                economic impact of NYC's nightlife:
Council passed Local Law 178, and in September,
Mayor de Blasio signed the bill, officially creating New         • Reviewed nightlife trends and studies from cities
York City's Office of Nightlife.                                    across the world, as well as literature on NYC's
                                                                    nightlife, past and present.
The Office of Nightlife cements New York's position
as aleader in this growing global movement that                  • Analyzed economic indicators and metrics across
recognizes nightlife's value to cities, and represents              relevant subsectors in NYC's five boroughs,
the first time aCity agency has been tasked with                    including, but not limited to:
promoting an economically and culturally vibrant
nightlife industry.                                                   o Employment and wages calculated            by the
                                                                         Bureau of Labor Statistics;
To inform the work of the Office of Nightlife, and
following the 2017 study Economic Impact, Trends
                                                                      o Establishments data recorded by the Bureau
                                                                         of Labor Statistics;
and Opportunities: Music in New York City, MOM
commissioned this study of the current economic and                   o The portion of economic activity attributable to
cultural dynamics of the nightlife industry, to provide                  nightlife, focusing on the hours between 6PM
recommendations to support and strengthen the                            and 6AM.
nightlife community. The study summarizes its findings
in the following sections:                                       • Quantified the economic impact of nightlife using
                                                                    IMPLAN, an industry-standard input-output
 • Methodology Overview: The approach, tools,                       economic modeling software.
    and techniques used to analyze multiple data
    sources and draw insights from nightlife's many              • Surveyed 864 consumers who patronize NYC

    stakeholders;                                                   nightlife including NYC residents from all five
                                                                    boroughs, commuters, and tourists. The survey
 • Economic Impact of NYC's Nightlife: The value                   was designed to understand their nightlife
    of NYC's nightlife to the city's economy based on               preferences, economic activities, perceptions,
    five categories of impact with summary views for                and challenges.
    each borough;
                                                                 • Surveyed 376 NYC nightlife professionals, including
 • NYC's Nightlife Assets: An understanding of                      owners and operators of establishments, artists and
    NYC's nightlife assets beyond the economic                      performers, and employees of nightlife industries.
    impact numbers;
                                                                 • Interviewed 65 people including including owners
 • Nightlife Perspectives: Perspectives of nightlife                and operators of establishments, artists and
    stakeholders, and the challenges they face, based               performers, consumers (residents, tourists,
    on more than 1,300 surveys and interviews of                    commuters), public officials, policymakers,
    consumers (NYC residents and non-residents),                    developers, activists, academics, and employees of
    owners or operators of nightlife establishments,                nightlife industries.
    artists, and employees; and

 • Opportunities for the Future: Opportunity areas
    for NYC's local government to address some of
    the challenges facing nightlife.



                                                           12
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page51 of 298
                                       A-1145


             Case 1:20-cv-05301-RA           Document 29-41        Filed 07/22/20          Page 14 of 81

INTRODUCTION


The Nightlife Ecosystem

Urban nightlife ecosystems are complex—there
are many moving parts and participants, including
people who enjoy the night, who work at night, and
who manage nighttime activities. These categories
are not mutually exclusive; astudent may be a
frequent bar patron as well as ahospitality worker,
or an emergency services worker may be ataxi
passenger returning from an overnight shift managing
public safety.

To specifically identify key trends and to examine the
impact of the nightlife economy in New York City—
defined as activity occurring between the hours of 6PM
and 6AM—this study defines the nightlife ecosystem as
five key subsectors with several sub-categories.'




            Arts: Galleries, museums, live performing          Exhibit 2.1: Nightlife Economy Sub-Categories
            arts spaces, and movie theaters
                                                               Subsector                Industry Sub-Category

                                                                             Live theatres and motion picture theatres

                                                                 Arts                           Art galleries

            Bars: Drinking establishments that                                         Other live performing arts
            primarily serve alcoholic beverages (and
            not food), as well as nightclubs                                                         Bars

                                                                                                 Nightclubs

            Food Service: Full- and partial-service                          Full-service and partial-service restaurants
            restaurants, cafes, fast food and
            fast casual restaurants, venue food               Food Service       Fast food or fast casual restaurants'
            concessions, food trucks, and other food-
                                                                                     Concessions and other food
            related establishments
                                                                                           establishments

                                                                                             Spectator sports
                                                                                                                 4m
            Sports and Recreation: Spectator sports             Sports &
            and other recreational activities such as          Recreation     Experiential activities (bowling, arcades,
            participatory sports, bowling, billiards,                                       billiards, etc.)
            amusement arcades, other recreation

                                                                Venues
                                                                                            1

0
                                                                                           Independentspaces
            Venues: Music venues as well as
            independent and DIY spaces                                       Source: Econsult Solutions (2018)




                                                         13
               Case 20-4238, Document 38, 02/11/2021, 3035076, Page52 of 298
                                         A-1146


              Case 1:20-cv-05301-RA                          Document 29-41                   Filed 07/22/20               Page 15 of 81

INTRODUCTION


                        Exhibit 2.2: The Nightlife Ecosystem —Any/All Cities (Not Exhaustive)




     Influencers                                                                                        Other
                                                                                                                                  Taxi,
                                                                                                       Service
                                                                                                                             For-Hire
                                                                                    Promoters           Staff
                       Galleries/                Cleaning                                                                        Drivers
                        Museums                     Staff          Creative
    Restaurants                                                   Industries                                                                    Other
                                                                                                   Late -
     & Food Svc                                                    Workers                                                                         EMS
                                       Other                                                       Night                Police
                                    Businesses                                                  Workers


                      Licensed                                                 Waiters                                               Public               Security
                                                         Bartenders
    DIY               Premises                                                                                                      Transit               Guards
                                                                                                            Health
 Operators            Owners           Hospitality                                                                                 Workers
                                                                                                            Service
                                           Sector
                                          Workers
                                                                                                                           Fire
                                                                                                                         Safety                Overseers
     Late-night           Night-time
       Gyms                   Sports


                                                                                                                                     City
                                                                                                                                   Councils
                   Students                                               WORK
                                                                                                                                                      Developers
 Residents                                                             AT NIGHT
                                                                                                                                      Environ-
                                                                                                                                          mental
                                                                                                                                          Health
                  Concert-
                      goers                                 ENJOY                                                                                    Data/Insight
Commuters                                                                                                                                                Analysts
                                                      THE NIGHT                                                                       Social
                                                                                                                                     Service
                                                                                                                                    Workers
              Clubbers
                                                                                                                                                         Policy
                                                                                                                                                         Makers
                                 Cab                                                                                      Mayor's
                              Passengers                                                                                   Office
   Tourists

                                                                                                                                               Streets
                                                                                                            Licensing
                                             Diners
                  Athletes                                                                                  Officials
                                                                  Off-Duty            Community
                                                                 Workers/                                                  Neighbor-
                                                                                         Reps
 Spectators                                                        Artists                                                   hoods
                                                                                                        Urban                                      Schools
                               Drinkers
                                               Theatre-                                             Designers &
                                                Goers                                                 Planners
                                                                                    Universities                          Local
             Daters                                                                                                     Economies
                                                                                                                                               Public
                               Families                                                                                                       Squares



                                                                                                                           Homeless




                                                 Source: North Highland Nightlife Archives, Research and Analysis



                                                                               14
Case 20-4238, Document 38, 02/11/2021, 3035076, Page53 of 298




                  •       !,     •'•

            ghtlife is distingishable
         •       % /     / .          `•
       from myc • ftasa DJ. Nightlife
       is notoptionaltb mylong-term
     1profession and not separate
       from the art itself. Nightlife is
                   the medium."
          -NYC NightliferPer f
                             ormer
Case 20-4238, Document 38, 02/11/2021, 3035076, Page54 of 298
              Case 20-4238, Document 38, 02/11/2021, 3035076, Page55 of 298
                                        A-1149


             Case 1:20-cv-05301-RA               Document 29-41                  Filed 07/22/20            Page 18 of 81




The Economic Impact of NYC's Nightlife

The overall economic impact of New York City's nightlife has five components:

 • Direct Impact: The jobs and economic output generated by the five nightlife subsectors;

 • Indirect Impact: The jobs and economic output generated by local businesses that supply goods and
    services to the five nightlife subsectors;

 • Induced Impact: The jobs and economic output generated as aresult of nightlife employees spending their
    wages in New York City;

 • Ancillary Impact: The jobs and economic output generated from spillover spending related to nightlife
    activities. Examples include taxi and For-Hire Vehicles (FHV) taken to or from anightlife destination and the
    non-nightlife spending of tourists visiting NYC specifically for nightlife purposes; and

 • Fiscal Impact: The tax revenues generated for New York City and New York State from income, sales, and
    business taxes, as well as additional taxes.

             • Note: As akey economic metric, employee compensation is isolated and presented as its own
                 indicator throughout this report

In addition to these types of economic impact, there is another unquantifiable category: nightlife as an economic
catalyst. Major cities such as New York City compete for talent and jobs—and nightlife and cultural opportunities
are two of the differentiating urban amenities that make NYC globally competitive. In a21 81 century economy
connected by communications and ease of travel, highly-skilled workers have many choices based on job
opportunities and quality of life. The variety and depth of New York City's nightlife continues to drive interest and
demand for the city as a place to live, learn, work, and socialize.


                         Exhibit 3.1: Types of Economic Impact From New York City Nightlife




                                Nightlife
                                                                    JAL
         ,L
        Consumer
                                Consumption
                                                                                             Busi 0
                                                                                             to-business
                                                                                                                       W&
                                                                                                                 Indirect Impact
                                                                Direct Impact                spend               Generated by local
                                                                Generated by the                                    businesses that
                                                                 five subsectors.                                 supply goods and
                                                                                                                 services by the five
                                                                                            Wage Spend \              subsectors.




    Ancillary Spending                                                                   Induced Impact
        Generated from                                                                  Generated as aresult
      spillover related to                                                              of nightlife employees
       nightlife activities.                                                            spending their wages
                                                                                                 in NYC

                                                    Source: Econsult Solutions (2018)

                                                                   17
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page56 of 298
                                       A-1150


             Case 1:20-cv-05301-RA                      Document 29-41                   Filed 07/22/20              Page 19 of 81

ECONOMIC IMPACT


Total Economic Impact                                                          used to describe the direct impact from the nightlife
                                                                               industry, while employee compensation is used in
The nightlife industry makes asignificant contribution
                                                                               describing the total economic impact of nightlife on the
to employment and economic growth in New York
                                                                               New York City economy.
City. The total economic impact of this industry is
the sum of its direct, indirect, and induced economic                          The nightlife industry has shown significant growth
impacts, as well as the ancillary spending impacts                             in jobs and wages over the last five years, outpacing
that are adjacent to nightlife activity. In 2016 (the                          New York City's baseline economic growth. The five-
most recent year where standardized datasets were                              year annualized growth rate (CAGR) 7 for jobs in the
available), the nightlife industry supported 299,000                           nightlife industry was 5percent, compared to NYC's
jobs with $13.1 billion in employee compensation                               overall job growth rate of 3percent. At the same time,
and $35.1 billion in economic output. This                                     nightlife wages rose at an annual rate of 8percent,
economic impact also yielded $697 million in tax                               compared to the citywide rate of 4 percent.
revenue for New York City.
                                                                               The average annual wage in the nightlife industry
Direct Economic Impact by Sector                                               was $32,000, with notable disparities among the five
                                                                               subsectors (explored in the following sections). While
The five subsectors that make up New York City's
                                                                               the industry overall has shown growth in total wages,
nightlife industry directly generate economic output
                                                                               the typical nightlife employee's salary may not grow at
through revenues from nightlife consumers, and
                                                                               the same rate as the total.
spending by nightlife establishments on goods and
services. In 2016, the five subsectors directly                                New York City's nightlife establishment count exceeds
supported 196,000 jobs, $6.2 billion in wages (or                              25,000 and has grown at arate of approximately 2
$7.4 billion in employee compensation), and $19.1                              percent annually between 2011 and 2016. Growth in
billion in economic outputs Throughout the report,                             Brooklyn and Queens over that time period has been
wage reported by the Bureau of Labor Statistics is                             notable, at 5percent and 3percent, respectively.


             Exhibit 3.2: Direct, Ancillary, Induced, Indirect Impact of NYC's Nightlife Economy


                             299,000                                $13.1 B                              $35.1 B
       % 100 -
                              25,000

                          F
                                                                     $1.813                               $5.1B         Indirect Impact
                              29,000
            80-
                                                                                                          $4.913    11 Induced Impact
                              48,000

                                                                     $2.313                               $6.013        Ancillary Impact
            60-




            40-
                             196,000                                 $7.413                              $19.1 B
                                                                                                                        Direct Impact
            20-




             0
                               Jobs                              Employee                              Economic
                                                               Compensation                             Output
                     Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                           Columns may not sum due to rounding.

                                                                          18
                                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page57 of 298
                                                             A-1151


                                   Case 1:20-cv-05301-RA                        Document 29-41                  Filed 07/22/20              Page 20 of 81

ECONOMIC IMPACT




                                                             Exhibit 3.3: Total Direct Nightlife Jobs and Wage


                                200,000 -                                                                                                      196,000 14 —$7




                                                                                                                                                                           Direct Nightlife Wages ($B)
                                                                                                                                                                  —$6
   Direct Nightlife Jobs




                                150,000-                                                                                                           $6.2B —$5

                                                                                                                                                                  —$4
                                100,000-
                                                                                                                                                                  —$3

                                 50,000-                                                                                                                          —$2
                                                                                                                                                                  —$1
                                      0                                                                                                                             $0

                                            N       Cl)      V      LO                 r—    00            O               N_      M      V       u7
                                            O       O        O      O       O          C:)   O      O
                                            O       O        O      O       O          O     O      O      O       O       O       O      O       O          O
                                            N       N        N      N       N          N     N      N      N       N       N       N      N       N          N



                                                                                Jobs                    — 0     Wages

                                            Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)




                                                                 Exhibit 3.4: Total Nightlife Establishments

                                                                                                                                                                  5-Year
                                                                                                                                                                  CAGR
                                30,000 -                                                                                                                         2011-16
     Number of Establishments




                                25,000 -

                                20,000-                                                                                                                           2%

                                15,000 —

                                10,000 —                                                                                                                          5%

                                  5,000 —                                                                                                                         3%

                                                                                                                                                         4 2%
                                      0—                                                                                                                   1%
                                            N       Cl)      V      LO                 r—    00            O               N_      M      V       u7
                                            O       O        O      O       O          CD    O      O
                                            O       O        O      O       O          O     O      O      O       O       O       O      O       O          O
                                            N       N        N      N       N          N     N      N      N       N       N       N      N       N          N


                                                          Staten Island      E Bronx              MQueens         M    Brooklyn             Manhattan



                                            Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)




                                                                                                   19
                               Case 20-4238, Document 38, 02/11/2021, 3035076, Page58 of 298
                                                                                    A-1152

                               Case 1:20-cv-05301-RA                     Document 29-41                     Filed 07/22/20            Page 21 of 81

ECONOMIC IMPACT


The following subsections examine each subsector                                                Job and wage growth were especially significant
and their contributions to NYC's nightlife economy.                                             in Brooklyn and Queens, where Food Service
                                                                                                establishments have proliferated in recent years.
Food Service
                                                                                                Queens showed annualized job growth of 8percent
Food service—a sector that encompasses full- and
                                                                                                and wage growth of 11 percent between 2011 and
partial-service restaurants, cafes, and food trucks—is
                                                                                                2016. Over the same period, Brooklyn's Food Service
the backbone of NYC's nightlife industry. Whether
                                                                                                establishments grew at an annualized rate of 4percent;
going out for along meal with friends, grabbing a
                                                                                                wages grew at an annualized rate of 15 percent.
quick bite before ashow, or stopping for pizza in
the late hours, anight out is nearly guaranteed to                                              The average wage was one of the lowest within the
touch Food Service in some way. NYC is home to 72                                               nightlife industry at $29,700. 9 While part of that deficit
Michelin-starred restaurants (all star tiers), more than                                        can be explained by underreported wages and the
any other U.S. city."                                                                           part-time nature of some Food Service jobs, this low
                                                                                                average annual salary represents areal challenge for
In 2016, Food Service supported 141,000 jobs,
                                                                                                the industry.
$4.2 billion in wages, and $12 billion in direct
economic output. The largest portion of NYC's
nightlife economy is captured by the Food Service
sector, representing 72 percent of jobs and 67 percent
of direct output. With the rising popularity of "dining as
entertainment" and changes to eating habits, from fast
casual to on-demand delivery service to food trucks,                                                                                                            4 ::_                           bum
this industry continues to grow. The five-year annual                                                      Direct Economic Impacto Food Service
growth rate of this subsector outpaced the nightlife                                            111            r
industry as awhole, with 6percent job growth and 9
percent wage growth as compared to the industry's                                                             141, 000                                 $128
annualized job growth of 5percent and wage growth                                                                   jobs                          economic
of 8percent. As of 2016 there were 19,400 food                                                                                                         output

service establishments across NYC.


                                              Exhibit 3.5: Direct Nightlife Jobs and Wages—Food Service
                            160,000                                                                                                                        $4.5

                                                                                                                                                           $4.0
                            140,000
                                                                                                                                                                  Direct Nightlife Wages ($B)




                                                                                                                                                           $3.5
                            120,000
    Direct Nightlife Jobs




                                                                                                                                                           $3.0
                            100,000
                                                                                                                                                           $2.5
                             80,000
                                                                                                                                                           $2.0
                            60,000
                                                                                                                                                           $1.5
                            40,000
                                                                                                                                                           $1.0
                            20,000
                                                                                                                                                           $0.5
                                  0                                                                                                                        $0.0
                                                   w           rn          CD
                                                                           _                          N_        M           V
                                      O            O           O
                                      O            O           O           O           O              O         O           O           O              O
                                      N            N           N           N           N              N         N           N           N              N

                                                                       Jobs                           —+— Wages

                                      Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)


                                                                                           20
               Case 20-4238, Document 38, 02/11/2021, 3035076, Page59 of 298
                                         A-1153


               Case 1:20-cv-05301-RA                        Document 29-41                   Filed 07/22/20              Page 22 of 81

ECONOMIC IMPACT


Bars
Globally, nightlife is synonymous with drinking
establishments such as bars and nightclubs—and
NYC is no different. In total, there were 2,100 bars
and clubs in NYC in 2016. The Bars subsector
generated 13,400 jobs, $492 million in wages,
and $2.0 billion in direct economic output. The
subsector's five-year annual growth rate also outpaced
the nightlife industry as awhole with 7percent growth
in jobs and 9percent growth in wages.

The growth in this subsector has been largely driven
by growth in Brooklyn. Between 2011 and 2016,
the annualized growth rate for the Bars subsector's
jobs and wages in Brooklyn were 16 percent and 21
percent, respectively. The typical employee in the
Bars subsector earns on average $36,800, a24
percent higher wage than employees in the Food
Service subsector.




                                        Exhibit 3.6 Direct Nightlife Jobs and Wages-Bars


      15,000    -                                                                                                                                $600
                                                                                                                                  13,400
                                                                                                                                                        Direct Nightlife Wages ($M)



 9 12,500 —                                                                                                                                    —$500
 0

 w 10,000 —                                                                                                                                    —$400
 rn
 Z     7,500 —                                                                                                                                 —$300
 d

 0 5,000 —                                                                                                                                     —$200


       2,500 —                                                                                                                                 — $100


           0         l                                                                                                                           $0
                    r—          w            M            O_                         N            Cl)           V            LO
                    O           O            O
                    O           O            O            O             O            O
                                                                                     N
                                                                                                  CD
                                                                                                  N
                                                                                                                O            O             O
                    N           N            N            N             N                                       N            N             N

                                                          Jobs                       —0        Wages

                         Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)


                                                                              21
              Case 20-4238, Document 38, 02/11/2021, 3035076, Page60 of 298
                                                             A-1154


              Case 1:20-cv-05301-RA              Document 29-41                   Filed 07/22/20      Page 23 of 81



Understanding Turnover: Analysis of NYC's Liquor Licenses
To contextualize the economic analysis the volume of active on-premises (i.e. not takeout) liquor licenses in
NYC was examined, tracking borough and establishment trends. Data were provided by the New York State
Liquor Authority (SLA) in six year increments-2000, 2006, 2012, and 2018' 0" The City's total liquor license
count stands at 11,961, with an annualized growth rate of 2percent ? Exhibit 3.7 shows the distribution of liquor
                                                                                      2



licenses by borough and the annualized rate of growth. Further analysis at alicense-by-license level showed
interesting trends in turnover over the last two decades. In each six-year period, roughly half of the active licenses
are new. Tracking liquor license serial numbers over time revealed an average retention rate of 44 percent for
licenses after six years and of 22 percent after 12 years. In 2018, the data show aretention rate of roughly 20
percent for all licenses that were active in 2000.



                          Exhibit 3.7: Number of On-Premise Liquor Licenses in NYC



   Borough                          2000                    2006                          2012          2018
   Bronx                              610                     779                          660           628          0.2%
   Brooklyn                         1,236                   1,780                         2,119        2,586          4.2%
   Manhattan                       4,498                   5,205                          5,621         6,011         1.6%
   Queens                           1,707                  2,137                          2,150        2,332          1.8%
   Staten Island                      361                     392                          406           404          0.6%
   Total                            8,412                 10,293                       10,956          11,961         2.0%
                                             Source: New York State LiquorAuthority (2018)
                                      This data takes into account openings and closures over time.




                       1,1961
                     liquor licenses
                          in 2018
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page61 of 298
                                       A-1155


             Case 1:20-cv-05301-RA                   Document 29-41                   Filed 07/22/20               Page 24 of 81




While the dataset does not show the age of the 8,412                         • 5,856 new licenses were issued since 2006,
active liquor licenses that were active in 2000, it is                            slightly less than in the previous six year period,
possible to trace the typical success or closure of                               representing 53 percent of all new licenses in 2012

establishments (using active liquor licenses as a
                                                                                  By 2018
proxy) for those licenses added to the dataset in 2006
and 2012. Exhibit 3.8 illustrates the turnover of liquor                     • 1,575 of the licenses active in 2000 were active,
licenses across these time periods, with the following                            a 19 percent retention rate
retention rates:
                                                                             • 1,312 of the licenses new in 2006 were active,
By 2006                                                                           a22 percent retention rate

 • 4,341 of the licenses from the 2000 were active, a
                                                                             • 2,601 of the licenses new in 2012 were still active,
    52 percent retention rate
                                                                                  a44 percent retention rate (the same retention

 • 5,952 new licenses were issued, representing 58                                rate for licenses in the six-year period from 2006

    percent of all active licenses in 2006                                        to 2012)


By 2012                                                                      • 6,473 new licenses were issued since 2012—
                                                                                  the most in any of the six-year periods from
 • 2,480 of the licenses active in 2000 were active,                              2000—representing 54 percent of all licenses
    a29 percent retention rate
                                                                                  active in 2018

 • 2,620 of the licenses new in 2006 were active,
                                                                            For further detail on liquor license data at aborough
    a44 percent retention rate
                                                                            level, refer to the following subsection on "The
                                                                            Nightlife Economy across New York City."




                                   Exhibit 3.8: NYC Active Liquor Licenses by Year
                                                                                                                    11,961
                                                                                  10,956
                                               10,293
                                                                                  5,856
                                                                                   new
                   8,412                       5,952
                                                                                 licenses
                                                new
                                              licenses




                                                                                   2,620




                                                                                   2,480



                    2000                        2006                               2012                              2018
              Licenses Active in 2000   M Licenses Active in 2006           M Licenses Active in 2012               Licenses Active in 2018

                                        Source: New York State LiquorAuthority (2018), Econsult Solutions (2018)
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page62 of 298
                                       A-1156


             Case 1:20-cv-05301-RA                       Document 29-41                    Filed 07/22/20             Page 25 of 81

ECONOMIC IMPACT



Arts                                                                            Manhattan's arts-based nightlife activity accounts for
NYC is aglobal leader in arts and culture, with                                 75 percent and 90 percent of the subsector's jobs and
numerous art galleries, museums, Broadway                                       wages, respectively. That said, Arts establishments
theaters, performing arts spaces, and ahistoric role                            remain an essential component of the nightlife industry
as awelcoming center for artists and entertainers.                              across the city, and have grown at afaster rate outside
Today, many of the city's storied cultural institutions                         of Manhattan. In Brooklyn, jobs in the Arts account
incorporate nightlife into their operations by offering                         for 15 percent of NYC's total, and have seen an
evening programming, hosting live bands or DJs,                                 annualized growth rate of approximately 10 percent
or providing cocktail and bar services for guests. In                           between 2011 and 2016. Wages in the Brooklyn Arts
total, the Arts subsector had 1,800 establishments                              subsector have seen an annualized growth rate of
throughout NYC in 2016. This subsector generated                                12 percent. Queens has also seen significant growth
18,300 jobs, $804 million in wages, and $3.1 billion                            in this subsector with annualized growth rates of 6
in direct economic output.                                                      percent for jobs and 7percent for wages.




                                       Exhibit 3.9: Direct Nightlife Jobs and Wages—Arts


           18,000 —                                                                                                                        _$1,000
                                                                                                                            18,300
                                                                                                                                                      9
       9 15,000 —
       0
                                                                                                                                           _$800
                                                                                                                            $804M
       w 12,000—
       .
       rn                                                                                                                                  —   $600
           9,000-

       2                                                                                                                                   —$400
       0   6,000-

                                                                                                                                           —$200
           3,000-

             0                                                                                                                                 $0
                       r—          w           M           O_                      N_           M           V
                      O            O           O
                      O            O           O           O           O           O            O           O           O              O
                      N            N           N           N           N           N            N           N           N              N

                                                       Jobs                            0   Wages


                      Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)



                                                                           24
                                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page63 of 298
                                                                                        A-1157

                                 Case 1:20-cv-05301-RA                       Document 29-41                   Filed 07/22/20              Page 26 of 81

ECONOMIC IMPACT


Venues 13                                                                                           Sports and Recreation
The vibrancy of New York City's nightlife is fueled                                                 New York City offers no shortage of family-friendly
by concert and entertainment venues, independent                                                    nightlife, including arcades, amusement venues,
venues, and DIY spaces. As of 2016, there were 2,400                                                billiards, bowling alleys, and spectator and participatory
establishments in this subsector throughout NYC.                                                    sports. This subsector represents the smallest
Venues generated 19,900 jobs, $373 million in                                                       component of NYC's nightlife industry, with 100 total
employee compensation, and $1.2 billion in direct                                                   establishments as of 2016. Sports and Recreation
economic output"                                                                                    generated 3,900 jobs, $352 million in wages, and
                                                                                                    $735 million in direct economic output.
While this is one of the smallest nightlife subsectors in
terms of job volume, the total number of jobs related to                                            Sports and Recreation represents the highest average
Venues has grown at an annualized rate of 3percent                                                  paying jobs within the nightlife sector, averaging
since 2011. While reported wages have grown at a                                                    $90,000 in wages in 20161 5 While these jobs
more rapid rate, 9percent over the same time period,                                                represented slightly less than 2percent of all nightlife
the average annual wage for workers in this subsector                                               jobs in NYC, their wages represent nearly 6percent
is just $18,700. As in the case of Food Service, the                                                of the industry's wage base. Sports and Recreation
low salaries are due (in part) to the part-time nature of                                           wages grew at an annual rate of 5percent between
several jobs in this sector.                                                                        2011 and 2016, which is aslightly lower rate than the
                                                                                                    industry (8 percent) but still faster than the citywide
                                                                                                    average. Queens has the largest share of Sports and
                                                                                                    Recreation-related nightlife jobs (44 percent) and total
                                                                                                    wages (50 percent).

                                                                                                    New York City is home to some of the best sports

                                19,900            !             $1.26                               teams in the country with world-renowned franchises
                                                                                                    and stadiums. In addition to major stadiums and
                                  jobs                         economic
                                                                  output       .    :,



                                                      Exhibit 3.10: Direct Nightlife Jobs and Wages—Venues
                               24,000 —                                                                                                          $373M         $400
                                                                                                                                                      0
                                                                                                                                                                      Direct Nightlife Wages ($M)



                               20,000 —
                                                                                                                                                 19,900
       Direct Nightlife Jobs




                                                                                                                                                               $300
                               16,000 —


                               12,000 —                                                                                                                        $200


                                8,000 —
                                                                                                                                                               $100
                               4,000 —


                                                                                                                                                               $0
                                           r—          w           M           O_                      N            M           V
                                          O            O           O
                                          O            O           O           O           O           O            O           O           O              O
                                          N            N           N           N           N           N            N           N           N              N
                                                                           Jobs                               Wages



                                          Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)



                                                                                               25
                              Case 20-4238, Document 38, 02/11/2021, 3035076, Page64 of 298
                                                                                     A-1158

                              Case 1:20-cv-05301-RA                       Document 29-41                   Filed 07/22/20              Page 27 of 81

ECONOMIC IMPACT


arenas such as Yankee Stadium, Madison Square                                                                                                               y-
Garden, and Citi Field, NYC is also home to numerous
                                                                                                                       a
                                                                                                                       \
secondary sports venues (e.g. Heritage Field in the
Bronx, Staten Island's St. George Stadium, Coney
                                                                                                                     Direct Economic Impact V
Island's MCU Park) supporting spectator and nighttime
                                                                                                                        Sports & Recreation
play across all types of popular sports. In multiple
cases, these sports venues anchor nightlife in the
immediate vicinity, including dining, bars, amusement                                                          3,900                         -1l $735M _
venues, retail, and exhibits that derive income from the                                                             jobs                           economic
                                                                                                   `'                                    E           output
crowds attending events.

In addition to traditional recreational activity, electronic
sports or eSports are becoming increasingly                                                      Indirect Impact
popular. Several establishments provide playing and
                                                                                                 The nightlife industry has an indirect economic impact
viewing amenities for eSports tournaments, such as
                                                                                                 on other industries. The core nightlife subsectors
Community Gaming NYC, Waypoint Cafe, and Alien
                                                                                                 engage with suppliers and contractors from other
Gang NYC. In August 2015, Madison Square Garden
                                                                                                 industries to procure goods and services. As aresult,
was sold out for two straight nights hosting the North
                                                                                                 to the extent these transactions happen with local
American League of Legends Championship Series
                                                                                                 businesses, these transactions generate jobs, wages,
Finals, the highest level of professional eSports
                                                                                                 and output in NYC for the industries that support
league play. Global demand for eSports is expected
                                                                                                 nightlife activities. The indirect impact of New York
to grow in the coming years, with 2018 revenues in
                                                                                                 City's nightlife amounts to 25,000 jobs, $1.8 billion
the subsector estimated at $345 million across North
                                                                                                 in employee compensation, and $5.1 billion in
America and growing at an annual rate of 27 percent
                                                                                                 economic output. The amount of indirect impact and
over the next 5years 16
                                                                                                 the top jobs impacted (as shown in Exhibit 3.12) are


                                       Exhibit 3.11: Direct Nightlife Jobs and Wages—Sports and Recreation

                             4,500                                                                                                           3,900          - $400

                             4,000 -
                                                                                                                                                            —   $350
                             3,500 -                                                                                                      ;
                                                                                                                                          0$352M
                                                                                                                                                                       Direct Nightlife Wages ($M)



                                                                                                                                                            —   $300
                             3,000-
     Direct Nightlife Jobs




                                                                                                                                                            —   $250
                             2,500-
                                                                                                                                                            —   $200
                             2,000-
                                                                                                                                                            —   $150
                             1,500-

                             1,000-                                                                                                                         —   $100

                              500-                                                                                                                          —$50

                                 0                                                                                                                              $0
                                        r-          w           M           O_                      N            M           V
                                       O            O           O
                                       O            O           O           O           O           O            O           O           O              O
                                       N            N           N           N           N           N            N           N           N              N

                                                                        Jobs                       +       Wages


                                       Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)




                                                                                            26
              Case 20-4238, Document 38, 02/11/2021, 3035076, Page65 of 298
                                        A-1159


             Case 1:20-cv-05301-RA                           Document 29-41      Filed 07/22/20            Page 28 of 81

ECONOMIC IMPACT


particular to NYC. The indirect impact on industries                      the calculated induced value and the distribution of
highly interconnected with hospitality that have greater                  jobs (Exhibit 3.13) represent the impact of the nightlife
leakage outside of NYC, such as wholesale trade (i.e.                     industry specifically on the NYC economy.
food distribution) and transportation and logistics, are
                                                                          Ancillary Impact
not analyzed in this study.

                                                                          Ancillary impact is derived from additional spending
Induced Impact
                                                                          on retail, transportation, lodging, and other
Induced impact is generated when people employed                          expenditures resulting from participation in nightlife
directly within the five subsectors, or people in                         activities. This spending then translates into
industries impacted by nightlife, spend their wages                       significant revenues for business owners in New
on local vendors in New York City. When direct and                        York City. The influx of ancillary spending by nightlife
indirect nightlife employees spend their wages in NYC,                    consumers has amultiplier effect throughout New
this spending further generates jobs, wages, and                          York City, supporting 48,000 jobs with $2.3 billion
output within the five boroughs. The induced impact                       in employee compensation and $6.0 billion in
of New York City's nightlife amounts to more                              economic output.
than 29,000 jobs with $1.7 billion in employee
compensation, and $4.9 billion in economic
output. Similar to the indirect nightlife economics,



      Exhibit 3.12: Industries Supported by                                      Exhibit 3.13: Industries Supported by
       Indirect Spending, by Share of Jobs                                        Induced Spending, by Share of Jobs

     Top Industries                           Percentage                        Top Industries                          Percentage
     Arts, Entertainment,                                                       Health Care and
     and Recreation                                      27%                    Social Assistance                                  28%
     Administrative and                                                         Retail Trade                                        14%
     Support Services                                    11%                    Other Services
     Professional, Scientific,                                                  (Except Public
     and Technical Services                              11%                    Administration)                                     12%
     Real Estate and Rental                                                     Accommodation and
     and Leasing                                             9%                 Food Service                                        12%
      Management of                                                             Educational Services                                    5%
      Companies and                                                             Finance and
      Enterprises                                            7%                 Insurance                                               5%
      Other Services (except                                                    Administrative and
      public administration)                                 4%                 Support Services                                        4%
     Wholesale Trader                                        4%                 Professional,
     Accommodation and                                                          Scientific, and
     Food Service                                            3%                 Technical Services                                      4%
     Transportation and                                                         Real Estate and
     Warehousing                                             3%                 Rental and Leasing                                      3%
      Information                                            3%                 All other Industries                                13%
     All other Industries                                17%                         Source: IMPLAN (2015), Econsult Solutions (2018)

          Source: IMPLAN (2015), Econsult Solutions (2018)




                                                                     27
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page66 of 298
                                       A-1160


            Case 1:20-cv-05301-RA              Document 29-41                  Filed 07/22/20       Page 29 of 81

ECONOMIC IMPACT


Fiscal Impact                                                        and hotel taxes), specifically related to their activities
                                                                     and spending patterns. In 2016 the total annual
The nightlife industry generates substantial tax
                                                                     fiscal impact of New York City's nightlife summed
revenues for New York City and New York State.
                                                                     to nearly $1.8 billion—approximately $697 million
Nightlife activities increase the local tax base directly
                                                                     for the City and $1.1 billion for New York State.
by employing workers who pay taxes, and indirectly
via spending by nightlife vendors and employees.
In addition to these taxes, nightlife contributes a
significant portion of other taxes and fees (e.g. liquor




                       Exhibit 3.15: Fiscal Impact for New York City and New York State

                    Tax Type                      New York City ($M)                      New York State ($M)
                    Income Tax                                       $268.2                           $741.0
                    Sales Tax                                        $198.6                           $232.1
                    Business Tax                                     $107.9                           $105.6
                    Alcohol Tax                                        $12.8
                    Hotel Tax                                        $109.8
                    Total Tax Revenue                                $697.3                          $1,078.6

                                            Source: IMPLAN (2015), Econsult Solutions (2018)
                                                 *Columns may not sum due to rounding.
Case 20-4238, Document 38, 02/11/2021, 3035076, Page67 of 298




       W,   •            MW      •                 ,.
      "The extended hours ofopera n.
      in'NYC still make i
                        one!of the best
                    cesto g ou "
                Nightlife onsumer
                 Le h
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page68 of 298
                                       A-1162


             Case 1:20-cv-05301-RA               Document 29-41           Filed 07/22/20    Page 31 of 81



Driving Nightlife: Calculating the Impact of Nightlife Taxi and FHV Trips

The nightlife and transportation sectors have                A comparative analysis of TLC data in 2013 and 2017
complemented each other's development in recent              shows how concentrations of taxi and FHV pick-up
years. Nightlife is instrumental to this sector's            locations at key nightlife times has changed over
profitability and its ability to attract drivers. For-Hire   time   .17   The maps in Exhibit 3.14 show concentrations
Vehicles (FHVs, which include Uber, Lyft, and others)        of increased taxi/FHV activity in areas of Bushwick
have enabled greater access to and within the                and Williamsburg in Brooklyn, and Jackson Heights
five boroughs. Therefore, this report includes trips         and Astoria in Queens. The proliferation of FHVs has,
taken via taxi and FHV to travel to or from nightlife        in part, enabled the above-average nightlife growth in
destinations as part of NYC's ancillary nightlife. The       Brooklyn and Queens. Borough-specific trends in taxi
NYC Taxi and Limousine Commission (TLC) records              and FHV use are discussed in greater detail in The
the time and location of all pick-ups for taxis and          Nightlife Economy Across New York City section.
FHVs; trips to and from nightlife destinations can be
                                                             Looking forward, FHV services will continue to shape
counted by aggregating all trips in ayear, subtracting
                                                             where future nightlife establishments choose to locate,
airport trips and evening commutes. Approximately 32
                                                             and consequently the opportunities for nightlife workers
percent of all taxi and FHV trips are nightlife related.
                                                             and consumers. On the other hand, constraints on FHV
The value of those trips was included in the ancillary
                                                             services may also limit the potential growth in some
impact of NYC's nightlife economy.
                                                             areas, particularly those neighborhoods with limited
                                                             public transportation alternatives.




                                       Of the 317 million taxi and
                                      For-Hire Vehicle rides in New
                                     York City in `2017, an estimated
                                       101 million (32 percent) are
                                        at &utable to nightlife.
Case 20-4238, Document 38, 02/11/2021, 3035076, Page69 of 298
                          A-1163


Case 1:20-cv-05301-RA                       Document 29-41                 Filed 07/22/20              Page 32 of 81



    Exhibit 3.14: TLC Analysis -Changes in Taxi & FHV Pick-Ups (2013 vs. 2017)

2013:                                                    a        2013:                                           a
12AM-2AM                                                          2AM -4AM




                                                                                      o xe         -   ,H,.'
                                                                                                        10




2017:                                                    a        2017:
12AM-2AM                                                          2AM -4AM




Changes: 2013- 2017:                                     a        Changes: 2013- 2017:                            a
12AM-2AM                                                          2AM-4AM




                                      Irw
                                      is                                              o
                                                                                      r1
                                                                                        Q9
                                                                                               I       INN.
                                                                                                       10



2013 & 2017 Maps Number of Pick-Ups                               2013-2017 Change Number of Pick-Ups

        0-50,000                                                          -64,000-0

        50,001-100,000                                            -       1-25,000

Pq 100,001-250,000                                                Pq 25,001-50,000
-       250,001-400,000                                           -       50,001-150,000

-       >400,000                                                  -       >150,001

                         Source: NYC Taxi and Limousine Commission (2018), Econsult Solutions (2018)

                                                             31
                Case 20-4238, Document 38, 02/11/2021, 3035076, Page70 of 298
                                          A-1164


                Case 1:20-cv-05301-RA                        Document 29-41                   Filed 07/22/20              Page 33 of 81

ECONOMIC IMPACT




The Nightlife Economy Across New York City




The Bronx                                                                           decade. Analysis of SLA data shows that the Bronx
The Bronx experienced asteady growth in nightlife                                   (currently home to 628 active liquor licenses) has an
establishments until 2015, when that growth reversed.                               annualized growth rate of 0.2 percent since 2000.
There were 1,700 nightlife establishments in the
borough in 2016. The annualized growth rate between                                 A zip code level analysis shows that 10454 (Mott
2011 and 2016 was 2percent, similar to the overall                                  Haven, with 26 liquor licenses in 2018) and 10475
growth of nightlife establishments citywide. The                                    (Co-Op City, with 12 licenses) have experienced the
Bronx experienced the highest growth in the Venues                                  greatest annualized growth in licenses (4 percent and
subsector at an annualized growth rate of 3percent,                                 3percent); by contrast, the zip codes 10473 (Castle
but adecline in the Bars subsector at an annualized                                 Hill, with 3licenses) and 10474 (Hunts Point, with 6
rate of -2 percent.                                                                 licenses) have each experienced an annualized decrease
                                                                                    in active licenses, approximately 3percent each.
This decline in Bars establishments is reflected in a
decline in liquor licenses in the Bronx over the last

                                               Exhibit 3.16: Bronx Nightlife Establishments

                                                                                                                                 125


                                                                                                                                 100
r 1,600-
 0
E                                                                                                                                50
t
 f/1   1,200-
9
                                                                                                                                 25
M

        800-
w                                                                                                                                  0 L
w                                                                                                                                      N     M      7   •   (

                                                                                                                                       0     0      0   0   0
 d 400—
E                                                                                                        See Inset
Z         0
                N   Cl)       V       LO              r—     00              O_      _      N       M       V        u7     (2
                O   O         O       O        O      CD     O       O
                O   O         O       O        O      O      O       O       O       O      O       O       O        O      O
                N   N         N       N        N      N      N       N       N       N      N       N       N        N      N


                    —        Arts          —       Bars                  Food Service        —     Sports & Recreation                     Venues

                          Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page71 of 298
                                      A-1165


            Case 1:20-cv-05301-RA           Document 29-41                    Filed 07/22/20         Page 34 of 81

ECONOMIC IMPACT




As of 2016 there were 7,600 total nightlife jobs                    Concourse (an increase of 60,000 trips per year, or
supporting $129 million in wages in the Bronx's                     annualized growth of 133 percent), East Concourse
nightlife economy. The annualized growth rate for                   (61,000 more trips, annualized growth of 175 percent),
jobs is 7percent and the annualized wage growth                     Co-op City (57,000 more trips, annualized growth of
rate is 9 percent.                                                  389 percent), and Mott Haven (54,000 more trips,
                                                                    growth of 90 percent annually).
A heat map of the Bronx's nightlife establishments,
compiled based on Yelp data, shows establishments
scattered throughout the borough, with concentrations
in neighborhoods like Woodlawn, Kingsbridge,
and Concourse?$                                                                              i•&
Analysis of historic data from the NYC TLC shows that
since the introduction of FHVs, the volume of nighttime                                   12% of nightlife jobs
trips (pick-ups between 12AM and 4AM) in the Bronx                                         in the Bronx are in
grew at an annual rate of 177 percent between 2013
                                                                                            Arts and Venues
and 2017. The greatest increase in taxi/FHV pick-
ups has been in the following neighborhoods: West



                           Exhibit 3.17: Bronx Nightlife Establishment Density Map




                                                                                                   CA




                                                                                              Bronx Nightlife
                                                                                              Establishment Density

                                                                                               ®    _
                                                                                              8           18             11s
                                                                                                   Count Per square We




                                         Source: Yelp (2018), Econsult Solutions (2018)

                                                                    33
               Case 20-4238, Document 38, 02/11/2021, 3035076, Page72 of 298
                                         A-1166


               Case 1:20-cv-05301-RA                         Document 29-41                  Filed 07/22/20                 Page 35 of 81

ECONOMIC IMPACT




Brooklyn                                                                           compared to 1,236 in 2000, an annualized growth
Of the five boroughs, Brooklyn witnessed the greatest                              rate of 4 percent. A zip code level analysis shows
growth in nightlife establishments, with 5,500 total                               substantial annualized growth in 11249 (Williamsburg
establishments as of 2016, a5percent annual growth                                 along the waterfront had 64 liquor licenses in 2018
rate compared to NYC's overall nightlife establishment                             and none in 2000), 11238 (Prospect Heights with 17
growth rate of 2percent.                                                           liquor licenses in 2000 and 139 in 2018, an annualized
                                                                                   growth rate of 12 percent), and 11217 (the area along
In 2016, there were 31,100 total nightlife jobs
                                                                                   Flatbush Avenue and between Park Slope, Gowanus
supporting $608 million in wages in Brooklyn's
                                                                                   and Boerum Hill had 28 liquor licenses in 2000 and
nightlife economy. The annualized growth rate for
                                                                                   140 in 2018, an annualized growth of 9percent).
jobs is 10 percent and the annualized growth rate
for wages is 15 percent.

Brooklyn's nightlife saw an increase in active liquor
licenses in the borough since 2000. SLA data show
2,586 active licenses throughout the borough in 2018,

                                           Exhibit 3.18: Brooklyn Nightlife Establishments                                      125


                                                                                                                                100
0     4,500-
0

E                                                                                                                               50

f/1
      3,000-
9
                                                                                                                                25

y 1,500-
1                                                                                                                                 0   1
w                                                                                                                                     N    M   7   i   (

                                                                                                                                               0
d      750-                                                                                                                           0
                                                                                                                                      N
                                                                                                                                           0
                                                                                                                                           N



E                                                                                                       See Inset

Z
         0
               N   Cl)       V        LO            r—       00             O              N_      M       V        u7
               O   O         O        O      O      CD       O        O
               O   O         O        O      O      O        O        O     O       O      O       O       O        O       O
               N   N         N        N      N      N        N        N     N       N      N       N       N        N       N


               —   Arts           -        Bars          -        Food Service      -      Sports & Recreation                    Venues


                         Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)




                          "The combination of artistry and nightlife has created a
                                     J) special atmosphere in NYC."
                                         -!NYC Nightlife Performer                                                      1
                                                                                                                        1
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page73 of 298
                                       A-1167


             Case 1:20-cv-05301-RA            Document 29-41                    Filed 07/22/20       Page 36 of 81

ECONOMIC IMPACT




The liquor license story is not universal across                      ayear, or annualized growth of 33 percent), Crown
Brooklyn—for example, active liquor licenses                          Heights (an increase of 305,000 trips, annualized
have decreased in 11236 (Canarsie, which has 8                        growth of 117 percent), and Bushwick South and
liquor licenses and decreased at an annualized rate of                Bushwick North (an increase of 288,000 trips and
5percent).                                                            annualized growth of 28 percent and 271,000 trips and
                                                                      annualized growth of 92 percent, respectively).
A heat map of Brooklyn's nightlife establishments
shows the densest concentration around Williamsburg,
moving into Greenpoint to the north and Bushwick
to the east. DUMBO, Downtown Brooklyn, and Park
Slope are other neighborhoods with significant
nightlife concentration.

NYC TLC data from 2013 and 2017 demonstrate that
the rise of FHVs in Brooklyn has coincided with an                                      21 % of NYC's nightlife
annualized growth rate of 46 percent in the number of                                   establishments are in
taxi or FHV pick-ups between the hours of 12AM and
                                                                                               Brooklyn
4AM. The neighborhoods with the greatest increase
in trips originating in the borough during this time are
Williamsburg (an increase of 442,000 total trips in


                           Exhibit 3.19: Brooklyn Nightlife Establishment Density Map




                                                                                              Brooklyn Nightlife
                                                                                              Establishment Density



                                                                                              6           63              461
                                                                                                   Counl Per Spuam Mile




                                           Source: Yelp (2018), Econsult Solutions (2018)


                                                                 35
                  Case 20-4238, Document 38, 02/11/2021, 3035076, Page74 of 298
                                            A-1168


                  Case 1:20-cv-05301-RA                          Document 29-41                   Filed 07/22/20              Page 37 of 81

 ECONOMIC IMPACT




 Manhattan                                                                             jobs is 4 percent and the annualized growth rate
 Manhattan is the epicenter of New York City's                                         for wages is 7percent.
 nightlife. There were 13,000 nightlife establishments
                                                                                        In Manhattan, total liquor licenses have grown at an
 in Manhattan in 2016, the highest among all five
                                                                                        annualized rate of 1.6 percent since 2000; SLA data
 boroughs. Manhattan's nightlife establishments have
                                                                                        show 6,011 active liquor licenses across the borough
 seen modest growth of 2percent from 2011 to 2016,
                                                                                        as of 2018. Zip codes with the greatest liquor license
 on par with citywide growth. Establishment count,
                                                                                        growth include 10065 (part of the Upper East Side
 particularly in Food Service (the largest part of the
                                                                                       with no active liquor licenses in 2000 and 69 in 2018),
 nightlife economy in the largest borough), is showing
                                                                                        10026 (part of Harlem with 5liquor licenses in 2000
 signs of leveling off with the total volume of Food
                                                                                        and 38 liquor licenses in 2018, an annualized growth
 Service establishments dropping from 2015 to 2016
                                                                                        of 12 percent), and 10002 (the Lower East Side, with
 (8,683 to 8,574). Based on stakeholder interviews,
                                                                                        69 liquor licenses in 2000 and 287 in 2018, annualized
 these businesses face oversaturated competition and
                                                                                        growth of 8percent).
 high operating expenses which could be contributing
 to this one year decrease.                                                            A heat map of Manhattan's nightlife establishments
                                                                                        shows that nightlife activity is significant throughout
 In 2016, there were 128,900 total nightlife jobs
                                                                                        the borough. The densest concentrations of nightlife
 supporting $4.8 billion in wages in Manhattan's
                                                                                        establishments are around Times Square, Chelsea,
 nightlife economy. The annualized growth rate for
                                                                                        and Greenwich Village.


                                               Exhibit 3.20: Manhattan Nightlife Establishments
                                                                                                                                    125

 Vl
                                                                                                                                    100-,
 d 10,000--
 E                                                                                                                                   50
 t
 f/1
       7,500—
 9                                                                                                                                   25 1
 m
 Lu 5,000—                                                                                                                            01
 0

 9 2,500—                                                                                                    See Inset
 E
 Z        0
                  N      co       V       LO             r—      00              O               N_     M       V        u7
                  O      O        O       O       O      CD      O       O
                  O      O        O       O       O      O       O       O       O        O      O      O       O        O      O
                  N      N        N       N       N      N       N       N       N        N      N      N       N        N      N


              —       Arts            —    Bars          —      Food Service          —       Sports & Recreation                Venues

                              Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)




                         1
                         1

                       "New York•Git                    is the"placerwhe're the                       Orld can find,you."
                                                                 0    -NYC Artist




Aliki-                                I   MUSICoAwIAA LL-Aid
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page75 of 298
                                      A-1169


            Case 1:20-cv-05301-RA                     Document 29-41                   Filed 07/22/20       Page 38 of 81

ECONOMIC IMPACT




Analysis of the changes in the volume of late-night taxi                      and 4AM were Midtown (366,000 more trips, with
and FHV pick-ups shows amore nuanced story. While                             annualized growth of 4 percent), Central Harlem
neighborhoods like the East Village and West Village                          (308,000 more trips, annualized growth of 49 percent),
continue to experience large volumes of pick-ups                              and Washington Heights (223,000 more trips,
between 12AM and 2AM, they have not experienced                               annualized growth of 72 percent), demonstrating the
the same level of growth as other parts of the borough                        increased transit accessibility that FHVs have created.
during this timeframe. These neighborhoods saw
anoticeable decrease in the volume of pick-ups
between 2AM and 4AM from 2013 to 2017 (a decrease
of 29,000 and 83,000 trips, or annualized declines
of 1percent and 3percent, respectively). Among
the neighborhoods in Manhattan with the greatest
                                                                                                      r
increase in taxi and FHV pick-ups between 12AM
                                                                                              Manhattan's nightlife
                                                                                               jobs represent 66%
                                                                                                of NYC's industry
                                                                                                       total



                              Exhibit 3.21: Manhattan Nightlife Establishment Density Map
                     11                        k




                                                                                                                                 M
                                                                                                                                 4j
                                                                                                                                        1
                                       I




                                                                                                    Manhattan Nightlife
                                                                                                    Establishment Density


                                           61
                                                                                                    35         1,045            3,620

                 1        I    ly be
                                           O                                                             ..0 tPer Square Mile
             `   0        1    2



                                                   Source: Yelp (2018), Econsult Solutions(2018)


                                                                         37
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page76 of 298
                                       A-1170


             Case 1:20-cv-05301-RA                         Document 29-41                   Filed 07/22/20               Page 39 of 81

ECONOMIC IMPACT




Queens                                                                            In 2016, there were 24,900 total nightlife jobs
As of 2016, Queens had 4,800 nightlife                                            supporting $622 million in wages in the Queens
establishments, and experienced annualized growth                                 nightlife economy. The annualized growth rate for
of about 3percent since 2011, slightly higher than                               jobs was 7percent and the annualized growth rate
NYC's nightlife industry growth rate of 2percent.                                 for wages was 9 percent.
The subsector with the greatest rate of growth was
                                                                                  Until the mid-2000s, Queens had more nightlife
Venues. Queens' music venues and entertainment
                                                                                  establishments and liquor licenses than Brooklyn—
spaces have grown by 10 percent in the last five years
                                                                                  making it second to Manhattan. According to
in comparison to NYC's Venues growth of 4 percent.
                                                                                  2018 SLA data, the borough has 2,332 active
Not growing as fast, but comprising alarger base
                                                                                  licenses, which represents 1.7 percent annualized
of the borough's nightlife scene, are Food Service
                                                                                  growth since 2000.
establishments (4,200 as of 2016), growing at an
annual rate of 3percent.


                                          Exhibit 3.22: Queens Nightlife Establishments


                                                                                                                              125 1
                                                                                                                                    i
                                                                                                                              100
    4,500-
4
E                                                                                                                              50
y 3,000—

                                                                                                                               25 •
M
w 1,500—                                                                                                                              -
                                                                                                                                0
0                                                                                                                                   N

                                                                                                                                    O     O   O   O   O
d    750—                                                                                                                           N     N   N   N   N

                                                                                                        See Inset
E
Z      0
             N    Cl)       V       LO       (0    r—      00      M       O              N       Cl)     V         LO
             O    O         O       O        O     O       O       O
             O    O         O       O        O     O       O       O       O       O      O       O       O         O     O
             N    N         N       N        N     N       N       N       N       N      N       N       N         N     N


             —   Arts           —     Bars          —       Food Service         —      Sports & Recreation                   Venues


                        Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)




                        'Peol5le are choosing to go.out'locolly in Queens. This;is
                        easierwt
                               odono,compared to 20,years_ago-because
                             i   i      Jam' 1 i ►   #•    Al
                                 -_ Jr ere are -ore-option t
                                       -NYC D•'&=Eneraine I
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page77 of 298
                                       A-1171


             Case 1:20-cv-05301-RA            Document 29-41                    Filed 07/22/20      Page 40 of 81

ECONOMIC IMPACT




A zip code level analysis shows that the                              (219,000, 166,000, and 165,000 more trips each
neighborhoods with the greatest growth in active                      year, respectively in 2017 compared to 2013). The
liquor licenses include 11364 (Oakland Gardens,                       annualized growth rate of taxi and FHV pick-ups in
which had 9liquor licenses in 2000 and 22 licenses as                 Astoria was 34 percent; in Hunters Point/Long Island
of 2018, an annualized growth rate of 5percent) and                   City 30 percent; and in Jackson Heights 68 percent.
11354 (Flushing, which had 82 liquor licenses in 2000
and 176 licenses in 2018, an annualized growth rate of
4percent).




                                                                                             Im
Queens' nightlife establishments are highly
concentrated in Hunter's Point and Astoria, as
demonstrated in the heat map.

Based on the comparative analysis of nightlife
                                                                                         Nightlife wages in
pick-ups via taxis and FHVs in 2013 and 2017,
nighttime rides have increased at an annualized
                                                                                        Queens have grown
rate of 50 percent between the hours of 12AM and                                            9% annually
4AM. The neighborhoods of Astoria, Hunters Point/
Long Island City, and Jackson Heights have seen
the greatest increase in annual late-night pick-ups


                          Exhibit 3.23: Queens Nightlife Establishment Density Map

                                                                                                          7




                                                                                                              f




                                                                                             Queens Nightlife
                                                                                             Establishment Density



                                                                                             6     ou    51             345
                                                                                                  Cnt Per Square Mile
                         z
                         JM+-

                                                                                                                              J

                                           Source: Yelp (2018), Econsult Solutions (2018)

                                                                 39
                                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page78 of 298
                                                             A-1172


                                   Case 1:20-cv-05301-RA                            Document 29-41                    Filed 07/22/20                Page 41 of 81

ECONOMIC IMPACT




Staten Island                                                                                              annualized growth rate was 3percent (totaling 18 in
Staten Island has the fewest nightlife establishments                                                      2000 and 33 in 2018).
of the five boroughs. There were 800 nightlife
                                                                                                            In 2016, there were 3,900 total nightlife jobs
establishments in 2016 in Staten Island, down from
                                                                                                           supporting $64 million in wages in Staten Island's
815 in 2015. The borough experienced adecline in
                                                                                                            nightlife economy. The annualized growth rate for
nightlife establishments across all nightlife categories
                                                                                                           jobs was 4 percent and the annualized growth rate
over the last five years.
                                                                                                           for wages was 6 percent.
SLA liquor license data show that there were 404
                                                                                                            Nightlife establishments in Staten Island are scattered
active licenses in the borough in 2018, an annualized
                                                                                                           throughout the borough. The Yelp data show
growth of 0.6 percent since 2000. There are some
                                                                                                           concentrations in St. George, in addition to parts of
neighborhoods with agreater volume of liquor license
                                                                                                            North Shore and South Shore.
activity in Staten Island when analyzed at the zip code
level. In 10307 (Tottenville) the annualized growth
rate for liquor licenses was 4 percent (totaling 11 in
2000 and 21 in 2018), and in 10308 (Great Kills) the



                                                                Exhibit 3.24: Staten Island Nightlife Establishments
                                                                                                                                                          125

                                                                                                                                                          100-
  Number of Establishments




                             800
                                                                                                                                                          50
                             600
                                                                                                                                                          25-

                             400                                                                                                                            0 1

                                                                                                                                                                 0   0   0   0   0
                             200
                                                                                                                                   See Inset
                               0
                                       N      Cl)       V       L0             r—      00              O               N_     M       V        u7
                                       O      O         O       O      O       CD      O       O
                                       O      O         O       O      O       O       O       O       O        O      O      O       O        O      O
                                       N      N         N       N      N       N       N       N       N        N      N      N       N        N      N



                                   —       Arts           —     Bars          —       Food Service          —       Sports & Recreation                Venues

                                                    Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)




                                       "With population grow1h,throughout the, boroughs, areaswhere
                                           nightlifeicoulq%r have beenisustained.be•fore no_w_can."
                                                        -NYC-Real Estate-Professional
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page79 of 298
                                      A-1173


            Case 1:20-cv-05301-RA            Document 29-41                    Filed 07/22/20          Page 42 of 81

ECONOMIC IMPACT




The expansion of FHV rides between 2013 and 2017                     proximity to the Staten Island Ferry Terminal, there
resulted in increased trips throughout Staten Island                 is considerable potential for increased volumes of
during nightlife hours—with 280 percent annualized                   nightlife activity in the coming years. 19
growth—signifying greater accessibility and




                                                                                                    t•
transportation options for borough residents. Analysis
of nightlife establishments and late-night taxi and FHV
pick-ups show pockets of increased activity between
12AM and 4AM in the neighborhoods of New Brighton
(28,000 more trips throughout the year, or annualized
growth of 528 percent), Grymes Hill/Clifton (12,000
more trips, or 297 percent annualized growth) and St.
George (11,000 more trips, or 260 percent growth).                                           82% of Staten
With the impending opening of the Empire Outlets                                            Island's nightlife
in the borough, and the $1.2 billion investment in the                                      jobs are in Food
St. George Waterfront redevelopment, Staten Island                                               Service
anticipates attracting more of the 2 million tourists
that take the Staten Island Ferry to spend additional
time in in the area. Due to the new visitors and




                       Exhibit 3.25: Staten Island Nightlife Establishment Density Map




                                                                                               Staten Island Nightlife
                                                                                               Establishment Density
             i

                                                                                                6         14              68
                                                                                                    Count Per Square We



                                           Source: Yelp (2018), Econsult Solutions (2018)


                                                                41
Case 20-4238, Document 38, 02/11/2021, 3035076, Page80 of 298
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page81 of 298
                                       A-1175


             Case 1:20-cv-05301-RA              Document 29-41      Filed 07/22/20      Page 44 of 81




NYC's Nightlife Assets


New York City's nightlife economy benefits from multiple assets and underlying infrastructure, which can be used
to understand the drivers of economic growth and advance the development of NYC's nightlife. These include,
but are not limited to:

 • An identity that incorporates nightlife, appealing to patrons and professionals who constitute nightlife's talent;

 • A diverse population that creates demand for nightlife across the five boroughs;

 • An extensive 24/7 transportation infrastructure; and

 • Historically low crime rates that enable patrons and professionals to engage safely in NYC's nightlife.

NYC's Nightlife Identity

New York City's nightlife has an identity that resonates among surveyed stakeholders and interviewees (as
described in detail in the following section). The brand carries intangible value well beyond the economic impact
quantified in this report.

Consumers: Among surveyed consumers who live outside the city, over 60 percent indicated that nightlife was a
factor in their decision to visit New York City. 20

Hospitality Professionals and Artists/Entertainers: Because of NYC's reputation as an epicenter of nightlife,
it is amagnet and training ground for hospitality and entertainment professionals. With dozens of schools and
educational programs spanning culinary skills, music, the arts, and hospitality around the tri-state area, NYC
has asteady pipeline of professionals pursuing careers in hospitality and entertainment. Interviewees and
surveyed professionals described how working in New York City's nightlife industry developed their artistic skills,
professional networks, and personal brands, enabling them to find above-average salaries when working outside
NYC. Owners and managers operating their establishments in the hyper-competitive NYC environment carry
their experience into future ventures within the city and elsewhere. Interviewees across different musical and
entertainment genres consistently describe the waves of innovation that New York City has incubated, catalyzed,
and accelerated over the decades.




                                                      •o
                                                     0, oof non
                                                • A.
                                               reside" ssurveyed.
                                             r,noted thaulfii htlife-1 ,
                                                 was a factor in their
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page82 of 298
                                       A-1176


             Case 1:20-cv-05301-RA             Document 29-41       Filed 07/22/20       Page 45 of 81

NIGHTLIFE ASSETS



Diverse Population                                           Students: Over 600,000 students spanning more than
                                                             100 NYC college and university campuses constitute
NYC's nightlife variety reflects the diversity of its
                                                             an important sub-segment of the city's population as
population—both residents and non-residents who
                                                             they provide astable, if seasonal, population with a
visit the five boroughs.
                                                             high demand for nightlife services.

Immigrants: With approximately 40 percent of NYC's
                                                             Transportation Infrastructure
population of 8.6 million being foreign-born, and a
long history of immigration from across the world, New       New York City boasts a24/7 transportation network
York City's ethnic diversity is reflected in food service,   offering several options for nightlife patrons and
entertainment and other nightlife offerings .21              professionals. NYC has awell-established tradition of
                                                             nighttime transport, in contrast to many other major
Tourists: As amagnet for tourism with over 62 million
                                                             cities that often struggle with whether and how to
visitors in 2017, nightlife patrons visiting NYC create a
                                                             operate night service at all. The city's transportation
constant demand for the city's offerings .22
                                                             network includes:

LGBTQ: With an estimated LGBTQ population
                                                              • Over 665 miles of mainline subway tracks, nearly
exceeding 750,000 (9 percent of the city's population),
                                                                 800 bridges and tunnels, along with 6ferry
New York City has the largest LGBTQ population of
                                                                 service lines connecting the five boroughs .24
any U.S. city. 23 Citing NYC nightlife as an industry that
                                                                 These are complemented by the 16 major
has historically been shaped by and welcoming of
                                                                 bridges and tunnels operated by the Metropolitan
marginalized groups, interviewees for this study noted
                                                                 Transportation Authority (MTA) and Port Authority
the LGBTQ community's contributions in shaping NYC
                                                                 of New York and New Jersey (PANYNJ) that
nightlife over many years.
                                                                 connect the city to the tri-state area .21
              Case 20-4238, Document 38, 02/11/2021, 3035076, Page83 of 298
                                        A-1177


             Case 1:20-cv-05301-RA           Document 29-41     Filed 07/22/20       Page 46 of 81

NIGHTLIFE ASSETS


• More than 3,500 yellow medallion taxis and an          Historically Low Crime Rates
    estimated 60,000 For-Hire Vehicles (FHV) working
                                                         New York City has enjoyed significant improvements
    across the boroughs and venturing throughout the
                                                         in public safety over the last two decades, and
    tri-state area .26
                                                         crime rates have reached record lows with asteady
•   Three major airports (John F. Kennedy,               drop in violent crime. Although the population has
    LaGuardia and Newark's Liberty), two of which        grown from 8million in 2000 to 8.6 million in 2018,
    are in Queens and the third only 30-45 minutes       crime has declined. Fewer than 300 murders were
    away from downtown Manhattan, in New Jersey.         committed in the city in 2017, the lowest since 1951,
    These are supported by multiple secondary            and asubstantial reduction from 2,245 in 1990. 28
    airports outside the city's limits, but accessible   The 96,658 crimes that occurred in the city in 2017,
    to NYC in less than an hour. Collectively, these     across seven major felony offense categories, were
    airports served more than 124 million passengers     the lowest since the New York Police Department
    in 2015, and capacity is expected to grow as the     (NYPD) began tracking the data .
                                                                                        21 NYC's nightlife

    airports are upgraded, enabling agrowing tourism     thrives today, in part, because it is relatively safe for
    base in coming years .27                             patrons and professionals to venture out at night to
                                                         participate in nightlife.
Case 20-4238, Document 38, 02/11/2021, 3035076, Page84 of 298
                          A-1178


Case 1:20-cv-05301-RA   Document 2•-   Filed 07/22/20   Page 47 of 81
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page85 of 298
                                      A-1179


            Case 1:20-cv-05301-RA           Document 29-41         Filed 07/22/20          Page 48 of 81




Nightlife Perspectives


The research conducted across NYC's nightlife stakeholders, including 1,300 sources of input, elaborates what
they value in New York City's nightlife scene and their behaviors that drive nightlife economics. This report
summarizes findings from stakeholders in three overarching categories:

 • 864 completed surveys of NYC nightlife consumers (including members of the community and people who
    live outside NYC);

 • 376 completed surveys of nightlife professionals (including owners or operators of establishments, artists or
    entertainers, and nightlife employees); and

 • 65 interviews with diverse nightlife stakeholders, including owners and operators of establishments, artists
    and performers, consumers (residents, tourists, commuters), public officials, policymakers, developers,
    activists, academics, and employees of nightlife industries.




                                                            Exhibit 4.1 Frequency of Going Out to Engage in
                                                                       NYC's Nightlife (Days/Week)

      864 surveys
       of nightlife              376 surveys
       consumers                  of nightlife                                                                1-2

                            1    professionals                                                                3-4



             06"5'                                                                                        .   5-7


              interviews                                                                                      Never/Almost
                                                                                                              Never
             with nightlife
             stakeholders
                                                                          Source: Urbane Development (2018)
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page86 of 298
                                      A-1180


            Case 1:20-cv-05301-RA             Document 29-41                       Filed 07/22/20          Page 49 of 81

NIGHTLIFE PERSPECTIVES


Consumers                                                                     • Frequency of going out and typical days:
                                                                                Surveyed respondents go out most frequently 1-2
Of the 864 nightlife consumers asked about their
                                                                                times aweek (53 percent), followed by 3-4 times a
participation in NYC's nightlife, 73 percent were
                                                                                week). Thursday (61 percent), Friday (80 percent)
NYC residents while the balance (27 percent) were
                                                                                and Saturday (86 percent) are the most common
non-residents (commuters, day-trippers, tourists,
                                                                                days to go out. Mondays are the least common
or business travelers). Sixty-six percent fell in the
                                                                                day to enjoy nightlife, with only 19 percent of
age range of 21-40, with 32 percent reporting to be
                                                                                survey respondents selecting that day.
41 or older. The survey addressed their spending
patterns, preferences, and factors that influence                             • When they depart and return: The most
their nightlife decisions.                                                      common time to depart for nightlife activities is
                                                                                between the hours of 6PM and 8PM (41 percent),
How do they participate in NYC's nightlife?
                                                                                with 31 percent departing between 8PM and

 • Types of establishments frequented: NYC's                                    10PM. Thirty-two percent of respondents return

    nightlife consumers most commonly enjoy                                     home between 12AM and 2AM; 38 percent return

    restaurants (85 percent), bars and clubs (73                                home after 2AM.

    percent), and live music and concerts (56 percent).
                                                                              • Mode of transportation used: Most nightlife
    While cited with less frequency by consumers,
                                                                                consumers get to their nightlife activities by
    survey respondents also reported attendance at
                                                                                subway, bus or other public transportation (75
    house parties (37 percent) and underground or
                                                                                percent). The next most popular modes include
    pop-up parties (35 percent), indicating that DIY
                                                                                taxis and FHV (car service, limo, or Uber/Lyft) (65
    nightlife continues to thrive in NYC.
                                                                                percent), and walking (34 percent).


               Exhibit 4.2: Types of Establishments Frequented in aTypical Night Out in NYC

             % 100 —

                 90 —
                         85%

                 80 —
                                 73%
                 70

                 60                         56%
                                                   49%
                 50
                                                                     45%
                                                                                41%
                 40                                                                      37%         35%

                 30                                                                                        28%
                                                                                                                      22%
                 20

                 10

                  0
                           l
                        `rv,5
                                C lcy   s
                                        J         ,•     \c,        .ey a•5     •a••     Qa,      o•LeS   J••y        cry J e
                                                  fey`              Cceo        J5a •oJSe       •• Q6- Ga•c

                                                                                               CQ•           G•- `
                                                                                                                 •6

                                                                                                             a
                                                  Source: Urbane Development (2018)


                                                               48
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page87 of 298
                                       A-1181


             Case 1:20-cv-05301-RA             Document 29-41                   Filed 07/22/20             Page 50 of 81

NIGHTLIFE PERSPECTIVES


Why do they participate in NYC nightlife?

• Why they typically go out: Overall, nightlife
   consumers are usually engaging in nightlife to
   connect with friends or family (77 percent), to relax
   and unwind (69 percent), and to experience arts
   and culture (64 percent). Non-residents also have
   ahigher propensity for sightseeing at night (over
   50 percent versus 22 percent for residents).

• Factors influencing their decisions: Besides
   their personal preferences and tastes, the top
   factors that shape consumers' nightlife decisions
   are the opportunity to attend aunique experience
   or event (93 percent), price and affordability (89
   percent), minimal wait time (84 percent), and
   accessibility via public transportation (83 percent) .     30




                    Exhibit 4.3: Reasons Consumers Typically Participate in NYC Nightlife



Connect with friends and family
                                                                                                                            80%
                                                                                                                67%


            Relax and unwind
                                                                                                                     72%
                                                                                                          62%

   Experience arts and culture
                                                                                                                67%
                                                                                              55%

                                                                                           53%
                         Party                                                           48%


                        Dance                                                          48%
                                                                    31%

     Meet someone for adate                          23             33%
                                                          %

      Connect with colleagues                               28%
                                                 20 %

          Sightseeing at night                      22%
                                                                                            52%

                                  0   10       20           30            40           50            60         70         80     90

                                                          NYC Residents                   E     NYC Visitors

                                                       Source: Urbane Development (2018)
                                           Note: Residents surveyed (n=629); visitors surveyed (n=235)

                                                                   49
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page88 of 298
                                             A-1182


                   Case 1:20-cv-05301-RA                                Document 29-41                            Filed 07/22/20                    Page 51 of 81

NIGHTLIFE PERSPECTIVES


How do they contribute to NYC's nightlife                                                                  $30 per person on drinks when enjoying nightlife.
economy?                                                                                                   Among non-residents, 35 percent pay over $30
                                                                                                           per person on cover or tickets on atypical night
• Residents: When NYC residents go out at
                                                                                                           out; 48 percent of non-residents pay more than
   night, they tend to spend the most money on
                                                                                                           $30 per person for food and 18 percent of non-
   drinks (39 percent will spend $30+ per person);
                                                                                                           residents pay more than $30 for transportation
   however, overall, the majority of New Yorkers
                                                                                                           (twice the frequency of residents).
   spend less than $30 per person on food, drinks,
   cover charges or tickets, or transportation in a                                                When asked to characterize New York City's nightlife,
   given night (in each category of spend). Among                                                  the most common adjectives used by consumers
   residents, 21 percent spend over $30 per                                                        related to cost, variety, and enjoyment. Additionally,
   person on cover charges or tickets; 34 percent                                                  the most commonly cited areas to frequent included
   typically spend more than $30 per person on                                                     Bushwick, the Lower East Side, the East Village and
   food. Only 9 percent of residents pay more than                                                 the West Village.
   $30 for transportation.

• Non-residents: In comparison, non-residents of
   the city generally spend more. More than half of
   all non-resident respondents spend more than




                      Exhibit 4.4: Words Commonly Used by Consumers to Describe NYC's Nightlife



                                                                                                                 C Venue
                                                                                                                     rowd                          Much,_
                                                                                                                                           0eptn          o-n




                                ,,.Fresh
                                                          Are;     0

                                                                 LIVe A L vNcn
                                                                                                 '•• •
                                                                                                     Y

                                                                                                                       w•nlnr / A•• Wre        L--OU   Back
                                                   •      F



                                           V.i                    Best
                                                                                   M•_
                                                                                     01 •
                                                                                        1x


      C
             Huge

                                                                                                                                                                      UtB US •
                                        1 ^             lirant
                                                        l "                         ,    ,l   6d                 ul

        Need
                                                                                            'ultureTnings
                                               Scene.                           h'tissr •             •-                    "'                                                               ,I
  _         I      Reste"wnts
                         TIII                    Surp ri ses                        V                                                                         Energizing                     y
                      •
                   Y: ,
                                                   Tarr                Alive       tt, P              Day. Aft              a                                              Creative
    Eve ry thing        OSS
                                  Before
                                                    91n8 1       .
                                                                 _` Ldeg       ,           Aft
                                                                                                                                                                           N•igh,tf f
                                                   club


                                                                                                                                                                           Out stuff
      Anything       Rangc       Various

           Time                  =nee elic ,Dance
                                                 High


                                                                                           Som ethina 1pta
                                 an e
                                    t
                                      `•      Relaxud                                                                  FriendAvailable



                                                                                                                                                                           U
                                                                                                                                          IJ Nightlife •
                ­1 Full                                          Big                                        1t                                                              I"nnnFEccenvic       `"`"

                      Now                                                Many Abundantr-                                                                                           ^         See
                                        Still Dynamic)
                                             .,-- Potential                                 " Srneu                                                n       icq
                                                                                                                                 Fast      Qua li ty EcleBetter
                                JUant
                                                                               ,
                                                                               Event
                                                                                                                    Week
                                                                                                                                                                    .-Insp iring
                                   —opportuMy
                                        Rich   Nreal°'"
                                                ev e        More                                           Nj
                                                                                                           Hall
                                                                                                                    Lit                                               Choices Sw°
                                                                                                                                  Ne                             "
                                                                                                                                                                      P
                                                                                                                                           w       Spantano

                                                                        Pa yInterest
                                                                                                                                                   :"       "
                                                                                                                    E,vga
                                                                           rt                 fatrulals                          Sumulating"'•""
                                                                                                                                 Walk




                                                                                            50
           Case 20-4238, Document 38, 02/11/2021, 3035076, Page89 of 298
                                                     A-1183

           Case 1:20-cv-05301-RA           Document 29-41        Filed 07/22/20       Page 52 of 81

NIGHTLIFE PERSPECTIVES


      Comparative Nightlife Spending: NYC Residents vs. Non-Residents Based on Survey Responses




      63% of                         29% of                      40% of                         34% of
      New Yorkers and                New Yorkers and             New Yorkers and                New Yorkers

      54% of non-                    20% of non-                 51 %     of non-               and   4$% of
      residents spend                residents don't pay         residents spend                non-residents
                                     cover when they                                            spend more than
      less than   $15 on                                         more than   $30
                                     engage in nightlife
      transportation on a                                        on drinks during               $30 on food
      typical night out                                          atypical night out             during a typical
                                                                 in NYC                         night out in NYC




What challenges do consumers see                              that policing is achallenge, compared to 22
in NYC's nightlife?                                           percent for white respondents.

• Price and affordability: The costs of NYC's               • Transportation accessibility: Forty-two
   nightlife was clearly the top issue amongst                percent of respondents perceived transportation
   surveyed consumers; 66 percent of the                      accessibility to be achallenge.
   respondents agreed in varying degrees that
   affordability is achallenge.

• Safety concerns: When highlighting NYC nightlife
   challenges, 44 percent of survey respondents
   cited safety concerns. Of those citing safety
   concerns, half (22 percent) somewhat agreed that
   safety is achallenge, 14 percent agreed and only
   8percent strongly agreed that it is achallenge.
   Notably, 54 percent of female respondents agreed
   that safety is aconcern to some degree while only
   36 percent of men indicated aconcern.

• Nightlife policing: Twenty-four percent of
   survey respondents agreed or strongly agreed
   that nightlife policing is achallenge, while 18
   percent somewhat agreed (total of 42 percent).
   Noticeable differences existed in survey
   responses based on race: 34 percent of African
   American respondents strongly agreed or agreed



                                                       51
           Case 20-4238, Document 38, 02/11/2021, 3035076, Page90 of 298
                                                      A-1184

           Case 1:20-cv-05301-RA             Document 29-41        Filed 07/22/20                 Page 53 of 81

NIGHTLIFE PERSPECTIVES


• Noise: Forty-one percent indicated that noise                Exhibit 4.5: What Challenges Do Consumers
  is achallenge in NYC's nightlife (5 percent                                    See in NYC's Nightlife?
  strongly agreed, 11 percent agreed, and 25
                                                                   Challenges                                  Percentage
  percent somewhat agreed). However, 59 percent
                                                                   Price/Affordability                                66%
  disagreed that noise is achallenge (15 percent
  strongly disagreed, 26 percent disagreed, 18                     Safety Concerns                                    44%

  percent somewhat disagreed). Given the spread                    Policing                                           42%

  in this data, as well as comments from survey                    Accessibility via Public
                                                                   Transportation                                     42%
  respondents, this challenge is an impassioned
                                                                   Noise                                              41%
  issue for aminority of respondents.
                                                                   Lack of Variety                                    37%
• Competing for consumer time: When not going                      Hours of Operation                                 31%
  out to participate in NYC's nightlife, consumers                                Source: Urbane Development (2018)

  participate in other leisure activities. Eighty-nine
  percent of respondents choose to watch TV/
  movies/YouTube; 57 percent read or write; 53
  percent cook; and 45 percent work out. Although
  not overtly identified by consumers as achallenge,
  these replacement activities represent abroader
  challenge to the nightlife economy: 83 percent
  anticipate that these alternative activities will
  increase (33 percent) or take up the same amount
  of time (50 percent) in the future.




                  9                                                                        +•F•      \                      1•   1


                                                                            Am
                                                                                              •          j ••i••_ 1'             t.
       r                     ! r •' '   L                1     1   (    `        Wit'.               J                       1


     New York ni htlife is a ke m art of tRNWcorn                                                              uni
     n '•tH'e                 •11ew•Yo`
                                      r--k•rs-
                                             and others en a                                          lae fit '' i• -
                                                                                                                    A`•
     uut TA- We . work w•it'h'l'the4
                                   police, fire dear me     4
     •t, enagenciees to makpjwre it's safe at t      me #irde."
                         -NYG• far Owner f          r
                                                        rl•
                                                                    1                                    .,
              Case 20-4238, Document 38, 02/11/2021, 3035076, Page91 of 298
                                        A-1185


             Case 1:20-cv-05301-RA            Document 29-41       Filed 07/22/20          Page 54 of 81

NIGHTLIFE PERSPECTIVES


Nightlife Professionals                                         95 percent of the respondents offer alcoholic
                                                                beverages   .33   Live entertainment is also afocal
NYC has adiverse community of nightlife
                                                                point, with 71 percent of respondents providing
professionals, which can be divided into 3sub-
                                                                music and other forms of entertainment: 53
groups: owners or operators of establishments,
                                                                percent of venues offer DJ entertainment, and 49
artists and entertainers, and employees . There is
                                         31
                                                                percent offer live music, making these the most
notable overlap in employment across these groups
                                                                popular forms of entertainment.
as nightlife professionals may work multiple jobs
across categories (e.g. entertainers who are also             • Number of employees: Slightly more than half of
employees) or have transitioned in their careers (e.g.          the businesses (55 percent) employ 50 or fewer
entertainers who have become establishment owners).             people (19 percent indicated 1-10 employees and
Respondents were asked to provide their outlook                 36 percent indicated 11-50 employees). Forty-five
based on their current professional role in NYC's               percent employ more than 50 individuals          .34




nightlife industry.

Owners/Operators

Of the 83 survey respondents, the average
establishment owner had almost 20 years of                        Exhibit 4.6: What Type of Establishments

experience in the industry, including roles that                   Do Surveyed Owners/Operators Manage?

pre-date their careers as owners. Most operators                     Establishment Type                 Percentage 35
almost exclusively own and operate establishments                    Restaurant (full- and
in NYC (as opposed to establishments outside the                     limited-service)                            69%

five boroughs).                                                      Bars                                        60%
                                                                     Dance Club or Other
How do they contribute to NYC's nightlife                            Club                                        24%
economy?                                                             Live Music/Concert
                                                                     Venues                                      20%
 • Types of establishments: The top types of
                                                                     Cabaret/Burlesque                           11%
    establishments owned or operated by survey
                                                                     Performance Venue
    respondents included: restaurants (69 percent),                  (theater, stage
    bars (60 percent), and dance clubs (24 percent).                 performance)                                  9%
                                                                     Comedy Club                                   5%
 • Establishment locations: The majority of
                                                                     Art Gallery or
    respondents owned or operated at least one                       Museum                                       4%
    establishment in Manhattan (76 percent) with                     Underground/Pop-
    the balance (24 percent) indicating they owned                   up/DIY                                       4%
    establishments in the other four boroughs   .32                  Outdoor Festival                              1%
                                                                     Strip Club                                    1%
 • Patrons served: The largest portion of
                                                                             Source: Urbane Development (2018)
    establishments served 300+ customers anight
    (36 percent). The balance was split between
    establishments serving fewer than 100 customers
    (33 percent) and 101-300 customers (31 percent).

 • Liquor and live entertainment: The provision
    of alcohol is a major element of the nightlife
    business for surveyed operators, as more than


                                                         53
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page92 of 298
                                      A-1186


           Case 1:20-cv-05301-RA              Document 29-41       Filed 07/22/20          Page 55 of 81

NIGHTLIFE PERSPECTIVES

How has business been in recent years?                        What is their employment outlook?

• Revenues: Thirty-five percent of surveyed owners            • Employment trends: Aside from addressing
   reported that revenues had increased over the last            normal employee turnover, 40 percent of
   3years, with 65 percent of those seeing arevenue              respondents indicate they will keep their staffs at
   increase between 5and 10 percent. Of those                    the same level within the next 3years—neither
   whose revenues decreased over the last 3years                 decreasing nor increasing staff count. Thirty-nine
   (24 percent), 61 percent reported adecrease                   percent of surveyed owners intend to decrease
   between 5and 10 percent. Thirty-one percent                   their staffing number within the same timeframe.
   indicated that revenues had stayed flat.
                                                              • Difficulty staffing and hiring: Two-thirds (67
• Profitability: Almost 50 percent of surveyed                   percent) of nightlife operators struggle to staff their
   owners (47 percent) reported adecrease in                     establishments. The challenges that operators
   profit over the last 3years. Of these, 36 percent            face in finding the right talent vary, but the majority
   experienced adecrease in profits that exceeded               feel that high wages (52 percent), including a
   10 percent and 46 percent saw aprofit decrease                high minimum wage (53 percent), are the biggest
   between 5and 10 percent. Eighteen percent                     difficulties. Over half of the respondents (51
   indicated their profits had increased over this               percent) feel that finding qualified candidates is
   period while 23 percent indicated that profits had            also challenging. Close to half of owners/operators
   stayed flat.                                                  (48 percent) reported that competition from other
                                                                 establishments is amajor barrier to hiring.
• Business confidence: Sixty percent of
   respondents believe their businesses will be open
   in 3years. Over 38 percent were either unsure or            Exhibit 4.7: What Are Owner/Operators' Major
   indicated that they would not be open in 3years.                      Hiring Challenges in Staffing
                                                                            Their Establishments?
• Plans to expand: Thirty-five percent of owners
                                                               Hiring Challenge                                Percentage
   anticipate expanding their business in New York
                                                               High minimum wage                                     53%
   City and 41 percent of operators plan to expand
                                                               High wages (overall)                                  52%
   into other cities. Twenty-nine percent are unsure
   about future expansions and 30 percent reported             Lack of qualified candidates                          51%

   they will not expand elsewhere.                             Competition for employees
                                                               with other establishments                             48%
• Ideal customer attraction strategies: Social                 High turnover                                         36%
   media and other press publicity is the strategy             Healthcare costs                                      33%
   that most owners and operators (57 percent)                 Lack of proper documentation                          17%
   would like to use more to promote their                     Other costs of benefits (non-
   establishment. Forty-six percent aim to increase            healthcare)                                           13%

   advertising or marketing expenditures, and                  Hours of operation                                    10%

   42 percent of operators would like to use                   Physical demands of the job                            7%

   entertainment such as DJs, live music sets, or              Language barrier                                       6%

   shows to attract customers.                                 Other                                                  5%
                                                               Location not easily accessible
• Organizations/groups important for success:                  to public transportation                               5%
   Regarding organizations or entities helpful to              Safety concern of employees                            4%
   ensure ongoing success, 77 percent of owners/
                                                               Lack of parking                                        4%
   operators cited an industry association, 64 percent
                                                                           Source: Urbane Development (2018)
   pointed to the NYPD, and 61 percent highlighted
   their neighbors.


                                                         54
           Case 20-4238, Document 38, 02/11/2021, 3035076, Page93 of 298
                                     A-1187


           Case 1:20-cv-05301-RA                    Document 29-41           Filed 07/22/20          Page 56 of 81

NIGHTLIFE PERSPECTIVES

What operating challenges do they face?
                                                                        Exhibit 4.8: What Operating Challenges Do

• Costs of running businesses: Eighty-seven                                          Owner/Operators Face?

   percent of respondents indicated that the rise                         Operating Challenge 3                       Percentage
   of commercial rent prices is achallenge or                             Rising commercial rents                                 87%
   major challenge.                                                       Regulatory red tape                                     68%

• Regulatory red tape: Sixty-eight percent of owners                      Fewer people going out                                  63%

   reported regulations or red tape as achallenge                         Price/affordability for
                                                                          customers                                               61%
   while operating their business in NYC. When
                                                                          Community board processes                               49%
   asked the degree to which they found red tape
                                                                                      Source: Urbane Development (2018)
   challenging (e.g. licensing, inspections, fines, and
   process uncertainties when opening or modifying an
   establishment), 50-74 percent of respondents rated
   them as moderate or major challenges.

• Consumer challenges: Beyond the operating                                                     87% of
   difficulties, they also face consumer-related
                                                                                       respondents
   challenges. Sixty-three percent of owners cited
                                                                                     indicated rise of
   fewer people going out to be achallenge, while
                                                                                    commercial rent is
   61 percent recognized that nightlife's pricing and
   affordability for consumers are challenges as well.
                                                                                       achallenge




        Exhibit 4.9: Words Commonly Used by Owners/Operators to Describe NYC's Nightlifess



                                                                          Vibrant Essence
                                                                        Destinationgringing




                                                                          ur
                                                                           e
                                             Successful Enjoyable                                Vibrant
                                                     Awhile
                          Fun   New                                                             Expressing
                   Life
                          BRest                            H                                                ■    Rewarding



                                                                      Jobs Identity ■ Friends
                                              Clean              Live                               C       IIvGue:;t:
            Social               •OOCI                                          ■                                     Meeting
          Here
             ueiebrate
                            Quality                                                                                       Happy



                                                                                                                          Live
           Safe
                                                                                                                            `
    Art
                                                                  muni
                                                                     t Dive
     Together                                                                                                                ai
                   People          Best
                                ACtIVe            ^etc                    Tourism       ■       CIaSS _91-ar ge
   BUSY                                      Special O     m           Dive rs e                                   Customers




                                      un rin              ®
                Play             Music                         Ene •. y""'"•Histo
                                                                                                           ree om
                                                                                            Life
                              neybb.1.0d   AcceSS                  3 ■        Drink ry

      Eat                   Culture

                                                                                         Relaxation
         W Artistic
           Orld                            Backbone ExcitingF riendship                Future


                                                     Diverse




                                                                 55
                     Case 20-4238, Document 38, 02/11/2021, 3035076, Page94 of 298
                                               A-1188


                    Case 1:20-cv-05301-RA              Document 29-41        Filed 07/22/20         Page 57 of 81

       NIGHTLIFE PERSPECTIVES


       Artists/Entertainers 38                                            at bars. Over half (52 percent) reported working
                                                                          in performance venues, including theaters, dance
       Amongst the 187 surveyed artists and entertainers,
                                                                          halls, or other stage performance centers.
       their average tenure exceeds 23 years in their role.
                                                                        • Residence: Manhattan and Brooklyn are the most
       How do they make aliving?
                                                                          common boroughs in which artists reside, with 39

        • Full-time vs. part-time employment: Over half                   percent and 23 percent of artists living in each,

            of nightlife artists and performers (60 percent)              respectively. Of the 22 percent who commute

            are employed full-time in their craft; the balance            from outside New York City, the overwhelming

            (40 percent) works part-time in other non-related             majority live in New Jersey and other parts of New

            industries. Artists working full-time in their craft          York State .40 Manhattan remains alarge base for

            indicated that they perform during the day and                residence, but notable shifts have occurred from

            night, teach, and assume other roles that use their           Manhattan to the outer boroughs, consistent with

            talent. Part-time artists and entertainers work a             nightlife's expanding footprint. 41

            wide range of other jobs that do not necessarily
            take advantage of their skills. 30                                   Exhibit 4.10: Number of Venues
                                                                                   Surveyed Artists Perform in
        • Number of performance venues: Thirty-eight
            percent of surveyed artists reported working at
            3to 5establishments at the time they took the
            survey. Thirty-nine percent performed at 6or                                                                   •1
            more establishments.
                                                                                                                           .   2

        • Where they work: A large majority of artists
                                                                                                                           •3to5
            (80 percent) primarily perform in Manhattan,
            followed by 18 percent who focus on Brooklyn for                                                               .6 to 10
            their performances.
                                                                                                                               10+

        • Types of establishments: Sixty-three percent
            of artists reported performing at live music or
            concert venues, followed by 55 percent who work
                                                                                       Source: Urbane Development (2018)




            The art and music scene in New York City is more accessible
014           than in other places because of the range of shows."
                                                 -NYC Performing Artist

 Pit
       v►

                                                                   56
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page95 of 298
                                      A-1189


            Case 1:20-cv-05301-RA           Document 29-41            Filed 07/22/20            Page 58 of 81

NIGHTLIFE PERSPECTIVES


What is their outlook on the future?                            • Low wages: Seventy percent of respondents cited
                                                                   low wages as achallenge in their field. Moreover,
• Future in nightlife: Over three-fourths of
                                                                   60 percent agreed that wage theft or withholding
   respondents (79 percent) indicated they will still
                                                                   of wages was amoderate or major issue for them
   be working in NYC's nightlife industry in three
                                                                   in their work.
   years, while 16 percent are not sure of their future
   in the industry.                                             • Establishment closures: Sixty-eight percent of
                                                                   surveyed artists pointed out that establishment
• Factors influencing professional decisions:
                                                                   closures and reduced hours adversely impacted
   Over 79 percent of artists choose to work in
                                                                   them in amoderate or major way.
   NYC's nightlife industry because it allows them
   to develop their talent or craft. Ninety-six percent        When describing nightlife, artists and entertainers use
   indicated that they like the type of work they are          adjectives and descriptors that underscore theirjob
   doing, and that this was afactor in their decision          satisfaction, sense of cultural diversity, and artistic
   to work in NYC nightlife. Seventy-two percent               freedom. They did not frequently cite economic
   of surveyed artists reported they enjoy the                 motives and compensation in their responses
   opportunity to meet and work with different kinds           (Exhibit 4.12).
   of people. Nearly 70 percent of respondents cite
   an interest in this industry to make connections
   to pursue other professional opportunities. This
   was followed closely by 67 percent of respondents               Exhibit 4.11: What Challenges Do Artists/

   who cited the energy of the nightlife industry as a               Entertainers Working in NYC's Nightlife?

   reason they like working in NYC nightlife.
                                                                      Artists Challenges                     Percentage

• Attracting customers: Close to half of the                          Lack of stable income                          80%

   surveyed artists (49 percent) indicated that                       Competition for gigs                           79%
   entertainment, such as DJ performances, live                       Lack of benefits                               73%
   music, and stage performances is amajor                            Low wages                                      70%
   attraction for customers. Forty-seven percent                      Establishments shutting
   of performers cited that customers seek                            down                                           68%

   opportunities to attend unique experiences or                      Inequitable payment
                                                                      practices (theft,
   events, followed by an interest in going dancing
                                                                      withholding, pay to play,
   (36 percent).                                                      etc.)                                          60%
                                                                      Negotiating contracts
• Income instability: Eighty percent of artists and
                                                                      with employers                                 57%
   entertainers cited lack of income stability as a
                                                                      Finding time to practice
   moderate or major challenge of working in NYC's                    or develop my craft while
   nightlife industry.                                                working another job                            44%
                                                                      Access to affordable
• Competition: Competition for gigs remains a                         rehearsal space                                43%
   significant hurdle for performers, with 79 percent                 Access to workplace via
   of respondents citing competition as amoderate                     public transportation                          35%
   or major challenge.                                                           Source: Urbane Development (2018)


• Lack of benefits: Seventy-three percent of
   respondents indicated the lack of benefits is an
   issue for them.



                                                          57
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page96 of 298
                                           A-1190


                 Case 1:20-cv-05301-RA                       Document 29-41                               Filed 07/22/20        Page 59 of 81

NIGHTLIFE PERSPECTIVES


      Exhibit 4.12: Words Commonly Used by Artists and Entertainers to Describe NYC's Nightlife 42

                                                                                                                   Career •,.n.P,.a,
                                                                                                          Mts   Freedom
                                                                                SpnM.ml


                                                                                                                "er gyvital
                                                 World •• Variety                                                 Artists
                                                     1n _
                                                        1.slve                                                                         on••;.y

                                       Change                                                                                       CreativeNlght



                                       Dance
                                       Net—king.         Progress v
                                                                                                                       DJ I r                    , Cost
                          Party Envy
                                  E XCII Cl g A Vc 11! II"" Famuy•aZZ                                                                              Best
                                                                                                                                        ob Friends Income

                                                                                                                  Fun
                                                                                                                         Tagethel

                              III    Igh   m"Commun                                                                                                                   Free
                  3i ve
                                                                                                   ityStage■

        GrIn!                                                    mate-rialBrilllant      eounmess
                                                                                      Events                     -M                             Survival   New
                  ■ ,Happy                                                                                                                                 Thnlling
                                                                                                  Daily


        c
        Clt
                                                                                                                     a"1111 A
                                                                                                                    Vibrant
                                                                                                                    L
                                                                                                                                            rt
          ili y       e
                      l                                                               olscovery
       Electnc
         coolMoney                              sarvey

             Relate
                              •Foru
                                  m m̀
                             Passion
                            Dream
                                     t
                                            Fully                                                                    Play           Unifyin 9

                                                Good EntBecom D
                                                             Become
                                                                                      Ive rV e                       Play
                                                                                       Expression Quallty
                                                                                       C.,_­

Nightlife Employees                                                                          • Establishment types: The highest numbers
                                                                                                    of respondents reported working in bars (48
Nightlife is asource of employment across many roles:
                                                                                                    percent), full-service restaurants (34 percent), and
establishment managers, security, chefs and other food
                                                                                                    live music or concert venues (33 percent).
preparation roles, bartenders, hosts, service staff, and
more. The 106 survey respondents spanning these                                            What is their outlook for the future?
roles had an average tenure exceeding 18 years in
                                                                                             • Future in nightlife: A majority of employee
the nightlife industry, with work experience ranging
                                                                                                    respondents (65 percent) see themselves
between 2and 40 years (average tenure was 23 years).
                                                                                                    continuing to work in the nightlife industry within
How do they make aliving?                                                                           the next 3years.

 • Full-time vs. part-time employment: Of                                                    • Factors influencing professional decisions:
    employee survey respondents, the majority work                                                  Most employees report that they enjoy working in
    full-time in their role (77 percent), although their                                            the nightlife industry because of the opportunity
    hours may span daytime and nighttime hours.                                                     to meet and work with different kinds of people
                                                                                                    (71 percent). They also enjoy the NYC nightlife
 • Number of employment establishments: Forty-
                                                                                                    industry's energy (69 percent) and the social
    two percent of surveyed employees work at one
                                                                                                    aspects of their employment (64 percent).
    establishment. In cases where respondents work in
    multiple establishments, 23 percent of them work in                                      • Attracting customers: Respondents indicated
    2, and another 22 percent work in 3to 5locations.                                               that customers are typically attracted to the
                                                                                                    establishment in which they work because it
 • Boroughs in which they work: When asked
                                                                                                    provides the opportunity to attend aunique
    about their primary employment locations,
                                                                                                    experience/event (54 percent), the entertainment it
    employees in the nightlife industry work
                                                                                                    offers (50 percent), and the variety of its food and
    predominantly in Manhattan (74 percent) and
                                                                                                    beverage options (39 percent).
    Brooklyn (21 percent).


                                                                                      58
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page97 of 298
                                                         A-1191

            Case 1:20-cv-05301-RA             Document 29-41                Filed 07/22/20             Page 60 of 81

NIGHTLIFE PERSPECTIVES


What challenges do they face as employees in the                       Exhibit 4.13: What Challenges Do Employees
nightlife industry?                                                                 Face in the Nightlife Industry?

                                                                          Employee Challenges                         Percentage
 • Lack of benefits: Fifty-four percent of survey
    respondents cited lack of benefits as amoderate or                    Lack of benefits                                   54%

    major obstacle of working in the nightlife industry.                  Lack of stable income                              49%
                                                                          Low wages                                          39%
 • Lack of stable income: Close to half of                                Establishments shutting
    employees surveyed (49 percent) indicated that                        down                                               34%
    income volatility remains achallenge for them in                      Competition with others
    the nightlife sector.                                                 for jobs                                           18%
                                                                          Safety concern                                     14%
 • Low wages: Thirty-nine percent of surveyed
                                                                          Wage theft or
    employees considered low wages to be a                                withholding of wages                               12%
    moderate or major challenge. While only 12                            Access workplace via
    percent of nightlife workers surveyed found wage                      public transportation                              10%
    theft to be issue, interviews with stakeholders                                     Source: Urbane Development (2018)

    suggested that the population most vulnerable to
    this type of employer abuse were less represented
    in the survey. 43 According to the NYC Department
    of Consumer Affairs, low-wage immigrant workers
    in NYC are more than twice as likely as other                               "There is more
    low-wage workers to experience minimum wage
                                                                             opportunity inWYC
    violations, are more likely to suffer poor treatment
    by their employers, and are less willing to confront                        because Hof the
    their employer in abusive situations or reach out to
                                                                          diversity-whets that
    government or legal support services .44
                                                                            is ethnic, Jultural, or
When describing nightlife, employees use adjectives
and descriptors that fall into two categories. First, they
                                                                               socioeconomic."
underscore the fun, exciting culture and music that                       A NY• nightlife
                                                                          -
                                                                                   POV 'si nal
characterize nightlife. Their economic motives tied to
work and wage earnings are also evident in the way
they describe NYC's nightlife.
                                                                                         P




                 Exhibit 4.14: Different Reasons Employees and Artists Enjoy Nightlife Work

                                                         % Employees                % Artists         Percentage Difference
       Reason They Like Nightlife Work                        (n=106)                (n=195)            (Employees-Artists)
      Ability to make connections to pursue
      other professional opportunities                                55%                70%                                -15%
       Nature/Character of the Employer                               46%                25%                                +21%

       Opportunity to develop my talent/craft                         46%                79%                                -33%
       Opportunity to meet/work with people
       similar to me                                                  56%                68%                                -12%
                                                Source: Urbane Development (2018)



                                                               59
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page98 of 298
                                       A-1192


            Case 1:20-cv-05301-RA              Document 29-41           Filed 07/22/20             Page 61 of 81

NIGHTLIFE PERSPECTIVES



               Exhibit 4.15: Common Words Used by Employees to Describe NYC's Nightlife



                                                   Pioneering L    ife       Al.4liU               I•        Time
                                    Family              Live
                       Diverse Passion                 Respect                                               High
              Gate
              G
                                    Social
                                               Home
                                                                                                             Want
        Music SI ee p■Wild■                                                                  pExperience
                                                ENghtlife                             Peo le
                                                                             Imerocixv+        Hospitality
                                                                     Opon

           Active
                                                                                     CUI lu
                                                      Exclusive
                                                                                                        World   Opportunity
                       I                     Art       Epic          Fun          Mostly                            U
            Unpredictable
                                                                                 Yes
                                    av  GU                           Night
                                                                                                    NService Fabulous
            City
                             PulseComes
                                                       Income
                                                                                 First                   ever
      Energy
                                                       Release

                                                                                   Venues
                                                                                                   money Career
        IOffistS ♦1Same                         .Freedom Entertaining
       Change "                                                                           Escape
         Flexibility
                             reative    Community
                                      Relate




Interviewee Themes Across Stakeholders                            • Regulations: Enhancing regulatory
                                                                    transparency and consistency to mitigate the
The survey results summarized above were reinforced
                                                                    time and cost of compliance.
by qualitative comments and interviews across
stakeholders. Within the diversity of outlooks and                • Transportation: Supporting ongoing efforts for
opinions, there were common themes that consistently                more user-friendly transportation so that nightlife
arose. Stakeholders agree that NYC's nightlife                      professionals can manage the costs and demands
community can sustain and grow its economy by                       of commuting for their work.
addressing the following areas:

 • Affordability: Mitigating the pressures posed by
    the operating and personal expenses borne by all
    nightlife stakeholder groups.

 • Competition: Enhancing opportunities for
    nightlife professionals to grow demand for their
    businesses and services in order to mitigate
    competitive pressures.
Case 20-4238, Document 38, 02/11/2021, 3035076, Page99 of 298
Case 20-4238, Document 38, 02/11/2021, 3035076, Page100 of 298
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page101 of 298
                                       A-1195


             Case 1:20-cv-05301-RA              Document 29-41      Filed 07/22/20      Page 64 of 81




Opportunities For The Future



While the nightlife sector is adriver of New York City's economy, it is impacted by broad social trends, norms, and
challenges beyond the scope of what local government can address. That being said, New York City government
can help to mitigate many challenges facing the small business owners, workers, artists, patrons, and residents
who comprise New York's distinctive nightlife ecosystem.

The Office of Nightlife was established in 2017 within the Mayor's Office of Media and Entertainment (MOME) to
coordinate existing services and develop new programs to promote safe and vibrant nightlife across New York
City. Its toolkit of initiatives may include the following:

 • Working across City agencies to improve the operating environment for nightlife establishments;

 • Developing workshops and forums for industry professionals, advocates, and workers;

 • Compiling new and existing educational resources for use by various stakeholders;

 • Coordinating programs and services of other City agencies; and

 • Developing economic development tools to support adiverse mix of nightlife offerings.

Based on the surveys and stakeholder interviews conducted for this report, there are three major strategic areas
of opportunity for New York City's nightlife management:

Improve and Streamline the Regulatory Environment
Many nightlife operators have cited difficulty navigating the regulatory processes necessary to open and operate
nightlife establishments. By coordinating the efforts of multiple City agencies involved in managing, regulating,
and promoting nightlife, and by acting as aclearinghouse for regulatory information, the Office of Nightlife is
well-positioned to improve the business environment for existing and prospective operators. These efforts could
support arange of nightlife businesses, from food service establishments that comprise most of the nightlife
sector, to informal venues and cultural spaces, which often lack resources to achieve full regulatory compliance.

Address Quality of Life and Public Safety Issues
Neighbors of nightlife establishments cited quality of life concerns related to noise, waste management, and
public health and safety, especially in areas with ahigh concentration of nightlife activity. Other interviewees also
raised concerns regarding common issues that affect patron safety and workplace safety. The City should ensure
that continuing growth in the nightlife sector is met with corresponding policies and services to mitigate health
and safety risks and potential adverse impacts to its workforce, its consumers, and its neighbors.

Promote Economic Development and Cultural Retention
Interviewees across all stakeholder groups expressed concerns related to costs of living and costs of doing
business, which can result in disruptive effects such as establishment closures and out-migration of artists and
creative professionals. Policies and services that reduce barriers to entry and operating costs for small and
culturally significant nightlife businesses could help to limit displacement and sustain adiverse mix of businesses
across all neighborhoods. The City should develop initiatives that promote economic development and support
the retention of valued nightlife spaces as well as the people who work and perform in them.


                                                              63
                                                         Q

                                                             r
                                                             r

                                                                  co
                                                             N
0


        _
               LU
                    LL




                                LU




                                                                                                                         Case 20-4238, Document 38, 02/11/2021, 3035076, Page102 of 298
                                                                 New York City's nightlife continues to evolve,
                         •
                                                                 fueling the city's economy and pushing culture
                                                                 forward locally and globally. The establishment of




                                                                  O U
                                                                       •



                                                                               o
                                                                                   Z

                                                                                   L




                                                                                                                   o
                                                                  a• a•


                                                                           U




                                                                                   O1



                                                                                           a O

                                                                                                 a)
                                                                                                      U)
                                                                                                       co
                                                                                                            o co
                                                                                                            a
                                                                                                            a 0)
                                                                                                            o °
                                                                               Z
                                                                       T

                                                                           O




                                                                                   •


                                                                                       O




                                                                                                 Co
                                                                                                 Co
                                                                                                      0)
                                                                                                      a)




                                                                                                                   co
                                                                 way that supports jobs and social cohesion while
                                                ti• •
                                           i




                                                                 also mitigating nightlife's challenges. The nightlife
                         •.


                                it,




                                                                 stakeholders surveyed and interviewed for this report
                         _


                                i3 ••GL's '1




                                                                 sector that can help inform the Office of Nightlife's
                         ■•




                                                                 initiatives and policy recommendations going forward,
                                                                 toward asafe and vibrant nightlife economy that
                         •'•
-11i




                                                                 works for all New Yorkers.
to




                         i.
At




                         i


                                c
       -




                                !!11 !1 /i lk
                         n
                         ot
                         1
                    •

                         f
       -■e.•



                         0 -t
                         ♦
                         - ••


                                ii


                                                    t.
                                .
                                l..
                         .•


                                •I
                                ■1•


                                           •!_ I •-
                         -
                         _


                                mil

                                                 n
                                                 t
                                                  ffi
                                                  .t
                         1
Case 20-4238, Document 38, 02/11/2021, 3035076, Page103 of 298
                           A-1197


                     Document 29-
Case 20-4238, Document 38, 02/11/2021, 3035076, Page104 of 298
                           A-1198
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page105 of 298
                                       A-1199


            Case 1:20-cv-05301-RA            Document 29-41         Filed 07/22/20       Page 68 of 81




Appendix

Appendix I: Methodology Details

This report is the result of both primary and secondary data collection and analyses. This engagement was
divided into two primary research phases: a literature review of industry reports, white papers, and case studies
to identify best practices in the nightlife industries; and an analysis of the size, dynamics, and impacts of the
nightlife industry through qualitative and quantitative research methods, including stakeholder interviews and
surveys of customer and industry contributors.

Literature Review

The consulting team conducted aliterature review of relevant industry reports, academic papers, newspaper
and journal articles, and white papers that seek to situate the nightlife industry within the context of the New
York City's social, economic, and political landscape. More than 25 resources were reviewed, which pay special
attention to best practices employed by comparable cities locally and nationally; challenges facing the nightlife
industry; trends in nightlife visa-vis technology, policies, and demographics; public measures to increase access
to nightlife venues and experiences, including safety and transportation; and the ways in which minority groups
experience nightlife. Special attention was paid to Amsterdam, Austin, London, San Francisco, Seattle, and
Sydney to provide asnapshot of initiatives that have successfully impacted the nightlife scene.

Economic Impact Projections

Economic impact estimates were generated by estimating the initial amount of direct activity occurring within
each geographic area of interest and then using input-output models to translate this direct economic activity
into the total amount of economic activity that it supports. Expenditures within agiven geography give rise to
"spillover" impacts when those dollars are recirculated to suppliers and to employees within the local and state
economy. In so doing, they also support additional employment and earnings, and generate tax revenue for local
and state governments. Econsult Solutions, Inc. (ESI) has constructed an input-output model of the city and state
economy using IMPLAN software to estimate the total impact of these expenditures.

Defining Nightlife

The detail that follows explains how the direct economic output was calculated, the mechanics of using input-
output modeling to estimate economic and employment impacts, and the fiscal model utilized to estimate tax
revenue impacts to local and state government from New York City's nightlife activity.

In order to capture the diversity of what nightlife means to New Yorkers, we began by considering the variety
of social activities that occur between 6PM and 6AM. Using the North American Industry Classification System
(NAICS), the standard used by the public and private sector to classify business establishments according to
sector, the industries that contribute to nightlife were identified. These fall into five subsectors: Food Service,
Bars, Arts, Venues, and Sports and Recreation. This method captured the breadth of nightlife and the wide
range of industries that contribute to it. While this approach is similar to the 2017 Music Study commissioned
by the New York City Mayor's Office of Music and Entertainment (MOME), it is important to note that it is not
additive in nature with that study due to of the potential overlap in economic activity between live music and the
nightlife economy.




                                                          67
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page106 of 298
                                        A-1200


             Case 1:20-cv-05301-RA            Document 29-41          Filed 07/22/20       Page 69 of 81

APPENDIX: METHODOLOGY

With the breadth and variety of New York City's nightlife economy, as well as the informal nature of certain
aspects of the industry, it is difficult to capture all of the industry's economic activity. However by casting a
wide net of industries that are part of the New York City nightlife economy and then taking research-based
proportionate cuts to the activity that would not be attributable to nightlife, this study aimed to be representative
of the inclusive nature of New York City and its nightlife sector, while still applying aconservative economic
modeling approach. Data on jobs, wages, and establishments by NAICS is available from avariety of federal
data sources. The Quarterly Census of Employment and Wages (QCEW), published by the Bureau of Labor
Statistics, compiles counts of employment and wages as reported by employers covering more than 95 percent
of U.S. jobs. To capture self-employed individuals, we utilized the U.S. Census Bureau's Nonemployer Statistics
(NES), which covers businesses that have no paid employees (most nonemployers are self-employed individuals
operating sole proprietorships). It is important to note that federal datasets used are self-reported. Wages can go
un- or under-reported for various reasons, ranging from human error to vulnerable populations working informally.
Another challenge of self-reported data is incorrectly identifying the sector in which aplace of employment
technically falls.

It would be an overestimation to attribute all of the economic activity in each of these industries to nightlife. To
varying degrees, each of these industries conducts business outside the hours of 6PM and 6AM. And while it
may be the case that heightened nighttime activity brings in the majority of acompany's revenue, the purpose
of this calculation is to quantify the economic activity that occurs during the nightlife hours. For example, while
arestaurant may make most of its revenue after 6PM, effectively subsidizing lunch service, only the nightlife
revenues are included in the direct impact calculated in this study. Therefore, for each industry that contributes
to nightlife, the analysis captured the portion of economic activity attributable to nightlife. To do this we relied
on expert opinions, research, and analysis of available data to understand the proportion of money spent by
nightlife patrons at these institutions. We identified the following NAICS categories as having some portion of its
economic activity as attributable to nightlife:

 • Food service: full- and partial-service restaurants, cafes, and food trucks (NAICS codes 722310, 722320,
    722330, 722511, 722513, 722514, 722515);

 • Bars: drinking places and hotel bars (NAICS codes 721110, 722410);

 • Arts: art dealers, galleries, museums, movie theaters, performing arts companies (NAICS codes 453920,
    512131, 7111);

 • Venues: independent artists and promoters (NAICS
    codes 7113 ,7115);

 • Sports and recreation: spectator sports, bowling,
    arcades, and amusement parks (NAICS codes 7131,
    7132, 71395, 7112).

While this methodology is similar to the MOME Music Study
completed in 2017, the Venues subsector has been defined
in different ways in each study. Specifically, Independent
artists are included in nightlife's Venues analysis to account
for their work at Venues. The music study has aseparate
category for the local artist community and only assigns
promoters to the Venues subsector. A larger portion of these



                                                            6868
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page107 of 298
                                       A-1201


             Case 1:20-cv-05301-RA            Document 29-41          Filed 07/22/20     Page 70 of 81

APPENDIX: METHODOLOGY

artists' jobs was attributed to nightlife, accounting for non-music artists who participate in the nightlife economy.
This definition of venues extends beyond the music industry and results in ahigher overall jobs number for
this subsector than the music study's methodology. Furthermore, the analysis was conservative in accounting
for wages reported by independent artists so as not to overly attribute the wages of highly paid, world famous
artists who live in New York but do not work full-time in the NYC nightlife industry specifically. This results in a
lower annual wages impact for independent artists compared with to music study's evaluation, which was more
inclusive of all music artists.

Types of Impact

The money that nightlife patrons spend at nightlife establishments between the hours of 6PM and 6AM is the
direct impact of nightlife in the City. That impact is broken down into two types. First, nightlife establishments
procure goods and services from other businesses, and to the extent that those businesses are located in New
York City, the money spent with those businesses creates further economic impact that is felt in the City (indirect
impact). Additionally, the employees of nightlife establishments and the local businesses from which they procure
goods and services earn wages that, when spent locally, create induced impacts.

Input-output modeling, which maps the connections between industries within an economy, is used to quantify
how activity in one industry ripples through the economy, creating indirect and induced impacts. The estimates of
economic impact of the nightlife industry in this report are generated using IMPLAN, an industry-standard input-
output modeling software. IMPLAN translates an initial amount of direct economic activity into the total amount of
economic activity that it supports, which includes multiple waves of spillover impacts generated by spending on
goods and services and by spending of labor income by employees.

Another category of impact comes from spending that would not have taken place but for patrons enjoying
New York City's nightlife. For the purpose of this study we look at two significant sources of ancillary spending,
transportation and visitor spending, though these do not represent the only spending driven by nightlife. New
York City's taxis and For-Hire Vehicle (FHV) companies are integral to nightlife activity, allowing patrons to move
around the city at all hours and to access areas not reliably served by public transit. The high percentage of all
rides that occur between the hours of 6PM and 6AM demonstrates the importance of nightlife in supporting the
taxi and FHV industries. Millions of people visit New York City each year and enjoy the City's nightlife. Nightlife
spending by visitors is captured in the direct economic impact, but in the case of trips to the city where nightlife
is the main reason for the visit, the full trip spending can
be attributed to nightlife. These two categories of ancillary
spending were estimated using the following methodology:

•   The NYC Taxi and Limousine Commission collects
    data on the time and fare of taxi and FHV trips in
    the city. Using this data, the number of trips that
    occurred between 6PM and 6AM were estimated. To
    account for non-nightlife rides that occur during this
    period, adjustments were made for airport trips and
    commuters who take taxis or FHVs from their workplace
    to their home. To estimate the trips that were made
    by commuters (rather than people going to nightlife
    destinations), the number of trips during the morning
    commute, roughly between 6AM and 10AM in the
    morning, was subtracted from the number of trips in the


                                                               6969
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page108 of 298
                                       A-1202


            Case 1:20-cv-05301-RA             Document 29-41          Filed 07/22/20        Page 71 of 81

APPENDIX: METHODOLOGY

    nightlife count. The fare spent on the resulting 100 million annual trips is the direct spending on transportation
    that occurs as aresult of New York City nightlife.

•   According to tourism data from NYC +Company studies, New York City has 7.2 million international and
    15.8 million domestic overnight leisure visitors each year (23 million altogether). Some of those visitors are
    drawn to New York specifically for its nightlife offerings. Based on survey results asking visitors their main
    motivation for their trip, approximately 7.7 million of these visits (2.4 million international and 5.3 million
    domestic) are fully or partially attributable to New York City nightlife. Therefore their non-nightlife spending
    can be considered part of the ancillary impact of the nightlife economy. The spending profile of domestic
    and overseas travelers vary considerably, both in length of trip and spending profiles. With this in mind, we
    calculated the annual spending of domestic and overseas nightlife travelers, yielding the ancillary spending
    footprint of these visitors.

Together, the spending on transportation and nightlife travelers constitute the direct ancillary spending that is
attributable to New York City's nightlife. In the same manner as the direct nightlife impact, this ancillary spending
creates indirect and induced impacts through the city's economy. The direct, indirect, and induced impacts of
the ancillary spending are in addition to the direct, indirect, and induced impacts of the spending with nightlife
establishments. Together, this total constitutes aholistic accounting of the diversity of the nightlife industry and
the impacts it generates throughout the New York City economy.

Tax Revenue Impact

The direct, indirect, and induced economic output from nightlife and ancillary activity increases the tax base,
which in turn leads to increased tax revenue collections for New York City and the State of New York. To translate
these increases in economic activity to additional tax revenue, the analysis used custom fiscal models based on
the relationships between various types of economic activity and tax collections. Using these effective tax rates,
the analysis estimated the effect of nightlife activity on tax revenue.

In addition to income, sales, and business taxes, certain nightlife activities generate tax revenue directly,
including the alcoholic beverages tax and Hotel Room Occupancy Tax. Similar to the process of attributing
industry sales to nightlife activity, the impact of alcoholic beverage sales was estimated by attributing aportion
of the total revenue collected to nightlife. The Hotel Room Occupancy Tax revenue generated by nightlife visitors
was estimated by applying the tax rate to the estimate of nightlife visitors' spending on hotel rooms.

Stakeholder Interviews

The consulting team conducted 65 interviews with experts and stakeholders to contextualize quantitative
insights. Stakeholders represented the range of industries, professions, and persons involved in New
York City's nightlife, including owners and operators of establishments, artists and performers, consumers
(residents, tourists, commuters), public officials, policymakers, developers, activists, academics, and
employees of nightlife industries. The interviews, which lasted approximately 45-60 minutes each, sought
to understand the spectrum of experiences within the nightlife industry, with an eye towards New York
City-specific challenges and opportunities. Although interview questions were tailored to fit the individual's
expertise, all questions sought to identify what, in their experience, makes New York City's nightlife unique,
the challenges it faces, how they envision the sector evolving over the next several years, and their
recommendations for the future. All interviews were conducted confidentially, affording interviewees the
opportunity to speak freely without reservation or hesitation.




                                                            70
           Case 20-4238, Document 38, 02/11/2021, 3035076, Page109 of 298
                                      A-1203


            Case 1:20-cv-05301-RA               Document 29-41     Filed 07/22/20      Page 72 of 81

APPENDIX: METHODOLOGY

Surveys

The consulting team designed, implemented, and analyzed two surveys—a consumer survey and an industry
professional survey—to solicit additional insights on perceptions of New York City's nightlife. The survey
ultimately reached over 1,240 people between the two survey instruments.

 • Consumer Survey: The consumer survey, acombination of in-person and online data collection, collected
    over 864 responses that cut across the five boroughs. In this short survey, respondents were asked
    questions about the kinds of venues and locales frequented; the frequency of outings; transportation
    preferences; spending habits; challenges they face in participating in the city's nightlife, as well as general
    demographic questions.

 • Industry Professional Survey: The industry professional survey sought insights from 376 owners and
    operators, artists and performers, and employees of nightlife industries, venues, events, and locales. The
    respondents cut across venue typologies and occupations and reflect their professional perspectives.
    Depending on the occupation and industry they identified, respondents were directed to atailored set of
    questions relevant to their roles and experience. Analysis of the responses were done in aggregate and the
    basis of professional groupings: owners/operators, artists/entertainers, and employees.

 • Owners and operators were asked how many establishments they operate and where they are located; the
    kinds of entertainment they offer; trends in business finances; and the challenge and opportunities they face
    to grow their footprint in New York City.

 • Artists and musicians were asked to identify the kinds of establishments at which they perform; the reasons
    they choose to participate in New York City's nightlife; and the challenges they face.

 • Nightlife establishment employees, such as waiters, hosts, chefs, bartenders, and security guards, were
    asked to identify the kinds of establishments at which they work; the benefits of working in New York City's
    nightlife; and the challenges they face as employees.
           Case 20-4238, Document 38, 02/11/2021, 3035076, Page110 of 298
                                      A-1204


            Case 1:20-cv-05301-RA           Document 29-41          Filed 07/22/20      Page 73 of 81

APPENDIX: ENDNOTES

Appendix II: Endnotes


 1Compound annual growth rate (CAGR) is the mean annual growth rate over aspecified period of time longer
  than one year. CAGR is expressed in annual percentage terms. Unless noted otherwise, this study uses
  growth rates within afive-year period from 2011 to 2016.
 2A portion of the economic activity includes DIY nightlife. Given the diversity of DIY as avenue category, and
  the use of open spaces and shared economy rentals for DIY nightlife, the venue estimate herein is deemed
  conservative.
 3"A Guide To Managing Your Night Time Economy," Sound Diplomacy and Andreina Seijas. Panel discussion at
  the Mayor's Office of Media Entertainment Nightlife Conference, June 8, 2018
 4See Appendix for an in-depth discussion of the methodology of the analyses used in this report.
 5Due to the nature of nightlife, there is anatural overlap in how establishments identify. To avoid double
  counting, establishments were categorized based on how they are identified by the Bureau of Labor Statistics
  (BLS). For example, amusic venue that primarily presents shows and concerts but also has abar would
  likely be categorized as avenue according to BLS data; abar that occasionally has live music would still be
  categorized as abar.

 6While the BLS provides data on employee wages, IMPLAN calculates employee compensation, which
  includes wage and salary, all benefits (e.g. health, retirement) and payroll taxes. Based on BLS wage data,
  the nightlife industry supports $6.2 billion in wages, which translates to $7.3 billion of employee compensation
  (IMPLAN's measure of income estimates gross pay as opposed to strictly wages). Throughout this report, the
  total employee compensation impact of the nightlife industry is shown, which is inclusive of the direct wages
  described in the Direct Impact section of this report.
 7Compound annual growth rate (CAGR) is the mean annual growth rate over aspecified period of time longer
  than one year. CAGR is expressed in annual percentage terms. Unless noted otherwise, this study uses
  growth rates within afive-year period from 2011 to 2016.
 8Sutter, Ryan. "New York City's Michelin Stars Announced for 2018," Eater by Ryan Sutton, October 30, 2017

 9Data based on BLS total jobs and total wages in ayear. Therefore, average wage is based on reported income
  for that particular job, and does not include second or third jobs that afood service employee might work.
10 The SLA is astate-run agency responsible for issuing liquor licenses citywide. On premises liquor licenses
   are broken into multiple categories, including to serve specifically beer or wine and another for liquor. For full
   liquor license applications (beer, wine and liquor being served) there is astatewide rule that does not allow
   more than three establishments with full licenses to be within 500-feet of each other. According to the SLA the
   500 foot law requires consultation with the community board and ahearing to determine whether the public
   interest would be served by issuing the license, though the final decision is in the hands of the SLA.
11 The SLA provided data for four points in time: 2000, 2006, 2012, and 2018. Data labeled 2000 has alicense
   expiration data from 2000 to 2005; 2006 has expirations from 2006 to 2011; 2012 has license expirations from
   2012 to 2015, and 2018 data has expirations from 2018 onward. Establishments that existed in 2000 and were
   still in operation would be in each of the four datasets, identified by its license serial number.
12 Because of the data provided, CAGR for liquor licenses was calculated between 2000 and 2018.
13 It is important to note that this subsector represents some of the same economic impact that was quantified
   in the 2017 Music in New York City study commissioned by the Mayor's Office of Media and Entertainment.
   Because the economic activity related to local artists' and live performances are asignificant dynamic of the
   New York nightlife experience, this economic activity has been included in this report.

14 This subsector aggregates aportion of the local artist community and the mass music consumption categories
   calculated in that report and this analysis should be viewed as complementary, rather than additive.
15 Does not include professional athlete salaries. Athlete salaries are not attributable to nightlife and are a
   function of market and competitive dynamics beyond nighttime economics. However, this subsector's higher
   than usual average wage is representative of some portion of back of office spectator sports jobs, which pay
   higher salaries than atypical nightlife-related job.
16 Data provided by NewZoo, aleading e-sports market analytics firm.


                                                          72
           Case 20-4238, Document 38, 02/11/2021, 3035076, Page111 of 298
                                      A-1205


            Case 1:20-cv-05301-RA           Document 29-41        Filed 07/22/20      Page 74 of 81

APPENDIX: ENDNOTES

17 While FHVs were first introduced to NYC in 2011, TLC data for trips starts in 2015. Comparing 2017 and
   2013 (only taxi data) is purposeful in showing the change in transportation access for less centralized NYC
   neighborhoods.
18 Data from Yelp as of May 18, 2018. Establishments that identified as restaurants, performing arts spaces,
   music venues, bars, clubs, and sports recreational establishments were compiled to develop ageospatial
   snapshot of nightlife across New York City.
19 Jones-Gorman, Jessica. "St. George update: Empire Outlets set to open this fall; development of NY Wheel
   still being finalized." Staten Island Business Trends. 10 August 2018.

20 Total survey sample (N=225); In several instances, those surveyed had visited the City during the day,
   supporting the daytime, as well as the nighttime, economy.
21 New York City Mayor's Office of Immigrant Affairs, 2018.
22 NYC & Company, 2018

23 "New York Still Has More Gay Residents Than Anywhere Else in US," New York Times citing Gallup study,
   March 23, 2015
24 MTA website. Does not include non-revenue tracks typically used for purposes other than rider transport

25 NYC Department of Transportation (2018).
26 "Uber and Lyft cars now outnumber yellow cabs in NYC 4to 1," Curbed New York, January 17, 2017
27 "NYC's Airports Had More Passengers Than Ever in 2015," Curbed New York, February 3, 2016. Total
   passengers — not only those going to NYC or participating in nightlife.

28 Katerasky, Aaron. "New York City records fewest murders, lowest crime rate in decades," ABC News, January
  5, 2018."
29 New York City Police Department, Citywide Seven Major Felony Offenses 2000-2017.

30 Survey respondents somewhat agree, agree or strongly agree to these factors as being influential, reflecting
   the top 3box responses on a6point scale.
31 Survey responses: Owner/Operator (n=83), Artists/Entertainers (n=187), Employees (n=106). Partial
   responses to selective questions may cause response rates to be lower as noted in relevant endnotes
32 Respondents could select "all that apply". Thus, percentages add up to more than 100 percent
33 This distribution reflects the overall establishment breakdown between Manhattan and. the other boroughs
34 N=74 with 9respondents not answering the question regarding alcohol service.

35 N=69. See the discussion regarding employment for the surveyed breakdown of full-time vs. part-time
   employees.
36 Percentage of respondents who rated in the top two boxes as being achallenge or amajor challenge.

37 Note that word size correlates to frequency of word use as adescriptor
38 N=187. Surveys administered to artists occurred in two waves. The first wave entailed an open, online
   distribution of the survey. The average tenure for working in the nightlife industry was 15.6 years for this
   group. The second wave was more focused on musicians who play live music, with the support of the
   Associated Musicians of Greater New York/American Federation of Musicians Local 802, "the largest local
   union of professional musicians in the world." The average tenure for working in the nightlife industry was 29
   years for this group.

39 Of those surveyed, 73 were part-time artists
40 Of those surveyed, 163 were out of town commuters
41 Florida, Richard. "NYC Has More Artists Than Ever," CityLab, July 25, 2017.
42 Note that word size correlates to frequency of word use as adescriptor

43 For multiple reasons including language barriers, low inclination to respond to government-related surveys,
   partial access to survey tools, etc. To compensate, the study purposefully conducted interviews with people
   who could knowledgeably address the nightlife experiences of such employees.

44 New York City Department of Consumer Affairs.


                                                        73
            Case 20-4238, Document 38, 02/11/2021, 3035076, Page112 of 298
                                       A-1206


              Case 1:20-cv-05301-RA                    Document 29-41                   Filed 07/22/20               Page 75 of 81

APPENDIX: ECONOMIC IMPACT TABLES

Appendix III: Economic Impact Tables

                                        Exhibit 6.1: Direct Economic Impact -Jobs

                                                                                          Annualized             Annualized          Annualized
                                                                                              Growth                 Growth              Growth
                         2002              2006             2011             2016         (2002-2016)            (2006-2016)         (2011 -2016)

   Food Service       71,700            81,900          105,900          141,000                      5%                     6%              6%

   Bars                 7,700             8,000            9,500           13,400                     4%                     5%              7%

   Arts               13,800             13,600           14,800           18,300                     2%                     3%              4%

   Venues             13,800             16,200           17,500           19,900                     3%                     2%              3%
   Sports &
   Recreation           3,300             3,000            3,300            3,900                     1%                     3%              3%

   Total             110,300           122,700          151,000          196,500                      4%                     5%              5%
                   Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                         *Columns may not sum due to rounding




                                  Exhibit 6.2: Direct Economic Impact -Wages ($M)

                                                                                           Annualized             Annualized          Annualized
                                                                                               Growth                 Growth              Growth
                         2002               2006             2011               2016       (2002-2016)            (2006-2016)         (2011 -2016)

  Food Service        1,537.5           2,034.2          2,783.6          4,189.0                      7%                     7%              9%

  Bars                   192.3             229.1            312.9            492.1                     7%                     8%              9%

  Arts                  523.4              582.7            683.9            803.9                     3%                     3%              3%

  Venues                 160.5             261.8            244.7            372.8                     6%                    4%               9%
  Sports &
  Recreation             197.1             249.4            276.9            352.1                     4%                    4%               5%

  Total               2,610.8           3,357.1          4,301.1          6,209.9                      6%                     6%              8%
                   Source: Bureau of Labor Statistics (2016), U. S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                       *Columns may not sum due to rounding




                                  Exhibit 6.3: Direct Economic Impact -Output ($M)

                                                                                           Annualized             Annualized          Annualized
                                                                                               Growth                 Growth              Growth
                     2002               2006              2011               2016          (2002-2016)            (2006-2016)         (2011 -2016)

  Food Service    4,304.6           5,677.4            7,754.1          11,977.1                       8%                     8%               9%

 Bars                744.0             883.4           1,357.0           2,019.4                       7%                     9%               8%

 Arts             2,494.9           2,475.2           2,942.8            3,132.6                       2%                     2%               1%

 Venues              471.6             760.1             930.1            1,218.9                      7%                     5%               6%
 Sports &
 Recreation          411.8             515.3             572.1              734.0                      4%                     4%               5%

 Total            8,426.9          10,311.4          13,556.2           19,082.2                       6%                     6%               7%

                   Source: Bureau of Labor Statistics (2016), U. S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                         *Columns may not sum due to rounding




                                                                           74
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page113 of 298
                                            A-1207


                 Case 1:20-cv-05301-RA                     Document 29-41                    Filed 07/22/20              Page 76 of 81

APPENDIX: ECONOMIC IMPACT TABLES



                            Exhibit 6.4: Indirect Economic Impact by Direct Category -Jobs

                                                                                              Annualized             Annualized             Annualized
                                                                                                  Growth                 Growth                 Growth
                               2002             2006              2011           2016         (2002-2016)            (2006-2016)            (2011-2016)

        Food Service          6,200            7,200            8,500          11,900                     5%                     5%                 7%
        Bars                     800             900            1,200            1,600                    5%                     6%                 6%
        Arts                  8,700            8,300            9,100           8,900                     0%                      1%                0%
     Venues                   1,500            2,100            2,400           2,700                     4%                     3%                 2%
        Sports &
        Recreation               400             400               400              400                   0%                     0%                 0%
        Total                17,600          18,900           21,600           25,500                     3%                     3%                 3%
                        Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                              *Columns may not sum due to rounding




               Exhibit 6.5: Indirect Economic Impact by Direct Category -Employee Compensation ($M)

                                                                                             Annualized               Annualized             Annualized
                                                                                                 Growth                   Growth                 Growth
                           2002            2006            2011               2016           (2002-2016)              (2006-2016)            (2011-2016)

   Food Service         $421.2          $551.2           $709.7           $1,072.7                       7%                       7%                 9%
   Bars                   $57.8           $67.9          $101.0            $145.3                        7%                       8%                 8%
   Arts                 $281.2          $292.3           $347.1            $371.2                        2%                       2%                 1%
   Venues                 $75.4          $114.6          $141.2            $175.8                        6%                       4%                 4%
   Sports &
   Recreation             $23.7           $27.8           $30.2              $37.7                       3%                       3%                 4%
   Total                  $859.4        $1,053.9        $1,329.2           $1,802.6                       5%                       6%                6%

                        Source: Bureau of Labor Statistics (2016), U. S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                              *Columns may not sum due to rounding




                       Exhibit 6.6: Indirect Economic Impact by Direct Category -Output ($M)

                                                                                                  Annualized              Annualized           Annualized
                                                                                                      Growth                  Growth               Growth
                            2002              2006                 2011              2016         (2002-2016)             (2006-2016)          (2011-2016)

 Food Service          $1,172.9          $1,564.3            $2,020.4          $3,038.7                        7%                      7%                 9%
 Bars                    $154.8             $184.4             $273.1               $391.5                     7%                      8%                 7%
 Arts                    $862.9             $904.2           $1,067.5          $1,147.2                        2%                      2%                 1%
 Venues                  $189.9             $289.7             $358.6               $442.6                     6%                      4%                 4%
 Sports &
 Recreation                $55.7             $66.4             $73.57                $92.1                     4%                      3%                 5%
 Total                 $2,436.3          $3,009.1            $3,793.2          $5,112.1                        5%                      5%                 6%
                        Source: Bureau of Labor Statistics (2016), U. S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                              *Columns may not sum due to rounding




                                                                               75
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page114 of 298
                                        A-1208


             Case 1:20-cv-05301-RA                    Document 29-41                   Filed 07/22/20               Page 77 of 81

APPENDIX: ECONOMIC IMPACT TABLES




                       Exhibit 6.7: Induced Economic Impact by Direct Category -Jobs

                                                                                        Annualized              Annualized                Annualized
                                                                                            Growth                  Growth                    Growth
                        2002             2006             2011           2016           (2002-2016)             (2006-2016)               (2011-2016)

   Food Service        8,400            9,900           12,300         17,200                       5%                      6%                    7%

   Bars                 1,200           1,300            1,700           2,400                      5%                      6%                    7%

  Arts                 4,100            4,000            4,300           4,500                      1%                       1%                   1%

  Venues                1,600           2,300            2,100           2,900                     4%                       2%                    7%
   Sports &
   Recreation           1,000           1,200            1,200           1,500                      3%                      2%                    5%

   Total              16,300          18,700           21,600          28,500                       4%                      4%                    6%

                   Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                         *Columns may not sum due to rounding




                   Exhibit 6.8: Induced Economic Impact -Employee Compensation ($M)

                                                                                         Annualized              Annualized               Annualized
                                                                                             Growth                  Growth                   Growth
                      2002            2006              2011              2016           (2002-2016)             (2006-2016)              (2011-2016)

  Food Service      $382.0         $503.9             $677.4         $1,029.9                        7%                       7%                  9%

  Bars                $56.2          $66.5             $92.8            $144.8                       7%                      8%                   9%

  Arts              $184.7         $201.4             $238.1            $268.1                       3%                       3%                  2%

  Venues              $70.8         $116.7            $117.3            $174.2                       7%                      4%                   8%
  Sports &
  Recreation          $47.2          $58.7             $64.5             $90.7                       5%                      4%                   7%

  Total             $741.0         $947.1          $1,190.0          $1,707.7                        6%                      6%                   7%

                   Source: Bureau of Labor Statistics (2016), U. S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                         *Columns may not sum due to rounding




                                 Exhibit 6.9: Induced Economic Impact -Output ($M)

                                                                                             Annualized               Annualized             Annualized
                                                                                                 Growth                   Growth                 Growth
                      2002               2006               2011               2016          (2002-2016)              (2006-2016)            (2011-2016)

Food Service      $1,101.8          $1,446.2           $1,951.6          $2,974.4                         7%                         7%                 9%

Bars               $162.2             $190.8              $267.3              $418.2                      7%                         8%                 9%

Arts               $532.8             $578.1              $686.2              $774.5                      3%                         3%                 2%

Venues             $204.2             $335.0              $338.2              $503.5                      7%                         4%                 8%
Sports &
Recreation         $136.1             $168.4              $186.0              $261.9                      5%                         5%                 7%

Total             $2,137.1          $2,718.5           $3,429.3          $4,932.4                         6%                         6%                 8%

                   Source: Bureau of Labor Statistics (2016), U. S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                         *Columns may not sum due to rounding




                                                                         76
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page115 of 298
                                        A-1209


              Case 1:20-cv-05301-RA                        Document 29-41                   Filed 07/22/20               Page 78 of 81

APPENDIX: ECONOMIC IMPACT TABLES



                         Exhibit 6.10: Indirect Economic Impact by Industry Category- Jobs

                                                                                                Annualized             Annualized             Annualized
                                                                                                    Growth                 Growth                 Growth
                                 2002            2006            2011             2016          (2002-2016)            (2006-2016)            (2011-2016)

Arts, Entertainment,
and Recreation                  6,000           6,100           6,700             6,800                     1%                     1%                 0%

Administrative and
Support Services                 1,800          2,000           2,300             2,900                     3%                     4%                 5%
Professional,
Scientific, and
Technical Services               1,900          2,000           2,300             2,800                     3%                     3%                 4%

Real Estate and
Rental and Leasing               1,500          1,600            1,900            2,400                     3%                     4%                 5%

Management of
Companies and
Enterprises                      1,000          1,100            1,300            1,800                    4%                      5%                 7%
Other                           5,400           6,100            7,100            8,800                    4%                      4%                 4%
Total                          17,600          18,900          21,600         25,500                        3%                     3%                 3%

                       Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                             *Columns may not sum due to rounding




        Exhibit 6.11: Indirect Economic Impact by Industry Category- Employee Compensation ($M)

                                                                                                    Annualized            Annualized          Annualized
                                                                                                        Growth                Growth              Growth
                              2002              2006              2011                2016          (2002-2016)           (2006-2016)         (2011-2016)

Arts, Entertainment,
and Recreation               $99.8            $118.4            $137.0              $160.3                       3%                      3%           3%

Administrative and
Support Services             $82.7            $101.5            $127.8              $169.4                       5%                      5%           6%

Professional,
Scientific, and
Technical Services         $156.7             $191.6            $238.0              $316.2                       5%                      5%           6%

Real Estate and
Rental and Leasing           $47.9             $59.1             $75.1              $102.3                      6%                       6%           6%

Management of
Companies and
Enterprises                $147.5             $190.5            $244.1              $360.1                       7%                      7%           8%
Other                      $324.7             $392.8            $507.2              $694.3                      6%                       6%           6%
Total                      $859.4          $1,053.9          $1,329.2             $1,802.6                      5%                       6%           6%

                       Source: Bureau of Labor Statistics (2016), U. S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                           *Columns may not sum due to rounding




                                                                             77
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page116 of 298
                                        A-1210


             Case 1:20-cv-05301-RA                         Document 29-41                  Filed 07/22/20               Page 79 of 81

APPENDIX: ECONOMIC IMPACT TABLES



                       Exhibit 6.10: Indirect Economic Impact by Industry Category- Output

                                                                                                     Annualized             Annualized       Annualized
                                                                                                         Growth                 Growth           Growth
                                2002               2006               2011              2016         (2002-2016)            (2006-2016)        (2011-16)

Arts, Entertainment,
and Recreation                $329.1            $398.2             $477.7            $554.8                      4%                     3%           3%

Administrative and
Support Services              $155.3            $186.6             $230.1            $302.4                      5%                     5%           6%

Professional,
Scientific, and
Technical Services            $296.0            $365.8             $445.0            $586.9                      5%                     5%           6%

Real Estate and
Rental and Leasing            $445.4            $551.8             $683.2            $947.9                      6%                     6%           7%

Management of
Companies and
Enterprises                   $211.5            $307.4             $410.9            $582.3                      8%                     7%           7%

Other                         $999.0          $1,199.3           $1,546.3          $2,137.8                      6%                     6%           7%

Total                      $2,436.3           $3,009.1           $3,793.2          $5,112.1                      5%                     5%           6%

                       Source: Bureau of Labor Statistics (2016), U.S. Census Bureau (2012), IMPLAN (2015), Econsult Solutions (2018)
                                                             *Columns may not sum due to rounding




                                                                             78
             Case 20-4238, Document 38, 02/11/2021, 3035076, Page117 of 298
                                        A-1211


              Case 1:20-cv-05301-RA            Document 29-41           Filed 07/22/20       Page 80 of 81

APPENDIX: SOURCES AND ACKNOWLEDGEMENTS


Appendix IV: Sources and Acknowledgements                        Jing Liu is aSenior Analyst with experience
                                                                 with spatial and statistical analysis, city planning,
The following organizations and individuals were
                                                                 transportation planning, economic analysis, data
instrumental in the completion of this report:
                                                                 visualization, graphic design. She works on economic

New York City Mayor's Office of Media and                        research and modeling, quantitative analysis, and

Entertainment (MOME)                                             spatial analysis.


 • Julie Menin -Commissioner                                     Urbane Development


 • Shira Gans -Senior Executive Director of Policy               James Johnson -Piett, Principal and CEO, focuses

    and Programs                                                 on strengthening small businesses operating in
                                                                 underserved communities through market intelligence,
The Consulting Team                                              technical assistance, and access to capital. He has
                                                                 participated in several consumer-related studies within
The North Highland Company
                                                                 urban environments leveraging local leaders and
Rob Mann, Vice President, Growth & Innovation                    communities to drive study results.
Expert, focuses on Growth and Innovation across
                                                                 Nairn Brown, Director of Place-Based Investment,
consumer industries He has 26 years of consulting
                                                                 provides real estate advisory and development
experience in the Americas, the Middle East, UK/
                                                                 expertise in residential and commercial real estate for
Europe, the Caribbean, Greater China, and the APAC
                                                                 arange of clients from small for-profit developers to
region. Rob has extensive expertise in growth and
                                                                 public housing agencies.
innovation, product design/development, CX design,
and operating model improvements.                                Sunil Narayan, Senior Consultant, leads project
                                                                 teams for adiverse array of clients and engagements.
Econsult Solutions
                                                                 His responsibilities include ensuring operational
Daniel Miles, Vice President & Associate Principal,              efficiency through prudent fiscal and project
leads financial and strategic analyses for public sector         management, and provide strategic insights to exceed
economic and fiscal impact studies. Project areas                clients expectations.
include commercial corridors, affordable housing,
                                                                 Chiara Passerini, Senior Consultant, works closely
neighborhood change, real estate development,
                                                                 with stakeholders and community groups to develop
economic development, public finance, economic and
                                                                 economic development strategies that catalyze
fiscal impacts, and financial modeling.
                                                                 inclusive and sustainable design.
Gina Lavery, Director, is atrained city planner with
expertise in anchor institutions, spatial and statistical
analysis, and commercial real estate. She leads EST's
work to provide market insights and trends for the
firm's clients.

Elizabeth Desmond is aSenior Analyst with afocus
on real estate and urban development. Ms. Desmond
applies astrong background in finance, economics,
and statistical analysis to awide range of projects in
housing and public policy.




                                                            79
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page118 of 298
                                   A-1212


         Case 1:20-cv-05301-RA   Document 29-41   Filed 07/22/20   Page 81 of 81




                                                                    northh -g Ian
                                                                      WORLDWIDE CONSULTING




Media &
Entertainment
Case 20-4238, Document 38, 02/11/2021, 3035076, Page119 of 298
                           A-1213


 Case 1:20-cv-05301-RA   Document 29-42   Filed 07/22/20   Page 1of 3




               Exhibit 42
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page120 of 298
                                            A-1214


                    Case 1:20-cv-05301-RA        Document 29-42        Filed 07/22/20      Page 2 of 3


 Richard Claman


 From:                             Vellucci, Frank S. <frank.vellucci@nortonrosefulbright.com>
 Sent:                             Friday, June 19, 2020 2:33 PM
 To:                                Richard Claman; Jonathan Rich
 Cc:                               Jeremy Bier, Larry Swiger, Michael Eisenberg; Frank Vellucci
 Subject:                          RE: 100 Park Avenue -Poke



 Richard and Jonathan,


 Idisagree with almost every assertion in your notices. Ialso note that under recent legislation enacted by the City
Council, alandlord is not allowed to harass atenant who is late on payments due to the Covid crisis (i.e., threatening to
or attempting to enforce such aprovision would also be considered aform of harassment). Please note that
Sweetcatch's monthly rental payments include all rent and charges, including aportion each month of the arrears of the
previous tenant which became part of my monthly rent as per my agreement with SL Green. In addition, SL Green has
not negotiated in good faith to come up with areasonable compromise and your letters are contradictory to emails and
conversations Ihave had with SL Green on this matter.


Please rescind both letters or Iwill forward them both to the City Council and NY Bar Association. Even after recession,
reserve all rights Ihave under new city council legislation

Best regards,
Frank


Frank S. Vellucci
Owner & CEO
(917) 721-1434
www.sweeteatchpoke.com




 U        pOK[




From: Jonathan Rich [mailto:J Rich @sbchlaw.com]
Sent: Friday, June 19, 2020 2:39 PM
To: Vellucci, Frank S. <frank.vellucci@nortonrosefulbright.com>
Cc: Richard Claman <rclaman@sbchlaw.com>
Subject: 100 Park Avenue -Poke


Mr. Vellucci:


We are counsel to landlord in the above-referenced matter.


Please see the attached correspondence and notice to cure.

Thanks,



                                                              1
                     Case 20-4238, Document 38, 02/11/2021, 3035076, Page121 of 298
                                                A-1215


                        Case 1:20-cv-05301-RA                       Document 29-42                 Filed 07/22/20             Page 3 of 3



    1111       STEMPEL BENNETT
   S jl        CLAMAN & HOCHBERG, P.C.


           Jonathan W. Rich, Esq.
           STEMPEL BENNETT CLAMAN & HOCHBERG, P.C.
           67S THIRD AVENUE
           NEW YORK, NEW YORK 10017
           TEL: (212) 681-6500 Ext. 244
           FAX: (212) 681-4041
           EMAIL: jrich@sbchlaw.com
           www.sbchlaw.com
                                                                            CONFIDENTIALITY NOTICE

           The information contained in this a-mail message is legally privileged and confidential information intended only for the use of the addressee named
           above. If the reader of this message is not the intended recipient you are hereby notified that any dissemination, distribution or copying of this e-mail is
           strictly prohibited. If you have received this e-mail in error, please immediately notify us at the e-mail above. Thank you.




CONFIDENTIALITY NOTICE: This email, including any attachments, is confidential and may be privileged. If you are not
the intended recipient please notify the sender immediately, and please delete it; you should not copy it or use it for any
purpose or disclose its contents to any other person. Norton Rose Fulbright entities reserve the right to monitor all email
communications through their networks.

Norton Rose Fulbright Australia, Norton Rose Fulbright LLP, Norton Rose Fulbright Canada LLP, Norton Rose Fulbright
South Africa Inc and Norton Rose Fulbright US LLP are separate legal entities and all of them are members of Norton
Rose Fulbright Verein, aSwiss verein. Norton Rose Fulbright Verein helps coordinate the activities of the members but
does not itself provide legal services to clients. Details of each entity, with certain regulatory information, are available at
nortonrosefu Ibright. com.




                                                                                  7
Case 20-4238, Document 38, 02/11/2021, 3035076, Page122 of 298
                           A-1216


Case 1:20-cv-05301-RA   Document 29-43   Filed 07/22/20   Page 1of 13




              Exhibit 43
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page123 of 298
                                                          A-1217


                  Case 1:20-cv-05301-RA              Document 29-43   Filed 07/22/20      Page 2 of 13
                                                                   ABOUT   TEAM   SUPPORT       JOBS   IN THE NEWS     CONTACT


                                                                                                       u SIGN UP 91 0 in
                  Celebrating 25 Years
                  advancing research and debate
                  on housing, neighborhoods,
                  and urban policy




                                                                                                            STATE OF NYC
                                           DEBATES &                                                        HOUSING &
 THE LATEST           RESEARCH             DISCUSSIONS        SPECIAL PROJECTS    COREDATA.NYC              NEIGHBORHOODS



                                                                                   IN THIS SECTION




                   The Stoop                                                       News & Events

                                                                                   Data Updates

                                                                                   Research & Policy


                           NYU FURMAN CENTER BLOG
                                                                                   SEARCH THE FURMAN CENTER
News & Events   IData Updates    Research & Policy

                                                                                    Enter search terms            SEARCH

Understanding the Potential Magnitude of Rent Shortfalls
in New York Due to COVID
June 4th 2020                                                                          l' LATEST              0 TRENDING

                                                                                   Housing Justice in the Pandemic Age:
                                                                                   Recommendations for Safe and Effective
                                                                                   Courts During COVID-i9
                                                                                   Publications I
                                                                                                July 6th 2020

                                                                                   Policy Minute: Housing       ilin
                                                                                   COVID-i9 Recovery
                                                                                   The Stoop I
                                                                                             June 24th 2020

                                                                                   REPORT: Eviction Filings Continued
                                                                                   Dramatic Decline Through 201q
                                                                                   The Stoop I
                                                                                             June 16th 2020

                                                                                   New York City Eviction Filings Decline
                                                                                   Dramatically Through 2os9
                                                                                   Press Releases I
                                                                                                  June 16th 2020

                                                                                   How Can Historic Preservation Be More
                                                                                   Inclusive?
                                                                                   The Stoop I
                                                                                             June 8th 2020
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page124 of 298
                                              A-1218


                     Case 1:20-cv-05301-RA                Document 29-43            Filed 07/22/20   Page 3 of 13




We would like to help cities or counties with populations under,5oo,000 replicate this
analysis. if you work in or for acity or county that does not have the resources to duplicate
this analysis, but are interested in seeing how your community is similarly cjfected, please
reach out to our Executive Director matthew.murph @n u.edu to discuss how we can
help.


All code and data for our analysis cf rental assistance need are available on GitHub.


Understanding the Potential Magnitude of Rent Shortfalls in New York State
and New York Cit Due to COVID-i9


Job losses from the economic fallout of the COVID-i9 pandemic are unprecedented, and
unemployment filings have reached historic levels. In aprevious analysis we showed that job
losses were likely to impact Black and Hispanic" households disproportionately, noting they
were over-represented among households earning income from occupations highly
vulnerable to pandemic-related income loss. Policymakers, advocates, and property owners
have grown increasingly concerned that mounting job losses are affecting the ability of
households to pay their rent. In response, many have put forth proposals for providing short-
term rental assistance during the COVID-i9 crisis, but the magnitude of the rental shortfall
remains unclear.


In this post we estimate the likely magnitude of need for rental assistance in New York State
and New York City. First, we examine the temporary CARES Act benefits made available to
New York State residents and show the variation in the degree to which they are helping
different types of renter households. Next, we use New York State Unemployment Insurance
Assistance (UI) claims data to learn which industries have actually suffered the most job
losses. With this information, we narrow in on the magnitude of rental assistance needed
after taking into account CARES Act benefits. More importantly, we project need in August,
the period when the most beneficial CARES Act provision for UI claiming households wears
off, assuming little or no job recovery.
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page125 of 298
                                              A-1219


                     Case 1:20-cv-05301-RA                      Document 29-43           Filed 07/22/20   Page 4 of 13
Consistent with the CARES Act sgoal of covering lost income for workers affected by COVID-
19, we find that rent burdens will remain manageable for renters who experienced job loss
through the end of July and who are eligible for benefits. These benefits are vital for this
period of time, and may explain, in part, why rent collection has not dropped as dramatically
as many expected when the pandemic started. That said, the CARES Act assistance is not
reaching all workers that experience job loss. A portion of households are not eligible for UI,
and other workers are seeing hours cut without necessarily losing their jobs. Further,
assuming unemployment continues at its current high rate going into August, renter
households will face significant shortfalls without further government support.


Unemplo ment Insurance:
Background and Examples of Renter Households that Use the Program


In response to the COVID-19 pandemic and the unprecedented job losses it has created, the
federal CARES Act dramatically expanded the UI system. First, the CARES Act expanded
eligibility for UI. Households that ordinarily would not have been eligible, such as gig workers
and freelancers, or those unable to travel to their workplaces for public health reasons, were
granted access to UI benefits. The CARES Act also extended the length of time that base UI
benefits are available by an additional 13 weeks (in New York, from 26 to 39 weeks). At the
same time, the CARES Act temporarily made UI benefits substantially more generous by
adding aflat weekly supplement of $boo (Enhanced Benefits) to base UI benefits. Enhanced
Benefits are set to expire on July 31, 2020.


However, there are gaps in the UI system. Some households are not receiving UI because they
are ineligible, while others are not receiving it (or face lengthy delays in accessing their
benefits) due to administrative hurdles. Still others continue to face economic hardship even
after receiving UI benefits. There is also variation across states in the generosity of overall
weekly benefits (the maximum weekly benefit ranges from alow of $235 in Mississippi to
$1,192 in Massachusetts), the length of time aperson can receive benefits, and the ease of
accessing benefits. As aresult, many households continue to face significant financial
challenges, and in particular, difficulty paying their rents.


To illustrate the importance of UI benefits towards mitigating rent burden, as well as the
range of ways UI benefits assist different types of households, this section estimates the post-
COVID rent burdens of six prototypical New York households who were paying 35 percent of
their (pre-COVID) income in rent, and were therefore moderately rent-burdened. In general,
we find that rent burden would jump for anumber of households that do not recover their
wages by the time Enhanced Benefits wear off.


In calculating weekly UI benefit rates, we assume that each household sgross income is
earned evenly across quarters. Each household in the first four scenarios has atotal income of
$40,000; the last two scenarios depict households earning $6o,000. In each case, we assume
that the UI claimants will remain unemployed into August. In this section, we do not account
for one-time stimulus assistance the CARES Act provided income eligible households in
April/May.


Household One: Single Earner, Formerl              Earning $4oK, Full UI Benefits


Rent Burden (percentage of income towards rent) through Jul :28%
Rent Burden from August onward: 71%


To simply illustrate ahousehold receiving full unemployment benefits, we consider a
household earning $40,000 ayear, with asingle earner who was laid off due to COVID-19.
That household was previously moderately rent burdened, paying amonthly rent of 35
percent of its income, or $1,167 per month.


If the recent earner in that household is eligible for unemployment benefits, she is receiving a
weekly benefit of $984 through July 31: $384 in base UI benefits, plus the $boo
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page126 of 298
                                              A-1220


                     Case 1:20-cv-05301-RA                  Document 29-43            Filed 07/22/20   Page 5 of 13
supplemental payment. Thereafter, she will receive the weekly $384 benefit, for atotal of 39
weeks.


Because of the CARES Act ssupplemental UI payment, this household will not be rent
burdened through July. Assuming 4.3 weekly payments per month, the single earner will
have amonthly income of $4,231 through July, making the household srent 2'7.5 percent of
their income.


After July, however, this household will lose the supplemental UI payment and revert to the
base UI rate. The household smonthly income will drop to $1,651, and they will become
severely rent burdened, paying 71 percent of their income towards rent.


Household Two: Single Earner, Formerl              Earning $4oK, Lost 6o% of Hours,
Receiving Partial Unemplo ment


Rent burden through Jul :25%
Rent burden from August onward: 54%


In New York, unemployment insurance is also available to some workers who have lost hours
but remain employed part-time. In this scenario, we look at ahousehold identical to that in
Scenario One (a single-earner household, earning $40,000, and paying 35 percent of its
income toward rent). Here, however, we assume that the working member semployment was
cut from five days aweek to two, while earning the same hourly wage. In other words, the
household sweekly income was cut from $769 to $3o8.


Based on New York State sformula for partial unemployment benefits, this worker will
receive $192 each week in UI (half as much as the worker in scenario #1). She will also receive
the $boo supplement through July, for atotal weekly household income of $1,1oo.


Through July, this household will not be rent burdened. The household will have amonthly
income of $4,730, meaning that they will pay 25 percent of their monthly income towards
rent. After July, however, this household sincome will drop to $2,15o. The household will be
paying 54 percent of its monthly income to rent, making the household severely rent
burdened.


Household Three: Single Earner, Formerl              Earning $4oK, Lost 2o% of Hours,
Receiving No Benefits


Rent burden through Jul :44%
Rent burden from August onward: 44%


Not all workers who lose their jobs will be able to access UI benefits. Some will be deterred by
any number of administrative obstacles. Others, including immigrants working without legal
authorization, will not be eligible. Some job losses, including those where "essential workers"
fear returning to their workplace, may not trigger UI eligibility.


Even arelatively small reduction in income can greatly exacerbate ahousehold srent burden.
Consider if the same household supported by asingle worker earning $40,000 saw the
worker shours cut by 20 percent, from five days to four days per week. This is not an amount
sufficient to trigger any partial UI payment in New York. That earner swages would fall to
$615 per week, or $2,667 per month. The household would then be paying 44 percent of their
income in rent, compared with 35 percent before the reduction in hours.


Workers facing income losses greater than 20 percent who cannot access UI—because of
immigration status, employment history, or difficulties applying—would of course face larger
rent burdens.


Household Four: Two Earners, Formerl              Earning $2oK Each, One Eligible for
UI
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page127 of 298
                                              A-1221


                      Case 1:20-cv-05301-RA                  Document 29-43            Filed 07/22/20   Page 6 of 13
Rent burden through Jul :34%
Rent burden from August onward: >l00%


This scenario imagines ahousehold with the same rent and the same total income, but split
among two working members. We assume both earners have lost their jobs and previously
earned $2o,000 each, and that only one is eligible for UI.


The worker who was eligible for UI would receive abase UI benefit of $192 per week, along
with the $600 supplemental payment through July. The other member of the household
would not receive any UI compensation. Through July, this household sincome would be
$3,4o 6,and it would be paying 34 percent of its income towards rent—leaving it at roughly
the same level of rent burden as before. After July, the household smonthly income would
drop to $826. Their monthly rent would be greater than their income.


By comparison with Household One, this household is far more reliant on the $600
supplemental payment, which as aflat rate, is larger relative to their former wages and base
UI benefits. Once it expires (and assuming no new income), this household will not be able to
pay their rent.


Household Five: Single Earner, Formerl            Earning $6o,000, Full UI Benefits


Rent burden through Jul :37%
Rent burden from August onward: 8o%


While the scenarios above all examined households earning $40,000, the interplay between
UI and rental assistance is somewhat different at higher incomes. (The same is true at lower
incomes, but at lower incomes, additional government benefits may be available). This
scenario looks at ahousehold that, prior to its single earner being laid off, had earnings of
$6o,000 per year—around the median income for New York City households. Like the
households above, they were paying 35 percent of their income to rent, for amonthly rent of
$1,750.


Relative to workers earning $20,000 or $40,000, this worker will receive alower percentage
of her former earnings: with full UI benefits, she will receive $504 per week, (the maximum
base UI allowed in New York State). She will also receive the $600 supplemental payment
through July.


This will give her amonthly income of $4,747 through July. During this time, she will pay
roughly 37 percent of her income to rent, aslight increase in rent burden from before she was
laid off. After July, her monthly income will fall to $2,167. She will be paying 8o percent of
her income to rent.


As compared with alower-wage worker, this household receives proportionally smaller
(though larger in absolute terms) benefits from the UI system. Both while receiving the
federally-supplemented UI benefit and while receiving the state baseline, this household will
be more rent burdened than the household earning $40,000.


Household Six: Two Earners, Each Formerl              Earning $3o,000, Full UI Benefits


Rent burden through Jul :23%
Rent burden from August onward: 70%


This scenario considers the impact of dividing ahigher-earning household swages between
two workers, rather than one. It again imagines apre-layoff household income of $6o,000,
split equally among two workers, and apre-layoff rent of $1,750.


In this scenario, each earner will receive abase UI payment of $288, along with the
temporary $600 federal supplement. Through July, this will total to amonthly household
income of $7,637. It will not be rent-burdened, as it will be paying 23 percent of its income to
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page128 of 298
                                              A-1222


                     Case 1:20-cv-05301-RA                    Document 29-43             Filed 07/22/20   Page 7 of 13
rent. After July, the household smonthly income will fall to $2,477. It will become severely
rent burdened, paying 70 percent of its income to rent.


This scenario shows the importance of the federal supplement sfixed nature, as well as the
cap on base UI earnings. Compared to the household in Scenario Five, which has the same
total income and pays the same rent, this two-earner household receives more UI benefits
both through July and after, and experiences lower rent burdens.


Summar


                                                                         Rent       Rent
                Rent                                                     burden     burden
Household burden COVID                                                   through August
earnings  pre-   emplo ment                                              Jul 31, 2020
 pre-COVID COVID           effects              Benefits                 2020       onward

                                                Full UI benefits (39
 Single                                         weeks) + Pandemic
 earner,         35%        Unemplo ed          Unemplo ment             28%        71%
 $40k                                           Assistance (PUA)
                                                through Jul   2020

 Single                                         Partial UI benefits, +
 earner,         35%        Lost s     of       PUA through Jul          25%        54%
                            hours
 $40k                                           2020


 Single                     Lost 20% of
 earner,         35%        hours               No benefits              44%        44%
 $40k


                                                One member receives                  > 100%
 Two                                            full UI benefits, +                 (rent is
 earners,        35%        Both                PUA through Jul          34%        greater
 $20k each                  unemplo ed          2020 Other member                   than
                                                ineligible for UI                   monthl
                                                                                    income)


 Single                                         Full UI benefits
 earner,         35%        Unemplo ed          (maximum base UI         37%        80%
 $60k                                           rate), + PUA through
                                                JuI 2020

 Two                        Both                For both, full UI
 earners,        35%                            Benefits + PUA           23%        70%
 $30k each                  unemplo ed          through Jul 2020




Estimating the need for rental assistance in New York State and New York Cit
when incorporating New York State UI Data


In aprior blog post we estimated that over 1 million renter households in New York City had
at least one member who worked in an occupation at risk due to the economic fallout of the
coronavirus. This analysis assumed loo percent job loss in all industries we identified as
particularly vulnerable to job loss. Now three months into the pandemic, we see, as expected,
that job loss has varied greatly by industry.


To update and expand this analysis across New York State, we used publicly available data on
New York State UI claims, and compared those claims to the number of jobs in each industry
prior to the pandemic. This provides asense of the proportion of jobs that have actually been
lost in each industry. In New York State, we find that the industries with the highest
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page129 of 298
                                              A-1223


                     Case 1:20-cv-05301-RA                  Document 29-43              Filed 07/22/20   Page 8 of 13
proportion of claims relative to total jobs are: Accommodation and Food Services;
Administrative and Support Services; Wholesale Trade; Construction/Utilities; Arts,
Entertainment, and Recreation; Retail Trade; and Other Services (which includes working in
jobs like dry cleaning, nail salon specialist, etc.). Using UI claim data alone as an estimate of
actual job loss misses households unable to use UI. To gain an understanding of these
households, we rely on an analysis by James Parrott and Andrew Stettner of the households
that do not receive UI, and estimate that 6'7 percent of New York State households that
experience job loss claim UI benefits. After accounting for this 6'7 percent take-up, we use job
loss proportion by industry to simulate job loss using American Community Survey
household level data. For this, we net out the 2019 claims in order to focus on COVID-related
job loss that is in excess of typical monthly claims. We run this as asimulation because we do
not have household level data on both job loss and housing characteristics.


Below we estimate the magnitude of scale and need for New York State and New York City
renter households. In an effort to narrow down the analysis to renter households least likely
to have savings or access to credit to help stem the tide during the pandemic, we limit most of
our analysis to renter households with incomes at or below 8o percent of the local Area
Median Income (AMI) prior to COVID-related job loss (lower income households). Because
we do not know the incomes and location of those that make claims, we simulated job loss
across the households that work in each industry at the proportion of job loss. You can find
the code for all renters in New York State and New York City here.


Estimates of Affected Households in New York State and New York Cit


Using New York State UI Claim data to date, we estimate that 829,600 New York
State renter households have at least one household member who filed aUI
claim due to COVID-19. We estimate that an additional 327,2oo households have
at least one member who lost their job due to COVID-19, but do not claim UI
Benefits.


Using available UI claim data we estimate that 1,156,800 renter households in New York
State have at least one member who has lost their job due to COVID-19. Aggregate wages lost
per month for this group total about $4.9 billion. We estimate that monthly UI benefits (base
UI and Enhanced Benefits) together provide about $3.6 billion per month to make up lost
wages for households who qualify. In addition, we estimate that the one-time April/May
Stimulus provided about $2.4 billion in total assistance to the 829,600 households who have
claimed UI.


However, of the 1.1 million households, we estimate that 327,2oo households have members
who have experienced job loss but do not receive UI benefits. The aggregate lost wages for
these 327,20o households is $'793 million per month, with no UI benefits to make up for lost
wages. We also assume that these 327,2oo households did not receive one-time stimulus
assistance either, as we have no basis for estimating what portion of these households would
have received one-time stimulus assistance.


When limiting just to New York Cit renters, we estimate that 526, Zoo renter
households have at least one household member who filed UI claims due to
COVID-19 job loss. We estimate that an additional 208,70o New York Cit renter
households have at least one member who lost their job due to COVID-19, but do
not claim UI Benefits.


We apply the same method to estimate the scale of job loss for New York City renters. We
estimate that'734,9oo renter households— in New York City have at least one member that
has lost employment due to COVID-19, representing about one third of rental households in
New York City. In aggregate, the amount of wages lost per month for this population is about
$3.5 billion, with $2.3 billion in monthly UI benefits (base UI and Enhanced Benefits)
helping to make up for this loss. In addition, we estimate that the one-time April/May
Stimulus provided about $1.4 billion in total assistance to the 526,2oo households who have
claimed UI.
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page130 of 298
                                              A-1224


                        Case 1:20-cv-05301-RA               Document 29-43              Filed 07/22/20   Page 9 of 13
However, of the'734,9oo households, we estimate that 208,70o households have members
who have experienced job loss but do not receive UI benefits. The aggregate lost wages for
these 208,70o households is $622 million per month, with no UI benefits to make up for lost
wages. We also assume that these 208,70o households did not receive one-time stimulus
assistance either, as we have no basis for estimating what portion of these households would
have received one-time stimulus assistance.


Of all New York State renter households with at least one member who we
estimate filed aUI claim due to COVID-19 job loss, 451,3oo are lower income
(pre-
    COVID earnings below 8o percent of Area Median Income). We estimate
that an additional 176,9oo lower income renter households have at least one
member lost their job due to COVID-19, but do not claim UI benefits.


We next limit our analysis to lower income households. We estimate that 451,3oo New York
State renter households with annual incomes below 8o percent of their local Area Median
Income (AMI) have experienced job loss due to COVID-19, and filed aUI claim. We estimate
an additional 176,9oo households have at least one member that do not claim UI benefits, but
experienced job loss.


Because of Enhanced Benefits, lower income renters who receive UI benefits may now
temporarily receive more income than they did pre-COVID. In aggregate, we estimate that
lost wages for lower income New York State renters are $1.3 billion per month. We estimate
that $1.2 billion in Enhanced Benefits and $526 million in base UI make up for wage losses
for lower income renters who qualify for benefits.


Again, not all households that lose income will use UI (as such, any aggregate estimates may
be deceiving, as aggregate estimates may mask this issue). We estimate that the 176,9oo
households that will not be able to claim UI are losing $155 million in wages per month, with
no UI benefits to help cover this lost income.


Of all New York Cit renter households with at least one member who we
estimate filed UI claims due to COVID-19 job loss, 279,400 are lower income
(pre-
    COVID earnings below 8o percent of Area Median Income). We estimate
that an additional ui,5oo lower income New York Cit renter households have
at least one member that lost their job due to COVID-19 but did not claim UI
benefits.


We estimate that 279,400 New York City renter households with annual incomes below 8o
percent of the New York City AMI have experienced job loss due to COVID-19, and filed aUI
claim. We estimate an additional 111,5oo households have at least one member that do not
claim UI benefits, but experienced job loss.


Because of the Enhanced Benefits, eligible lower income renters who receive UI benefits may
temporarily receive more income than they earned prior to COVID. We estimate that lost
wages for the 279,400 lower income New York City renters are $898m per month. These lost
wages are made up for with $'746 in Enhanced Benefits, and $339 million in base UI.


However, we estimate that the additional 111,500 lower income New York City households
who do not claim UI benefits are losing $125 million in wages per month, with no UI to cover
for this lost income.


Lower income New York State households that have lost wages due to COVID-19
pa atotal of $796 million in rent per month. $538 million of that rent is owed in
New York Cit .


Lower income New York State households affected by job loss pay an average of $1,267 per
month in rent —in New York City, the average monthly rent for lower income renters affected
by job loss is $1,376. For context, about $4.7 billhon in gross residential rent is incurred in
                   Case 20-4238, Document 38, 02/11/2021, 3035076, Page131 of 298
                                              A-1225


                   Case 1:20-cv-05301-RA                  Document 29-43             Filed 07/22/20   Page 10 of 13
New York State monthly. The amount of monthly rent owed by lower income renters who
have lost wages due to COVID-19 is about 17 percent of all rent across the state.


When Enhanced Benefits wear off in Jul            2o2o, without job recover         or rent
reductions, the effects for lower-income renter households in New York State
and New York Cit will be devastating. The most at-risk households ma be the
estimated 227,000 New York State households, 142,000 of which are in New
York Cit ,that were severel       rent-burdened before the pandemic and lost their
job due to COVID -19.


As noted throughout this post, Enhanced Benefits expire in July of 2020, creating acliff for
the most valuable benefits. We estimate that base UI benefits are providing about $526m per
month to lower income UI claimants in New York State, but the CARES Act Enhanced
Benefits are providing another $1.2 billion per month to those eligible renter households. In
New York City, we estimate that base UI Benefits are providing $339 million to lower income
renters per month, and another $746 million is coming from Enhanced Benefits per month.


Workers in households that are not re-employed will be solely reliant on base UI benefits in
August. As this date comes closer, affected households may feel more pressure to conserve
cash, and be less likely to pay rent compared to rent payment rates in April, May, and June. If
the economy has not recovered by then, or the Federal government does not provide more
assistance, this pressure will likely spread further across the rental market when Enhanced
Benefits wear off on July 31, 2020. It is important to note that we find that 227,000
households across New York State (142,000 of which are in New York City) who lost their job
due to COVID-19 and made aUI claim were severely rent-burdened. These households may
be at the greatest risk of housing instability when Enhanced Benefits expire.


Valuing Rental Assistance Need


Next, we estimate the need for rental assistance after accounting for both CARES Act benefits
and households not likely to be receiving those benefits. To estimate this total need, we target
the amount of money that would be required to bring lower income households to their target
rent burden (the higher of 30 percent of their income towards rent, or their previous rent
burden). We focus on returning households to their previous rent burden in order to ensure
household stability, but assisting all affected households to the point where they are paying
30 percent of income towards rent would greatly increase the cost estimates that follow.


For additional context, nearly half (46.3 percent) of New York State households are renters,
and even before the pandemic, many tenants struggled to pay rent. In 2o18, 26 percent of
New York renter households were severely rent burdened, paying more than half of their
income to pay their monthly rent. New York State is home to 3.4 million renter households,
and statewide, renters pay an average gross monthly rent of $1,370. If every New York State
renter household did not pay their rent for amonth, the maximum possible non-payment
amount would be about $4.7 billion each month. This scale of non-payment would be
extremely unlikely, but this number is auseful bound for estimates.


Rental Assistance Need for Lower Income Renters During Period of Enhanced
Benefits


We first examine the monthly rental assistance need for lower income New York State renters
during the period that Enhanced Benefits are in place. We estimate that $1o8 million per
month would be needed to cover households that have experienced COVID-related job loss,
with $95 million of that amount covering households that do not receive any UI benefits. New
York City households comprise $83 million of the estimated need, with $73 million covering
households that do not receive any UI benefits. Assuming these monthly costs stay constant
for March, April, May, June, and July, it is reasonable to assume an upward bound estimate
of total need across the state would be about $540 million (five months of need), and about
$415 million in New York City.
                     Case 20-4238, Document 38, 02/11/2021, 3035076, Page132 of 298
                                                A-1226


                      Case 1:20-cv-05301-RA                      Document 29-43       Filed 07/22/20   Page 11 of 13
An often overlooked benefit is the one-time stimulus assistance provided in April andMay for
income eligible households. As mentioned earlier, we do not know what portion of
households that do not receive UI benefits received one-time stimulus funds. But for lower
income households that have claimed UI, we estimate that the one-time stimulus provided
about $1.3 billion in assistance to lower income households across the state. The impact of
this one-time assistance depended on household size. When spreading this total assistance
out for five months (March-July), we find that the one-time Stimulus provides about $268
million in assistance per month. This assistance undoubtedly has helped to contribute to
eligible renters ability to pay rent. If we assume that all households that have claimed UI also
received one-time stimulus assistance, and that households that have not claimed UI did not
receive stimulus payments, then our estimate of need for New York State drops to a
cumulative total of $4'75 million over five months to cover the households that did not receive
UI or stimulus ($95 million per month).


Rental Assistance Need for Lower Income Renters when Enhanced Benefits
Expire


Of greater concern is how the need for rental assistance increases when Enhanced Benefits
wear off. In this section, we show how the need changes when assuming that 25 percent of
jobs lost during the pandemic return by August, and the need if no jobs return by August. We
estimate that the monthly need for lower income New York State households will increase
from $85 to $391 million in August. In New York City, the monthly rental assistance need will
grow from $65 to $26'7 million.


The graph below compares how the monthly rental assistance need changes when Enhanced
Benefits wear off, assuming a25 percent job recovery. The graph also shows the potential
monthly rental assistance need for all households in both New York State and New York City,
as well as the need for just lower income households earning 8o percent of AMI, which has
been our primary focus.




    Tnal Winhly hapw AW.vinep Need


          0   W.0e_.Wirf.     a
                              YWCL•odEr•




    m




    OPU                                                            Y72N

                                             ]FIM

    >a                            •_                 1   2iik`

                                                                          d'.JI
                                                                                           l


                N Yi+ILfR]O         W.4H4•fm••o            HWVI•sa        4P`d.Y 4t'R!!•

    '•JY re•ird.dFam•cMho•xhn•.•inu••Yaa• F4arrti •vm••7 •
    -v-0rrw•a• Pka•ksr •irM ry nhv4bv Yid {nil—ehi

    %v    J.wcwC.—M           . VMS _'
                                     'SA. YYS Ppdew Mr.—C—




Assuming that none of the jobs lost return by August, the monthly rental assistance need
would increase to $516 million across the state ($352 million in New York City). These figures
take into account base UI benefits replacing lost wages, which stay in place for atotal of 39
weeks for eligible households.
                       Case 20-4238, Document 38, 02/11/2021, 3035076, Page133 of 298
                                                  A-1227


                        Case 1:20-cv-05301-RA                Document 29-43                Filed 07/22/20   Page 12 of 13


    Tatar limmnly [
                  rental +W 51ane4 Need
    la&s•+;, NO Jab 9•z•sf




                             Mm



                                                                  ?:JW


                                               Elam

                                                                                          35M


                                    imw                                      a. w
                                                                                                I
                                          44               4•+o•rrr              •wrrar

    _v•wrwnM WSa•ksw ArM r• nhs4da t5d •risM•Y•

    %r    J.—C—" S,­f.W% . VMS _'
                                'SA. YYS Ppdew Mr.—C—




It is important to note that other factors are likely to mitigate this total need. The first is that
some households might be able to negotiate lower rents upon lease renewal. Building owners
may agree to reduced rents in order to retain tenants as housing demand falls, and
uncertainty about the future remains. In addition, it may be the case as well that any housing
assistance made available does not fully compensate for the rent owed, covering instead only
aportion of it. The second is that while there is likely to be some job recovery by July, as
evidenced by many parts of New York State opening this week, it is not clear to what degree
jobs that are lost will return. As shown in this section, the rental assistance need varies
greatly depending on actual job recovery.


Conclusion


Our analysis suggests that the CARES Act is currently protecting most renters who lost
income due to COVID-19 and claim UI from elevated rent burdens. Without Enhanced
Benefits, however, the scale of monthly rental assistance needed to help lower income
households may reach up to between $391 and $516 million per month starting in August,
depending on job recovery rates. Additionally, asubset of households who are left out of
CARES Act assistance programs may have acumulative rent need of about $475 million
between March and July. A disproportionate share of the workers at risk of housing
instability and nonpayment are Black and Hispanic, as evidenced by their over-
representation in occupations that have faced higher rates of job loss.


It is important to note that throughout our analysis, we did not assume that rents would
either increase or fall. It may be the case that rents do drop, or that building owners negotiate
with tenants to reduce rents at lease renewal. If this occurs, this would decrease the rental
assistance need estimates overall. Our method highlights the need to tie real-time monitoring
of actual UI claims to housing status. Because UI is such an important benefit during the
pandemic, it is critical to understand the intersection between the labor market and the rental
market. Additionally, it would be beneficial to understand how other labor market conditions
affect housing status, including the effect of reduced hours, which we did not build into our
analysis; what the actual UI claim rate has been in comparison to actual job loss; and the
actual job recovery rate. Finally, our analysis also underscores the need for real-time
information on non-payment in New York City srental stock in order to understand which
housing portfolios are most affected by non-payment. We look forward to forthcoming
national estimates using asimilar methodology from our research partners at the Urban
Institute and the Joint Center for Housing Studies.


Whether assistance is provided directly to tenants, or directly to landlords to cover rents for
tenants in exchange for not displacing tenants, the amount budgeted must match the scale of
the issue, and administratively needs to be set up in the next 45 days to mitigate against a
large, expected cliff starting in August 2020.
                  Case 20-4238, Document 38, 02/11/2021, 3035076, Page134 of 298
                                             A-1228


                   Case 1:20-cv-05301-RA                Document 29-43             Filed 07/22/20   Page 13 of 13
*We use the term Hispanic because of the way American Community Survey data are
described by the US Census. You can find out more about the reason we use the term
Hispanic here.


**Our earlier blog post estimated an upward bound ofjust over 1 million potential jobs at
risk in New York City. This represents arevision of that estimate, but UI claims may still
increase, at which point our 734,goo estimate would need to be revised.


We are grateful to Santander Bank, whose support made this blog post possible. Santander
Bank is also the Premier Sponsor of our 2019 State of New York City's Housing and
Neighborhoods. Our special focus this year is on the State of Eviction in New York City.




                            oPrevious I The Stoop INext



All content © 2005 —2020 Furman Center for Real Estate and Urban Policy I
                                                                        Top of page I
                                                                                    Contact Us


0 NYU WAGNER 0 NYU LAW
Case 20-4238, Document 38, 02/11/2021, 3035076, Page135 of 298
                           A-1229


Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 1of 49




              Exhibit 44
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page136 of 298
                                 A-1230


      Case 1:20-cv-05301-                           20




Small
Business
First
Better Government. Stronger Businesses.
  Case 20-4238, Document 38, 02/11/2021, 3035076, Page137 of 298
                             A-1231


  Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 3 of 49




EXECUTIVE
SUMMARY
Case 20-4238, Document 38, 02/11/2021, 3035076, Page138 of 298
                           A-1232


Case 1:20-cv-05301-RA     Document 29-44          Filed 07/22/20       Page 4 of 49




                 Small businesses strengthen New York City's economy, anchor communities, create
                 jobs, and add to the vibrancy of the City's neighborhoods. Of the more than 200,000
                 businesses located in New York City, 98 percent are small (fewer than 100 employees) and
                 89 percent are very small (fewer than 20 employees). These small businesses employ more
                 than half of New York City's private sector workforce, and often provide afirst chance for
                 economic self-determination and apath to the middle class for their owners.
                 Every day, however, small businesses face avariety of challenges, including multiple levels
                 of government regulation. Steps have been taken over the years to improve New York
                 City's regulatory environment, but the complexity and number of requirements weigh
                 heavily on small businesses that often have fewer resources to navigate government.
                 In July 2014, Mayor de Blasio launched Small Business First, an inter-agency initiative
                 led by the Mayor's Office of Operations and the Department of Small Business Services
                 to make government more effective and efficient in helping businesses start, operate,
                 and expand. The result is 30 recommendations to greatly improve the City's regulatory
                 environment for small businesses and save business owners time, money, and hassle, as
                 well as increase satisfaction with City services.
                 To build the recommendations included in Small Business First, the City worked closely
                 with small business owners, advocates, neighborhood and community leaders, and elected
                 officials, to solicit ideas about how best to help small businesses. More than 600 unique
                 comments and ideas were received detailing the specific needs of small businesses across
                 the five boroughs. This report outlines 30 initiatives aimed at supporting small businesses
                 in the ways the small business community says it needs most.


                 Recommendations include:
                 Provide Clear Information with Coordinated Services and Support
                      1. Create aComprehensive Online Business Portal
                      2. Provide an Easy-to-Find Location for Businesses on Each Regulatory
                         Agency Website
                      3. Engage Entrepreneurs in Developing Online Services for Businesses
                      4. Create aNew One-Stop Business Center
                        5. Provide Individual Support to Business Owners with Client Managers
                      6. Promote the Use of Handheld Devices for Inspections
                      7. Ensure Agencies Have Plain Language Guides
                      8. Create Informational Guides for Inter-Agency Processes


                 Help Businesses Understand and Comply with City Regulations
                      9. Deploy Small Business Compliance Advisors to Help Businesses Follow the Rule
                     10. Provide Proactive Support to Businesses Needing Education
                     11. Provide Better Customer Service
                     12. Create One-Stop Hearing Centers for Business Regulatory Issues
                     13. Provide aMore Flexible Adjudication Process by Expanding Alternative
                         Hearing Options


                                                                                                           3
    Case 20-4238, Document 38, 02/11/2021, 3035076, Page139 of 298
                               A-1233


    Case 1:20-cv-05301-RA    Document 29-44           Filed 07/22/20       Page 5 of 49




                     Reduce the Burden Imposed by Complex Regulations and Fines

                         14. Create an Advisory Board to Provide Feedback and Review City Laws

                         15. Eliminate and Consolidate Licenses and Permits
                         16. Repeal or Modify Unnecessarily Complex or Obsolete Rules

                         17. Make it Easier for Gyms and Health Clubs to Open in New York City

                         18. Improve Coordination Between the Department of Buildings and the
                             Fire Department

                         19. Streamline Fire Suppression Plan Review by Removing Department of
                             Buildings' Review
                         20. Allow Licensed Fire Suppression Contractors to Submit Plans for Commercial
                             Kitchen (Rangehood) Fire Suppression Systems

                         21. Streamline Department of Buildings' Process for Determinations
                         22. Streamline and Standardize the Process for Obtaining aDepartment of Buildings'
                             Letter of No Objection

                         23. Standardize Department of Buildings' Plan Objections

                         24. Create aSidewalk Shed Notification System at Department of Transportation

                         25. Expand the Department of Transportation's Online Permitting System to Include
                             All Permit Types

                     Ensure Equal Access for All Business Owners

                         26. Train Community Groups to Assist Local Businesses
                         27. Support Businesses by Providing Educational Events in Communities

                         28. Help Small Business Owners by Connecting Them to Personal
                             Financial Counseling

                         29. Simplify Critical Materials for Small Business Owners

                         30. Make Key Materials and Services Available in More Languages

                     We will begin implementing these recommendations immediately, holding ourselves
                     accountable by tracking progress against specific and ambitious goals. We will ensure
                     that we are saving business owners time, money, and hassle, as well as increasing their
                     satisfaction with City services. For example, the City will reduce the time required for a
                     business to open or work with the City by 50 percent and reduce the incidence of repeat
                     violations by 10 percent in neighborhoods targeted for outreach, training, and support.
                     Through Small Business First, the de Blasio Administration is pursuing amulti-faceted
                     and expansive strategy to ensure City government works better for small businesses. In
                     doing so, the City will lift up entrepreneurs who create jobs, strengthen neighborhoods,
                     and grow the economy.




4
Case 20-4238, Document 38, 02/11/2021, 3035076, Page140 of 298
                           A-1234


Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 6 of 49
 Case 20-4238, Document 38, 02/11/2021, 3035076, Page141 of 298
                            A-1235


  Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 7 of 49




TABLE
OF
CONTENTS
Case 20-4238, Document 38, 02/11/2021, 3035076, Page142 of 298
                           A-1236


Case 1:20-cv-05301-RA    Document 29-44      Filed 07/22/20    Page 8 of 49




                 08 INTRODUCTION

                 14 PROVIDE CLEAR INFORMATION WITH COORDINATED SERVICES
                        AND SUPPORT
                          15 Improve Information and Services for Businesses Online
                          17 Improve Information and Services for Businesses in Person
                          18 Improve Informational Materials for Businesses

                 20 HELP BUSINESSES UNDERSTAND AND COMPLY WITH
                        CITY REGULATIONS
                         21 Help Small Businesses Learn to Comply
                         23 Provide Better Customer Service
                         23 Make the Adjudication Process Easier
                 26 REDUCE THE BURDEN IMPOSED BY COMPLEX
                        REGULATIONS AND FINES
                         27 Update and Simplify City Law
                         28 Streamline City Processes

                 32 ENSURE EQUAL ACCESS FOR ALL BUSINESS OWNERS
                      33 Decrease the Distance between Small Businesses and City Agencies
                         34 Help All New Yorkers Understand How to Comply With the Law

                 36 ACCOMPLISHING OUR GOALS

                 42 MEASURING OUR SUCCESS

                 44 NOTES

                 46 ACKNOWLEDGMENTS
 Case 20-4238, Document 38, 02/11/2021, 3035076, Page143 of 298
                            A-1237


  Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 9 of 49




INTRODUCTION
Case 20-4238, Document 38, 02/11/2021, 3035076, Page144 of 298
                           A-1238


Case 1:20-cv-05301-RA       Document 29-44                     Filed 07/22/20       Page 10 of 49




                 A City of Small Businesses
                 Every day in New York City, entrepreneurs open and operate small businesses. These small
                 business owners take tremendous financial risk to transform their dreams into reality and
                 in doing so, they provide the foundation for our city's unique and diverse neighborhoods.
                 For many New Yorkers, small business ownership also offers afirst chance for economic
                 self-determination and apath to the middle class. As we strive to create afairer economy
                 and reduce inequality in our city, supporting those who pursue business ownership is
                 vitally important.

                 CHANGE IN NUMBER OF NYC ESTABLISHMENTS
                 BY ESTABLISHMENT SIZE, 2001-2012

                    1000+ Employees           3%

                 500-999 Employees                                1%

                 250-499 Employees                             10%
                 100-249 Employees                      0% 1

                    50-99 Employees                                           6%

                    20-49 Employees                                           6%

                    10-19 Employees                                           7%

                       5-9 Employees                                                           15%

                       1-4 Employees                                                     11%

                                            -5%             0%           5%        10%     15%       20%

                                      Percentage Change in Number of Establishments, 2001-2012
                  Source: U.S. Census Bureau, County Business Patterns




                 New York City is acity of small businesses. Of the approximately 220,000 businesses
                 located in the City, 98 percent are small (fewer than 100 employees) and 89 percent are
                 very small (fewer than 20 employees). These businesses already employ nearly half of the
                 City's workforce and they are growing. Very small businesses were responsible for nearly
                 aquarter of the new hires in the City between 2007 and 2012. Similarly, businesses with
                 fewer than 100 employees gained jobs at arate of five percent compared with a0.7 percent
                 loss for businesses with 500 to 1,000 employees. Given the importance of small businesses
                 to our economy, it is critical to New York's global competitiveness that we create an
                 environment where it is easy for small businesses to open, operate, and grow.




                                                                                                           9
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page145 of 298
                                A-1239


     Case 1:20-cv-05301-RA     Document 29-44                   Filed 07/22/20               Page 11 of 49




                       CHANGE IN NYC EMPLOYMENT BY ESTABLISHMENT SIZE,
                       01 2007- 01 2012

                                 1000+ Employees            -0.3%

                              500-999 Employees           -0.7%

                              250-499 Employees                       6                                 7.3%

                              100-249 Employees                       0                                6.7%

                                 50-99 Employees                      0                        5.1%

                                 20-49 Employees                      6                             6.0%

                                 10-19 Employees                      9                         5.1%

                                     5-9 Employees                    8              2.4%

                                     1-4 Employees                                                            8.0%

                                                 Total                 '                    4.1 %

                                                         -2%       0%           2%     4%       6%         8%    10%

                                       Percentage Change in Number of Employees, 01 2007 -01 2012
                      Source: NYSDOL,Quarterly Census of Employment and Wages




                      The Challenge of Starting, Operating, and Growing in New York City
                      Government regulation at all levels has consistently been cited by small businesses as one
                      of the primary hurdles. The City's small business owners have repeatedly voiced their
                      concerns about the overwhelming maze of requirements and processes that they must
                      navigate to open, operate, and grow. These concerns are very real. New York City has
                      acomplex regulatory environment, with over 6,000 rules and regulations and around
                      250 business-related licenses and permits as well as many processes created to ensure
                      compliance with the law. For example, arestaurant opening in New York City may have
                      to file applications, make payments, undergo reviews, obtain approvals, get inspections,
                      and receive licenses and permits from up to eight City agencies before it even opens its
                      doors for business. The complexity of this process brings with it many possibilities for
                      confusion and delays from both the business and the City, adding significant costs and
                      hindering business development. Once the business opens it may receive violations from
                      inspections that can be, in some cases, more punitive than educational.
                      Regulatory requirements weigh heavily on businesses that are small. These businesses are
                      typically subject to alarge proportion of the City's laws and, in terms of resources, their
                      owners are the least capable of navigating the bureaucracy. Of all of the industries that
                      are regulated by the City, the most heavily regulated are the accommodation and food
                      services, retail, and other services (includes beauty salons, nail salons, laundry, and dry
                      cleaning) industries. These industries are almost exclusively comprised of small businesses.
                      Unlike some larger businesses, small businesses do not have staff dedicated to managing
                      their interactions with government and may have less knowledge of and experience with
                      City processes and rules. In addition, many small business owners are further inhibited by
                      language, cultural barriers, or other impediments that make this process more difficult.
                      As aresult, in the majority of cases, owners are forced to allocate their limited resources to
                      the hiring of consultants or expeditors to help them. Leveling the City's regulatory playing
                      field for small businesses is necessary to create afairer economy in New York City.



10
                    Case 20-4238, Document 38, 02/11/2021, 3035076, Page146 of 298
                                               A-1240


                    Case 1:20-cv-05301-RA       Document 29-44          Filed 07/22/20       Page 12 of 49




                                         The Vision of Small Business First
                                         Efforts have been made over the past few years to improve the small business regulatory
Some of the groups we met
                                         climate with some success. For example, the collaborative work of the Mayor's Office, the
with include:
                                         Department of Consumer Affairs (DCA), and the City Council resulted in significant
   •American Institute of Architects
                                         improvements to the licensing process for sidewalk cafes including areduction in the time
   •Association for aBetter New York     for obtaining and renewing licenses from 465 days to less than 150 days. We will build
                                         on these achievements and focus on Mayor de Blasio's goals to reach and support small
   •Bronx Chamber of Commerce
                                         businesses and underserved New Yorkers across all five boroughs; promote education
   •Bronx Overall EDC                    and compliance, instead of simply punitive enforcement; and focus on inter-agency
   •Brooklyn Chamber                     collaboration. Mayor de Blasio acted on these priorities in his first budget by reducing
                                         the revenue estimates from fines for fiscal year 2015 by 21 percent for DCA and 44
   •Con Edison
                                         percent for the Department of Health and Mental Hygiene (DOHMH) as compared to
   •El Museo del Barrio                  2012. In addition, DCA has implemented aSmall Business Relief package that includes
   •Make the Road NY
                                         numerous initiatives such as areduction in the number of violations that would be cited
                                         for an incident and reduced amounts for violation settlements.
   •Manhattan Chamber
                                         Despite these improvements, however, we know that there is more to be done. With
   •Mano aMano                           that in mind, in July 2014, Mayor de Blasio launched Small Business First, an initiative
   •New York City Hospitality Alliance   led by the Mayor's Office of Operations (Operations) and the Department of Small
                                         Business Services (SBS) in conjunction with numerous City agencies that seeks to
   •New York Fire Alarm Association
                                         dramatically improve the regulatory climate for businesses in New York City. The Mayor
   •New York State                       directed Operations and SBS to work with the public and with City agencies to develop
    Restaurant Association               recommendations to achieve this goal. The results are described in this report.
   •NY Fire Sprinkler
    Contractors Association              Listening to Business Owners
   •NYC BID Association                  As afirst step, Small Business First focused on understanding the needs and priorities
                                         of business owners and those who work with them. We engaged in an extensive outreach
   •Partnership for New York City
                                         effort to gather ideas and hear concerns from awide variety of stakeholders across the
   •Queens Chamber of Commerce           City. To that end, we held meetings with business owners, community-based
   •Queens EDC
                                         organizations, Chambers of Commerce, local economic development corporations,
                                         and Business Improvement Districts. We reached out to immigrant entrepreneurs
   •Real Estate Board of New York        through organizations and the media. We sought detailed feedback on technical
   •SAPNA NYC                            processes from various industries and the professionals who work with them including
                                         food service and real estate as well as contractors, architects, and engineers. We also
   •Staten Island Chamber
                                         discussed the issues facing business owners and communities with elected officials
   •Staten Island Economic               including City Council members and the Borough Presidents.
    Development Corp
                                         We also solicited feedback from business owners and the public directly using various
Some of the elected officials that       online tools. An online form on the SBS website, available in English and Spanish, allowed
we met with include:                     anyone to submit an idea to improve the City's regulatory environment. The form was
   •Bronx Borough President              publicized through email blasts from City agencies and many of our partners to more
   •Brooklyn Borough President           than 90,000 businesses and groups, with aspecific focus on working with organizations
                                         in immigrant communities to ensure that we communicated with harder-to-reach
   •Manhattan Borough President
                                         populations. In addition, blog posts, tweets, and press coverage provided additional
   •Queens Borough President             encouragement to submit suggestions.

   •Staten Island Borough President




                                                                                                                                   11
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page147 of 298
                                A-1241


     Case 1:20-cv-05301-RA    Document 29-44           Filed 07/22/20        Page 13 of 49




                      OUTREACH COMMENTS BY BOROUGH

                        50%   -                                ■% of Submitted Ideas
                        45%   -                                ■ % of NYC Business Population
                        40%   -
                        35%   -
                        30%   -
                        25%
                        20%   -
                        15%   -
                        10%   -



                                    ••••    acr•a   aJemo   ec`y`•   •r0




                       Listening to Agencies

                       Operations and SBS also sought feedback and ideas from our agency partners. In
                      particular, we engaged in substantial dialogue with:

                          •Board of Standards and Appeals

                          •Department of Buildings

                          •Department of Citywide Administrative Services

                          •Department of City Planning

                          •Department of Consumer Affairs

                          •Department of Environmental Protection

                          •Department of Finance

                          •Department of Health and Mental Hygiene

                          •Department of Housing Preservation and Development

                          •Department of Information, Technology and Telecommunications

                          •Department of Sanitation

                          •Department of Transportation

                          •Fire Department

                          •Law Department

                          •Mayor's Office for People with Disabilities

                          •Mayor's Office of Immigrant Affairs

                          •Office of Labor Relations

                          •Office of Management and Budget

                          •Office of Administrative Trials and Hearings

                          •Taxi and Limousine Commission




12
Case 20-4238, Document 38, 02/11/2021, 3035076, Page148 of 298
                           A-1242


Case 1:20-cv-05301-RA    Document 29-44            Filed 07/22/20        Page 14 of 49




                 What We Learned
                 We heard consistent messages from the meetings, conversations, web submissions, and
                 other dialogue. Small businesses need the City government to:
                     1. Provide clear information with coordinated services and support.
                        Business owners need straightforward directions, and easy-to-access services as well
                        as sources for answers to their questions.
                    2. Help businesses understand and comply with City regulations.
                       City agency staff must work with business owners to provide compliance support
                       and education, rather than focusing on punitive measures.
                    3. Reduce the burden imposed by complex regulations and fines.
                       The City needs to provide asystem of laws and rules that is as simple as possible
                       to understand. Business owners must be able to operate within requirements and
                       City agencies must be able to consistently enforce the law.
                    4. Ensure equal access for all business owners.
                       All entrepreneurs and business owners should have access to City services, no matter
                       where they are located or what language they speak.

                 PUBLIC OUTREACH RESULTS


                                                     Other -
                                                   Regulatory
                                                       9%
                         Ensure Equal Access for
                           All Business Owners
                                   12%                                   Provide Clear Information
                                                                             with Coordinated
                                                                           Services and Support
                         Reduce the Burden                                         40%
                        Imposed by Complex
                        Regulations and Fines
                                17%


                                                   Help Businesses
                                                Understand and Comply
                                                 with City Regulations
                                                          24%


                 We have translated the feedback we received into regulatory and process changes to
                 help small businesses where they need it most. Small Business First strives to deliver
                 improvements for small businesses while ensuring compliance with City regulations —
                 which keep New Yorkers safe, healthy, and protected.




                                                                                                           13
  Case 20-4238, Document 38, 02/11/2021, 3035076, Page149 of 298
                             A-1243


  Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 15 of 49




PROVIDE CLEAR
INFORMATION
WITH COORDINATED
SERVICES AND
SUPPORT
               Case 20-4238, Document 38, 02/11/2021, 3035076, Page150 of 298
                                          A-1244


               Case                    Document 29-44           Filed 07/22/20        Pag_ .'      __19




                                With 15 City agencies that may be involved in the process of starting and running a
"A centralized                  small business, business owners are often confused about where to seek information and
 location and                   services. This can lead to misunderstandings, mistakes, and loss of time and money. In
                                addition, businesses may not learn about or receive needed benefits or services that the
 transparent                    City makes available.

 website would                  Communicating clearly and providing ample information in acentral location is necessary
                                to help the City better meet the needs of small businesses. Because small businesses are
 be helpful.                    diverse, materials and services must be made available and be distributed to businesses in a
                                variety of ways. We must use different media, including online and in print, and multiple
This way                        locations, including City sites and community organizations. Providing better information
 businesspeople                 in avariety of ways is critical to ensuring that all small businesses understand how to
                                comply with City rules and processes, know where to go if they need help, and are aware
 and potential                  of all of the City resources that are available.

 entrepreneurs                  Improve Information and Services for Businesses Online
 do not have                    1. Create aComprehensive Online Business Portal
                                Small Business First will build on the City's existing online resources for businesses to
 to seek and                    create anew, state-of-the-art Online Business Portal that provides the central resource that
 filter scattered               businesses need. Centralizing online City services and resources for businesses will alleviate
                                some of the administrative burden small business owners currently face in having to seek
 information."                  and filter scattered information. Through the portal, businesses will be able to access
-Business Owner, Brooklyn, NY   information and conduct transactions at convenient times and locations.



                                                                                                                          15
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page151 of 298
                                A-1245


     Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20         Page 17 of 49




                      The City's current website for businesses, NYC Business (www.nyc.gov/Business), allows
                      potential entrepreneurs to find information on how to start abusiness by business type.
                      Currently, business owners can find resources as well as check the status of permits,
                      licenses, and violations from certain agencies. The site also links to awizard tool that
                      helps entrepreneurs learn what permits, licenses, and regulations are required to start and
                      operate abusiness. However, there is alot that can be improved.
                      Building on NYC Business, the City will create apowerful and innovative Online
                      Business Portal that will allow abusiness owner to create an account that provides access
                      from any computer or mobile device to personalized information from City records
                      about abusiness including licenses, permits, certifications, inspections, and violations.
                      The account will also allow abusiness owner to conduct all available online transactions
                      with City agencies including applying for or renewing licenses and permits, making
                      payments, and checking the status of applications. In addition, the business owner will be
                      able to receive information distributed by City agencies such as updates on the law and
                      renewal notices.
                      Other features for potential inclusion in the new Online Business Portal include adatabase
                      of inspection checklists searchable by sector and business type and translated into top
                      languages as well as information for business owners on how to pass inspections including
                      video examples. The Portal will contain acomprehensive list of regulations searchable by
                      category, keyword, business type, and industry. Specific regulations will be matched to
                      relevant plain language guides that explain the regulations in easy-to-understand English
                      and will list top violations to alert small businesses to common mistakes. The Portal will
                      allow for submission of questions, should abusiness need additional assistance.
                      To help ensure the Online Business Portal meets the needs of users, we will continually
                      seek feedback from business owners as we develop new features. The portal will be
                      publicized in many ways including alink in the Business Owner's Bill of Rights, which
                      is distributed during most agency inspections.

                                                                                     Current     Future
                          Online Business Portal Features
                                                                                      State      State
                          Informational resources for businesses                        V/         V/


                          Searchable database of inspection checklists

                          Searchable database of regulation with plain
                          language guides

                          Send personalized information to business owner

                          Personalized business account

                          Ability to conduct transactions (applications, payments)    Limited      I/


                          Ability to check status of permits/licenses/violations      Limited      V/




16
Case 20-4238, Document 38, 02/11/2021, 3035076, Page152 of 298
                           A-1246


Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20       Page 18 of 49




                 2. Provide an Easy-to-Find Location for Businesses on Each Regulatory
                 Agency Website
                 In addition to creating acentralized, primary resource for business owners through the
                 Online Business Portal, we will also improve the information available on each regulatory
                 agency website. Each agency site will be updated to include auniform "Business" tab that
                 contains all information relevant to abusiness as well as alink to the Online Business
                 Portal. Agencies will also seek to improve the information and features available for
                 businesses on their websites. For example, the Department of Sanitation (DSNY) will
                 soon provide the ability for abusiness to input its address into the agency website and be
                 given alist of the businesses' routing times. This will help businesses understand when
                 they can expect sanitation agents to be in their area checking for compliance with City
                 rules, making it easier for businesses to comply and avoid violations.

                 3. Engage Entrepreneurs in Developing Online Services for Businesses
                 The City will seek to leverage innovation from the private sector through events such
                 as ahackathon where participants will be provided with opportunities to work with
                 the City to improve the City's online services, including components of the Online
                 Business Portal. Ahackathon is an event typically lasting between aday and aweek.
                 During that time participants compete by developing products that are geared
                 towards specific goals such as the creation of an easy-to-use mobile application to
                 help businesses navigate City requirements.


                  Improve Information and Services for Businesses in Person
                 4. Create aNew One-Stop Business Center
                 Small Business First will work to provide new and expanded resources online so that
                 businesses have one source to consult for all their City needs. We understand, however,
                 that many business owners may not have access to technology or may prefer to interact
                 with the City in person, and that various City requirements necessitate avisit to an agency
                 office (e.g., fingerprinting). We will create aOne-Stop Business Center to provide an
                 in-person option for business owners. This concept may be expanded depending on the
                 success of the initial location.
                 The One-Stop Business Center will provide aclear resource for apotential entrepreneur
                 or asmall business owner to get information, receive support services, and transact with
                 the City. In particular, the Center will house DCA and DOHMH resources, and intake
                 functions including payment and filings. The One-Stop Business Center will also have
                 client managers available to support businesses through the City's regulatory requirements.
                 These client managers will be made available to businesses at the Center as well as at
                 regulatory agencies that interact with small businesses. In addition, the Center will house
                 many of the business support services currently provided by SBS. To help business owners
                 access online City resources and provide efficient services, the Center will also include
                 public kiosks.




                                                                                                         17
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page153 of 298
                                A-1247


     Case 1:20-cv-05301-RA    Document 29-44           Filed 07/22/20        Page 19 of 49




                      5. Provide Individual Support to Business Owners with Client Managers
                      The One-Stop Business Center will be aplace where business owners can receive individual
                      support. Currently, owners of food, industrial and retail industry businesses can access
                      client management services from the Division of Business Acceleration at SBS. Building
                      on this model, Small Business First will make client managers available at the One-Stop
                      Business Center to provide services to any small business upon request. The client manager
                      will serve as the business owner's point person for navigating government and can help to
                      facilitate all interactions with City agencies including providing advice on sequencing of
                      services, scheduling and coordinating inspections, understanding and resolving violations,
                      and providing information and assistance on recovering from adisaster or emergency.



                      AGENCY HIGHLIGHT                 I NYC DEPARTMENT OF FINANCE
                                                         TAXPAYER ADVOCATE OFFICE
                      The new Taxpayer Advocate Office at the Department of Finance will be an independent
                      voice within the agency and serve as a"last resort" option for taxpayers, including
                      small businesses. The Office will be aresource for businesses to bring complaints and
                      address disputes and issues concerning City tax administration and policy.



                      6. Promote the Use of Handheld Devices for Inspections
                      To improve the clarity and flow of information between City agencies and business owners,
                      we will promote the use of handheld devices for inspections at each agency. Some City
                      agencies, including the Department of Environmental Protection (DEP), DOHMH,
                      Department of Transportation (DOT), and the Taxi and Limousine Commission (TLC),
                      already use handhelds during inspections to provide business owners with more accurate
                      information more quickly and, in some cases, electronically. We will work with other
                      agencies to implement this technology and prioritize adoption.



                      AGENCY HIGHLIGHT                 I NYC DEPARTMENT OF TRANSPORTATION
                                                         STREET WORKS MANUAL
                      The Department of Transportation is currently revising its Street Works Manual, including
                      placing all of the material in an easy-to-access format online accessible on any device.
                      The Manual is acomprehensive resource guide on policies and procedures relating to
                      work on city streets. It provides contractors and business owners directions for notice,
                      approval, and execution of street work.


                      Improve Informational Materials for Businesses
                      7. Ensure Agencies Have Plain Language Guides
                      All agencies have created informational materials to help clarify rules and regulations and
                      provide guidance on required processes. We will ensure that each agency has aguide on
                      its top three functions (e.g., licenses, violations). For example, the Department of Finance
                      (DOF) plans to publish information for small businesses on the tax auditing process,
                      and the Mayor's Office for People with Disabilities will draft aguide for businesses
                      explaining how to comply with accessibility requirements and how to properly apply for
                      an accessibility waiver.




18
Case 20-4238, Document 38, 02/11/2021, 3035076, Page154 of 298
                           A-1248


Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20        Page 20 of 49




                                                    NYC DEPARTMENT
                 AGENCY HIGHLIGHT OF CONSUMER AFFAIRS
                                  INSPECTION CHECKLISTS
                 The Department of Consumer Affairs makes available to business owners all 41 of the
                 easy-to-read checklists that its inspectors use to conduct inspections. The checklists are
                 posted online so that businesses can learn what inspectors look for during inspections.
                 The 10 most common checklists are translated into multiple languages including
                 Spanish, Chinese, French-Creole, Korean, Russian, Bengali, and Arabic. All others will be
                 translated into Spanish.


                 8. Create Informational Guides for Inter-Agency Processes
                 To prevent business owners from having to comb through multiple City agency sources
                 in order to understand City requirements, we are creating new informational guides for
                 inter-agency processes. The guides will be subject-matter specific and will cover topics such
                 as things abusiness should know before leasing aspace and how to obtain anewsstand
                 permit. Business owners will be able to find these guides in numerous locations including
                 the Online Business Portal and the One-Stop Business Center.




                                                                                                           19
  Case 20-4238, Document 38, 02/11/2021, 3035076, Page155 of 298
                             A-1249


  Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 21 of 49




HELP BUSINESSES
UNDERSTAND AND
COMPLY WITH CITY
REGULATIONS
Case 20-4238, Document 38, 02/11/2021, 3035076, Page156 of 298
                           A-1250


Case 1:20-cv-05301-RA    Document 29-44            Filed 07/22/20        Page 22 of 49




                  Creating asupportive environment for small businesses is key to ensuring business growth
                  in New York City. Asupportive environment ensures that small business owners are not
                  being unnecessarily burdened with violations, and helps small businesses focus on their
                  core mission —to earn profits and expand operations.
                  To improve the way the City interacts with small businesses, we will promote compliance
                  through education rather than primarily through punitive measures, and we will ensure
                  that City agencies and employees provide the best possible customer service. In addition,
                  we will institute more flexibility and clarity in the adjudication process to alleviate some of
                  the burden currently felt by small businesses.


                                                  I
                                                  NYC DEPARTMENT OF
                 AGENCY HIGHLIGHT HEALTH AND MENTAL HYGIENE
                                  PERFORMANCE IMPROVEMENT
                                                    INITIATIVE FOR CHILD CARE
                 The Department of Health and Mental Hygiene recently announced the launch of a
                 Performance Improvement Initiative for child care services. The initiative represents a
                 unique approach to addressing under-performing child care services permitted and
                 regulated by New York City. Through data analysis and set performance indicators, the
                 Department will identify child care centers that have ahistory of chronic non-compliance
                 with the regulatory requirements of the City's Health Code. Child care centers identified
                 as needing assistance will receive intensive technical assistance and oversight to
                 improve their performance. These efforts will provide auseful service to small child care
                 businesses that need support in complying with DOHMH's rules.



                  Help Small Businesses Learn to Comply
                  9. Deploy Small Business Compliance Advisors to Help Businesses
                  Follow the Rules
                  The City's agencies have already taken steps to help small businesses avoid violations by
                  helping them comply with the City's rules. For example, DOHMH recently launched a
                  new consultative inspection program where abusiness can pay afee to receive areview of
                  its current operating practices along with an inspection, all without the risk of receiving
                  aviolation. The purpose of the program is to help businesses understand how to comply
                  with the rules before an inspection occurs and fines are issued. Similarly, inspectors
                  from various agencies including DOHMH and the New York City Fire Department
                  (FDNY) visit sites or provide consultative inspections as part of the Division of Business
                  Acceleration at SBS.
                  This concept will be expanded through the creation of the new role of Small Business
                  Compliance Advisors. Based at SBS, Small Business Compliance Advisors will be
                  trained in the requirements of multiple agencies and will be available to visit businesses
                  and provide an on-site walkthrough designed to help anew or existing business
                  understand how to comply with the City's regulatory requirements. Up to 10 Small
                  Business Compliance Advisors will be trained on specific, compatible topics by City
                  regulatory agencies in order to maximize efficiency for business owners and help
                  businesses avoid violations.




                                                                                                               21
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page157 of 298
                                A-1251


     Case 1:20-cv-05301-RA -Document 29.




                      10. Provide Proactive Support to Businesses Needing Education
                      In order to provide all small businesses with the information they need to comply with
                      the City's requirements, the City will also promote small business compliance through
                      on-going and proactive educational support. This initiative is modeled on similar
                      educational efforts provided by other agencies, such as DCAs "Business Education
                      Days" where inspectors visit businesses to provide information and answer questions
                      and DOT's outreach related to new commercial bicyclist laws. By providing interactive
                      sessions business owners will better understand the regulations and agency staff will
                      better understand the challenges faced by businesses.
                      Small Business First will build on those programs by working with the Mayor's Office of
                      Data Analytics to compile and analyze data, including violations, from avariety of sources
                      in order to identify neighborhoods with significant incidence of non-compliance that
                      might benefit from additional education and outreach. Data will be analyzed regularly
                      and used by City agencies, particularly SBS, to target those areas for support including
                      direct, one-on-one engagement with business owners, local informational events, and
                      informational guides —all with the goal of helping small businesses better understand
                      City regulations in order to reduce the future incidence of violations.




22
Case 20-4238, Document 38, 02/11/2021, 3035076, Page158 of 298
                           A-1252


Case 1:20-cv-05301-RA    Document 29-44          Filed 07/22/20        Page 24 of 49




                                                  I
                  AGENCY HIGHLIGHT NYC SMALL BUSINESS SERVICES
                                   NYC BUSINESS ACCELERATION
                  Business Acceleration, aunit within Small Business Services, assists individuals
                  and groups opening or operating afood and beverage, industrial, or retail business
                  as well as pre-kindergarten programs. The program is designed to help these
                  businesses open or expand more easily and faster, operate more smoothly and with
                  fewer challenges, and recover from emergencies. Specifically, Business Acceleration
                  provides free client management, plan reviews, consultations with inspectors, and
                  inspections from City agencies including Buildings, Fire, Health and Mental Hygiene,
                  and Environmental Protection.


                 11. Provide Better Customer Service
                 The City will also better support businesses by making sure that the City's employees are
                 properly trained and well-equipped to interact with the public —whether in person, over
                 the phone, or online. Specifically, the City will improve the way its employees work with
                 business owners by ensuring that all agency personnel who have significant interaction
                 with the public, including inspectors and intake staff, receive extensive customer service
                 training. Not only will agency personnel be trained, but they will also be evaluated on their
                 provision of customer service. This will encourage more constructive interactions between
                 small business owners and agency personnel.


                                                    NYC DEPARTMENT OF
                 AGENCY HIGHLIGHT ENVIRONMENTAL PROTECTION
                                  NOISE CODE OUTREACH
                 The Department of Environmental Protection has taken anumber of steps to help small
                 business owners understand and comply with the City's noise requirements. DEP
                 holds Noise Compliance Workshops, informational seminars to walk business owners
                 through the steps they must take to comply with the noise code in order to keep New
                 York City an economically vibrant and desirable place to live. DEP has also developed
                 an educational video about commercial music requirements that it distributes to bars,
                 clubs, and restaurants.


                 Make the Adjudication Process Easier
                 12. Create One-Stop Hearing Centers for Business Regulatory Issues
                 After previous consolidation efforts in 2008 and in 2011, the Office of Administrative
                 Trials and Hearings (OATH), the City's independent adjudicative body, now oversees the
                 OATH Tribunal, the Environmental Control Board, the Health Tribunal, and the TLC
                 Tribunal. As aresult, OATH manages the adjudication of violations for all business-related
                 violations, except for violations of the DCA rules.
                 Each of the City's tribunals has jurisdiction over different types of cases and hears
                 violations from different agencies. The various tribunals have different rules, procedures,
                 forms, and office locations. Requirements for responding to summonses may vary
                 depending on the tribunal hearing the summonses, on the type of case, and on the agency
                 that issued the summonses. The result is an inconvenient and confusing process for small
                 businesses who receive violations.


                                                                                                          23
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page159 of 298
                                            A-1253


                  Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20        Page 25 of 49




                                   To make the adjudication process easier to navigate, the City will create One-Stop Hearing
"[The adjudication                 Centers across the five boroughs. OATH locations will be transformed into hearing offices
 process] is                       that can handle any type of case from any agency all in one site. The One-Stop Hearing
                                   Centers will provide individuals and small businesses with the opportunity to deal with
 way too time-                     summonses and violations issued by any City agency before an independent and impartial
                                   tribunal with one uniform procedure.
 consuming and
 degrading to                      13. Provide aMore Flexible Adjudication Process by Expanding
                                   Alternative Hearing Options
 the business.                     Receiving aviolation is often astressful and confusing time for abusiness owner. This is

 Many businesses                   due, in part, to the time-consuming nature of correcting aviolation. As aresult, abusiness
                                   owner may be required to take time off from running her or his business in order to
 hire someone                      participate in ahearing at one of the City's administrative tribunals.

 to handle the                     With the permission of the various regulatory agencies whose rules it enforces, OATH
                                   has already taken steps to mitigate this problem. OATH currently provides alternative
 summons, but                      methods of adjudication for many violations issued by City agencies such as DOHMH,
                                   DOT, and DSNY. A business owner can choose to have ahearing for many types of
 that costs the                    violations via telephone, online, or mail. For instance, most restaurant violations can be
                                   contested by any of these methods.
 small business
                                   However, not all violations can be adjudicated remotely. In order to make this process
 more money."                      more convenient for small businesses we will expand the violation categories available for
 -BID, Brooklyn, NY                alternative hearings. By using these alternative methods, abusiness owner will no longer
                                   have to take as much time away from running their business.




24
Case 20-4238, Document 38, 02/11/2021, 3035076, Page160 of 298
                           A-1254


Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 26 of 49




                                                                          25
 Case 20-4238, Document 38, 02/11/2021, 3035076, Page161 of 298
                            A-1255


  Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 27 of 49




REDUCE THE
BURDEN IMPOSED
BY COMPLEX
REGULATIONS
AND FINES
Case 20-4238, Document 38, 02/11/2021, 3035076, Page162 of 298
                           A-1256


Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20        Page 28 of 49




                 Small businesses consistently ask that we make the rules easier to understand and follow.
                 They express frustration with the fact that the processes to comply are time-consuming
                 and can overlap or be duplicative. To address these issues, we will not only provide
                 businesses with more information and support, but we will also build on previous efforts
                 by the City to make changes to the regulations and processes that create New York City's
                 complex regulatory environment. In partnership with business owners, the City Council,
                 and City agencies, we will update and simplify laws and rules to better meet small business
                 needs. In addition, we will promote coordination among agencies and streamlining of
                 agency processes to ensure faster and more efficient services.


                  Update and Simplify City Law
                  14. Create an Advisory Board to Provide Feedback and Review City Laws
                 In order to receive public feedback on upcoming City regulatory and process changes that
                 impact businesses, we will create aSmall Business Advisory Board. The Advisory Board
                 will have five core functions:
                     1. Provide feedback on plans to implement Small Business First.
                     2. Act as asounding board for potential new initiatives.
                     3. Raise issues that the community is facing in their interactions with the City, so that
                        Small Business First can find ways to improve processes.
                     4. Select atopic (e.g., signage, dry cleaning industry) for an annual focused review
                        of regulations; and
                     5. Ensure that the potential impact of legislation on business owners is aformal
                        consideration in the legislative process by reviewing legislation introduced in the
                        City Council.
                 By institutionalizing apublic feedback channel as well as areview of City laws and rules,
                 we will establish amechanism for the regulatory system to continuously improve.

                  15. Eliminate and Consolidate Licenses and Permits
                 In order to make the regulatory system easier to understand, we will eliminate outdated
                 or unnecessary licenses and permits, and consolidate overlapping or duplicative licenses
                 and permits from the City Administrative Code and Rules. These efforts will begin with
                 avariety of DCAs licenses and permits. Once consolidated and eliminated, these licenses
                 and permits are estimated to save businesses hundreds of thousands of dollars per year in
                 fees paid to the City. DCAs efforts will be replicated in other agencies, where applicable.


                  16. Repeal or Modify Unnecessarily Complex or Obsolete Rules
                 As part of alarger review being led by Operations, we will also clean up and simplify the
                 City's laws by repealing or modifying rules and regulations that are not consistent with
                 modern business practices, are overly complex, or are obsolete. This will include, as part
                 of our work with the Advisory Board, conducting areview of regulations focused on a
                 particular topic.


                 17. Make it Easier for Gyms and Health Clubs to Open in New York City
                 Based on aregulation enacted in the 1970s, physical culture establishments (facilities such
                 as exercise gyms, martial arts studios, and spas) are not automatically allowed to open
                 anywhere in the City "as-of-right." Each facility must obtain aspecial permit from the

                                                                                                              27
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page163 of 298
                                A-1257


                 5301-RA—Document 29-44               Filed 07/22/20




                               '_____A$
                                                            d




                     City's Board of Standards and Appeals. The process for obtaining such apermit is extensive
                     and lengthy -potentially adding approximately six months and $50,000 in costs for the
                     opening of agym. Considering that health clubs are avalued service in New York City, the
                     Department of City Planning will study the Physical Culture or Health Establishments
                     special permit to determine amore appropriate framework for regulating these facilities.


                     Streamline City Processes
                     18. Improve Coordination between the Department of Buildings and the
                     Fire Department
                     Abusiness seeking to modify its property or perform certain activities within its space
                     must receive avariety of approvals from both DOB and FDNY. Both agencies provide
                     plan review, permitting, and inspections in relation to facilities. They have overlapping or
                     interdependent responsibilities in many areas, including fire alarm, fire suppression, and
                     place of assembly.
                     Efforts have already been made to streamline some of these dual-agency processes to
                     save time and money for customers. For example, although an applicant must still file
                     and receive permits from DOB for fire alarm, plan review only occurs at FDNY. In
                     addition, the City recently changed the process for renewing Place of Assembly Certificate
                     of Operation by removing DOB's role and making the entire renewal process the
                     responsibility of FDNY. These changes are still being implemented, but will eventually
                     reduce the number of steps and the renewal time for businesses.
                     Notwithstanding these previous efforts, we know that we must do more. The overlapping
                     requirements between DOB and FDNY result in inefficiencies that waste time and
                     money for businesses. Small Business First will engage in adetailed operational review to
28
                Case 20-4238, Document 38, 02/11/2021, 3035076, Page164 of 298
                                           A-1258


                 Case 1:20-cv-05301-RA    Document 29-44           Filed 07/22/20        Page 30 of 49




                                  streamline processes at DOB and FDNY related to small business regulation. This review
                                  will include, at minimum, the processes for fire alarm, emergency action/fire prevention
                                  plan review, equipment use permits, fire suppression, and place of assembly. It will identify
                                  specific opportunities to make these efforts more efficient and enhance coordination. We
"My general                       will consider avariety of options to improve the City's ability to serve businesses including
 comment is for                   eliminating duplicative steps, responsibilities, and functions between agencies as well as
                                  reshaping processes.
the city to stop
 creating more                     AGENCY HIGHLIGHT                 I NYC DEPARTMENT OF BUILDINGS
 and more layers                                                      THE DEVELOPMENT HUB
                                   The Department of Buildings operates the NYC Development Hub, acenter designed
 of compliances                    to expedite the approval process. The Hub coordinates electronic filing at DOB and
                                   allows applicants to have their plans electronically reviewed with input from multiple City
 and fees and                      agencies in avirtual environment. In 2015, DOB plans to launch anew online scheduling

 consolidate the                   system, Hub Inspection Ready, where users will be able to schedule nearly all inspections.


 process."                        19. Streamline Fire Suppression Plan Review by Removing Department of
-Owner, Architecture Office,      Buildings' Review
 New York, NY                     Currently, abusiness that needs to install afire suppression system for arestaurant
                                  kitchen or certain other types of facilities (e.g., gas station) has to have the plan for
                                  the fire suppression system approved by both DOB and FDNY. This process involves
                                  multiple steps at each agency. Two separate plan review processes create the potential
                                  for unnecessary conflict that can result in added costs, paperwork, time, and effort for
                                  small businesses. We will streamline this process by designating FDNY as the sole agency
                                  reviewing fire suppression plans. Businesses will no longer need to seek separate DOB
                                  review and approval of their fire suppression plans. Additionally, businesses installing a
                                  commercial kitchen fire suppression system will no longer need to go to DOB to file or
                                  receive apermit. These changes will save businesses an estimated $1.6 million and decrease
                                  the amount of time and complexity for asmall business to have afire suppression plan
                                  reviewed and, ultimately, installed so that it can open for business.

                                  20. Allow Licensed Fire Suppression Contractors to Submit Plans for
                                  Commercial Kitchen (Rangehood) Fire Suppression Systems
                                  In order for afood business to open in New York City, it must obtain approval for the
                                  installation of arangehood fire suppression system for the kitchen. This requires the
                                  submission and review of plans for approval. Under the current system where asmall
                                  business has to get approvals from both DOB and FDNY, the plans must be submitted
                                  by alicensed architect or engineer, as required by DOB. Rangehood system designs are
                                  pre-approved and pre-engineered. Thus, professional architects and engineers add little
                                  value —but substantial cost —to the applications. Transferring the responsibility for
                                  rangehood plan review to FDNY, as discussed above, will allow licensed master fire
                                  suppression contractors, instead of architects or engineers, to submit applications for
                                  rangehood plans since this is allowed by FDNY.




                                                                                                                            29
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page165 of 298
                                A-1259


     Case 1:20-cv-05301-RA    Document 29-44          Filed 07/22/20        Page 31 of 49




                      21. Streamline the Department of Buildings' Process for Determinations
                      An architect or engineer working on behalf of abusiness owner may request a
                      Construction Code Determination or Zoning Resolution Determination (Determination)
                      on an objection made by aDOB plan examiner. The Determination must be made in
                      order to obtain plan approval, get permits, and begin construction.
                      In order to streamline the Determination process, DOB will leverage technology solutions
                      to improve the speed of determinations, such as facilitating electronic submission of
                      requests and communication of decisions.

                      22. Streamline and Standardize the Process for Obtaining aDepartment of
                      Buildings' Letter of No Objection
                      ALetter of No Objection is used where there is no Certificate of Occupancy or the "use"
                      of alocation needs to be confirmed (e.g., to meet City agency requirements for day camps).
                      Oftentimes, when the "use" of alocation is unclear on the Certificate of Occupancy,
                      abusiness owner has to request aLetter of No Objection issued by DOB to confirm
                      the "use." However, the process of having aLetter of No Objection issued can take a
                      significant amount of time and may delay the opening of the business.
                      The City will streamline this process. Starting with food and beverage businesses, DOB
                      will work to clarify the accepted "use" listed on Certificates of Occupancy. This should
                      result in fewer businesses requesting Letters of No Objections, which will, in turn, create a
                      faster and more efficient process.


                      23. Standardize Department of Buildings' Plan Objections
                      Similar plan objections by DOB's plan examiners may take different forms due to
                      variations in plan examiners' styles and methods of description. This may cause
                      difficulty for the licensed professionals working on behalf of small business owners in
                      interpreting and resolving these objections, ultimately prolonging the time it takes to
                      get abusiness opened.
                      The City will improve the plan review process by ensuring that plan examiners use
                      standard language to describe plan objections. One way this goal will be achieved is by
                      providing plan examiners with lists of standardized objection language that they can
                      select from —the plan examiner would be able to add or edit the standardized language
                      as necessary to fit unique situations. This will provide added clarity to the licensed
                      professional and improve abusiness owner's ability to understand and participate in
                      the process.


                      24. Create aSidewalk Shed Notification System at Department
                      of Transportation
                      Sidewalk sheds are erected to protect pedestrians from debris caused by construction. Small
                      businesses responsible for erecting sidewalk sheds complain that, despite receiving apermit
                      for construction of asidewalk shed from DOB, they receive fines from DOT for blocking
                      the street and sidewalk while they are erecting or taking down the shed.




30
Case 20-4238, Document 38, 02/11/2021, 3035076, Page166 of 298
                           A-1260


Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20        Page 32 of 49




                 In response, the City will create asidewalk shed notification system at DOT to increase
                 coordination with DOB and reduce violations for businesses. Anotification system will
                 allow ascaffolding business to avoid DOT violations by notifying DOT that the business
                 will be erecting or taking down asidewalk shed that has been permitted by DOB.

                 25. Expand the Department of Transportation's Online Permitting System to
                 Include All Permit Types
                 In order to save business owners time, the City is working to expand DOT's online
                 permitting system to include all of its permit types. This will allow business owners more
                 flexibility, and will save them time by allowing them to submit permit applications online
                 rather than in person.
                 DOT's NYCStreets Permit Management System currently allows applicants to obtain
                 permits for street openings, sidewalk reconstructions, building operations, commercial
                 refuse containers, emergencies, and utilities. DOT will add the following permit types to
                 its online permitting capabilities: canopies, vaults, and sidewalk sheds. These additions will
                 result in nearly all of DOT's permits being accessible online.




                                                                                                            31
  Case 20-4238, Document 38, 02/11/2021, 3035076, Page167 of 298
                             A-1261


  Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 33 of 49




ENSURE EQUAL
ACCESS FOR
ALL BUSINESS
OWNERS
Case 20-4238, Document 38, 02/11/2021, 3035076, Page168 of 298
                           A-1262


—Case=W-cv-05301-RA          ument 29-44




                 Alarge number of small businesses in New York City are immigrant-owned. In fact, 52
                 percent of self-employed New Yorkers are foreign-born. In addition, many small businesses
                 in New York City are located far from City agencies. These factors, among others, add
                 layers of complexity to navigating an already-complicated regulatory system.
                 Small Business First seeks to provide information and services to all small business
                 owners in all five boroughs, by overcoming hurdles such as distance from City resources,
                 language, and cultural barriers. To achieve this goal we will provide information in
                 multiple languages, simplify documents by removing jargon and overly technical terms,
                 and ensure resources are available to businesses in all neighborhoods throughout the City.


                 Decrease the Distance between Small Businesses and City Agencies
                 26. Train Community Groups to Assist Local Businesses
                 Community-based organizations and other groups are often trusted resources for
                 local business owners, because they are located in their neighborhoods and speak their
                 language. We will "train the trainer" by providing neighborhood organizations with tools
                 to assist small business owners, especially immigrants, in finding City information and
                 services. In doing this, we will further our reach into communities through newly formed
                 partnerships with community groups that will help business owners throughout the City
                 receive the information and services they need.




                                                                                                         33
     Case 20-4238, Document 38, 02/11/2021, 3035076, Page169 of 298
                                A-1263


     Case 1:20-cv-05301-RA    Document 29-44           Filed 07/22/20       Page 35 of 49




                      27. Support Businesses by Providing Educational Events in Communities
                      City agencies will hold educational events in neighborhoods where business owners can get
                      their questions answered directly from regulatory and business support agency staff. Many
                      agencies already engage in outreach efforts either on an ongoing basis or around specific
                      initiatives. We will expand this concept by holding events where multiple City agencies
                      come together at convenient times in neighborhood locations (e.g., community centers)
                      that are easily accessible to potential and existing entrepreneurs. These events will feature
                      staff from relevant regulatory and business support agencies that will be available to provide
                      information, answer questions, and link business owners to needed resources.
                      DOB will also welcome small businesses to its Homeowner's Night. This program includes
                      weekly sessions in each borough where non-professionals have the opportunity to meet
                      with Department representatives. Business owners will now have direct access to have their
                      questions answered from DOB personnel.


                      28. Help Small Business Owners by Connecting Them to Personal
                      Financial Counseling
                      DCAs Office of Financial Empowerment will increase its efforts to provide financial
                      services to business owners. We will develop connections between the Office of Financial
                      Empowerment and regulatory agencies that work with small business owners so that
                      valuable financial counseling services reach the business owners who need it. For example,
                      we will place aFinancial Empowerment counselor on-site at aregulatory agency customer
                      service site so that business owners can easily learn about and access services.


                      Help All New Yorkers Understand How to Comply With the Law
                      29. Simplify Critical Materials for Small Business Owners
                      Business owners often have ahard time understanding City regulations and how to
                      comply with them. Some of this confusion stems from written communication from City
                      agencies that is overly complicated or too technical. Thus, City agencies will provide more
                      information to business owners and their representatives in an easy-to-understand language
                      and format. In order to achieve this, we will provide plain language training to agency staff
                      responsible for creating written messages for the public. Training these staff members to
                      write more clearly and less technically will ensure that business owners are provided with
                      notices and resource materials that are more straightforward.



                                                          NYC TAXI AND
                       AGENCY HIGHLIGHT LIMOUSINE COMMISSION
                                                          PLAIN LANGUAGE RULES
                       The Taxi and Limousine Commission simplified all of its rules to make it easier for
                       businesses to understand the agency's requirements. This included re-organizing
                       them to make it easier to find the right rule, converting all of the agency's rules to
                       plain language, and ensuring that all potential penalties are clearly defined and easy
                       to identify.




34
Case 20-4238, Document 38, 02/11/2021, 3035076, Page170 of 298
                           A-1264


Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20        Page 36 of 49




                 30. Make Key Materials and Services Available in More Languages
                 Increasing translations of critical materials needed by businesses and informational guides
                 from agencies is necessary in acity where half of the population speaks alanguage other
                 than English at home. Each agency will translate informational materials about, at a
                 minimum, its top three functions (e.g., licenses, violations). Added translations will help
                 limited English proficient business owners have the information they need to comply with
                 the laws.
                 Similar to translations, the need for interpretation in the field by inspectors is also
                 important —non-English speaking business owners and managers need to be able to
                 understand what is required of them in order to comply with City regulations and laws.
                 That is why it is imperative that City personnel use interpreters as often as possible to
                 communicate with non-English speakers. Small Business First will promote the use of
                 telephone interpretation services during inspections to communicate with non-English
                 speakers. Agencies will provide the contact information for an interpretation service to
                 inspectors and will train inspectors on the use of this service.



                                                    NYC OFFICE OF ADMINISTRATIVE
                 AGENCY HIGHLIGHT TRIALS AND HEARINGS
                                                    DOCUMENT TRANSLATION SERVICES
                 The Office of Administrative Trials and Hearings is the City's central independent
                 adjudicative body. OATH provides free professional language interpretation services
                 for all languages at trials and hearings. Recently, OATH began allowing individuals
                 responding to violations to submit any form or application to OATH in the language
                 of their choice. OATH will then translate the submission into English at no cost to the
                 respondent. Since implementing this program at the beginning of 2014, there has been a
                 more than 1,500 percent increase in the number of forms received in foreign languages
                 and being translated by OATH.




                                                                                                             35
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page171 of 298
                                  A-1265


       Case 1:20-cv-05301-RA    Document 29-44           Filed 07/22/20       Page 37 of 49




     ACCOMPLISHING
     OUR GOALS


                        Through Small Business First, we will prioritize the needs of small businesses. Over the
                        coming weeks, months, and years we will transform the regulatory environment and
                        provide the solutions that business owners have long sought. We will improve the way
                        information is provided to businesses through investments in technology, educational
                        resources, and infrastructure. We will also change the way the City works with businesses
                        by promoting an environment where areal partnership can develop through more
                        supportive services. In addition, we will simplify rules and processes to make the overall
                        regulatory system less complex and make it easier for small businesses to start and operate,
                        and we will ensure that the system is accessible to all small businesses regardless of
                        language ability or location.
                        These changes will not be easy. They will require tremendous support from City agencies
                        and may require legislative action. Small Business First will rely on the Agency Liaisons,
                        created by Local Law 34 of 2013 to work with the regulated communities of each
                        regulatory agency, to help ensure the successful implementation of our initiatives. These
                        changes will take time and will require an enormous shift in the way our city operates.




36
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page172 of 298
                                            A-1266


                  Case 1:20-cv-05301-RA            Document 29-44       Filed 07/22/20   Page 38 of 49




Provide Clear Information with Coordinated Services and Support

    Recommendation                                    6months             2015       2016+

1     Create a              •Add links to
      Comprehensive          Business Owners'
      Online Business         Bill of Rights.
      Portal                •Begin construction                                                    LI
                                                                                                    G?
                                                                                                    ILL•'111
                             of portal features
                            •Complete portal


2     Provide an Easy-      •Begin installation


                                                                                             21
      to-Find Location       on agency
      for Businesses on      websites
      Each Regulatory       •Complete
      Agency Website         installation


3     Engage Entrepreneurs in Developingrt
      Online Services for Businesses                                                               G?
4     Create a New          •Build Center
      One-Stop              •Roll out additional
      Business Center        centers, as                                                                G
                              appropriate


5     Provide Individual Support to Business
      Owners with Client Managers                                                            21
                                                                                             G
6     Promote the Use of Handheld Devices for
      Inspections                                                                                 i'm


7     Ensure Agencies       •Begin developing
      have Plain             new guides                                                      r,
      Language Guides       .Complete all
                                                                                             u
                              guides


8     Create Informational Guides for
      Inter-Agency Processes                                                                       21

                                                   G
    INCREASED                 INCREASED

                                                                             10
                                                         INCREASED                 INCREASED          _1       INCREASED

                                                                                                     III
    COST                    ' TIME                       CUSTOMER                  PROCESS           /"        GOVERNMENT
    SAVINGS                   SAVINGS                    SATISFACTION              STEPS SAVED                 EFFICIENCY




                                                                                                                      37
                       Case 20-4238, Document 38, 02/11/2021, 3035076, Page173 of 298
                                                  A-1267


                       Case 1:20-cv-05301-RA          Document 29-44   Filed 07/22/20   Page 39 of 49




Help Businesses Understand and Comply with City Regulations

     Recommendation                                     6months         2015       2016+

9      Deploy Small           •Determine
       Business                appropriate topics
       Compliance              for cross-training                                                   r, ,''
       Advisors to            .Hire and cross-
                                                                                                    u
       Help Businesses         train advisors
       Follow the Rules

10     Provide Proactive      •Analyze data and
       Support to              train staff
                                                                                               r
       Businesses             .Use data to
       Needing                 provide regular                                                     •
       Education               support to
                               businesses

11     Provide Better         •Include customer
       Customer Service        service measures
       at All Levels           in staff evaluations


                                                                                            G
                              •Provide customer
                               service training to
                               agency staff who
                               have significant
                               interaction with
                               the public


12     Create One-Stop Hearing Centers for                                                              ;,
       Business Regulatory Issues




                                                                                                    G
13     Provide aMore Flexible Adjudication
       Process by Expanding Alternative                                                                      ,''
       Hearing Options




38
                 Case 20-4238, Document 38, 02/11/2021, 3035076, Page174 of 298
                                            A-1268


                  Case 1:20-cv-05301-RA           Document 29-44   Filed 07/22/20   Page 40 of 49




Reduce the Burden Imposed by Complex Regulations and Fines

_ Recommendation                                    6months         2015       2016+

14   Create an Advisory Board to Provide
     Feedback and Review City Laws                                                      Eve


15   Eliminate and         •Update first group
     Consolidate            of licenses and
     Licenses and           permits
     Permits               •Identify and modify
                            additional licenses
                            and permits

16   Repeal or Modify      •Update first group
     Unnecessarily          of rules
     Complex or            •Identify and modify                                               •''
     Obsolete Rules         additional rules


17   Make it Easier for    •Determine the
     Gyms and Health        appropriate
     Clubs to Open in       framework for
     New York City          regulating health
                            clubs

                           •Implement new
                                                                                                G   .11

                            framework for
                            regulating gyms
                            and health clubs

18   Improve               •Conduct areview
     Coordination           to assess the
     Between the            best methods
     Department of          to improve                                                        r'
     Buildings and the      coordination                                                      u
     Fire Department       .Implement
                            improved
                            coordination

19   Streamline Fire Suppression Plan Review
     by Removing Department of Buildings'
     Review

20   Allow Licensed Fire Suppression
     Contractors to Submit Plans for
     Commercial Kitchen (Rangehood) Fire
     Suppression Systems




                                                                                                      39
                  Case 20-4238, Document 38, 02/11/2021, 3035076, Page175 of 298
                                             A-1269


                  Case 1:20-cv-05301-RA             Document 29-44   Filed 07/22/20   Page 41 of 49




21   Streamline            •Evaluate current
     Department             processes for
     of Buildings'          Department
     Process for            of Buildings'
     Determinations         Determinations
                            and design a
                            template for anew                                             u
                            database

                           •Streamline
                            Department of
                            Buildings' process
                            for Determinations



                                                                                               G, ''
22   Streamline and Standardize the Process
     for Obtaining a Department of Buildings'
     Letter of No Objection

23   Standardize           •Establish the list of
     Department of          objections that can


                                                                                           ~- G ,''
     Buildings' Plan        be standardized
     Objections            •Standardize the
                             Department of
                             Buildings' plan
                             objections

24   Create aSidewalk Shed Notification
     System at the Department of
     Transportation
                                                                                              G
                                                                                           1rt G X11
25   Expand the Department of
     Transportation's Online Permitting
     System to Include All Permit Types




40
                    Case 20-4238, Document 38, 02/11/2021, 3035076, Page176 of 298
                                               A-1270


                    Case 1:20-cv-05301-RA          Document 29-44   Filed 07/22/20   Page 42 of 49




Ensure Equal Access for All Business Owners

     Recommendation                                  6months         2015       2016+


                                                                                         G '
26     Train Community
       Groups to Assist
       Local Businesses

27     Support                 •Expand the
       Businesses               Department
       by Providing             of Buildings'
       Educational              Homeowner's
       Events in                Night to include
       Communities              small businesses
                               •Hold educational
                                events in local
                                neighborhoods
                                where business
                                owners can
                                interact with
                                agency staff


                                                                                         r
                                                                                               1
28     Help Small Business Owners by
       Connecting Them to Personal Financial
                                                                                         111
       Counseling

29     Simplify Critical Materials for Small
       Business Owners                                                                   Rj
30     Make Key Materials and Services
       Available in More Languages                                                       G?




                                                                                                     41
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page177 of 298
                                 A-1271


       Case 1:20-cv-05301-RA    Document 29-44           Filed 07/22/20         Page 43 of 49




     MEASURING
     OUR
     SUCCESS


                        As we move forward with implementing the various initiatives outlined in this report,
                        we know that it is critical for us to measure our progress so that we can hold ourselves
                        accountable to the businesses of New York City. Each City agency will track its progress
                        toward accomplishing each initiative. In addition, Small Business First will monitor overall
                        improvement in the ability of small businesses to open, operate, and expand in New York
                        City. Specifically, we will focus on time savings, cost savings, and regulatory steps saved for
                        businesses. We will also ensure that we are improving business owners' satisfaction with
                        City services.


                        Establishing a Baseline for City Performance
                        Individual agencies assess metrics such as processing times for applications, compliance
                        levels, and violations issued. The City, however, does not currently have asystem to
                        combine these metrics across agencies to track the experience for businesses. Since
                        opening and operating most small businesses involves interactions with multiple
                        agencies, developing and calculating these aggregate metrics is critical to improving
                        the regulatory system.
                        To address this, Small Business First will consult with the Mayor's Office of Operations,
                        especially the Mayor's Office of Data Analytics, to establish baselines for key overall
                        metrics such as:
                            •Median time to open abusiness by sector/business type;
                            •Median time from application submission to issuance, by application type; and
                            •Business owner satisfaction with City services, as measured by an annual
                             customer satisfaction survey that will commence in 2015.

42
                    Case 20-4238, Document 38, 02/11/2021, 3035076, Page178 of 298
                                               A-1272


                     Case 1:20-cv-05301-RA          Document 29-44           Filed 07/22/20         Page 44 of 49




                                             In addition to establishing abaseline measure and tracking the aggregate measures
                                             described above, we will aggressively pursue target goals related to the each Small Business
                                             First area:
                                             Provide Clear Information with Coordinated Services and Support
                                                •Number and growth rate of Online Business Portal accounts;
                                                 •Available business-related applications and status updates, with the goal of having 95
                                                  percent of all business applications be able to be submitted online, and the top 20
                                                  most-commonly used applications have online status updates; and
                                                 •Number of simple guides available in plain language, with the goal of having more
                                                  than 50 percent of the most common small business violation areas covered.

                                             Help Businesses Understand and Comply with City Regulations
                                                 •Number of new businesses assisted each month through business acceleration
                                                  services, including businesses in the retail, industrial, and food service sectors, with a
                                                  target minimum of 400 businesses assisted;
                                                 •Monthly and annual utilization rate of Small Business Compliance Advisor services;
                                                 •Number of businesses receiving repeat violations, with the goal of reducing the
                                                  incidence of repeat violations by 10 percent in neighborhoods targeted for
                                                  outreach, training, and support; and
                                                 •Availability and use rates of alternative hearing mechanisms (phone, email, mail).


                                             Reduce the Burden Imposed by Complex Regulations and Fines
                                                 •Update regulations or processes, with the goal of ensuring that 10 outdated or overly
                                                  complex regulations and/or processes are updated initially, and working with the
For example, we estimate that removing
the Department of Buildings from the              Advisory Group to identify additional regulations for review;
rangehood fire suppression plan review           •Savings to businesses of at least $50 million per year by reducing time and resources
process could save businesses 50                  spent on City processes, and avoiding fines and penalties;
percent of the time currently required for
this process.                                    •Steps and time involved in the top 10 inter-agency processes for businesses, with
                                                  the goal of reducing each by at least 50 percent; and
                                                 •Time required for abusiness to open or work with the City on an annual basis; with
                                                  the goal of saving businesses at least 50 percent.


                                             Ensure Equal Access for All Business Owners
                                                 •Number of training workshops held with community groups, with atarget of 50
                                                  community groups being trained in the first full year of operation;
                                                 •Plain language guides (described above) are available in six languages other
                                                  than English; and
                                                 •Availability of interpretive services at each agency, with the goal of increasing the
                                                  agencies' utilization rate of such services.
                                             Goals for other elements of the program will be defined as implementation progresses.
                                             There is alot of work ahead of us. Regardless of the challenges we face —we will
                                             continuously work to improve our services to small businesses. These changes are only the
                                             beginning. They are this Administration's first steps towards aNew York City that is more
                                             supportive of small businesses than ever before.
                                                                                                                                          43
                    Case 20-4238, Document 38, 02/11/2021, 3035076, Page179 of 298
                                               A-1273


                    Case 1:20-cv-05301-RA              Document 29-44   Filed 07/22/20      Page 45 of 49




         NOTES


 Executive Summary                                                 Help Businesses Understand and Comply with
 Pg. 3                                                             City Regulations
 Small business employment figures are based on 2012 County        Pg. 21
 Business Patterns.                                                Although the Department of Health and Mental Hygiene
                                                                   inspector will not typically issue aviolation during a
 Introduction                                                      consultative inspection, "any public health hazard will
 Pg. 10                                                            have to be corrected before the end of the inspection, or
 Small business data is based on 2012 County Business Patterns.    the Department may have to order the restaurant to close
 Pg. 10                                                            temporarily until the condition is corrected." http://www.
 For details on data, see 2012 Quarterly Workforce Indicators.     nyc.gov/html/doh/downloads/pdf/permit/consultative-
                                                                   inspections.pdf.
 Pg. 10
 Employment data is based on 2012 Quarterly                        Ensure Equal Access for all Business Owners
 Workforce Indicators.                                             Pg. 33
 Pg. 10                                                            The total number of self-employed in incorporated and
 For details on small business survey and data, see http://www.    unincorporated businesses is 362K. This number is based on
 nfib.com/surveys/small-business-economic-trends/.                 2013 American Community Survey (1 Year Estimates).

 Pg. 10                                                            Pg. 35
 Ninety-nine percent of the businesses in the accommodation        For details on data, see http://www.nyc.gov/html/dcp/html/
 and food services and retail industries have fewer than 100       census/pop_facts.shtml.
 employees. Businesses in the Other Services category are 98
 percent small. See County Business Patterns (2012).




44
Case 20-4238, Document 38, 02/11/2021, 3035076, Page180 of 298
                           A-1274


Case 1:20-cv-05301-RA   Document 29-44   Filed 07/22/20   Page 46 of 49




                                                                          45
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page181 of 298
                                 A-1275


      Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20       Page 47 of 49




     ACKNOWLEDGMENTS


                       Small Business First was made possible by the hard work and contribution of numerous
                       individuals from multiple City agencies. We would especially like to thank the following:

                       Office of the Mayor
                       Anthony Shorris, First Deputy Mayor

                       Alicia Glen, Deputy Mayor for Housing and Economic Development

                       Dominic Williams, Chief of Staff, Office of the First Deputy Mayor

                       Benjamin Furnas, Senior Policy Analyst, Office of the First Deputy Mayor
                       James Patchett, Chief of Staff, Office of the Deputy Mayor for Housing and Economic
                       Development

                       Peter Wertheim, Senior Advisor, Office of the Deputy Mayor for Housing and
                       Economic Development

                       Kate Blumm, Communications Advisor, Office of the Deputy Mayor for Housing and
                       Economic Development

                       Minerva Tantoco, Chief Technology Officer

                       Mindy Tarlow, Director, Mayor's Office of Operations
                       Amen Ra Mashariki, Chief Analytics Officer, Mayor's Office of Data Analytics

                       Michael DeLoach, Mayor's Office of City Legislative Affairs

                       Saba Debesu, Deputy Director, Mayor's Office of City Legislative Affairs



46
Case 20-4238, Document 38, 02/11/2021, 3035076, Page182 of 298
                           A-1276


Case 1:20-cv-05301-RA   Document 29-44           Filed 07/22/20       Page 48 of 49




                 Agency Leaders

                 Nisha Agarwal, Commissioner, Mayor's Office of Immigrant Affairs

                 Dr. Mary Bassett, Commissioner, Department of Health and Mental Hygiene

                 Vicki Been, Commissioner, Department of Housing Preservation and Development

                 Victor Calise, Commissioner, Mayor's Office of People with Disabilities

                 Zachary Carter, Corporation Counsel, Law Department

                 Rick Chandler, Commissioner, Department of Buildings

                 Stacey Cumberbatch, Commissioner, Department of Citywide Administrative Services
                 Fidel F. Del Valle, Commissioner, Office of Administrative Trials and Hearings

                 Dean Fuleihan, Director, Office of Management and Budget

                 Kathryn Garcia, Commissioner, Department of Sanitation

                 Jacques Jiha, Commissioner, Department of Finance

                 Meera Joshi, Commissioner, Taxi and Limousine Commission

                 Robert W. Linn, Commissioner, Office of Labor Relations

                 Emily Lloyd, Commissioner, Department of Environmental Protection
                 Julie Menin, Commissioner, Department of Consumer Affairs

                 Daniel Nigro, Commissioner, New York City Fire Department

                 Anne Roest, Commissioner, Department of Information Technology
                 and Telecommunications

                 Ryan Singer, Executive Director, Board of Standards and Appeals

                 Maria Torres-
                             Springer, Commissioner, Department of Small Business Services

                 Polly Trottenberg, Commissioner, Department of Transportation

                 Carl Weisbrod, Commissioner, Department of City Planning

                 The exceptionally hardworking staff at the following City agencies:
                 Department of Buildings, Department of City Planning, Department of Citywide
                 Administrative Services, Department of Consumer Affairs, Department of Environmental
                 Protection, Department of Health and Mental Hygiene, Department of Finance,
                 Department of Information Technology and Telecommunications, Department of
                 Sanitation, Department of Small Business Services, Department of Transportation, Fire
                 Department, Law Department, Mayor's Office of Immigrant Affairs, Mayor's Office of
                 Operations, Mayor's Office of People with Disabilities, Office of Administrative Tribunals
                 and Hearings, Office of Labor Relations, Office of Management and Budget, Taxi
                 Limousine Commission; and aspecial thanks to:

                 Amit Bagga, Steve Banks, Dominic Berg, Steve Bezman, Tara Boirard, Francesco Brindisi,
                 Alex Camarda, Barbara Carnival, Tina Chin, Georgia Davidson, Barry Dinerstein,
                 Thomas Dolan, Teresa Egelhof, Sabrina Fong, Brian Geller, Maurice Goldstein, Kanda
                 Gordon, Robinson Hernandez, Nicholas Kaminski, Daniel Kass, Laura Kavanagh, Kleo
                 King, David Klahr, Natalie Kotkin, Albert Kramer, Sarah Krauss, Steven Lawitts, Sonia
                 Lin, Vincent Maniscalco, John Martin, Angelina Martinez-Rubio, Dawn Miller, Lindsay
                 Mollineaux, Nina Ong, Antonia Pereira, Emma Pfohman, Alba Pico, Anthony Pompeo,
                 Yvonne Quintian, Robert Richardson, Carmine Rivetti, Euan Robertson, Kristine Ryan,
                 Marisa Senigo, Adira Siman, Lydon Sleeper, Geraldine Sweeney, Megan Taub, Felisha
                 Torres, Logan Werschky, Edward Wilton, and Betty Woo.

                                                                                                        47
Case 20-4238, Document 38, 02/11/2021, 3035076, Page183 of 298
                           A-1277


Case 1:20-cv-05301-RAvDocument 29-44vFiled 07/22/20'vPage 49 of 49
Case 20-4238, Document 38, 02/11/2021, 3035076, Page184 of 298
                           A-1278


 Case 1:20-cv-05301-RA   Document 29-45   Filed 07/22/20   Page 1of 3




               Exhibit 45
Case 20-4238, Document 38, 02/11/2021, 3035076, Page185 of 298
                           A-1279

         Case 1:20-cv-05301-RA         Document 29-45        Filed 07/22/20     Page 2of 3




                                               EXHIBIT A



                                               GUARANTY

   A.     As an inducement to GAMOTO ENTERPRISES LLC, ("Landlord"), to enter into alease
   dated 0—'T le ,2018 (the "Lease") with RIVERA' S CATERING CORP. (the "Tenant")
   for the Third Floor located at 40-06 Astoria Blvd. S, Astoria,
   the undersigned, 7omAv E3PtNo2-,f                   residing at
   (hereinafter the "Guarantor") absolutely, unconditionally and irrevocably guarantees to an or a
   Base Annual Rent and Additional Rent and other charges payable by Tenant under the Lease
   (hereinafter collectively referred to as "Accrued Rent"). However, Guarantor's obligations under
   this Guaranty shall be limited beginning with the third anniversary of the lease's commencement so
   that the Guarantor absolutely, unconditionally and irrevocably guarantees to Landlord all Accrued
   Rent, up to the "Surrender Date" as defined below.

            The "Surrender Date" means the date that Tenant shall have performed all of the following:
   (a) at anytime after the third anniversary of the lease commencement, provides Landlord with ninety
   (90) days prior notice of Tenant's intention to vacate and surrender the demises premises to
   Landlord, (b) vacated and surrendered the demised premises to Landlord (or its managing agent)
   free of all subleases or licensees and in broom clean condition, and Tenant has so notified Landlord
   or such agent in writing, (c) delivered the keys to the doors to the demised premises to Landlord (or
   its managing agent), and (d) paid all amounts due and payable under the Lease as Base Annual Rent
   or Additional Rent or other such charges to Landlord up until the date of (a), (b) and (c) above.

   B.      Guarantor shall not be liable under this Guaranty for any Base Annual Rent, Additional Rent
   or other charges or payments accruing under the Lease after the Surrender Date. Any security
   deposit under the Lease shall not be credited against amounts payable by Tenant, or by Guarantor
   under the terms of this Guaranty. The acceptance by Landlord of payments under this Guaranty or
   the acceptance of asurrender of the demised premises shall not be deemed arelease or waiver by
   Landlord of any obligation of the Tenant under the Lease, and Tenant's obligations shall survive
   such acceptance and surrender.

   C.       Notwithstanding any payments made by Guarantor hereunder, the Guarantor shall not be
   subrogated to any of the rights of Landlord against Tenant for any payment, nor shall the Guarantor
   seek any reimbursement from Tenant in respect of payments made by such Guarantor hereunder
   until all of the amounts due or becoming due to Landlord under the Lease have been paid.

   D.      This Guaranty is absolute and unconditional and is aguaranty of payment and performance,
   not of collection. This Guaranty may be enforced without the necessity of resorting to or exhausting
   any other security or remedy and without the necessity at any time of having recourse to Tenant.
   The validity of this Guaranty shall not be affected or impaired by reason of the assertion by
   Landlord against Tenant of the rights or remedies reserved to Landlord under the Lease. Guarantor
   agrees that this Guaranty shall remain in force and effect as to any assignment, transfer, renewal,
   modification or extension of the Lease whether or not Guarantor shall have received any notice of
   or consented to such renewal, modification, extension, assignment or transfer.

   E.      The granting of any extension of time or the forbearance or failure of Landlord to insist
   upon strict performance or observance of any of the terms of the Lease, or otherwise to exercise any
   right therein contained, shall not be construed as awaiver as against Tenant or Guarantor of any
   such term or right and the same shall continue and remain in full force and effect. Receipt by
   Landlord of Rent with knowledge of the breach of any provision of the Lease shall not be deemed a
   waiver of such breach. The Guarantor waives notice of any and all defaults by Tenant in the
   payment of Base Annual Rent, Additional Rent, or other charges, and waives notice of any and all
   defaults by Tenant in the performance of any of the terms, of the Lease on Tenant's part to be
   performed. Further, Guarantor waives any and all defenses available to tenant under the Lease.

   F.      Guarantor further agrees that if Tenant becomes insolvent or shall be adjudicated abankrupt
   or shall file for reorganization or similar relief or if such petition is filed by creditors of Tenant,
   under any present or future Federal or State law, Guarantor's obligations hereunder may


                                                     24                             Landlokd
                                                                                               T/enant   /n/
Case 20-4238, Document 38, 02/11/2021, 3035076, Page186 of 298
                           A-1280

           Case 1:20-cv-05301-RA               Document 29-45   Filed 07/22/20   Page 3 of 3




   nevertheless be enforced against the Guarantor. The termination of the Lease pursuant to the
   exercise of any rights of atrustee or receiver in any of the foregoing proceedings shall not affect
   Guarantor's obligation hereunder or create in Guarantor any setoff against such obligation. Neither
   Guarantor's obligation under this Guaranty nor any remedy for enforcement thereof, shall be
   impaired, modified or limited in any manner whatsoever by any impairment, modification, waiver
   or discharge resulting from the operation of any present or fixture provision under the National
   Bankruptcy Act or any other statute or decision of any court. Guarantor further agrees that its
   liability under this Guaranty shall be primary and that in any right of action which may accrue to
   Landlord under the Lease, Landlord may, at its option, proceed against Guarantor or Tenant without
   having commenced any action against or having obtained any judgment against Tenant or
   Guarantor.

   G.     Guarantor will pay attorneys' fees, court costs and other expenses incurred by Landlord in
   enforcing or attempting to enforce this Guaranty.

   H.      This Guaranty is made and delivered in New York, New York and shall be governed by,
   and construed and interpreted in accordance with, the internal laws of the State of New York,
   without regard to the conflicts of laws principles thereof. Guarantor hereby waives any right to trial
   by jury in any action or proceeding arising out of this Guaranty.

   I.     All terms and provisions herein shall inure to the benefit of the assigns and successors of
   Landlord and shall be binding upon the assigns and successors of Guarantor.



   IN WITNESS WHEREOF, the Guarantor has sigr>Vthis Guaranty on the                         kr' day of
       OG TD 6 i` Z        ,2018.



                                                                                          ,Guarantor
                                                             Social Sec. #-1
                                                             Home Address:




   State of New York

   County of       Qvcc-f              )ss.:

   On the 1•— day of pGT • in the year 2018 before me, the undersigned, personally appeared
   %OMAS'E•VPrNoX               ,personally known to me or proved to me on the basis of
   satisfactory evidence to be the individual(s) whose name(s) is (are) subscribed to the within
   instrument and acknowledged to me that he/she/they executed the same in his/her/their
   capacity(ies), and that by his/her their signature(s) on the instrument, the individual(s), or the
   persqu taan lehatf of which the individual(s) acted, executed the instrument.




              Nick Tsommokos
       Notary Public,state or New York
              No. p2TS6096335
         Qualified in Queens County
    Commission Expires on July 29 ::Ze_LC




                                                        25                                     Tenant


                                                                                             "•f—
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page187 of 298
                                   A-1281


                Case 1:20-cv-05301-RA         Document 30      Filed 07/22/20   Page 1of 33




                                 UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK



     Marcia Melendez, Jarican Realty Inc.,
     1025 Pacific LLC, Ling Yang, Top East                    Civ. No. 20-cv-05301 (RA)
     Realty LLC, and Haight Trade LLC,

                                 Plaint"fs,

                         V.

     The City of New York, amunicipal entity,
     Bill de Blasio, as Mayor cf the City cfNew York,
     Louise Carroll, Commissioner cfNew York City
     Department c  fHousing Preservation &
     Development, and Jonnel Doris, Commissioner cf
     New York City Department cf Small Business
     Services,
                           DE fendants.




                     DECLARATION OF SANTO GOLINO IN SUPPORT OF
                  PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION

I.         INTRODUCTION

           A.       Qualifications and Professional Experience

                    1.        Iam the founder and managing member of the Golino Law Group, PLLC.

Iearned my Bachelor's degree from St. John's University in 1981 and my Juris Doctorate from

St. John's University School of Law in May 1987. Iwas admitted to practice in New York in

January 1988. Iwas admitted to practice before the United States District and Bankruptcy

Courts for the Southern and Eastern Districts in 1995. Imake this declaration based on my

personal knowledge of and experience with practices and procedures involving real estate in

New York City.

                    2.        For 32 years, my law practice has concentrated almost exclusively in the

area of landlord-tenant law and related real-estate law. Irepresent both landlords and tenants in



11866127
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page188 of 298
                                  A-1282


          Case 1:20-cv-05301-RA           Document 30        Filed 07/22/20      Page 2of 33




all aspects of commercial and residential real-estate litigation involving landlord-tenant disputes,

including but not limited to summary proceedings (including trials, motion practice, and

hearings), Yellowstone injunctions, and other forms of equitable relief, depositions, settlements,

and conferences.

                3.      Iregularly appear before the New York State Supreme Court in counties

within New York City, the New York City Civil Court's Commercial Part, the New York City

Housing Court, and the New York State Surrogate's Court, and Westchester and Nassau counties

(in addition to practicing before local courts in Westchester and Nassau counties). My work also

includes appellate practice before New York's Appellate Divisions and the Appellate Terms of

the New York State Supreme Court.

                4.      In addition, my practice includes administrative proceedings before the

Division of Housing and Community Renewal ("DHCR") involving rent stabilization and rent

control issues, the New York City Department of Buildings, the New York City Loft Board, the

New York City Department of Housing Preservation and Development ("HPD"), and related

Article 78 Proceedings in New York State Supreme Court. Moreover, Ihave practiced before

the United States District Court and Bankruptcy Court in the Southern and Eastern Districts of

New York in proceedings related to landlord-tenant matters.

                5.      Finally, my practice has included real-estate transactions, including

commercial and residential leasing, guaranties, and purchases and sales of real property.

                6.      In February 1988, Ibegan my career as an associate attorney at the firm of

Kucker, Kraus & Bruh, LLP,' afirm concentrating in landlord-tenant law and rent regulation. In

1993, Ibecame alitigation partner at the firm, until Ileft in November of 2000 to form my own



'Subsequently known as Kucker & Bruh, LLP, and currently known as Kucker, Marino, Winiarsky & Bittens LLP.



                                                     2
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page189 of 298
                                 A-1283


         Case 1:20-cv-05301-RA         Document 30      Filed 07/22/20    Page 3of 33




firm. In November 2000, Ifounded the Law Offices of Santo Golino, where Icontinued my

practice representing landlords and tenants in most aspects of landlord-tenant law and

regulations. In 2016, we became known as the Golino Law Group, PLLC.

               7.     Prior to attending law school, Iwas employed by the New York City

Conciliation and Appeals Board ("CAB"), aquasi-judicial agency. The CAB was exclusively

responsible for administering and enforcing the Rent Stabilization Law of 1969 ("RSL"), as

amended, the Emergency Tenant Protection Act of 1974 ("ETPA"), as amended, and the Rent

Stabilization Code ("RSC"), for over one million rent-stabilized apartments in New York City.

               8.     From November 1981 until March 31, 1984, Iwas aSenior Paralegal at

the CAB. In that position, Iwas responsible for processing cases and disputes between landlords

and tenants in the areas of rent overcharges, lease renewals and required services, conducting

legal research, and drafting quasi-judicial opinions for Board issuance. My duties at CAB also

involved administration and management of the Board's Emergency Heat Program from 1981

through 1984. While at CAB, Iregularly advised tenants and owners of their rights and

obligations under the RSL and RSC.

               9.     Pursuant to the Omnibus Housing Act of 1983 (Law of 1983, Chap. 403),

the Legislature merged the CAB and the New York City Office of Rent Control into the DHCR,

effective April 1, 1984. After the merger with DHCR, Ibecame aRent Examiner I(civil service

title), continuing much of the same work as Ihad at CAB, except with an emphasis on required

services under the RSL and RSC, as well as responsibilities for rent controlled tenants under the

N.Y.C. Rent and Eviction Regulations ("Rent Control Law").




                                                3
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page190 of 298
                                  A-1284


             Case 1:20-cv-05301-RA       Document 30       Filed 07/22/20     Page 4of 33




                 10.    In the past, Ihave published and Ioften lecture in the fields of landlord-

tenant proceedings and DHCR rent-overcharge proceedings. Nevertheless, Ido not have any

publications in the last ten years that are subject to disclosure.

                 11.    Iserve on the Judiciary Committee of the Association of the Bar of the

City of New York, and previously served on its Civil Court Committee and Housing Court

Committee. Iam amember of the New York County Lawyers Association's Committee on Real

Property, the New York County Landlord-Tenant Bar Association, and the New York State Bar

Association's Real Property Section.

                 12.    A copy of my curriculum vitae is set forth in Exhibit A to this declaration.

                 13.    Ihave not testified as an expert in any cases in the last four years.

                 14.    Iam being compensated at an hourly rate of $525.00 per hour for time

spent on this matter. My compensation is not contingent on the nature of my findings or time

spent on this matter.

        B.      Assignment and Methodology

                 15.    Ihave been asked by Patterson Belknap Webb & Tyler LLP, counsel for

the Plaintiffs in this action, to provide my opinions on the following topics: a) landlord-tenant

relationships in New York; b) the statutory context for those relationships in New York; c) the

practice of obtaining guaranties for commercial leases, including what are known as "good guy"

guaranties; d) the laws and mechanisms in place in New York for property owners to enforce

lease terms when tenants fail to meet their obligations; e) practices and procedures in the courts

of the State of New York that apply in the event of lease defaults; f) recent New York State and

New York City laws enacted following the onset of the COVID-19 pandemic ("the Pandemic"),

together with certain Executive Orders issued by Governor Andrew M. Cuomo, as they apply to




                                                   4
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page191 of 298
                                  A-1285


            Case 1:20-cv-05301-RA          Document 30      Filed 07/22/20     Page 5of 33




the real estate industry; and g) the impact that those new City laws are likely to have on property

owners in New York City.

       C.         Summary of Opinions

                  16.    Based on my examination of the recent New York State laws and New

York City legislative enactments regarding commercial and residential harassment and personal

guaranties, together with my experience in this area (as described above), my opinions, all of

which are held to areasonable degree of certainty in my capacity as an experienced real-estate

lawyer are:

       a.     New York City Local Law 53 of 2020 ("the Commercial Harassment Law") and New
              York City Local Law 56 of 2020 ("the Residential Harassment Law") (collectively
              "the Harassment Laws") significantly impair the ability of property owners to enforce
              the terms of their lease agreements, and do so for the benefit of tenants without any
              substantial injury requirement.

       b.     The Harassment Laws are likely to create significant confusion for many property
              owners who wish to enforce lease terms and collect back rent during an already
              complicated time.

       c.     New York City Local Law 55 of 2020 ("the Guaranty Law") encourages judgment-
              proof tenants to default on their leases, yet retain possession of their leased premises,
              thereby making it difficult for property owners to meet their own obligations to the
              City of New York for the payment of real estate taxes and to their own banks and
              lenders for the payment of mortgage interest and principal.
                  17.    My opinions and the bases for my opinions are contained in the remainder

of this declaration. A list of the materials that Ihave considered in connection with this

assignment is set forth in Exhibit B attached to this declaration.

IL     STATUTORY BACKGROUND REGARDING NEW YORK STATE AND CITY
       LAWS AFFECTING LANDLORD-
                              TENANT RELATIONSHIPS

                  18.    Landlord-tenant relations in New York are governed by apatchwork of




                                                    5
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page192 of 298
                                   A-1286


            Case 1:20-cv-05301-RA               Document 30          Filed 07/22/20        Page 6of 33




local, state, and federal legislation.' The principal statutes underlying these relationships are

found in Article 7of the New York Real Property Actions and Proceedings Law ("RPAPL"), the

New York Real Property Law ("RPL"), the General Obligations Law ("GOL"), the Rent

Stabilization Law of 1969, the Rent Control Law, the Rent Stabilization Code, the New York

City Administrative Code, and the Loft Law.

                  19.      One law that underlies this patchwork of State and City laws and

regulations is the Urstadt Law. In 1971, the New York State Legislature enacted N.Y. Unconsol.

Law §8605, commonly known as the Urstadt Law. It was part of apackage of laws enacted to

limit and control the number of vacancies, abandonment, and general disinvestment of rent-

controlled housing in New York City because of rent-stabilization laws that had gone into effect

years prior. The Urstadt Law provides as follows:

                    No housing accommodations presently subject to regulation and
                    control pursuant to local laws or ordinances adopted or amended
                    under authority of this subdivision shall hereafter be by local law
                    or ordinance or by rule or regulation which has not been
                    theretofore approved by the state commissioner of housing and
                    community renewal subjected to more stringent or restrictive
                    provisions cf regulation and control than those presently in
                    E,fcct.



Id. (emphasis added).

                  20.      The Appellate Division, First Department has ruled that the Urstadt Law is

not limited to Rent Stabilization or Rent Control, and that the Urstadt Law's prohibitions on

"expanding control ... go beyond the issue of rent regulation, and encompass attempts by the

local municipality to expand its control over housing units unless approved by the state." See

Alston v. Starrett City, Inc., 74 N.Y.S.3d 211, 214 (1st Dep't 2018).



'Iam not presently aware of any federal statutory laws or regulations that are relevant to my opinions on this
matter, although Inote that the Plaintiffs are asserting claims under the United States Constitution that arise out of
the matters on which Iam opining.


                                                           6
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page193 of 298
                                  A-1287


                Case 1:20-cv-05301-RA     Document 30      Filed 07/22/20    Page 7of 33




III.       REAL PROPERTY LEASES

                    21.   In New York, leases may be in writing or may be entered into orally (for

up to one year), allowing the tenant to take possession of the landlord's real property, or part

thereof, for aspecific term and for aspecified rent. There are two main types of leases for real

property in New York: commercial leases and residential leases.

       A.           Commercial Lease

                    22.   Commercial real-estate leases involve leases for non-residential premises

used by commercial and other business operations. These premises include office spaces, retail

stores, restaurants, parking lots, and service establishments, such as hair or nail salons, grocery

stores, and bakeries.

                    23.   In addition to aspecified monthly rent, commercial leases almost

uniformly require acommercial tenant to pay aportion of the landlord's operating costs —most

typically, the tenant's proportionate share of increases in the building's real-estate taxes over a

base year (which is tied to lease commencement). These other charges are usually defined in the

commercial lease as "additional rent."

                    24.   As discussed below, landlords frequently insist on some form of personal

or parent-company guaranty as acondition to entering into lease agreements with commercial

tenants.

           B.       Residential Leases

                    25.   Residential leases are for dwellings or premises that are used for human

habitation. These premises can range from private, single-family units to multi-unit apartment

buildings. In New York City, all residential tenancies are subject to some form of statutory or

administrative regulation, ranging from Rent Controlled and Rent Stabilized apartments to free-

market dwellings. See generally RPL Article 7et seq.; N.Y. Multiple Dwelling Law §280 et

                                                   7
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page194 of 298
                                   A-1288


             Case 1:20-cv-05301-RA            Document 30         Filed 07/22/20        Page 8of 33




seq.; the N.Y.C. Housing Maintenance Code, N.Y.C. Administrative Code, Title 27, Chap. 2;

GOL §§ 7-101-7-109.

                 26.      Depending on the type of housing involved, these statutes and regulations

may limit the rents that alandlord may charge in aresidential lease; prohibit or make

unenforceable certain clauses in residential leases; provide tenants with defenses to the

obligation to pay rent; or, impose certain maintenance obligations on landlords or minimum

standards of living that alandlord must provide in leased-dwelling units.

        C.       Guaranty Agreements in Commercial Leases

                 27.      Depending on the credit-worthiness of the tenant, acommon practice in

commercial leasing —retail and office alike —is for landlords to require some form of apersonal

guaranty to secure performance under the lease. These guaranties of commercial leases form a

central and material aspect of the economic rights of the parties to the lease, and provide critical

remedies in the event of alease default. In addition, these guaranties enable tenants to lease

space which they would otherwise be precluded from leasing because of aproperty owner's need

or desire to place amore creditworthy tenant on the lease, as more fully described below.'

                 28.      In New York commercial leases, guaranty agreements provide additional

security where the tenant named on the lease is acorporation, LLC, or other entity, such that the

entity's officers or members would be protected from personal liability for the entity's debts.

Often, the guarantor is an owner or other principal of the business entity who agrees to be

personally liable for the obligations of the tenant.




zAlthough lease agreements create relationships between the landlord and tenant, "often times the landlord requires
apersonal or corporate guaranty, which is aseparate agreement executed simultaneously with the lease, making the
guarantor liable for the tenant's defaults." 4E N.Y. Prac., Comm. Litig. in New York State Courts §120:17 (4th ed.).



                                                         8
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page195 of 298
                                  A-1289


          Case 1:20-cv-05301-RA         Document 30       Filed 07/22/20       Page 9of 33




               29.     Such guaranties can take various forms. For example, the agreement may

constitute a"full" guaranty, where the guarantor guarantees payment of the tenant's obligations

through the end of the lease, irrespective of whether the lease is terminated early or not.

Alternatively, it may be alimited guaranty, such as aguaranty of aguarantor's obligations

through the date when the tenant surrenders possession of the premises to the landlord —which is

known as a"good guy guaranty."

               30.     Guaranty agreements benefit both owners and tenants. They encourage

property owners to lease property to commercial tenants who may not be as creditworthy (for

example, small-business start-ups) by providing athird-party backstop to ensure that the tenant's

lease obligations can be fulfilled. Additionally, guaranties, and particularly good guy guaranties,

can discourage tenant holdovers. Good guy guaranties are generally designed to incentivize

tenants to voluntarily surrender aleased property at the end of its term, without the landlord

having to resort to an eviction proceeding —the cost of which the tenant may be required to pay.

At the same time, these guaranties give the property owner continued security in the event that

rent remains unpaid while the tenant is still in possession of the premises.

               31.     Good guy guaranties help prevent the worst-case-scenario —which, for a

landlord, is when atenant continues to occupy its premises during and beyond the lease term

without paying rent. Given the length of time needed to complete atypical eviction proceeding,

atenant without agood guy guaranty may be incentivized to continue occupying the leased

property, despite the existence of adefault, and courts often will not require any interim rent

payments from the defaulting tenant during the holdover period. The terms of such guaranties

discourage tenants from obstructing property owners' business following alease default.

               32.     Generally, but not always, guaranty agreements are distinct documents



                                                  9
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page196 of 298
                                  A-1290


            Case 1:20-cv-05301-RA           Document 30      Filed 07/22/20     Page 10 of 33




from lease agreements with independent obligations. Guaranty agreements and leases are often

"separate undertakings, and the latter are enforceable without qualification or reservation." Royal

Equities Operating, LLC v. Rubin, 62 N.Y.S.3d 337, 338 (1st Dep't 2017).

IV.     PROCEDURES IN NEW YORK FOR PROPERTY OWNERS TO INVOKE
        ENFORCEMENT MECHANISMS TO PURSUE NON- PAYMENT OF RENT
        AND REPOSSESSION OF PROPERTY

        A.          Background on Summary Proceedings in New York

                    33.     A summary proceeding is aspecial proceeding that alandlord can bring in

the New York courts to seek "dispossession for the tenant's non-payment of rent or for the

tenant's holding over after the expiration of the lease term. It also serves as the rent-collecting

device when the tenant is in default." See David Siegel, N.Y. Prac., The RPAPL and the

Summary Proceeding; aPerspective §571 (6th ed.). Summary proceedings were "designed to

provide landlords with asimple, quick, and inexpensive means of recovering possession of real

property.   113   The Legislature attempted to accomplish this goal by "severely limiting the parties"

procedural rights and remedies.'

                    34.     Although named "summary proceedings," in New York City, the practice

and procedures for handling landlord-tenant disputes have evolved such that they now take

significant time to resolve —contrary to what was originally envisioned when the RPAPL was

enacted. As Chief Judge McMahon recently noted in Elm,,
                                                      ford Apartment Associates, LLC, v.

Cuomo, No. 20-CV-4062, 2020 WL 3498456, at *4 (S.D.N.Y. June 29, 2020),

                    Evicting atenant especially aresidential tenant —in New York is a
                    slow, cumbersome and extremely tenant-favorable process,
                    especially when compared to analogous procedures in other states.
                        [T]enants in New York City enjoy even more generous
                    protections ... The way the process actually plays out belies the


3Daniel Finkelstein & Lucas A. Ferrara, History and background—Summary remedy, G N.Y. Prac, Landlord and
Tenant Practice in New York §15:3 (2019-2020 ed.)
'Id.


                                                     10
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page197 of 298
                                   A-1291


         Case 1:20-cv-05301-RA         Document 30       Filed 07/22/20    Page 11 of 33




               term "summary proceeding" that is statutorily authorized to
               recover real property from anon-paying tenant.

               35.     The summary proceeding process is lengthy and highly regulated, and

generally entails the following: a) service of anotice of default or non-payment to the tenant;

b) after such notice is served, the landlord must file apetition in the appropriate court, which also

must be served on the tenant; c) once the petition is filed, acourt hearing is set to determine the

schedule for the summary proceeding; d) following submissions by the parties and, potentially, a

trial on disputed factual issues, the court issues its judgment on the petition; e) ajudgment in

favor of alandlord may be for an amount certain awarding back rent owed or may lead to a

warrant of eviction or writ of execution for possession; f) atenant may request astay of the

warrant or writ or seek an appeal of the judgment; and g) if awarrant or writ of execution is

issued, possession of the property is returned to the landlord by enforcement of the warrant or

writ.

               36.     The most common type of summary proceeding is based on the tenant's

failure to pay rent, commonly referred to as a"non-payment" proceeding. In most New York

City leases, rent is due on the first of the month. Therefore, on the second day of the month, the

tenant is technically in default. In my experience, it is rare for alandlord to commence non-

payment proceedings when atenant is behind for just one month of rent. In addition, property

owners will typically hold asecurity deposit covering at least one month's rent —and sometimes

more for commercial tenants —to protect them in these circumstances.

               37.     As aresult, New York City landlords will typically wait at least two

months, and sometimes even three, before commencing anon-payment action, and such court

filings are usually preceded by multiple letters demanding payment of the back rent.

        B.     Processes and Timelines for Summary Proceedings Prior to the Housing


                                                 11
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page198 of 298
                                   A-1292


          Case 1:20-cv-05301-RA              Document 30          Filed 07/22/20       Page 12 of 33




                  Stability and Tenant Protection Act

                  38.      Three types of proceedings are common in New York's landlord-tenant

courts: a) non-payment proceedings; b) holdover proceedings; and c) Housing Part proceedings.'

Non-payment proceedings make up the overwhelming majority of landlord-tenant cases in New

York, and will be the focus of the following discussion.

         1. Non-
               payment Proceedings

                  39.     Until June 14, 2019 and the passage of the Housing Stability and Tenant

Protection Act (which modified such procedures for residential tenants), RPAPL §711(2)

provided that before commencing anon-payment action against either aresidential or a

commercial tenant, rent had to be demanded either orally or by written demand ("rent demand"),

at least three days before commencing the action; this demand needed to be served in the same

manner as the Notice of Petition, which starts asummary proceeding. Such service of the rent

demand required at least two attempts at personal service at the premises sought to be recovered

—once during business hours, and once during non-business hours on different days. This meant

that aprocess server needed at least three days to complete service of arent demand. The

practical effect of this requirement was that arent demand given to the process server as early as

the second day of the month, most likely, would not be served until the fourth or fifth day of the

month. In reality, rent demands were typically given to process servers aday or two later than

the second day of the month.

                  40.     Under RPAPL §711(2), once service of the rent demand was completed,

no action could be taken until the passage of three more calendar days. Typically, this meant




'Housing Part proceedings are brought by tenants seeking building repairs or to seek redress for other building code
violations. Such proceedings are beyond the scope of this opinion. In certain circumstances, Yellowstone
injunctions may also be available to stay apotential lease default and allow the tenant time to cure.


                                                         12
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page199 of 298
                                   A-1293


          Case 1:20-cv-05301-RA              Document 30         Filed 07/22/20       Page 13 of 33




that the papers commencing the summary proceeding (i.e., aNotice of Petition and Petition)

would not be prepared until aweek after the tenant was two or three months in arrears on their

rent. The Notice of Petition and Petition must first be filed in N.Y.C. Civil Court, and an index

number assigned by the court before it can be served, and it must be served in the same manner

as the rent demand.' Therefore, in abest-case scenario, service will not be complete until at least

two or three days after the court issues an index number for the case.

                 41.      Before June 14, 2019, the tenant was statutorily afforded five days (under

former RPAPL §732) to answer the papers by appearing at the Clerk's office of the Civil Court

to file an answer. However, even if the tenant failed to appear until seven to ten days after

service was complete, no default would ordinarily have been recorded. Instead, the practice of

the Court was (and is) that the Clerk would typically accept the late answer, assign acourt date —

usually at least aweek after the tenant had appeared in the case —and send acopy of the tenant's

answer to the landlord's attorneys with notice of the assigned court date. The Court would

regularly accept late answers almost until an eviction warrant had actually been issued. For this

reason, most landlords' attorneys would usually not submit arequest for adefault and warrant of

eviction until at least five days after the tenant's time to answer had expired, in case an answer

arrived in the mail, which would make preparation of the default request awaste of time and

resources.

                 42.      If the tenant failed to appear in response to the Petition, then, in order to

obtain adefault judgment, the landlord's attorneys would have to prepare arequest for afinal




'The Civil Court's the monetary jurisdictional limit of $25,000 does not apply to non-payment summary
proceedings. See N.Y.C. Civ. Ct. Act §204; Eastrich No. 80 Corp. v. Patrolmen's Benev. Assn cf N.Y.C. Transit
Police Dept, 688 N.Y.S.2d 409, 410 (1 st Dept. 1999) ("It is of course true that ajudgment for rent maybe rendered
in asummary proceeding without regard to amount." (internal citations omitted)).



                                                        13
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page200 of 298
                                   A-1294


           Case 1:20-cv-05301-RA               Document 30         Filed 07/22/20         Page 14 of 33




judgment and issuance of awarrant of eviction, and then forward these papers to aduly

authorized N.Y.C. Marshal. The Marshal would then have to prepare their own paperwork and

file the request for the judgment and warrant with the Clerk of the Court. Given that the Court

will usually accept late answers until the warrant is actually issued, most attorneys do not submit

the warrant request until at least five days after the tenant's time to answer expires. Once the

warrant request is submitted, at aminimum, it typically takes at least three weeks for adefault

warrant to be issued.

                  43.      If the tenant was personally served with the Notice of Petition and Petition

commencing the special proceeding, or if substituted service was utilized, then the requested

judgment would have sought re-possession of the premises and recovery of the amount of rent

stated in the Petition. Because of the time lag affecting the Court's issuance of default warrants,

by the time the default judgment and warrant issue, another month of rent could accrue, but that

rent would not be included in the judgment entered by the court. Where no personal or

substituted service was effected, and the papers were served by posting them to the door of the

premises and mailing them to the tenant (commonly referred to as "nail and mail" service), then

the default judgment would be for possession only, but not for recovery of money. In such

circumstances, the landlord would be relegated to aseparate plenary action, usually brought after

an eviction occurred,' in order to obtain amoney judgment for back rent.

                  44.      Where the tenant does answer the Petition and acourt date is set, the

typical practice would be for the landlord's attorney to try to resolve the matter with the tenant



'A tenant who is served with aMarshal's notice of eviction after adefault usually applies to the Court for an order to
show cause to stay the eviction. If there are no grounds to vacate the tenant's lease default, but if the tenant has the
available funds or is otherwise able to make the rent payments, typically, the court's practice is to condition the stay
of eviction on the tenant paying the rent arrears. It is for this reason that landlords ordinarily do not immediately
commence separate plenary actions for the monetary judgment.




                                                          14
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page201 of 298
                                   A-1295


           Case 1:20-cv-05301-RA              Document 30          Filed 07/22/20       Page 15 of 33




on the court date.' If no resolution was reached, the case will be adjourned to the court's "first

available" date. Prior to June 2019, these adjournments were typically for around three weeks,

depending on the calendar of the Part to which the case is assigned. Usually, these adjournments

would allow the tenant time to try to engage counsel, or so that there could be further efforts to

resolve the dispute.

                  45.      If the tenant failed to appear on the first court date, or at asubsequent

adjourned date, the court typically marked the case as a"default," and the landlord's attorney

had to submit to the Marshal the same request for judgment and warrant as noted above.

                  46.      In the scenario where the tenant answered in areasonable time after

service of the Petition was complete, the first court date would likely be at least 25 to 30 days

after the court process had been commenced. In the typical case, by this point, the rent arrears

would be about three months. If the case were adjourned, the tenant would then be close to four

months behind in rent.

                  47.      Where the tenant defaulted entirely, by the time the default was entered

and the warrant issued (because eviction warrants are only issued for execution to aCity

Marshal), no eviction could be scheduled until the Marshal informed the landlord or their

attorney that the Marshal had awarrant in his possession. Once the Marshal received the warrant

and was instructed to proceed with the eviction, the Marshal was required to serve asix business




sData from aCity report indicates that between 2011 and 2015, 50 percent of eviction petitions were resolved
without the Court's participation. See N.Y.C. Office of Civil Justice, 2016 Annual Report 20 (hereinafter "2016
OCJ Report"),
https://www l.nyc.gov/assets/bra/downloads/pdf/services/civiljustice/OCJ%202016%2OAnnual%2OReport.pdf.
However, in August 2017 New York City enacted the Universal Access law, aimed at providing legal services
available to tenants facing eviction. As aresult of this law and the provision of counsel, "tenants were allowed to
remain in their homes in 84% of cases citywide" between July 1, 2018 and June 30, 2019. See Office of Civil
Justice, Universal Access to Legal Services: A Report on Year Two of Implementation in New York City 23
(2019), available at
https://wwwl.nyc.gov/assets/bra/downloads/pdf/services/civiljustice/OCJ_UA_Annual_Report 2019.pdf.


                                                          15
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page202 of 298
                                   A-1296


          Case 1:20-cv-05301-RA             Document 30         Filed 07/22/20        Page 16 of 33




days' notice of eviction. As aresult, an eviction notice served on aMonday, for example could

result in an eviction on the following Tuesday. This meant that by the time the eviction was

scheduled, the tenant would typically be close to four months in arrears in paying their rent.

                 48.      Finally, if atenant appeared in the case and the case could not be resolved

following several adjournments, the case would be sent to the Clerk of the Court's trial part for

assignment to atrial judge. Depending on the availability of trial judges, and due to the sheer

volume of cases pending in the Court, typically, atrial could be held three or four weeks after

being sent to the trial part's Clerk. After trial, if the Court ruled from the bench, the landlord

would have to file the same warrant request through the Marshal. And, after trial, warrants

would be issued, usually, around two to three weeks after the warrant request was filed.

                 49.      In the usual case, atenant served with aMarshal's notice of eviction

would file an Order to Show Cause requesting: a) to be relieved of their default, or b) additional

time to pay the rent arrears, or c) additional time to move out of the premises. It is rare for a

judge to decline the first Order to Show Cause requested by the tenant. Based on my years of

experience, the average non-payment case would have at least three to four Orders to Show

Cause signed by the judge, although there are no legal limitations on the amount of such orders

that can be issued by the Court; and in my practice, Ihave seen many cases where the number of

Orders to Show Cause signed by the Court was in the double digits. 9 Prior to June 2019, Orders

to Show Cause were typically returnable aweek to ten days after they were signed, and would

usually result in the tenant being granted 10 to 30 days to pay the arrears, depending on the

circumstances of the case.




9Courts have rejected the adoption of a"hard and fast rule" in determining what circumstances judges should issue
Orders to Show Cause. See Parkchester Apartments Co. v. Heim, 607 N.Y.S.2d 212, 213 (1st Dep't 1993).


                                                        16
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page203 of 298
                                   A-1297


           Case 1:20-cv-05301-RA             Document 30         Filed 07/22/20        Page 17 of 33




                  50.      Therefore, until June 2019, on average, it would typically take four to six

months after acase was commenced for alandlord to obtain ajudgment awarding back rent, 10

but these cases may also "span calendar years." See 2016 OCJ Report at 20, fn. 21.

         2. Holdover Proceedings

                  51.      Holdover proceedings, generally, are initiated by landlords against tenants

for lease violations arising from issues other than non-payment, including pet violations, creating

nuisances, or remaining in aunit beyond the expiration of the lease's terms.

                  52.      Before the passage of the Housing Stability and Tenant Protection Act,

property owners had to serve tenants with holdover petitions at least five days before the first

court appearance, and they could demand an answer three days before the initial court date if the

Petition was served at least eight days before the trial date. Many of these provisions were

amended by the Housing Stability and Tenant Protection Act.

         C.       THE HOUSING STABILITY AND PROTECTION ACT OF 2019

                  53.      On June 14, 2019, the Governor signed into law the Housing Stability and

Tenant Protection Act of 2019 (the "HSTPA"). This Act made fundamental changes to how

summary proceedings are handled for residential tenants, and made permanent several

protections for commercial and residential tenants throughout the State of New York.

                  54.      Prior to the HSTPA, as discussed, in order for aproperty owner to initiate

anon-payment proceeding, the owner had to first demand the rent orally or provide three-days'

written demand notice before filing asummary proceeding. The HSTPA eliminated the oral

rent-demand option, and instead requires awritten demand, and for landlords to separately send



10 See, e.g., N.R. Kleinfield, "Unsheltered —Where Brooklyn Tenants Plead the Case for Keeping Their Homes",


N.Y. Times (May 20, 2018), https:Hnyti.ms/2TUeCUm.
Even with the entry of ajudgment for back rent, it could take still longer to recover the amount awarded in such a
judgment.


                                                         17
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page204 of 298
                                  A-1298


         Case 1:20-cv-05301-RA        Document 30       Filed 07/22/20    Page 18 of 33




tenants, by certfled mail, notices informing the tenant that rent was not received within five days

past the due date. Under RPL §235-e (d), the failure to send such anotice constitutes an

affirmative defense to the non-payment proceeding. See Lawler v. Canfield, 114 N.Y.S.3d 621,

626 (N.Y. City Ct. 2019).

               55.    The Act also expanded to 14 days the jurisdictional notice period between

service of arent-demand notice on atenant and the subsequent commencement of aproceeding

for non-payment. See RPAPL §711; Gerald Lebovits et al., NY's Housing Stability and Tenant

Protection Act of 2019 Part III —What Lawyers Must Know, N.Y. State Bar Association (Dec. 1,

2019), available at https://nysba.org/nys-housing-stability-and-tenant-protection-act-of-2019-

part-iii-what-lawyers-must-know/#. When the time for service is included, aperiod of at least 17

days, and usually more, will now pass before the landlord can take the next step of filing a

summary proceeding.

               56.    The HSTPA also extends the answer period. The HSTPA now gives

tenants ten days to answer anon-payment petition —up from five days under the old law.

RPAPL §732. When coupled with the time for service of the rent demand, it typically takes

about 30 days —after the tenant is already two to three months in arrears —before the landlord

can apply for adefault judgment, and closer to 40 days before the parties will appear before a

judge. Moreover, the HSTPA codifies the requirement that atenant's payment of rent prior to the

commencement of non-payment proceedings must be accepted by the landlord, thereby requiring

the dismissal of eviction proceedings if such late payments are received. Id. §731 (4).

               57.    In addition, the HSTPA amended RPAPL §745(1) to require that

adjournments of such court proceedings be for aminimum of 14 days. The practical effect of

this new rule is that court calendars have become even more backed up. As aresult, prior to the



                                                18
         Case 20-4238, Document 38, 02/11/2021, 3035076, Page205 of 298
                                    A-1299


          Case 1:20-cv-05301-RA        Document 30      Filed 07/22/20     Page 19 of 33




onset of the Pandemic, in most non-payment cases, adjournments were typically for four to six

weeks.

               58.     With respect to deregulated residential tenancies, before the adoption of

the HSTPA, when alease ended, the tenant had to vacate the premises. If the tenant failed to do

so, the landlord could bring aholdover proceeding, with no notice required. The HSTPA now

requires alandlord to give: a) atenant of less than one year, a30-day notice of non-renewal of

their lease; b) atenant of at least one year but less than two years, a60-day notice of non-

renewal; and c) for atenancy of at least two years, a90-day notice of non-renewal. Failure to

provide the requisite timely notice will extend the tenancy until the end of the applicable time

period, measured from when the landlord gives the notice.

               59.     Similar to non-payment proceedings, courts may issue stays of warrant

executions for up to one year. However, when aholdover proceeding is brought because atenant

has breached aprovision of the lease, under the HSTPA, courts are required to issue a30-day

stay of execution in order to allow atenant to cure the breach. RPAPL §753. Prior to the

HSTPA, the automatic-stay period was ten days.

               60.     The HSTPA also allows ajudge to stay awarrant of eviction for one year,

up from six months under prior law. Id. Even without the issuance of astay of awarrant for

eviction, several months can pass before aproperty owner can repossess its premises from a

holdover tenant. As the First Department has noted, "[a] period of approximately five months for

the owner to recover possession of commercial realty ... is not an unreasonable amount of time.

Duane Reade, Inc. v. Reade Broadway Associates, 710 N.Y.S.2d 566 (1st Dep't 2000).

               61.     As aresult of the new requirements imposed by the HSTPA, the former

four to six weeks' period to obtain an award of rent through the judicial process had been



                                                 19
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page206 of 298
                                  A-1300


         Case 1:20-cv-05301-RA         Document 30       Filed 07/22/20     Page 20 of 33




increased by around two or three months during the period prior to the Pandemic.

V.     RECENT LIMITATIONS ON REMEDIES AVAILABLE TO LANDLORDS AS A
       RESULT OF NEW YORK STATE LAWS AND EXECUTIVE ORDERS
       ADOPTED IN LIGHT OF COVID-19

               62.     In response to the Pandemic, acombination of recent legislative and

executive actions in the real estate field have severely constrained landlords' abilities to regain

possession of their property from defaulting tenants. Those actions have included: a) laws

passed by the New York State Legislature ("the Legislature), and b) executive orders issued by

New York's Governor, Andrew M. Cuomo, under authority granted by the Legislature.

       A.      Governor Cuomo's Executive Orders

               63.     In March 2020, the Legislature expanded Governor Cuomo's emergency

powers by passing an amendment to Section 29-a of the New York State Executive Law, so as to

allow the Governor to "issue any directive during astate disaster emergency declared" in an

"epidemic[] [or] disease outbreak ...." and to "provide for procedures reasonably necessary to

enforce such directives." This amendment currently expires on April 30, 2021.

               64.     Exercising these expanded powers, on March 20, 2020, Governor Cuomo

issued Executive Order 202.8, instituting atemporary moratorium on commercial and residential

evictions for aperiod of 90 days.

               65.     On May 7, 2020, the Governor extended that moratorium through another

Executive Order. That Order prohibited landlords and building owners from commencing

summary proceedings for an additional period of 60 days from June 20, 2020, but only if the

tenant had experienced "financial hardship due to the COVID-19 pandemic" or was eligible for

state or federal benefits, including unemployment insurance. This directive extended the

eviction moratorium until at least August 19, 2020, but only for tenants who had suffered adirect

injury from the Pandemic. Importantly, on July 6, 2020, Governor Cuomo rescinded this

                                                 20
         Case 20-4238, Document 38, 02/11/2021, 3035076, Page207 of 298
                                    A-1301


          Case 1:20-cv-05301-RA         Document 30      Filed 07/22/20     Page 21 of 33




moratorium with respect to residential tenants, given that the protections afforded to residential

tenants had been superseded by the Tenant Safe Harbor Act (discussed below) that was passed

by the Legislature; at the same time, the Governor continued these protections for commercial

tenants. See Exec. Order 202.48.

               66.     Executive Order 202.28 also allows landlords and tenants or licensees of

residential properties, at the consent of the tenant or licensee, to enter into written agreements

through which the tenant's security deposit, and any accrued interest, can be used to pay back or

future rent. This Order prohibits landlords form harassing or threatening tenants to enter into

such agreements. If the amount of the security deposit is less than afull month's rent, the consent

of the tenant or licensee does not constitute awaiver of the remaining rent that is due for that

month.

               67.     Significantly, the tenants or licensees of residential properties who qualify

for this relief under this Order are limited to those who: a) are eligible for unemployment

insurance or benefits under state or federal law; or b) are otherwise facing hardship due to the

Pandemic. Landlords must provide this relief to tenants or licensees who request it, provided

that they meet the specified eligibility requirements. Tenants are obligated to replenish their

security deposits with monthly payments, beginning 90 days after the security deposit is used as

rent.

               68.     This Order suspends the operation of Sections 7-103, 7-107 and 7-108 of

New York's General Obligations Law.

               69.     Executive Order 202.28 further suspends the operation of Section 238-a(2)

of the RPL so as to prohibit landlords, lessors, sub-lessors or grantors from demanding any




                                                 21
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page208 of 298
                                  A-1302


         Case 1:20-cv-05301-RA         Document 30      Filed 07/22/20     Page 22 of 33




payment, fees, or charges for late rent payments against residential tenants during the period

March 20, 2020 through August 20, 2020.

       B.      The Emergency Rent Relief Act

               70.     In response to the Pandemic, the Legislature also passed legislation

regarding the relationship between property owners and their tenants, and in particular,

impacting the collection of rent.

               71.     On June 17, 2020, the Governor signed into law the Emergency Rent

Relief Act of 2020 ("the ERRA"). That Act directs $100 million in federal monies from the

CARES Act to afund that subsidizes rent payments for residential tenants in financial distress

due to the Pandemic.

               72.     Under the ERRA, property owners can receive rental-assistance vouchers

on behalf of tenants who have experienced an increase in their rent burden during the period

April 1, 2020 through July 31, 2020 due to aloss in income resulting from the Pandemic.

Critically, the ERRA limits this rent relief to eligible tenants whose: a) rent exceeds more than

30% of their household income, and b) household incomes are 80% of their area median income,

measured prior to March 7, 2020. The voucher subsidy covers the gap between the tenant's pre-

COVID-19 rent burden and their new rent burden, and up to 125% of their fair market rent.

               73.     This rent relief program is being administered by the New York State

DHCR, aState agency that is responsible for supervising, maintaining and developing affordable

housing across the State.

       C.      Tenant Safe Harbor Act

               74.     On June 30, 2020, Governor Cuomo also signed into law the Tenant Safe

Harbor Act ("the TSHA"). The TSHA prevents acourt from issuing awarrant of eviction for




                                                22
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page209 of 298
                                  A-1303


         Case 1:20-cv-05301-RA         Document 30       Filed 07/22/20     Page 23 of 33




residential tenants or occupants who can establish that they have experienced a"financial

hardship" during aspecified "COVID-19 period."

               75.     The TSHA defines the COVID-19 period as the time between March 7,

2020 and ato-be-determined date on which Governor Cuomo's COVID-19 related restrictions

on non-essential gatherings expire. The Act bars courts from evicting certain residential tenants

who have experienced financial hardship based on non-payment of rent during that time period.

In determining if atenant has experienced afinancial hardship during the COVID-19 period, a

court is to consider: a) the tenant's income both before and during the COVID-19 period, b) the

tenant's liquid assets, and c) the tenant's eligibility for disability, unemployment insurance, or

other benefits under state or federal law, including cash assistance, supplemental nutrition

assistance program, supplemental security income, and the home energy assistance program.

The Act expressly allows landlords to commence summary proceedings, and courts are not

prohibited from awarding judgments for back rent due through such proceedings.

VI.    THE CITY COUNCIL'S RECENT ACTIONS AFFECTING ENFORCEMENT OF
       LEASE OBLIGATIONS

       A.      The Harassment Laws

               76.     On May 26, 2020, Mayor de Blasio signed into law the City's new

Harassment Laws. These Laws were passed as part of the City's response to the Pandemic.

               77.     The Harassment Laws amend the N.Y.C. Administrative Code so as to

substantially broaden the scope of prohibited tenant harassment.

               78.     Based on my practice, these two recently enacted Harassment Laws have

created confusion for many property owners who wish to enforce lease terms and collect back

rent during an already complicated time. Previously, for commercial tenancies, N.Y.C.

Administrative Code §22-902 set forth 13 acts and omissions which, if taken by or on behalf of


                                                 23
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page210 of 298
                                  A-1304


         Case 1:20-cv-05301-RA        Document 30      Filed 07/22/20    Page 24 of 33




aproperty owner, would constitute harassment should such act or omission "reasonably cause a

commercial tenant to vacate covered property, or to surrender or waive any rights under alease

or other rental agreement or under applicable law in relation to such covered property ...."

               79.    Through the Commercial Harassment Law, the City extended the

harassment protections of Section 22-902 of the N.Y.C. Administrative Code so as to prohibit

landlords from "threatening" acommercial tenant based on either: a) the "tenant's status as a

person or business impacted by COVID-19";or b) the "tenant's receipt of arent concession or

forbearance for any rent owed during the COVID-19 period." This second trigger for

harassment penalizes landlords who extend forbearances of back rent and hinders them from

ever collecting this unpaid rent. Violations of this new Law may be punished by civil penalties

of $10,000 to $50,000. Notably, these new Harassment Laws contain no definition of the

prohibited term "threatening."

               80.    This new Commercial Harassment Law broadly defines the term

"impacted by COVID-19" for both businesses and individuals. A person "impacted by COVID-

19" is defined as:

               a.     aperson diagnosed with COVID-19 or experiencing COVID-19
                      symptoms and seeking amedical diagnosis;

               b.     aperson who has amember of their household who was diagnosed with
                      COVID-19;

               C.     aperson providing care for afamily member or amember of the person's
                      household who was diagnosed with COVID-19;

               d.     aperson with primary caregiving responsibility for amember of their
                      household who was unable to attend school or another facility that was
                      closed due to the COVID-19 State disaster emergency, and such school or
                      facility care was required in order for the person to work;

               e.     aperson who could not reach their place of business because of a
                      quarantine imposed as aresult of the COVID-19 State disaster emergency,



                                               24
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page211 of 298
                                  A-1305


         Case 1:20-cv-05301-RA             Document 30    Filed 07/22/20    Page 25 of 33




                       or because the person had been advised by ahealth care provider to self-
                       quarantine due to COVID-19 concerns;

               £       aperson who became primarily responsible for financial support for their
                       household because the prior household head died as aresult of COVID-
                       19; and

               9.      aperson whose business was closed as adirect result due to the COVID-
                       19 State disaster emergency.

               81.     These triggers are phrased so expansively that, in my opinion, and, based

on my experience litigating issues of landlord-tenant relations, they could be invoked by

extremely broad classes of New Yorkers who seek to avoid paying rent —regardless of whether

they have suffered adirect and substantial injury due to COVID-19.

               82.     Under the Commercial Harassment Law, abusiness "impacted by

COVID-19" is defined in similarly sweeping terms as abusiness that: a) had to shutdown for

the COVID-19 period because it was subject to certain executive orders of the Governor or

Mayor; and b) its revenues during any three-month period were less than half of its revenues for

the same three-month period in 2019, or less than half of its aggregate revenues for the month of

December 2019, January 2020, and February 2020, and such revenue loss was the direct result of

the COVID-19 State disaster emergency.

               83.     Significantly, the Commercial Harassment Law's definition of "impacted

by COVID-19" for businesses or persons fails to include any substantial injury requirement that

would impact the tenant's ability to pay rent. Although this Law contains ashort-term revenue

threshold for businesses, that trigger does not link to either the tenant's profits from the business,

or the capital which backs up its finances. As aresult, businesses that qualify for the protections

of the Commercial Harassment Law would necessarily include entities and individuals that do

not actually merit financial assistance.




                                                  25
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page212 of 298
                                  A-1306


         Case 1:20-cv-05301-RA          Document 30     Filed 07/22/20     Page 26 of 33




               84.     The Commercial Harassment Law defines the "COVID-19 period" as

follows: "March 7, 2020 through the later of. (1) the end of the first month that commences after

the expiration of the moratorium on enforcement of evictions of any tenant, residential or

commercial, set forth in executive order number 202.8, as issued by the governor on March 20,

2020 and extended thereafter, (ii) the end of the first month that commences after the expiration

of the moratorium on certain residential evictions set forth in section 4024 of the coronavirus aid,

relief, and economic security, or CARES, act and any subsequent amendments to such section or

(iii) September 30, 2020, inclusive."

               85.     As outlined above, before an eviction proceeding can go forward, an

owner must make awritten demand for rent. The Commercial Harassment Law and the

Residential Harassment Law's language is both broad and unclear as to the type of

communications by landlords that are now prohibited. Both Harassment Laws make it difficult

for property owners to determine what may constitute prohibited "harassment," as opposed to

what may be permissible demands for unpaid rent. Pursuant to N.Y.C. Administrative Code §

22-903(a), if acourt finds that alandlord has engaged in harassment, acourt "shall impose acivil

penalty in an amount not less than ten thousand dollars and not more than fifty thousand dollars"

and may award compensatory damages, punitive damages and reasonable attorneys' fees and

court costs.

               86.     The confusion brought on by these laws serves as asubstantial advantage

in my own practice representing tenants. For several tenants of these clients, procedural delays

are used to slow down the judicial process, thereby allowing them time to cure defaults or

bargain for concessions from property owners. These Harassment Laws, as written, may permit




                                                26
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page213 of 298
                                  A-1307


         Case 1:20-cv-05301-RA         Document 30       Filed 07/22/20    Page 27 of 33




tenants to claim "harassment" if they are dissatisfied with the bargaining positions once

negotiations have broken down.

               87.     Recent case law on this issue compounds the burden on property owners

of these new Local Laws. In April of this year, adecision issued by the Civil Court held that

commercial harassment under the existing Administrative Code provisions was not judged by

"the landlord's intent .... Rather, it is the effect on the small business tenant that becomes the

focus on the determination of harassment ... [and] whether or not landlord's conduct would

reasonably cause the small business tenant to vacate leasehold premises or to surrender or waive

any rights under the lease or other rental agreement." One Wythe LLC v. Elevations Urban

Landscape Design Inc., 67 Misc. 3d 1207(A), 2020 WL 1917760, at *8 (N.Y. Civ. Ct. Kings

Cty. April 17, 2020). The Court closely considered the statutory language and ruled that

prohibited harassment was based on the impact on the tenant —regardless of the intentions of the

property owner.

               88.     Moreover, the new Harassment Laws fail to take into account the number

of property owner representatives who are often involved — ranging from property managers to

paralegals and lawyers — any of whom could trigger liability when communicating with atenant

in an effort to resolve rent disputes. The informal communications between these representatives

that often lead to an amicable resolution may now open up property owners to needless litigation,

that will, inevitably, burden the judicial the system due to the sheer volume of cases.

               89.     The savings clause of Section 22-902(b), which provides that aproperty

owner's "lawful termination of atenancy, lawful refusal to renew or extend alease or other

rental agreement, or lawful reentry and repossession of the covered property shall not constitute

commercial tenant harassment" does not ameliorate the problematic issues discussed above. In



                                                 27
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page214 of 298
                                  A-1308


         Case 1:20-cv-05301-RA         Document 30      Filed 07/22/20    Page 28 of 33




my view, this language fails to clarify whether making simple rent demands, either by phone,

email or letter, or following up with alegal demand, is statutorily prohibited. And given the

manner in which summary proceedings are handled, this type of savings clause language can

often be disregarded by the judge presiding over acase.

               90.     In addition, in the context of non-payment and holdover proceedings,

pursuant to RPAPL §743, acommercial tenant may interpose "any ... counterclaim." Such a

counterclaim can be for violation of Section 22-902 of the Administrative Code. Under Section

22-903(a)(3), the court is empowered to award to the tenant compensatory and punitive damages,

costs, and attorney's fees, as outlined above, and under Section 22-903(b), any amounts awarded

would be offset against the back rent that the tenant owes.

               91.     Similarly, the Residential Harassment Law amends Section 27-

2004(a)(48) of the N.Y.C. Administrative Code to prohibit landlords from "threatening" a

residential tenant who has: a) "actual or perceived status as an essential employee"; b) "status as

aperson impacted by COVID-19";or c) received "a rent concession or forbearance for any rent

owed during the COVID-19 period...."

               92.     The Residential Harassment Law suffers from many of the same defects as

discussed above regarding the Commercial Harassment Law. The term "threatening" is similarly

undefined, and what it means to be "impacted by COVID-19" is framed in terms that are quite

sweeping in their reach in that this new Law contains no substantial injury requirement.

Violations of this provision are punishable by acivil penalty of $2,000 to $10,000 and also

subject to punitive damage awards and legal fees.

       B.      The Guaranty Law

               93.     On the same day as he signed the Harassment Laws, Mayor de Blasio

signed in to law the Guaranty Law. The Guaranty Law amends the N.Y.C. Administrative Code,

                                                28
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page215 of 298
                                  A-1309


         Case 1:20-cv-05301-RA         Document 30      Filed 07/22/20     Page 29 of 33




adding new Section 22-1005, and shields natural persons who have agreed to personal liability as

aguaranty for commercial leases. This new Guaranty Law forever prohibits the enforcement of

personal liability provisions in commercial leases or rental agreements of certain businesses for

defaults arising during adefined period of time.

               94.     This new City Law bars property owners from holding personal guarantors

of certain commercial tenants responsible for unpaid rent if the following conditions specified in

Governor Cuomo's executive orders are met: a) the tenant had to stop serving patrons food or

beverage on premises, or had to discontinue operations under Executive Order 202.3; b) the

tenant was anon-essential retail business owner, and was subject to in-person limitations under

Executive Order 202.6; or c) the tenant had to close its business to the public under Executive

Order 202.7 (such as barbers or cosmetologists). If any of those conditions are met, and there is

alease guaranty holding one or more persons, other than the tenant, liable for the tenant's

default, the property owner is forever barred from enforcing that guaranty in order to collect

unpaid rent, utilities, fees, building maintenance charges, or taxes owed by the tenant for defaults

arising between March 7, 2020 and September 30, 2020.

               95.     The Guaranty Law also amends N.Y.C. Administrative Code §22-902(a)

so as to define prohibited "harassment" to include any attempt to enforce apersonal guaranty

that is covered by this new Law.

               96.     By rendering these critical guaranties permanently unenforceable for

defaults during the defined period, the City's Guaranty Law has deprived property owners of a

critical remedy that is key to their original economic bargain as memorialized in their lease. In

my experience, most landlords would typically be unwilling to enter into commercial leases

without guaranty agreements of this nature. By depriving landlords of their contractual rights to



                                                   29
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page216 of 298
                                  A-1310


         Case 1:20-cv-05301-RA         Document 30       Filed 07/22/20     Page 30 of 33




enforce these guaranties, and effectively eliminating vital terms of the lease, the City has

essentially destroyed the economic value of these leases during the period covered by the

Guaranty Law.

                97.    Given this new Law's failure to include any substantial injury

requirement, by its terms, it lets guarantors off the hook for rent defaults, regardless of whether

they have the capital to withstand the impacts of the Pandemic. Nothing in the terms of the

Guaranty Law limits its evisceration of these guaranties to businesses that have suffered any sort

of financial or other injury due to the crisis. Nor does this Law consider the assets that may be

available to back aparticular business's finances. As aresult, in my view, this Law will be

available to be invoked by, and result in the permanent cancellation of guaranties that could be

used to enforce the defined rent defaults for, awide range of businesses —even if they have

access to other financial support to make it through the current difficult times. In my opinion,

the result of this Law is to shift onto property owners —who have their own bills to pay (e.g., for

property taxes, mortgage financing costs, and maintenance expenses) —the economic burden of

these rent defaults.

                98.    Since the start of the Pandemic, most landlords with whom Ihave

interacted have engaged in discussions with commercial tenants regarding rent deferments. In

my experience, they have done so given the current market conditions; few landlords desire to

have empty commercial space that may be difficult to re-let during the Pandemic. Among other

reasons, my experience is that tenants have sought these sorts of rent deferral arrangements in

order to avoid potential personal liabilities that would arise on the part of guarantors under these

personal guaranties. More importantly, tenants have typically sought to utilize every available

avenue to attempt to salvage their businesses. In my view, both landlords and tenants have



                                                 30
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page217 of 298
                                   A-1311


           Case 1:20-cv-05301-RA           Document 30        Filed 07/22/20       Page 31 of 33




tended to acknowledge the difficult financial circumstances brought on by the Pandemic, but

have instead chosen to figure out ways for tenants to salvage their businesses — and in many

cases, their life's work. This has been done in the hope that New York City's economy,

particularly for small and mid-sized businesses, will eventually return to normal operations.

                 99.     However, since the enactment of this Guaranty Law forever insulating

personal guarantors from liability for tenant rent arrears during the defined period, Ihave seen

more commercial tenants seeking to surrendering their tenancies so they can walk away from

their premises. In my estimation, this has been done in order to avoid potential personal liability

under guaranty agreements. This is particularly the case with good guy guaranties, where a

required surrender notice period under the guaranty would end before the September 30, 2020

expiration date these new legal protections for guarantors. These types of guaranties have thus

incentivized businesses to walk away from leases quickly in order to take advantage of the Law's

guaranty cancellation provisions before the Law's covered period expires.

                 100.    This phenomenon has left property owners with little or no recourse to

enforce their commercial leases, and in my opinion, has created perverse incentives that are

harmful to struggling property owners, to small businesses, and to the City's and State's

economies. Many in the real-estate market anticipate that by Fall of 2020, there will be aglut of

vacant storefront commercial space in New York City which will be difficult to rent, or will rent

below former market values! This will make it difficult for landlords to meet their real-estate tax

obligations, mortgage financing costs, and other operating expenses. It will also likely increase

the number of vacant storefronts in the City.




'See Josh Barro, Here's What the Trouble in Commercial Real Estate Means for You, N.Y. Mag. (July 8, 2020),
available athttps://nymag.com/intelligencer/2020/07/coronavirus-possible-permanent-effect-on-retail-real-
estate.html.

                                                      31
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page218 of 298
                                  A-1312


         Case 1:20-cv-05301-RA         Document 30      Filed 07/22/20     Page 32 of 33




               101.    Accordingly, the City's new Guaranty Law will forever destroy the value

of critical guaranties that landlords relied on in entering into commercial lease agreements, and

thereby damage property owners, tenants, and the City alike.

                                      CONCLUSION


               102.    As discussed above, though well intentioned, the Harassment and

Guaranty Laws, respectively, impose more confusion on property owners seeking to collect rent,

inhibit and delay the ability collect lawfully owed rent, and create perverse incentives for tenants

who once had guarantors who could be held accountable for any potential lease defaults.




                                                 32
   Case 20-4238, Document 38, 02/11/2021, 3035076, Page219 of 298
                              A-1313

      Case 1:20-cv-05301-RA        Document 30       Filed 07/22/20    Page 33 of 33




              Ideclare under penalty of perjury that the foregoing is true and correct.

Dated: July 22, 2020.



                                                     SanfrGolino
                                                     NY egistration No. 2158806
                                                     E-mail: s.golino@golinolaw.com
                                                     46 Trinity Place, Yd Floor
                                                     New York, New York 10006
                                                     Telephone: (212) 344-9300
                                                     Fax: (212) 363-9444




                                                33
Case 20-4238, Document 38, 02/11/2021, 3035076, Page220 of 298
                           A-1314


 Case 1:20-cv-05301-RA   Document 30-1   Filed 07/22/20   Page 1of 4




                 Exhibit A
                Case 20-4238, Document 38, 02/11/2021, 3035076, Page221 of 298
                                           A-1315


                    Case 1:20-cv-05301-RA     Document 30-1           Filed 07/22/20   Page 2 of 4


                                      GOLINO LAW GROUP, PLLC
                                                   46 Trinity Place
                                                New York, N.Y.   10006
                                                    (212) 344-9300
                                                  Fax: (212) 363-9444



SANTO GOLINO`*                                                                                 O FCOUNSEL
BRIAN W .SHAW
                                                                                               HOLLIS B.VANDAMME

LOUIS M ARINOS r                                                                               LEGAL ASSISTANTS
LORRAINE GOLINO`
                                                                                               LAURA SANCHEZ
'Member of N.Y. and CT. Bars                                                                   M ARY A.FALES
fMember of N.Y. and N.J.Bars
#Member of S.D.N.Y. and E.D.N.Y.
 .Member of S.D.N.Y.




                                            CURRICULUM VITAE


     Golino Law Group PLLC (formally Law Offices of Santo Golino) (est. Nov. 2000)

     The firm was founded as asolo practice by Santo Golino in November 2000 under the
     name of Law Offices of Santo Golino, after having practiced for 12 years at the firm of Kucker &
     Bruh, LLP (formally Kucker, Kraus & Bruh, LLP) where he was alitigation partner for seven (7)
     years.

    Since 1988, Santo Golino's practice has concentrated on all aspects of commercial and residential
    real estate litigation involving landlord-tenant disputes, including appellate practice at the Appellate
     Term and Appellate Division, as well as administrative proceedings involving Rent Stabilization,
     Rent Control, the Dept. of Buildings, the Loft Board, the Dept. of Housing Preservation and
     Development and other aspects of tenant protection regulations, as well as real estate transactions
     and practice in the Federal Courts on related landlord-tenant matters.


     In 2016, Brian W. Shaw was made apartner, at which time the firm name changed.

     Kucker & Bruh, LLP (formally Kucker Kraus & Bruh, LLP) (1988-2000)

               Litigation Partner, November 1, 1993 to November 9, 2000;
               Associate Attorney, February 1988 through October 1993

               Conducted all aspects of general, commercial and residential real estate and landlord-tenant
     litigation in Housing Court, Civil Court, Supreme Court and Federal Court, as well as before
     administrative agencies, including but not limited to, jury trials, bench trials, appeals to the
     Appellate Term and Appellate Division, motion practice, hearings, depositions, settlements and
     conferences; supervision of litigation staff of (7) associate attorneys, as well as support staff,
     conducted real estate transactions including closings and drafting and preparation of commercial and
     residential leases and riders.




                                                         -1-
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page222 of 298
                                   A-1316


          Case 1:20-cv-05301-RA         Document 30-1       Filed 07/22/20    Page 3of 4


N.Y.S. DIVISION OF HOUSING AND COMMUNITY RENEWAL (formally NYC
Conciliation and Appeals Board) (1981-1988)

       Counsel to the Rent Administrator, June, 1987 to February 1988.

       Duties included advising the Administrator on all aspects of housing regulations; deciding the
merits of requests for reconsideration of the Administrator's orders; recommending policy and
procedures; addressing inquiries of legislators, attorneys and the general public; legal research;
consulting with Deputy Counsel.

         Supervisor of Services Unit, November, 1984 to June, 1987.
         Immediate and direct supervision of alarge unit of rent examiners, clerical and secretarial
staff, review proposed orders prepared by rent examiners; train and instruct rent examiners law;
process complex cases, train new personnel; administrative duties in daily management
          of the section.

      Lecturer at Executive Management Training Seminar on Implementation and Application of
New Rent Stabilization Code, May, 1987.

        Rent Examiner I, April, 1984 to November,1984.
        Pursuant to State take over of the N.Y.C. Conciliation and Appeals Board duties remained
substantially the same.

N.Y.C. Conciliation and Appeals Board, (November, 1981 to April, 1984 merger with DHCR)

        Senior Para Legal
        Processed cases involving disputes between tenants and owners in the areas of rent
overcharges, lease renewals and required services; legal research; writing final quasi-judicial
opinions for Board issuance; responsible for administration and management of the Board's
Emergency Heat Program from 1981 through 1984; advising tenants and owners of their rights and
duties under the Rent Stabilization Law and Code.

EDUCATION:

St. John's University School of Law, Juris Doctor Degree awarded June 1987
St. John's University, Bachelor of Science Degree awarded June, 1981

ADMISSIONS:

Admitted to New York Bar January, 1988;
Admitted to Connecticut Bar December, 1987,
Admitted to Federal U.S. Southern and Eastern Districts May, 1995

Member of the NYC Bar Association
     Present Member of the Judiciary Committee
     Past member of the Civil Court Committee and the Housing Court Committee;



                                                  -2-
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page223 of 298
                                 A-1317


        Case 1:20-cv-05301-RA       Document 30-1     Filed 07/22/20   Page 4 of 4



Member of the NY County Lawyers Association
     Committee on Real Property;
Member of the NY County Landlord-Tenant Bar Association
Member NYS Bar Association;
Member American Bar Association


PUBLICATIONS:


      Discovery in Summary Landlord-Tenant Proceedings, NYLJ March 20, 2000, p. S3;
      Should Rent Deposits Be Required for Tenants, NYLJ Sept. 18, 1997, p. S3, col. 1;
      Mandatory Rent Deposits? Tenants Use Delaying Tactic to Gain Edge in Current
      System, NYLJ March 11, 1996, p. S3, col. 1;
      Rent Overcharge Claims by New York City Tenants, NYLJ Sept. 25, 1995, p. S3. col. 1.


CLE SPEAKER


      Feb. 2017 NYSBA, Real Property Law Section, "The Tenant Protection Unit: A
      Practitioner's View";
      Nov. 2010 Queens County Bar Association, "Landlord & Tenant Update 2010";
      Nov. 2008 Queens County Bar Association, "Landlord & Tenant Update 2008"




                                             -3-
Case 20-4238, Document 38, 02/11/2021, 3035076, Page224 of 298
                           A-1318


 Case 1:20-cv-05301-RA   Document 30-2   Filed 07/22/20   Page 1of 5




                    Exhibit B
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page225 of 298
                                   A-1319


         Case 1:20-cv-05301-RA         Document 30-2      Filed 07/22/20   Page 2 of 5

                                 List of Materials and Sources

Cases

Alston v. Starrett City, Inc., 74 N.Y.S.3d 211, 214 (1st Dep't 2018)

Eastrich No. 80 Corp. v. Patrolmen's Benevolent Assn cf the N.Y.C. Transit Police Dept,
688 N.Y.S.2d 409, (1st Dep't 1999)

Elm,,
    ford Apartment Assocs. L.L.C. v. Cuomo, No. 20-CV-4062, 2020 WL 3498456 (S.D.N.Y
June 29, 2020)

Lawler v. Carfield, 114 N.Y. S.3d 621(2019)

Melendez v. City cfNew York, Case 1:20-cv-5301, Complaint (July 10, 2020)

One Rythe LLC v. Elevations Urban Landscape Design, Inc., 66 Misc.3d 1223(A), 2020 WL
1917760, at *8 (N.Y. Civ. Ct. April 17, 2020)

Royal Equities Operating, L.L.C. v. Rubin, 67 N.Y.S.3d 337, 338 (1st Dep't 2017)

Duane Reade, Inc. v. Reade Broadway Associates, 710 N.Y.S.2d 566 (1 st Dep't 2000)

Parkchester Apartments Co. v. Heim, 607 N.Y.S.2d 212, 213 (1st Dep't 1993)

Declarations

Declaration Of Ling Yang In Support Of Plaintiffs' Motion For A Preliminary Injunction (July 9,
2020)

Declaration Of Marcia Melendez In Support Of Plaintiffs' Motion For A Preliminary Injunction
(July 9, 2020)

Codes, Statutes, Reports

N.Y.C. Administrative Code §22-902

N.Y.C. Administrative Code §22-903

N.Y.C. Administrative Code §22-1005

N.Y.C. Administrative Code §27-2004

The New York City Council Legislation -Int. No. 1914-A, New York City Local Law 53 of
2020 ("the Commercial Harassment Law")

The New York City Council Legislation -Int. No. 1932-A, New York City Local Law 55 of
2020 (2020) ("the Guaranty Law")

The New York City Council Legislation -Int. No. 1936-A, New York City Local Law 56 of
2020 ("the Residential Harassment Law")

Rent Stabilization Law of 1969 ("RSL")


                                                 1
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page226 of 298
                                 A-1320


         Case 1:20-cv-05301-RA        Document 30-2      Filed 07/22/20   Page 3 of 5

Emergency Tenant Protection Act of 1974 ("ETPA")

Emergency Rent Relief Act of 2020 ("the ERRA")

Tenant Safe Harbor Act ("the TSHA")

Rent Stabilization Code (
                        "RSC")

Loft Law —Multiple Dwelling Law Article 7

Omnibus Housing Act of 1983 (Law of 1983, Chap. 403)

N.Y. Practice Series §15:3, Landlord and Tenant Practice in New York

4E N.Y. Practice Series §120:17, Commercial Litigation in New York State Courts (4th ed.)

Housing Stability and Tenant Protection Act of 2019 (the "HSTPA"), State of N.Y., Bill A08281
(June 11, 2019)

RPL §226, et seq.

RPL §227, et seq.

RPL §228

RPL §229

RPL §232, et seq.

RPL §233, et seq.

RPL §235, et seq.

RPL §238, et seq.

RPAPL §711

RPAPL §731

RPAPL §732

RPAPL §735

RPAPL §743

RPAPL §745

RPAPL §749

RPAPL §753

N.Y. Real Property Actions and Proceedings Law, Art. 7, Summary Proceeding to Recover
Possession of Real Property.

N.Y. Real Property Law, Article 7, Landlord and Tenant
                                              2
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page227 of 298
                                 A-1321


         Case 1:20-cv-05301-RA       Document 30-2      Filed 07/22/20   Page 4 of 5

N.Y. Unconsol. Law §8605 (Urstadt Law)

McKinney's N.Y. City Civ. Ct. Act §204., §204 Summary Proceedings

McKinney's General Obligations Law §701, Article 7Summary Proceeding
§701. Jurisdiction; Courts; Venue, NY RP ACT & PRO §701

McKinney's General Obligations Law §7-101. Money deposited or advanced for use or rental of
personal property; waiver void

McKinney's General Obligations Law §7-109. Commencement of aproceeding or action by the
attorney general to compel compliance

N.Y.C. Housing Maintenance Code (N.Y.C. Administrative Code, Title 27, Chap 2)

N.Y. General Obligations Law, Article 7Obligations Relating to Property Received as Security

N.Y. Executive Order 202, as Amended including 202.3, 202.6, 202. 7, 202.8, 202.28 and 202.48

N.Y. State Dept. of Economic Development d/b/a Empire State Development, Guidance on
Executive Order 202.6

Administrative Orders of the Chief Administrative Judge of the Courts, AO 78-2020, et seq.
(March 22, 2020)

State of N.Y., S8192b (Tenant Safe Harbor Act) April 13, 2020

State of N.Y., S8419 (Emergency Rent Relief Act of 2020) May 25, 2020

NYC Office of Civil Justice (OCJ) 2016 Annual Report

NYC Office of Civil Justice (OCJ) Universal Access to Legal Services: A Report on Year Two
of Implementation in New York City 23 (2019)

Article, Books, Websites

Gerald Lebovits et al., NY's Housing Stability and Tenant Protection Act of 2019 Part III —What
Lawyers Must Know, N.Y. State Bar Association (Dec. 1, 2019), https://nysba.org/nys-housing-
stability-and-tenant-protection-act-of-2019-part-iii-what-lawyers-must-know/#.

"Unsheltered —Where Brooklyn Tenants Plead the Case for Keeping Their Homes", by N.R.
Kleinfield in The New York Times, May 20, 2018

"Here's What the Trouble in Commercial Real Estate Means For You", by Josh Barro in The
Top Line, July 8, 2020, available at https://nymag.com/intelligencer/2020/07/coronavirus-
possible-permanent-effect-on-retail-real-estate.html.

N.Y.C. Civil Court and Housing Court, Legal & Procedural Information,
http://www.courts.state.ny.us/courts/nyc/housing/procedural.shtml and
http://www.courts.state.ny.us/courts/nyc/civil/commercial.shtml

Georgia Kromrei, Attorney Find Ways to "Eject" Tenants Without Housing Court, Real Deal
(May 26, 2020), https:Htherealdeal.com/2020/05/26/landlord-attorneys-find-ways-to-cject-
tenants-without-housing-court/
                                               3
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page228 of 298
                                 A-1322


        Case 1:20-cv-05301-RA       Document 30-2     Filed 07/22/20   Page 5 of 5

Dolan, Rasch's Landlord & Tenant including Summary Proceedings, Fifth Edition

Finkelstein & Ferrara, Landlord and Tenant Practice in New York, 2019-2020 Edition

Rasch, New York Law and Practice of Real Property, Second Edition

David Siegel, N.Y. Prac., The RPAPL and the Summary Proceeding; aPerspective, §571 (6th
ed.).




                                             4
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page229 of 298
                                 A-1323


          Case 1:20-cv-05301-RA           Document 31      Filed 07/22/20    Page 1of 7




                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



   Marcia Melendez, Jarican Realty Inc.,
   1025 Pacific LLC, Ling Yang, Top East                  Civ. No. 20-cv-5301 (RA)
   Realty LLC, and Haight Trade LLC,

                             Plaintsfs,

                     V.



   The City of New York, amunicipal entity,
   Bill de Blasio, as Mayor cf the City cfNew York,
   and Louise Carroll, Commissioner cfNew York
   City Department c  fHousing Preservation &
   Development, Jonnel Doris, Commissioner cf
   New York City Department cf Small Business
   Services,
                          Defendants.



                      DECLARATION OF LING YANG
   IN SUPPORT OF PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION

LING YANG pursuant to 28 U.S.C. §1746, hereby declares as follows:

               1.         My name is Ling Yang. Iam aresident of Queens in the City of New

York (the "City").

               2.         Imake this declaration on my own behalf and on behalf of Plaintiffs

Haight Trade LLC and Top East Realty LLC (together, the "LLCs").

               3.         My son and Iare co-shareholders of Haight Trade LLC and Top East

Realty LLC.

               4.         Haight Trade LLC is alimited liability company that Iestablished under

the laws of the State of New York in 2011.

               5.         Top East Realty LLC is alimited liability company that Iestablished

under the laws of the State of New York in 2014.
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page230 of 298
                                  A-1324


          Case 1:20-cv-05301-RA           Document 31     Filed 07/22/20    Page 2 of 7




               6.         Haight Trade LLC owns the property located at 4118 Haight St., Flushing,

NY, which has one commercial space and six residential units. Top East Realty LLC owns the

three commercial spaces located at 4059 College Point Blvd., Flushing, NY.

               7.     Iwas born in the People's Republic of China in 1957.

               8.     In China, Iobserved the events of the Cultural Revolution, and the

Chinese government's actions that caused the ruination of individual businesses. The Chinese

government would frequently confiscate people's money and businesses for distribution to

others. As such, although Iwas asuccessful businesswoman in China, Idecided to move to the

United States for the promise of economic and personal freedom.

               9.     In 1994, Iimmigrated to the United States from China.

               10.    Iarrived in the United States, unable to speak, read or write English and

with very little money.

               11.        From 1994 until 2002, Iworked hard to support myself and my family by

working as ahousekeeper, as ananny, in restaurants, at aclothing factory, and, at times, by

delivering food.

               12.    In 2002, after 8years of working, Istarted asmall retail store in

Manhattan, which Ioperated for approximately five years. Iused the savings Iaccumulated

through my jobs, and the assets from my former life in China to start this business.

               13.    In 2010, Istarted working in asmall transport company in which Iown a

small percentage in another partner's share. The company operated for approximately six years.

               14.    In 2019, Istarted acabinet business, which Icurrently operate from the

commercial space in 4118 Haight St., Flushing, NY. The retail store and transport company are

no longer in operation. Ialso participate in service activities in my community.


                                                  2
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page231 of 298
                                 A-1325


          Case 1:20-cv-05301-RA          Document 31     Filed 07/22/20    Page 3 of 7




               15.      In 2012, through my LLC, we bought the building located at 4118 Haight

St., Flushing, NY. Iwork as the superintendent for this building. My responsibilities include

cleaning the premises on adaily basis and performing small repairs.

               16.      Several years later, through my LLC, we purchased the property located at

4059 College Point Blvd., Flushing, NY. The down payment of this purchase was borrowed

from Home Equity Loan, and the loan is guaranteed by 4118 Haight St, Flushing NY.

               17.      Iinvested in these buildings with money from selling all my assets in

China, and my life savings from the businesses Iworked in.

               18.      My family has never received government benefits. My son, who is aco-

shareholder of the LLCs, served in the United States Army and lives with adisability connected

to his military service. Regardless, we have strived to provide for ourselves and have not

received governmental assistance. My plan is to use the buildings to support myself and my

family after Ireach retirement.

               19.      Currently, all of the rent payments from the commercial and residential

tenants are used to pay for the tax and mortgage obligations on the properties, and maintenance

related expenses.

               20.      The tax and mortgage obligations for 4059 College Point Blvd., Flushing,

NY total approximately $20,000 amonth. The tax and mortgage obligations for 4118 Haight St.

Flushing, NY total approximately $12,000 amonth.

               21.      We also pay acommon charge for the property located at 4059 College

Point Blvd., Flushing, NY for the maintenance of that property. The amount of the common

charge depends on the monthly maintenance needs. Last month, the common charge was

approximately $1,800.


                                                 3
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page232 of 298
                                 A-1326


          Case 1:20-cv-05301-RA         Document 31      Filed 07/22/20    Page 4 of 7




               22.    The maintenance expenses for the property located at 4118 Haight St.,

Flushing, NY total approximately $2,000 amonth.

               23.    Although the LLCs are not yet profitable because all of the rent payments

need to be used to meet these various obligations and expenses, my hope and plan is that they

will become profitable once we satisfy more of the mortgage obligations on the properties so that

Ican support myself and my family after my retirement.

               24.    Due to the COVID-19 pandemic, however, we have not been able to

collect rent payments from most of our tenants for the period of March 2020 to June 2020. We

also expect that we may not be able to collect full rent payments for along time. Accordingly,

my companies have been placed in great financial jeopardy.

               25.    As adirect result of the outbreak of COVID-19, and Governor Cuomo's

Executive Order 202.8 requiring non-essential businesses to shut down, our commercial tenants

have had to close their businesses, and many of our residential tenants' workplaces closed

starting in March 2020.

               26.     One of our commercial tenants, Home Decor Expo, is now open part-time,

and has not paid any rent for the period of March 2020 to July 2020. The tenant argues it is not

obligated to pay rent before August 20th, 2020.

               27.     Of the six residential units located at 4118 Haight St., Flushing, NY, only

four units are currently occupied, and only one has paid the rent obligations for the period March

2020 to June 2020.

               28.    During this difficult time, the City's newly passed laws have made rent

collection more challenging for us, if not impossible.




                                                  4
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page233 of 298
                                  A-1327


          Case 1:20-cv-05301-RA         Document 31       Filed 07/22/20    Page 5 of 7




               29.     Under the newly enacted law, Int. No. 1932-A (known as the "Guaranty

Law"), Iunderstand that we are prohibited from enforcing any personal guaranties if the

underlying lease payments arose between March 20, 2020 and September 30, 2020.

               30.     In the lease agreement with our delinquent commercial tenant, Home

Decor Expo, the principal of the business gave us apersonal guaranty. The guaranty states in

relevant part that the principal guarantees "the full performance and observance of all the

agreements to be performed and observed by Tenant."

               31.     We require personal guaranties for all of our commercial tenants in the

regular course of our business. As apractical matter, for asmall business with little to none of

its own assets, alandlord can only enforce the lease if there is apersonal guaranty to back it up.

Personal guaranties help avoid the worst-case scenario in which asmall business tenant with

little to no assets tries to avoid paying rent due under their lease agreement. Absent apersonal

guaranty, the risk of having asmall business as atenant would be so great as to be prohibitive.

We would not have entered into any lease agreements with small businesses if not for the

personal guaranties given by the principals of the businesses. Personal guaranties are thus

critical to our commercial lease agreements.

               32.     Because of the Guaranty Law, however, we have no practical means under

the commercial lease agreement with Home Decor Expo to collect unpaid rent and regain

possession of our property without going to court. Essentially, this law would render our

commercial lease with Home Decor Expo virtually valueless for the period March 20, 2020 to

September 30, 2020.

               33.     Furthermore, under the City's newly enacted law, Int. No. 1936-A (known

as the "Residential Harassment Law"), Iunderstand that atenant may argue that our discussions


                                                 5
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page234 of 298
                                   A-1328


          Case 1:20-cv-05301-RA         Document 31        Filed 07/22/20    Page 6 of 7




about the consequences of their failure to pay rent owed could be considered aprohibited threat

against acommercial tenant affected by COVID-19. Iunderstand that atenant could argue that

there has been harassment even if the tenant is able to pay the rent owed.

               34.    Before the outbreak of COVID-19, as was our normal business practice,

we sent notices of late rent and sought to recover unpaid rent in Housing Court. We never

threatened physical violence or any other illegal consequences from the tenant's failure to pay

rent.

               35.     Since we learned of the Residential Harassment Law, however, we have

stopped even mentioning to the residential tenants the consequences of their continued failures to

pay rent due to our fear that such statements could be considered "harassment" under the City's

law.

               36.    From March 2020 to July 2020, we lost almost $100,000 in income due to

our tenants' failures to pay their rent. That money would have been used to make our mortgage

payment and satisfy operational costs of our properties.

               37.    If our rental income decreases any further, one or both of my LLCs might

not have sufficient assets to continue as agoing concern while meeting the tax and mortgage

obligations, and maintenance obligations.

               38.    Indeed, although the bank has agreed to athree-month deferral of our

mortgage payments, they have indicated that they will seek to collect on the mortgages if we

seek any additional deferrals. The bank has further charged me an additional $16,500 in interest

for the deferred three months. If the bank cancels our mortgage, we will not be able to obtain

any further loans from any other banks as my personal credit has already been severely impacted.

Ialso fear that all my properties would be foreclosed upon.


                                                 6
   Case 20-4238, Document 38, 02/11/2021, 3035076, Page235 of 298
                              A-1329


       Case 1:20-cv-05301-RA          Document 31        Filed 07/22/20     Page 7 of 7




                39.    Iunderstand that COVID-19 has had asubstantial impact on the City and

its residents, but the Guaranty Law and the Residential Harassment Law substantially hinder our

ability to collect rent from our tenants and enforce our reasonable our lease agreements as we

understood them. Ibelieve that the City should not act to the detriment of one group of tenants

in favor of another group of property owners. This situation has caused me great financial and

mental distress. Indeed, Idecided to immigrate from China to the United States to avoid these

types of situations.

               40.     Pursuant to 28 U.S.C. §1746, Ideclare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct to the best of my

knowledge, information, and belief.



Dated: July 9, 2020




                                                                               k
                                                                           C//,L
                                                                    Ling Yang




                                                7
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page236 of 298
                                 A-1330


          Case 1:20-cv-05301-RA          Document 32      Filed 07/22/20    Page 1of 6




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



   Marcia Melendez, Jarican Realty Inc.,
   1025 Pacific LLC, Ling Yang, Top East                 Civ. No. 20-cv-5301 (RA)
   Realty LLC, and Haight Trade LLC,

                           Plaintsfs,

                   V.



   The City of New York, amunicipal entity,
   Bill de Blasio, as Mayor cf the City cfNew York,
   and Louise Carroll, Commissioner cfNew York
   City Department c  fHousing Preservation &
   Development, Jonnel Doris, Commissioner cf
   New York City Department cf Small Business
   Services,
                          Defendants.



                  DECLARATION OF MARCIA MELENDEZ
   IN SUPPORT OF PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION

MARCIA MELENDEZ, pursuant to 28 U.S.C. §1746, hereby declares as follows:

              1.        My name is Marcia Melendez. Iam aresident of Brooklyn in the City of

New York (the "City").

              2.        Imake this declaration on my own behalf and on behalf of Plaintiffs

Jarican Realty Inc. and 1025 Pacific LLC.

              3.        Jarican Realty Inc. is acorporation incorporated under the laws of the

State of New York. Jarican was established in 2004 by my husband and I. Iserve as the

Chairman of Jarican Realty Inc.

              4.        1025 Pacific LLC is alimited liability company established under the laws

of the State of New York by my husband and Iin 2011.
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page237 of 298
                                  A-1331


            Case 1:20-cv-05301-RA       Document 32       Filed 07/22/20     Page 2 of 6




               5.      Jarican Realty Inc. is the record owner for the property located at 547

Nostrand Ave., Brooklyn, NY; and 1025 Pacific LLC is the record owner for the property

located at 283 East 55th St., Brooklyn, NY.

               6.      These two properties were purchased using loans and personal funds of

myself and my husband, which we saved from starting, owning, and operating small businesses.

               7.      Iwas born in Jamaica in 1951. When Iwas achild, my family immigrated

to England, and subsequently to the United States when Iwas 17 years old.

               8.      Once in the United States, Iearned my Bachelor of Arts and Master of

Arts at Brooklyn College. After graduation, Iheld jobs in both the private and public sectors.

               9.      In 1983, Idecided to start my own businesses. Ifirst owned aflower

shop, and later extended into the landscaping business with my husband.

               10.     In 2000, we decided to purchase the property located at 547

Nostrand Ave., Brooklyn, New York. Ihad to scrape together the funds for the down payment

on the property.

               11.     At the time, that property was in need of substantial repairs. As such, we

had to borrow money to renovate the property. My husband and Irenovated the premises

ourselves, and moved our flower shop to the commercial space on the ground floor in that

building.

               12.     In 2016, we purchased the property located at 283 East 55th St. in

Brooklyn. In 2017, my husband and Iretired.

               13.     My husband and Irely on the rent payments from the two properties for

our retirement. We do not have pensions or a401(k) retirement account. As such, rent payments

from the buildings, as well as social security benefits, are our only reliable sources of income.


                                                 2
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page238 of 298
                                  A-1332


           Case 1:20-cv-05301-RA         Document 32      Filed 07/22/20    Page 3 of 6




                 14.    To supplement my retirement income, Ialso work part-time as areal

estate broker.

                 15.    Each of the two properties relies on rent payments to pay for their various

obligations and expenses.

                 16.    Both properties have property tax obligations to the City. Property taxes

are due in January and July of every year. For the time period January 1, 2020 to June 30, 2020,

the total tax obligations for both of the properties are in excess of $20,500. A property tax

payment for that period was due on July 1, 2020. Based on my past experience, Ianticipate

another property tax payment in substantially the same amount of money will be due in or

around January, 2021.

                 17.    The property located at 547 Nostrand Ave., Brooklyn, NY, also has

mortgage obligations. The mortgage obligation is approximately $4,058 amonth.

                 18.    Through the above companies, we contract with various independent

contractors to assist in maintaining these properties. These independent contractors include

plumbers and electricians. The contractor fees for all of the properties total thousands of dollars

on amonthly basis.

                 19.    We have had difficulty collecting rent payments from our commercial and

residential tenants of the two properties starting from prior to the outbreak of COVID-19.

Accordingly, we have struggled to satisfy the various obligations and expenses for the properties.

                 20.    The property located at 283 East 55th St. in Brooklyn is afour-family

building with three residential tenants. Starting in November 2019, one of our residential tenants

failed to make timely rent payments.




                                                  3
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page239 of 298
                                   A-1333


          Case 1:20-cv-05301-RA          Document 32      Filed 07/22/20     Page 4 of 6




               21.     Prior to the outbreak of COVID-19, in accordance with our normal

business practices, we sent that delinquent residential tenant notices of late rent and sought to

recover unpaid rent in Housing Court. We never threatened physical violence or any other

unlawful repercussions for the tenant's failure to pay rent. In Housing Court, however, the

residential tenant stated that we were "harassing" her simply by asking for rent payments. The

residential tenant has since paid rent for November 2019 and for December 2019 through March

2020.

               22.     Prior to the eviction moratorium, which Governor Cuomo's Executive

Order No. 202.8 ordered on March 20, 2020, we were seeking to evict the delinquent residential

tenant. We were not able to evict the tenant due to the eviction mortarium, and thus, the tenant

remains on the premises. Currently, the residential tenant has failed to pay any rent for April,

May, June, or July of 2020.

               23.     We have also been unable to recover rent from our commercial tenant in

the property located at 547 Nostrand Ave. in Brooklyn. This property has one commercial space,

whose rent makes up more than half of the rent roll for the entire property. The commercial

tenant operates acoffee shop called Furman's Coffee. As coffee shops are deemed essential

businesses under Governor Cuomo's Executive Order 202.8, the coffee shop has remained open

throughout the last four months.

               24.     Nevertheless, the coffee shop has not paid any rent payments since

February 2020.

               25.     On April 27, 2020, we sent the coffee shop adispossess notice through an

attorney, in accordance with our normal business practices.




                                                  4
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page240 of 298
                                  A-1334


           Case 1:20-cv-05301-RA          Document 32      Filed 07/22/20     Page 5 of 6




               26.     In May 2020, approximately one month ago, Ilearned of Prop. Int. No.

1914-A (the "Commercial Harassment Law") and Prop. Int. No. 1936-A (the "Residential

Harassment Law").

               27.     As Iunderstand the provisions of the Commercial Harassment Law and

the Residential Harassment Law, atenant may argue that discussions of the potential

consequences of atenants' failure to meet their full rent obligations could constitute aprohibited

threat against atenant affected by COVID-19 — regardless of the reason for the tenant's failures

to meet the rent obligations and the financial ability of the tenant to pay their rent. It is also my

understanding that attempts on our part to enforce our contractual rights to payment could be

considered to be aform of "harassment" under the laws.

               28.     Based on our knowledge of the Commercial Harassment Law and

Residential Harassment Law, in late May 2020, we stopped sending demands and other

correspondence to collect overdue rent.

               29.     If the Commercial Harassment Law and the Residential Harassment Law

were not in effect, we would have already served additional notices on the delinquent residential

tenant and the coffee shop to recover all delinquent rent payments. Upon learning of the two

laws, however, we have refrained from issuing any further notices for fear of being accused of

engaging in "harassment" under these laws. Particularly given the residential tenant's prior

accusation that simply asking for late rent payments through demand notices was harassment, we

have refrained from any such conduct in light of these two new laws.

               30.     From March 2020 to June 2020, we have incurred losses of thousands of

dollars as adirect consequence of the tenants' failure to meet their rent obligations. If our rental

income decreases further, one or both of our companies will not have sufficient assets to


                                                   5
  Case 20-4238, Document 38, 02/11/2021, 3035076, Page241 of 298
                             A-1335


     Case 1:20-cv-05301-RA          Document 32       Filed 07/22/20    Page 6of 6

continue as agoing concern while meeting mortgage, tax, and maintenance obligations. Indeed,

as adirect result of the lack of rent payments, we have been unable to meet the frill tax

obligations for 2019, or on July 1, 2020, for these properties.

               31.     1Understand that COVID-19 has had asubstantial impact on the City and

all of its residents. Nonetheless, the Commercial Harassment Law and the Residential

Harassment Law significantly impact our ability to collect rent from our tenants and enforce our

reasonable contractual expectations Under our binding lease agreements.

               32.     Pursuant to 28 U.S.C. §1746. Ideclare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct to the best of my

knowledge, infortnation, and belief.



Dated: July 9, 2020




                                                                       Marcia Meler .
                                                                                    ez




                                                  6
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page242 of 298
                                 A-1336


          Case 1:20-cv-05301-RA        Document 37      Filed 08/12/20    Page 1of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Marcia Melendez, Jarican Realty Inc.,
1025 Pacific LLC, Ling Yang, Top East
Realty LLC, and Haight Trade LLC,                           NOTICE OF MOTION
                                                            TO DISMISS
                                Plaintifs,
                                                            20 CV 05301 (RA)
                 V.
                                                            Oral Argument Requested

The City of New York, amunicipal entity,
Bill de Blasio, as Mayor of the City of New York,
Louise Carroll, Commissioner of New York City
Department of Housing Preservation &
Development, and Jonnel Doris, Commissioner of
New York City Department of Small Business
Services,

                              DE
                               fendants.


              PLEASE TAKE NOTICE that upon the annexed Declaration of Carlos

Fernando Ugalde Alvarez dated August 12, 2020, together with the exhibits annexed thereto, the

accompanying memorandum of law, and all of the papers and proceedings had herein,

Defendants will move this Court, before the Honorable Ronnie Abrams, at the United States

Courthouse for the Southern District of New York, located at 40 Foley Square, New York, New

York, on a date and at a time to be designated by the Court, for an order and judgment

dismissing the Complaint in the above-captioned action pursuant to Rules 12(b)(1) and 12(b)(6)

of the Federal Rules of Civil Procedure, together with such other and further relief as the Court

may deem just and proper.
         Case 20-4238, Document 38, 02/11/2021, 3035076, Page243 of 298
                                    A-1337


           Case 1:20-cv-05301-RA       Document 37     Filed 08/12/20    Page 2of 2




               PLEASE TAKE FURTHER NOTICE that, pursuant to the Court's Order dated

July 31, 2020, Plaintiffs shall serve opposition to the instant motion on or before August 26,

2020, and Defendants shall serve any reply in support of the instant motion on or before

September 2, 2020.

               Defendants hereby request oral argument on this motion.

Dated:         New York, New York
               August 12, 2020

                                            JAMES E. JOHNSON
                                            Corporation Counsel of the City of New York
                                            Attorney for Defendants



                                            By:           /s/
                                               Pamela A. Koplik
                                               Carlos Fernando Ugalde Alvarez
                                                100 Church Street, 4h Floor
                                               New York, New York 10007
                                               E-mails: pkoplik@law.nyc.gov
                                                        cugalde@law.nyc.gov




TO:      Counsel of Record (via ECF)




                                               2
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page244 of 298
                                  A-1338


          Case 1:20-cv-05301-RA            Document 38   Filed 08/12/20    Page 1of 28




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Marcia Melendez, Jarican Realty Inc.,
1025 Pacific LLC, Ling Yang, Top East
Realty LLC, and Haight Trade LLC,                             DECLARATION OF CARLOS F.
                                                              UGALDE ALVAREZ IN SUPPORT
                                     Plaintifs,               OF DEFENDANTS ' MOTION TO
                                                              DISMISS AND IN OPPOSITION
                    V.                                        TO PLAINTIFFS ' MOTION FOR
                                                              PRELIMINARY      INJUNCTIVE
                                                              AND DECLARATORY RELIEF
The City of New York, amunicipal entity,
Bill de Blasio, as Mayor of the City of New York,             20 CV 05301 (RA)
Louise Carroll, Commissioner of New York City
Department of Housing Preservation &
Development, and Jonnel Doris, Commissioner of
New York City Department of Small Business
Services,

                                 DE
                                  fendants.



               CARLOS FERNANDO UGALDE ALVAREZ declares, pursuant to 28 U.S.C.

§1746 and under penalty of perjury, that the following is true and correct:

               L         Iam an Assistant Corporation Counsel in the office of James E. Johnson,

Corporation Counsel of the City of New York, attorney for Defendants in the instant action.

               2.        Irespectfully submit this declaration in support of Defendants' motion for

an order and judgment dismissing the Complaint pursuant to Rules 12(b)(1) and 12(b)(6) of the

Federal Rules of Civil Procedure and in opposition to Plaintiffs' motion for preliminary

injunctive and declaratory relief.

               3.        This declaration is intended principally to put before the Court various

pieces of publicly-available information which bear on Plaintiffs' and Defendants' motions.




                                                  1
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page245 of 298
                                  A-1339


             Case 1:20-cv-05301-RA        Document 38     Filed 08/12/20   Page 2of 28




Chapter 23 of the New York State Laws of 2020

                   4.     Attached as Exhibit "A" is atrue and correct copy of Chapter 23 of the

New York State Laws of 2020 ("Chapter 23").            Chapter 23 appropriated $40,000,000.00 for

services and expenses related to the outbreak of coronavirus disease 2019 ("COVID-19"), and

amended sections 20(2)(a) and 29-a of the New York Executive Law. The amendment to N.Y.

Executive Law § 29-a enabled the Governor to "issue any directive during a state disaster

emergency" involving, among other things, an epidemic or disease outbreak so long as such

directive is "necessary to cope with the disaster," and expanded the Governor's existing authority

to temporarily suspend laws, rules or orders during such emergencies. The amendment to N.Y.

Executive Law §29-a took effect on March 3, 2020 and is set to expire on April 30, 2021.

Relevant Gubernatorial Executive Orders

                   5.     Attached as Exhibit "B" is atrue and correct copy of New York State

Gubernatorial Executive Order ("EO") No. 202 dated March 7, 2020, which is also publicly

available     at   https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.pdf.

By virtue of EO No. 202, the Governor, inter alia, declared, pursuant to N.Y. Executive Law §

28, astate disaster emergency, effective March 7, 2020, until September 7, 2020. EO No. 202

further states, in relevant part, as follows:

        a.         "on January 30, 2020, the World Health Organization designated the novel
                   coronavirus, COVID-19, outbreak as aPublic Health Emergency of International
                   Concern";

        b.         "on January 31, 2020, United States Health and Human Services Secretary Alex
                   M. Azar II declared apublic health emergency for the entire United States to aid
                   the nation's healthcare community in responding to COVID-19";

        c.         "both travel-related cases and community contact transmission of COVID-19
                   have been documented in New York State and more are expected to continue";

        d.         "New York State is addressing the threat that COVID-19 poses to the health and
                   welfare of its residents and visitors."



                                                   2
         Case 20-4238, Document 38, 02/11/2021, 3035076, Page246 of 298
                                    A-1340


             Case 1:20-cv-05301-RA         Document 38       Filed 08/12/20     Page 3of 28




Notably, by virtue of EO No. 202, the Governor "authorize[d] all necessary State agencies to

take appropriate action to assist local governments and individuals in containing, preparing for,

responding to and recovering from this state disaster emergency ...." (emphasis added).

                  6.      Attached as Exhibit "C" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.3 dated March 16, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.3.pdf. By virtue

of EO No. 202.3, the Governor, inter alia, directed that, no later than March 16, 2020 at 8:00

p.m., (i) "[a]ny restaurant or bar in the state of New York shall cease serving patrons food or

beverage on-premises,"' and (ii) "[a]ny gym, fitness centers or classes, and movie theaters shall

also cease operation." Notably, EO No. 202.3 also states that "[n]o local government or political

subdivision shall issue any local emergency order or declaration of emergency or disaster

inconsistent with, conflicting with or superseding the foregoing directives, or any other executive

order issued under Section 24 of the Executive Law and any local emergency order or any local

administrative codes, charters, laws, rules or regulations, are hereby suspended with respect to

any such order issued under such authority different or in conflict with Executive directives."

                  7.      Attached as Exhibit "D" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.5 dated March 18, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202 5.pdf. By virtue

of EO No. 202.5, the Governor, inter alia, directed that, "[e]ffective at 8p.m. March 19, 2020,

all indoor common portions of retail shopping malls with in excess of 100,000 square feet of

retail space available for lease shall close and cease access to the public," except for "stores

located within shopping malls, which have their own external entrances open to the public,




1   They were still permitted to serve food or beverage for off-premises consumption. See EO No. 202.3.


                                                     3
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page247 of 298
                                  A-1341


          Case 1:20-cv-05301-RA           Document 38        Filed 08/12/20      Page 4of 28




separate from the general mall entrance," so long as they comply with "the requirements of [EO

No.] 202.3 that any restaurant shall limit itself to take out or delivery food services, and that any

interior entrances to common areas of the mall remain closed and locked."

                8.      Attached as Exhibit "E" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.6 dated March 18, 2020, which is also publicly available

at https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO202.6.pdf.              By virtue

of EO No. 202.6, the Governor, inter alia, directed that, no later than March 20, 2020 at 8:00

p.m., "[a]ll businesses and not-for-profit entities in the state shall utilize, to the maximum extent

possible, any telecommuting or work from home procedures that they can safely utilize," and

that "[e]ach employer shall reduce the in-person workforce at any work locations by 50%,"

except that these directives do not apply to "[a]ny essential business or entity providing essential

services or functions," which include "essential retail including grocery stores and pharmacies ."       Q




                9.      Attached as Exhibit 'T' is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.7 dated March 19, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO%20202.7.pdf.                    By

virtue of EO No. 202.7, the Governor, inter alia, (i) ordered the closure of all barbershops, hair

salons, tattoo or piercing parlors and related personal care services, including nail technicians,

cosmetologists and estheticians, and the provision of electrolysis, laser hair removal services, by



zAccording to EO No. 202.6, essential businesses or entities include: "essential health care operations
including research and laboratory services; essential infrastructure including utilities, telecommunication,
airports and transportation infrastructure; essential manufacturing, including food processing and
pharmaceuticals; essential retail including grocery stores and pharmacies; essential services including
trash collection, mail, and shipping services; news media; banks and related financial institutions;
providers of basic necessities to economically disadvantaged populations; construction; vendors of
essential services necessary to maintain the safety, sanitation and essential operations of residences or
other essential businesses; vendors that provide essential services or products, including logistics and
technology support, child care and services needed to ensure the continuing operation of government
agencies and provide for the health, safety and welfare of the public."



                                                     4
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page248 of 298
                                 A-1342


         Case 1:20-cv-05301-RA        Document 38      Filed 08/12/20    Page 5of 28




March 21, 2020 at 8:00 p.m., and (ii) modified "[t]he provisions of [EO No.] 202.6 requiring in-

person work environment restrictions" so that, no later than March 21, 2020 at 8:00 p.m., non-

essential businesses or entities "reduce the in-person workforce at any work locations by 75%."

               10.    Attached as Exhibit "G" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.8 dated March 20, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.8.pdf. By virtue

of EO No. 202.8, the Governor, inter alia, (i) modified the provisions of EO No. 202.6 so that,

no later than March 22, 2020 at 8:00 p.m., non-essential businesses or entities "reduce the in-

person workforce at any work locations by 100%," and (ii) prohibited the "enforcement of either

an eviction of any tenant residential or commercial, or a foreclosure of any residential or

commercial property for aperiod of ninety days."

               11.    Attached as Exhibit "H" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.9 dated March 21, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.9.pdf. By virtue

of EO No. 202.9, the Governor, inter alia, temporarily modified N.Y. Banking Law §39(2) "to

provide that it shall be deemed an unsafe and unsound business practice, if in response to the

COVID-19 pandemic, any bank which is subject to the jurisdiction of the Department shall not

grant aforbearance to any person or business who has afinancial hardship as aresult of the

COVID-19 pandemic for aperiod of ninety days."

               12.    Attached collectively as Exhibit "f" are true and correct copies of New

York State Gubernatorial Executive Order Nos. 202.13, 202.14 and 202.18 dated, respectively,

March 29, 2020, April 7, 2020, and April 16, 2020, which are also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.13.pdf,




                                               5
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page249 of 298
                                  A-1343


          Case 1:20-cv-05301-RA       Document 38      Filed 08/12/20    Page 6of 28




https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.14 final.pdf,      and

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.18.pdf.      By virtue

of EO Nos. 202.13, 202.14 and 202.18, the Governor, inter alia, continued the in-person

business and workplace restrictions or reductions set forth in EO Nos. 202.3, 202.5, 202.6, 202.7

and 202.8 until 11:59 p.m. on May 15, 2020, unless further extended by executive order.

               13.     Attached as Exhibit "J" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.16 dated April 12, 2020, which is also publicly available

at    https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.16 final.pd£

By virtue of EO No. 202.16, the Governor, inter alia, temporarily suspended or modified N.Y.

Real Property and Proceedings Law §711, N.Y. Real Property Law §232-a, and N.Y. Multiple

Dwelling Law §4(8)-(9), and any other law or regulation "to the extent that such laws would

otherwise create alandlord tenant relationship between any individual assisting with the response

to COVID-19 or any individual that has been displaced due to COVID-19, and any individual or

entity, including but not limited to any hotel owner, hospital, not-for-profit housing provider,

hospital, or any other temporary housing provider who provides temporary housing for aperiod

of thirty days or more solely for purposes of assisting in the response to COVD-19."

               14.     Attached as Exhibit "K" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.28 dated May 7, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO202.28.pdf. By virtue of

EO No. 202.28, the Governor, inter alia, (i) "continued the suspensions and modifications of

law, and any directives, not superseded by asubsequent directive, made by [EO No.] 202 and

each successor [EO] up to and including [EO No.] 202.14," with certain modifications, until June

6, 2020, and (ii) ordered:




                                                6
         Case 20-4238, Document 38, 02/11/2021, 3035076, Page250 of 298
                                    A-1344


               Case 1:20-cv-05301-RA      Document 38      Filed 08/12/20    Page 7of 28




          a.      The temporary suspension or modification of N.Y. General Obligations Law §§ 7-
                  103, 7-107 and 7-108, to, inter alia, (i) permit landlords and tenants to enter into
                  written agreements for the application of security deposit funds to rental payment
                  obligations, and (ii) require landlords to provide such relief to tenants that are
                  eligible for unemployment insurance or benefits or are facing financial hardship
                  due to the COVID-19 pandemic;

          b.      The temporary suspension or modification of Real Property Law §238-a(2) "to
                  provide that no landlord, lessor, sub-lessor or grantor shall demand or be entitled
                  to any payment, fee or charge for late payment of rent occurring during the time
                  period from March 20, 2020, through August 20, 2020"; and

          C.      That "[t]here shall be no initiation of aproceeding or enforcement of either an
                  eviction of any residential or commercial tenant, for nonpayment of rent or a
                  foreclosure of any residential or commercial mortgage, for nonpayment of such
                  mortgage, owned or rented by someone that is eligible for unemployment
                  insurance or benefits under state or federal law or otherwise facing financial
                  hardship due to the COVID-19 pandemic for aperiod of sixty days beginning on
                  June 20, 2020."

                   15.      Attached as Exhibit "L" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.29 dated May 8, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.29.pdf.          By virtue

of EO No. 202.29, the Governor, inter alia, "continue[d] the suspensions and modifications of

law, and any directives, not superseded by asubsequent directive, made by [EO No.] ... 202.16.

     until June 7, 2020."

                   16.      Attached as Exhibit "M" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.31 dated May 14, 2020, which is also publicly available

at    https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.31.pdf.             By

virtue of EO No. 202.31, the Governor, inter alia, continued the in-person business and

workplace restrictions or reductions set forth in EO Nos. 202.3, 202.5, 202.6, 202.7 and 202.8

until 11:59 p.m. on May 28, 2020, unless further extended by executive order, except that, as of

12:01 a.m. on May 15, 2020, such reductions and restrictions "no longer appl[ied] to Phase One




                                                   7
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page251 of 298
                                 A-1345


         Case 1:20-cv-05301-RA         Document 38      Filed 08/12/20    Page 8of 28




industries," which include retail (limited to curbside or in-store pickup or drop off),

manufacturing and wholesale trade, in regions authorized for "Phase One" reopening. 3

               17.    Attached as Exhibit "N" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.34 dated May 28, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO202.34.pdf. By virtue

of EO No. 202.34, the Governor, inter alia, continued the in-person business and workplace

restrictions or reductions set forth in EO Nos. 202.3, 202.5, 202.6, 202.7 and 202.8 through June

27, 2020, unless further extended by executive order, except that, as of the date of EO No.

202.34, such reductions and restrictions no longer applied to business or entities eligible for

"Phase One" reopening in regions authorized for "Phase One" reopening.

               18.    Attached as Exhibit "0" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.35 dated May 29, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202 35.pdf.            By

virtue of EO No. 202.35, the Governor, inter alia, continued the in-person business and

workplace restrictions or reductions set forth in EO Nos. 202.3, 202.5, 202.6, 202.7 and 202.8

through June 28, 2020, unless further extended by executive order, except that, as of 1:00 p.m.

on May 29, 2020, "the reductions and restrictions on the in-person workforce at non-essential

businesses or other entities [] no longer appl[ied] to Phase Two industries," which include retail

in-store shopping, rental, repair and cleaning businesses, and barbershops and hair salons (for

limited services), in regions authorized for "Phase Two" reopening. 4



3    New    York      City    entered   "Phase     One"    reopening on June 8, 2020. See
http s://www l.nyc. gov/site/doh/covid/covid- l9-businesses-and-
facilities.page?fbclid=IwAR1a5YKbVTvP5J1 yUjIP40K1DcwuopYcsBbJbQSKgBriekj5AYxcgOCKUU.

4    New    York      City   entered    "Phase    Two" reopening on June 22, 2020. See
http s://www l.nyc. gov/site/doh/covid/covid- l9-businesses-and-
facilities.page?fbclid=IwAR1a5YKbVTvP5J1 yUjIP40K1DcwuopYcsBbJbQSKgBriekj5AYxcgOCKUU.



                                                8
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page252 of 298
                                 A-1346


         Case 1:20-cv-05301-RA         Document 38      Filed 08/12/20    Page 9of 28




               19.    Attached as Exhibit "P" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.36 dated June 2, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.36.pdf.       By virtue

of EO No. 202.36, the Governor, inter alia, modified EO No. 202.7 "to allow for the opening of

barbershops and hairs salons" in regions authorized for "Phase Two" reopening.

               20.    Attached as Exhibit "Q" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.38 dated June 6, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO-202.38-final.pdf.        By

virtue of EO No. 202.38, the Governor, inter alia, (i) "continued the suspensions and

modifications of law, and any directives, not superseded by asubsequent directive, made by [EO

No.] 202 and each successor [EO] up to and including [EO No.] 202.14," until July 6, 2020, and

(ii) modified the directive contained in EO No. 202.3 "to allow arestaurant or bar to serve

patrons food or beverage on-premises only in outdoor space."

               21.    Attached as Exhibit "R" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.39 dated June 7, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202 39.pdf.       By virtue

of EO No. 202.39, the Governor, inter alia, (i) modified the directive contained in EO No.

202.38 "that allowed arestaurant or bar to serve patrons food or beverage on-premises only in

outdoor space ... to explicitly limit such activity to those regions that are in Phase 2of the re-

opening," and (ii) "continue[d] the suspensions and modifications of law, and any directives, not

superseded by asubsequent directive, made by [EO No.] 202.15, through 202.21, and including

202.29, as contained in Executive Order 202.29 until July 7, 2020."




                                                9
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page253 of 298
                                  A-1347


         Case 1:20-cv-05301-RA        Document 38      Filed 08/12/20    Page 10 of 28




               22.    Attached as Exhibit "S" is a true and correct copy of New York State

Gubernatorial Executive Order No. 202.41 dated June 13, 2020, which is also publicly available

at   https://www.govemor.ny.gov/sites/governor.ny.gov/files/atoms/files/EO 202.41 .pd£         By

virtue of EO No. 202.41, the Governor, inter alia, (i) modified EO No. 202.7 "to allow for the

opening of such personal care services, and only to the extent and in regions consistent with

Department of Health guidance promulgated for Phase Three reopening," and (ii) continued the

in-person business and workplace restrictions or reductions set forth in EO Nos. 202.3, 202.5,

202.6, 202.7 and 202.8 through July 13, 2020, unless further extended by executive order, except

that, as of June 12, 2020, "the reductions and restrictions on the in-person workforce at non-

essential businesses or other entities [] no longer appl[ied] to Phase Three industries," which

include restaurants, food services, and personal care businesses, in regions authorized for "Phase

Three" reopening. s

               23.    Attached as Exhibit "T" is a true and correct copy of New York State

Gubernatorial Executive Order No. 202.45 dated June 26, 2020, which is also publicly available

at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO202.45.pdf. By virtue

of EO No. 202.45, the Governor, inter alia, continued the in-person business and workplace

restrictions or reductions set forth in EO Nos. 202.3, 202.5, 202.6, 202.7 and 202.8 through July

26, 2020, except that, as of June 26, 2020, "the reductions and restrictions on the in-person

workforce at non-essential businesses or other entities [] no longer appl[ied] to Phase Four




5    New    York      City   entered    "Phase    Three"    reopening on July 6, 2020. See
http s://www l.nyc. gov/site/doh/covid/covid- l9-businesses-and-
facilities.page?fbclid=IwAR1a5YKbVTvP5J1 yUjIP40K1DcwuopYcsBbJbQSKgBriekj5AYxcgOCKUU.



                                                10
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page254 of 298
                                 A-1348


            Case 1:20-cv-05301-RA      Document 38      Filed 08/12/20    Page 11 of 28




industries," which include film and music production and low-risk indoor and outdoor arts and

entertainment, in regions authorized for "Phase Four" reopening. 6

                24.    Attached as Exhibit "U" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.48 dated July 6, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.48.pdf.        By virtue

of EO No. 202.48, the Governor, inter alia, (i) modified "[t]he directive contained in [EO No.]

202.41, that discontinued the reductions and restrictions on in-person workforce at non-essential

businesses or other entities in Phase Three industries or entities ... in eligible regions.... only

to the extent that indoor food services and dining continue to be prohibited in New York City,

and (ii) "continued the suspensions and modifications of law, and any directives, not superseded

by asubsequent directive, made by [EO No.] 202 and each successor [EO] up to and including

[EO No.] 202.14," through August 5, 2020, except for:

       a.       EO No. 202.9's directives and temporary modification of N.Y. Banking Law §
                39(2), which were superseded by Chapters 112 and 126 of the New York State
                Laws of 2020;

       b.       EO No. 202.28's directive prohibiting the initiation of a proceeding or
                enforcement of either an eviction of any residential tenant, for nonpayment of rent
                or aforeclosure of any" residential mortgage, for nonpayment of such mortgage,
                which was superseded by Chapters 112, 126, and 127 of the New York State
                Laws of 2020.

                25.    Attached as Exhibit "V" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.49 dated July 7, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.49.pdf.         EO No.

202.49 did not further extend EO No. 202.16's temporary suspension or modifications of N.Y.




6    New    York      City   entered    "Phase    Four"    reopening on July 20, 2020. See
http s://www l.nyc. gov/site/doh/covid/covid- l9-businesses-and-
facilities.page?fbclid=IwAR1a5YKbVTvP5J1 yUjIP40K1DcwuopYcsBbJbQSKgBriekj5AYxcgOCKUU.



                                                11
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page255 of 298
                                  A-1349


         Case 1:20-cv-05301-RA       Document 38      Filed 08/12/20      Page 12 of 28




Real Property and Proceedings Law §711, N.Y. Real Property Law §232-a, and N.Y. Multiple

Dwelling Law §4(8)-(9), which was effective until July 7, 2020 pursuant to EO No. 202.39.

               26.    Attached as Exhibit "W" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.50 dated July 9, 2020, which is also publicly available at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.50.pdf.      By virtue

of EO No. 202.50, the Governor, inter alia, modified EO No. 202.5's directive "that required

closure to the public of all indoor common portions of retail shopping malls, as extended, and as

continued and modified in [EO No.] 202.48.... to allow such malls to open in regions of the

state that are in Phase Four of the state's reopening, so long as such malls adhere to Department

of Health issued guidance, effective 12:01am on Friday, July 10, 2020."

               27.    Attached as Exhibit "X" is atrue and correct copy of New York State

Gubernatorial Executive Order No. 202.53 dated July 21, 2020, which is also publicly available

at   https://www.govemor.ny.gov/sites/governor.ny.gov/files/atoms/files/EO 202 53.pdf.        By

virtue of EO No. 202.53, the Governor, inter alia, (i) continued the in-person business and

workplace restrictions or reductions set forth in EO Nos. 202.3, 202.5, 202.6, 202.7 and 202.8

through August 20, 2020, except that, as of July 20, 2020, the indoor common portions of retail

shopping malls and places of low-risk indoor arts and entertainment continue to be closed in

New York City, and (ii) modified EO No. 202.50's directive "that allowed indoor common

portions of retail shopping malls to open in regions that have met the public health and safety

metrics to enter Phase Four of the State's reopening.... to provide that indoor common portions

of shopping malls continue to be closed in the New York City region."

               28.    Attached as Exhibit "Y" is a true and correct copy of New York State

Gubernatorial Executive Order No. 202.55 dated August 5, 2020, which is also publicly




                                               12
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page256 of 298
                                   A-1350


            Case 1:20-cv-05301-RA    Document 38        Filed 08/12/20      Page 13 of 28




available at https://www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO 202.55.pdf.

By virtue of EO No. 202.55, the Governor, inter alia, (i) "continue[d] the directives, not

superseded by a subsequent directive, made by Executive Order 202 and each successor

Executive Order up to and including Executive Order 202.21, and Executive Order 202.27,

202.28, 202.29, 202.30, 202.38, 202.39, and 202.40, as continued and contained in Executive

Order 202.48, 202.49, and 202.50 for another thirty days through September 4, 2020," and (ii)

temporarily suspended or modified N.Y. Real Property and Proceedings Law § 711, N.Y. Real

Property Law § 232-a, and N.Y. Multiple Dwelling Law § 4(8)-(9), and any other law or

regulation in the same manner as EO No. 202.16 until September 4, 2020.

                29.   Attached as Exhibit "Z" is a true and correct copy of New York State

Gubernatorial Executive Order No. 202.55.1 dated August 6, 2020, which is also publicly

available                                                                                          at

https://www.governor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO202.55.1.pdf.        By virtue

of EO No. 202.55.1, the Governor, inter alia, modified EO No. 202.55 "to include all

suspensions and modifications, not superseded by asuspension or modification in asubsequent

Executive Order for the Executive Orders listed in 202.55; and provided further, Executive

Orders 202.48, 202.49, and 202.50 are continued in their entirety, through September 4, 2020."

Relevant Orders of the Chief Administrative Judge of the N.Y. State Unified Court System

                30.   Attached as Exhibit "AA" is a true and correct copy of Administrative

Order   No.    AO/68/20   dated   March   16,   2020,   which   is   also   publicly   available   at

https://www.nycourts.gov/whatsnew/pdf/AO-68-20.pdf.        By virtue of AO/68/20, the Chief

Administrative Judge of the Courts promulgated procedures and protocols in response to the

pandemic and, with respect to "Housing matters," ordered that: (i) "[a]ll eviction proceedings

and pending eviction orders shall be suspended statewide, and court-ordered auctions of property


                                                13
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page257 of 298
                                   A-1351


         Case 1:20-cv-05301-RA          Document 38       Filed 08/12/20       Page 14 of 28




shall be postponed, until further notice'; (ii) "[a]ll residential foreclosure proceedings shall be

suspended statewide until further notice"; and (iii) "effective March 13, 2020, residential

evictions in New York City have been stayed, and the New York City Housing Court has been

directed not to issue new eviction warrants when aparty has not appeared in court."

               31.     Attached as Exhibit "BB" is atrue and correct copy of Administrative

Order   No.   AO/127/20      dated   June   18,   2020,   which    is   also   publicly   available   at

https://www.nycourts.gov/whatsnew/pdf/AO-127-20.pdf. AO/127/20 states that it took effect on

June 20, 2020 and that it will continue "in effect for such time as state and federal emergency

measures addressing the COVID-19 pandemic amend or suspend statutory provisions governing

eviction proceedings, or until further order." By virtue of AO/127/20, the Chief Administrative

Judge of the Courts ordered, inter alia, as follows:

        Consistent with prior and current gubernatorial Executive Orders (EO/202.8,
        EO/202.14, EO/202.28, EO/202.39) and Administrative Order AO/68/20, RPAPL
        eviction matters commenced on or before March 16, 2020 shall continue to be
        suspended until further order; eviction proceedings filed after March 16, 2020
        shall, upon the filing of apetition (if no answer is filed thereafter) or the filing of
        an answer, be suspended until further order. Notwithstanding the foregoing,
        eviction matters in which all parties are represented by counsel shall be eligible
        for calendaring for virtual settlement conferences.

               32.     Attached as Exhibit "CC" is atrue and correct copy of Administrative

Order   No.   AO/131/20      dated   June   23,   2020,   which    is   also   publicly   available   at

https://www.nycourts.gov/whatsnew/pdf/AO-131-20.pdf. AO/127/20 states that it took effect on

June 24, 2020 and that it will continue "in effect for such time as state and federal emergency

measures addressing the COVID-19 pandemic amend or suspend statutory provisions governing

eviction proceedings, or until further order." By virtue of AO/131/20, the Chief Administrative

Judge of the Courts ordered, inter alia, as follows:

        Consistent with prior and current gubernatorial Executive Orders (EO/202.8,
        EO/202.14, EO/202.28, EO/202.39) and Administrative Order AO/68/20,


                                                  14
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page258 of 298
                                   A-1352


         Case 1:20-cv-05301-RA          Document 38       Filed 08/12/20      Page 15 of 28




        foreclosure matters commenced on or before March 16, 2020 shall continue to be
        suspended until further order; foreclosure proceedings filed after March 16, 2020
        shall, upon the filing of apetition (if no answer is filed thereafter) or the filing of
        an answer, be suspended until further order; initial mandatory settlement
        conferences in residential foreclosure pursuant to CPLR 3408 shall not be
        scheduled; and foreclosure auctions shall continue to be suspended until further
        order. Notwithstanding the foregoing, foreclosure matters in which all parties are
        represented by counsel shall be eligible for calendaring for both initial and follow-
        up virtual settlement conferences; lenders may move for a judgment of
        foreclosure and sale on the ground that aproperty is vacant and abandoned; and
        lenders may move to discontinue apending case.

                33.    Attached as Exhibit "DD" is atrue and correct copy of Administrative

Order   No.    AO/143/20     dated   July   7,   2020,   which    is   also   publicly   available   at

https://www.nycourts.gov/whatsnew/pdf/AO-143-20.pdf. AO/143/20 states that it took effect on

July 7, 2020 and that it will "remain in effect until further order." By virtue of AO/143/20, the

Chief Administrative Judge of the Courts stated, inter alia, that the directives set forth in

AO/127/20 and AO/131/20 "continue in full force and effect."

Chapter 112 and 126 of the New York State Laws of 2020

                34.    Attached collectively as Exhibit "EE" are true and correct copies of

Chapter 112 of the New York State Laws of 2020 ("Chapter 112") and Chapter 126 of the New

York State Laws of 2020 ("Chapter 126").         Chapter 112 amended the N.Y. Banking Law by

adding a new section "9-x," relating to the forbearance of residential mortgage payments.

Chapter 126 further amended the provisions of N.Y. Banking Law §9-x. Both chapters were

enacted and went into effect on June 17, 2020.

                35.    N.Y. Banking Law §9-x requires, inter alia, New York regulated banks,

trust companies, private bankers, savings banks, safe deposit companies, savings and loan

associations, credit unions, investment companies, and mortgage servicer entity subject to

supervision by the New York State Department of Financial Services (defined as "regulated

institutions") to "grant [a] forbearance of all monthly payments due with respect to [a] mortgage


                                                  15
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page259 of 298
                                  A-1353


            Case 1:20-cv-05301-RA        Document 38       Filed 08/12/20     Page 16 of 28




secured by [a] qualified mortgagor's ['
                                      ]primary residence in New York for aperiod of up to one



hundred eighty days to any such qualified mortgagor, with the option to extend the forbearance

of such monthly payments for up to an additional one hundred eighty days provided that this

extension is subject to the mortgagor demonstrating continued financial hardship."'

                 36.    Notwithstanding, the obligation to grant forbearance is limited in certain

respects.    For example, aregulated institution is not required to grant aforbearance if it has

insufficient "capital and liquidity to meet its obligations and to operate in a safe and sound

manner." N.Y. Banking Law §9-x(6). Also, there is no such obligation if the mortgage was

"made, insured, purchased or securitized by any agency or instrumentality of the United States,

any government sponsored enterprise, or afederal home loan bank, or acorporate governmental

agency of the state constituted as apolitical subdivision and public benefit corporation, or the

rights and obligations of any lender, issuer, servicer or trustee of such obligations, including

servicers for the Government National Mortgage Association." Id. §9-x(5).

                 37.    Notably, N.Y. Banking Law § 9-x(4) states that adherence to the

provisions of N.Y. Banking Law § 9-x "shall be a condition precedent to commencing a

foreclosure action stemming from missed payments."

Chapter 125 of the New York State Laws of 2020




  The term "qualified mortgagor" is defined by N.Y. Banking Law §9-x(1). In order to qualify as such, a
mortgagor must, inter alia, demonstrate financial hardship as aresult of COVID-19 during the "covered
period," which is defined as "March 7, 2020 until the date on which none of the provisions that closed or
otherwise restricted public or private businesses or places of public accommodation, or required
postponement or cancellation of all non-essential gatherings of individuals of any size for any reason ...
continue to apply in the county of the qualified mortgagor's residence." Id. §9-x(1).

a"If any qualified mortgagor has already received a forbearance pursuant to [EO No.] 202.9 of two
thousand twenty, the time of such forbearance shall be considered as part of the requirement of this
section to provide aforbearance of up to one hundred eighty days, and any extension thereof pursuant to
this section." N.Y. Banking Law §9-x(2)(b).



                                                   16
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page260 of 298
                                  A-1354


          Case 1:20-cv-05301-RA           Document 38       Filed 08/12/20      Page 17 of 28




                38.     Attached as Exhibit "FF" is atrue and correct copy of Chapter 125 of the

New York State Laws of 2020 ("Chapter 125"), which is known as the "Emergency Rent Relief

Act of 2020." Chapter 125 was enacted and went into effect on June 17, 2020, and is set to

expire on July 31, 2021.        Among other things, Chapter 125 directs the New York State

Commissioner of Housing and Community Renewal "to establish and implement an interim

residential rent relief program to support households impacted by the COVID-19 pandemic."

Under such program, "[a] rental subsidy shall be provided in the form of avoucher ... directly

to the owner of the dwelling unit for applicants determined to be eligible households during the

coverage period in an amount equal to the difference between the applicant's rent burden on

March 1, 2020 and their rent burden during the month or months assistance is requested for."

Chapter 127 of the New York State Laws of 2020

                39.     Attached as Exhibit "GG" is atrue and correct copy of Chapter 127 of the

New York State Laws of 2020 ("Chapter 127"), which was enacted and went into effect on June

30, 2020. Chapter 127 provides, inter alia, that "[n]o court shall issue awarrant of eviction or

judgment of possession against aresidential tenant or other lawful occupant that has suffered a

financial hardship during the COVID-19 covered period[9] for the non-payment of rent that

accrues   or becomes      due during the COVID-19             covered period."        Ex.   GG,    § 2(1).

Notwithstanding, Chapter 127 does "not prohibit any court from awarding ajudgment for the

rent due and owing to asuccessful petitioner in asummary proceeding under article 7of the real

property actions and proceedings law." Id. §2(3).




9Chapter 127 defines "COVID-19 covered period" as "March 7, 2020 until the date on which none of the
provisions that closed or otherwise restricted public or private businesses or places of public
accommodation, or required postponement or cancellation of all non-essential gatherings of individuals of
any size for any reason ... continue to apply in the county of the tenant's or lawful occupant's residence."
Ex. GG, §1.



                                                    17
        Case 20-4238, Document 38, 02/11/2021, 3035076, Page261 of 298
                                   A-1355


              Case 1:20-cv-05301-RA      Document 38        Filed 08/12/20      Page 18 of 28




The Challenged Local Laws & Their Relevant Legislative History

                  40.    On April 22, 2020, during its stated meeting, the New York City Council

("City Council") introduced the following three bills that, as amended, became Local Law No.

53 of 2020 (the "Commercial Harassment Law" ), 10 Local Law No. 55 of 2020 (the "Guaranty

Harassment Law " ), 11 and Local Law No. 56 of 2020 (the "Residential Harassment Law") 12 : (a)

Introduction ("Intro.") No. 1914 (a true and correct copy of which is attached as Exhibit "HH");

(b) Intro. No. 1932 (a true and correct copy of which is attached as Exhibit 11"); and (c) Intro.

No. 1936 (a true and correct copy of which is attached as Exhibit "JJ"). A true and correct copy

of the transcript of the April 22, 2020 stated meeting is attached as Exhibit "KK."

                  41.    Attached as Exhibit "LL" is atrue and correct copy of the "Committee

Report of the Infrastructure and Governmental Affairs Divisions" dated April 28, 2020, which

was prepared in advance of the April 28, 2020 hearing before the City Council's Committees on

Housing and Buildings and on Consumer Affairs and Business Licensing on Intro. No. 1936.

The committee report states, in relevant part, as follows:

         a.       "The outbreak of the novel coronavirus, COVID-19, in the City of New York has
                  resulted in amyriad of concerns for many New Yorkers, including loss of income,
                  food insecurity and housing instability," Ex. LL at 3;




10 The legislative history for the Commercial Harassment Law, including the legislative record
documentation attached to this declaration, is available in the City Council's website at
https://Iegistar.council.nyc.gov/LegislationDetail.aspx?ID=4424937&GUID=EA82E496-2E94-43A6-
8C1 D-4D279AE425FD&Options=ID%7cText%7c&Search.

11 The legislative history for the Guaranty Law, including the legislative record documentation attached to

this    declaration,    is     available    in     the    City     Council's     website                 at
https://Iegistar.council.nyc.gov/LegislationDetail.aspx?ID=4424954&GUID=C2A4AC16-7409-465E-
B5A4-A84F6E7989FB&Options=ID Textj&Search.

12   The legislative history for the Residential Harassment Law, including the legislative record
documentation attached to this declaration, is available in the City Council's website                   at
https://Iegistar.council.nyc.gov/LegislationDetail.aspx?ID=4425102&GUID=4A05D415-OBF2-4980-
98A9-COEABB57E397&Options=ID Textj&Search.



                                                    18
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page262 of 298
                                 A-1356


            Case 1:20-cv-05301-RA       Document 38      Filed 08/12/20     Page 19 of 28




       b.        "In an effort to manage the spread of the virus, Governor Andrew Cuomo issued
                 an executive order, and subsequent continuing executive orders, to bring the State
                 to a `PAUSE,' which ordered the closing of all businesses deemed
                 `nonessential,"' Ex. LL at 3;

       C.        "In an analysis of the potential economic impacts of the pandemic on NYC
                 households, the New York University Furman Center `estimate[s] that about
                 1,405,000 (or 34 percent) of the city's wage earners may be at risk of income
                 loss' as aresult of mass layoffs or workplace closures, and that there are nearly
                 1,032,000 New York City households with at least one wage earner in an
                 occupation more vulnerable to income loss," Ex. LL at 3 (citing What are the
                 Housing Costs cf Households Most Vulnerable to Job Lay(jfs? An Initial
                 Analysis,   NYU FuRMAN           CENTER     (Mar.    30,   2020),   available  at
                 https://furmancenter. org/thestoop/entry/what-are-the-housing-costs-of-
                 households-most-vulnerable-to job-layoffs-an, a printout copy of which is
                 annexed as Exhibit "MM");

       d.        "Additionally, the number of unemployment claims filed with the State has
                 skyrocketed since the `PAUSE': approximately 144,000 claims were filed in New
                 York City the week of March 22, 2020, up 2,637% from the same period in
                 2019," Ex. LL at 3-4 (citing Corina Knoll, Azi Paybarah, Jacob Mensche and
                 Elaine Chen, 11 Numbers That Show How the Coronavirus Has Changes N.Y.C.,
                 THE       N.Y.      TIMES,     (Apr.      20,     2020),      available     at
                 https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-
                 unemployment.html, aprintout copy of which is annexed as Exhibit "NN");

       e.        "Although the eviction moratoriums serve as temporary stopgaps to allow tenants
                 to remain in their apartments, they do not provide any kind of relief to tenants for
                 rent owed during the moratoriums. Further, they do not guarantee that tenants
                 unable to pay rent will be able to stay in their apartments once the moratoriums
                 are lifted, or that tenants will be safe from landlord harassment on the basis of
                 having been impacted by the virus," Ex. LL at 4.

                 42.    Attached as Exhibit "00" is atrue and correct copy of the transcript of the

April 28, 2020 hearing held by the City Council's Committees on Housing and Buildings and on

Consumer Affairs and Business Licensing on Intro. No. 1936.               During this hearing, oral

testimony was submitted by representatives from the New York City Commission on Human

Rights, the New York City Department of Housing Preservation and Development ("HPD") and

the Real Estate Board of New York ("REBNY"), housing advocates,                      and non-profit

organizations.




                                                  19
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page263 of 298
                                  A-1357


            Case 1:20-cv-05301-RA       Document 38       Filed 08/12/20     Page 20 of 28




                43.    Attached as Exhibit "PP" is a true and correct copy of the written

testimony, which consists of atotal of 107 pages, received by the City Council's Committees on

Housing and Buildings and on Consumer Affairs and Business Licensing in connection with

their April 28, 2020 hearing on Intro. No. 1936. The written testimony on Intro. 1936 includes

testimony from the Deputy Commissioner of Policy and Intergovernmental Affairs of the New

York City Commission on Human Rights, REBNY, the New York City Community Housing

Improvement Program ("CHIP"), and The Legal Aid Society.

                44.    Attached as Exhibit QQ" is atrue and correct copy of the "Briefing Paper

and Committee Report of the Governmental Affairs Divisions" dated April 29, 2020, which was

prepared in advance of the April 29, 2020 hearing (entitled "OVERSIGHT: The Impact of

COVID-19 on Small Businesses in New York City") before the City Council's Committees on

Small Business and on Consumer Affairs and Business Licensing held ahearing on Intro Nos.

1914 and 1932. The committee report discusses the impact of COVID-19 on small businesses,

as well as the need for legislation to address such impact. It states, in relevant part, as follows:

       a.       "In New York, Governor Andrew Cuomo issued an executive order —New York
                State on PAUSE (PAUSE) — that closed all on-site, non-essential businesses,
                effective March 22, 2020, to help stop the spread of SARS-CoV-2," Ex. QQ at 8;

       b.       "Although this list covers a range of industries that are permitted to operate
                during PAUSE, alarge proportion of New York's small (and large) businesses
                have still had to severely reduce their capacities," Ex. QQ at 9;

       C.       "According to an analysis by the NYC Comptroller, the City's hotels are
                projected to only maintain an occupancy rate of 20 percent, while restaurant sales
                are expected to drop by astaggering 80 percent. Real estate and retail sales are
                both expected to decline by 20 percent," Ex. QQ at 9-10 (citing New York City
                Comptroller Scott M. Stringer, Comptroller Stringer: City must take immediate
                action to prepare for economic impacts (f COV1D-19 and protect vital services
                for most vulnerable New Yorkers (March 16, 2020), available at
                https://comptroller.nyc. gov/newsroom/comptroller-stringer-city-must-take-
                immediate-action-to-prepare-for-economic-impacts-of-covid- 19-and-protect-vital-
                services-for-most-vulnerable-new-yorkers/, aprintout copy of which is attached
                as Exhibit "RR");


                                                  20
Case 20-4238, Document 38, 02/11/2021, 3035076, Page264 of 298
                           A-1358


     Case 1:20-cv-05301-RA       Document 38      Filed 08/12/20     Page 21 of 28




d.       "These figures for the restaurant industry reflect the results of arecent survey by
         the New York State Restaurant Association. According to their findings, sales
         have declined by 79 percent, and New York State restaurants are expected to lose
         $3.6 billion in sales revenue, in April alone. Just over half (51 percent) of all
         restaurants have been able to move their operations online, and unemployment
         rates in this sector have skyrocketed, as 80 percent of restaurant workers have lost
         their jobs," Ex. QQ at. 10 (citing New York State Restaurant Association,
         Restaurant industry impact survey: New York State (April 2020), available at
         https://www.nysra.org/uploads/l/2/l/3/121352550/restaurant industry impact su
         rvey     new york state 2 .pdf, acopy of which is attached as Exhibit "SS");

e.       "In their survey of small businesses (under 500 employees), the National Bureau
         of Economic Research found that 43 percent of businesses had closed due to
         COVID-19 and that they had reduced their staff by about 40 percent since January
         2020. The results were more severe in the Mid-Atlantic region, which includes
         New York, where 57 percent of businesses were closed, and staff employment
         decreased by 47 percent. According to the survey's conclusion, about 20 percent
         of the nation's employees work in `retail trade, leisure and hospitality and these
         sectors are particularly vulnerable to the current pandemic,' Ex. QQ at 10-11
         (citing Alexander W. Bartik et al., How are small businesses acjusting to Covid-
         19? Early evidence from a survey, NAT'L BUREAU OF ECON. RESEARCH (April
         2020), available at https://www.nber.org/papers/w26989.pdf, acopy of which is
         attached as Exhibit "TT");

f.       "The nation's economy is dependent on its small businesses. There are
         approximately 27 million of these businesses across the country and they are
         responsible for employing 57 million workers. When including the owners of
         these businesses, in addition to employees, that total comes to an estimated 85
         million people," Ex. QQ at 11 (citing How important are small businesses?, I
                                                                                    NFO.
         STATION (Jan. 3, 2017), available at https:Hlnformationstation.org/video/how-
         important-are-small-
         businesses/?utm source=google&utm medium=cpk&gclid=EAIaIQobChMI-
         Ymy3dfg6AIVGozIChOQRQPrEAAYASAAEgI7ivD BwE, a printout copy of
         which is attached as Exhibit "UU");

9-       "According to the Small Business Administration, small businesses are
         responsible for creating two-thirds of the Country's new jobs," Ex. QQ at 11
         (citing United States Small Business Administration, Small Businesses generate
         44 percent (f U.S. economic activity (Jan. 30, 2019), available at
         https://advocacy.sba.gov/2019/01/30/small-businesses-generate-44-percent-of-u-
         s-economic-activity/, aprintout copy of which is attached as Exhibit "W");

h.       "Given their vital role, it is crucial that they are either given alternative means to
         operate, in as lucrative amanner as possible, throughout the COVID-19 crisis,
         and/or are provided the necessary support to restart their operations once social
         distancing measures have been lifted," Ex. QQ at 11;




                                          21
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page265 of 298
                                  A-1359


            Case 1:20-cv-05301-RA      Document 38      Filed 08/12/20     Page 22 of 28




       i.       "The various governmental approaches to support small businesses during this
                crisis have provided some measure of relief for small business owners and their
                employees; however, there are [a] range of outstanding issues that continue to
                make operating abusiness during the pandemic particularly difficult, "Ex. QQ at
                28;

                "Businesses who experience adrop in revenue due to COVID-19 may face added
                legal pressure to meet financial obligations.    Commercial leases may contain
                provisions imposing personal liability on the tenant for non-payment of rent.
                These personal guarantees can make the business, which may otherwise shield the
                owner from liability due to its corporate structure, answerable in acourt of law for
                any unpaid debts or damages," Ex. QQ at 28-29 (citing N.Y.C. Dep't of Small
                Business Services, Comprehensive Guide to Commercial Leasing in New York
                City,                                 available                                at
                https://www l.nyc. gov/assets/sbs/downloads/pdf/about/reports/commercial-lease-
                guide-accessible.pdf, a printout copy of which is attached as Exhibit "WW";
                Hayden Field, 5 most common red flags entrepreneurs should know before
                signing a commercial real estate lease in New York, ENTREPRENEUR (June 6,
                2019), available at https://www.entrepreneur.com/article/334848, aprintout copy
                of which is attached as Exhibit "XX");

       k.       "Without recourse, landlords and debt servicers may resort to threats, which
                continues to make protecting businesses from harassment an important issue as
                the City grapples with the effects of COVID-19," Ex. QQ at 29.

                45.     Attached as Exhibit "YY" is atrue and correct copy of the transcript of the

April 29, 2020 hearing held by the City Council's Committees on Small Business and on

Consumer Affairs and Business Licensing on Intro Nos. 1914 and 1932.           During this hearing,

oral testimony was submitted by representatives from the New York City Department of Small

Business Services ("SBS"), REBNY, small business advocates, chambers of commerce and non-

profit organizations.


                46.     Attached collectively as Exhibit "ZZ-1," "ZZ-2," "ZZ-3," "ZZ-4," and

"ZZ-5" are atrue and correct copies of the written testimony, which together consists of atotal

of 949 pages, received by the City Council's Committees on Small Business and on Consumer

Affairs and Business Licensing in connection with their April 29, 2020 hearing on Intro Nos.

1914 and 1932.    The written testimony on Intro Nos. 1914 and 1932 includes testimony from




                                                 22
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page266 of 298
                                 A-1360


            Case 1:20-cv-05301-RA       Document 38     Filed 08/12/20     Page 23 of 28




SBS, REBNY, United for Small Businesses NYC, Volunteers of Legal Service (VOLS), CHIP,

and The Legal Aid Society.

                47.    On May 13, 2020, the City Council amended: (a) Intro. No. 1914 as Intro.

No. 1914-A (a true and correct copy of which is attached as Exhibit "AAA"); (b) Intro. No. 1932

as Intro. No. 1932-A (a true and correct copy of which is attached as Exhibit "BBB"); and (c)

Intro. No. 1936 as Intro. No. 1936-A (a true and correct copy of which is attached as Exhibit

"CCC").

                48.    Attached as Exhibit "DDD" is atrue and correct copy of Intro. No. 1914-

A's "Plain Language Summary" document that is prepared by the City Council, which states, in

relevant part, that Intro. No. 1914-A "would make threatening acommercial tenant based on

their status as aCOVID-19 impacted business or person aform of harassment punishable by a

civil penalty of $10,000 to $50,000."

                49.    Attached as Exhibit "EEE" is atrue and correct copy of Intro. No. 1932-

A's "Plain Language Summary" document that is prepared by the City Council, which states, in

relevant part, that Intro. No. 1932-A would:

       a.       "temporarily prohibit the enforcement of personal liability provisions in
                commercial leases or rental agreements involving aCOVID-19 impacted tenant";

       b.       "apply to businesses that were impacted by mandated closures and service
                limitations in the Governor's Executive Orders"; and

       C.       "cover[] (1) businesses that were required to stop serving food or beverages on-
                premises (restaurants and bars); (2) businesses that were required to cease
                operations altogether (gyms, fitness centers, movie theaters); (3) retail businesses
                that were required to close and/or subject to in-person restrictions; and (4)
                businesses that were required to close to the public (barbershops, hair salons,
                tattoo or piercing parlors and related personal care services)."

                50.    Attached as Exhibit "FFF" is atrue and correct copy of Intro. No. 1936-

A's "Plain Language Summary" document that is prepared by the City Council, which states, in




                                                 23
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page267 of 298
                                  A-1361


         Case 1:20-cv-05301-RA         Document 38      Filed 08/12/20    Page 24 of 28




relevant part, that Intro. No. 1936-A "would amend the definition of harassment in the Housing

Maintenance Code to include threats against an individual based on their status as aCOVID-19

impacted person, their status as an essential employee, or their receipt of arental concession or

forbearance."

                51.    Attached as Exhibit "GGG" is atrue and correct copy of the "Committee

Report of the Infrastructure Division" dated May 13, 2020, which was prepared in advance of the

May 13, 2020 hearing to be held before the City Council's Committee on Housing and Buildings

on Intro. No. 1936-A. It states, in relevant part, that "Proposed Int. No. 1936-A would expand

the definition of tenant harassment to protect individuals who may be harassed due to their status

as an essential employee or aperson impacted by COVID-19, or whether they received arent

concession or forbearance for any rent owed during the COVID-19 crisis." Ex. GGG at 2.

                52.    Attached as Exhibit "HHH" is atrue and correct copy of the transcript of

the May 13, 2020 hearing held by the City Council's Committee on Housing and Buildings on

Intro. No. 1936-A. During the hearing, the Committee on Housing and Buildings approved Intro

No. 1936-A by avote of 9to 1.

                53.    Attached as Exhibit "III" is atrue and correct copy of the "Committee

Report of the Governmental Affairs Divisions" dated May 13, 2020, which was prepared in

advance of the May 13, 2020 hearing to be held before the City Council's Committee on Small

Business on Intro Nos. 1914-A and 1932-A. This committee report, which largely incorporates

language from the April 29, 2020 committee report, states, in relevant part, that "[n]othing in this

[Intro. No. 1914-A] is intended to limit any of the rights or obligations of landlords or

commercial tenants under the existing harassment law as set forth in chapter 9of title 22 of the

Administrative Code, including but not limited to (1) the right of a landlord to terminate a




                                                24
      Case 20-4238, Document 38, 02/11/2021, 3035076, Page268 of 298
                                 A-1362


         Case 1:20-cv-05301-RA        Document 38      Filed 08/12/20    Page 25 of 28




tenancy, refuse to renew or extend alease or other rental agreement, or reenter and repossess

property under section 22-902(b) and (2) the obligation of a commercial tenant to continue

paying rent owed under section 22-903(b)." Ex. DDD at 35.

               54.    Attached as Exhibit "JJJ" is atrue and correct copy of the transcript of the

May 13, 2020 hearing held by the City Council's Committee on Small Business on Intro. Nos.

1914-A and 1932-A. During the hearing, the Committee on Small Business approved Intro Nos.

1914-A and 1932-A each by avote of 5to 0.

               55.    Attached as Exhibit "KKK" is a true and correct copy of the City

Council's stated meeting, where Intro. Nos. 1914-A, 1932-A, and 1936-A were passed as local

laws by votes of 47-3, 44-6 and 47-3, respectively.

               56.    Attached as Exhibit "LLL" is atrue and correct copy of aletter from the

City's Office of the Mayor dated May 26, 2020, indicating that the Mayor signed Intro. Nos.

1914-A, 1932-A, and 1936-A.

               57.    Attached as Exhibit "MMM" is atrue and correct copy of the Commercial

Harassment Law, which took effect on May 26, 2020.

               58.    Attached as Exhibit "NNN" is atrue and correct copy of the Guaranty

Law, which took effect on May 26, 2020.

               59.    Attached as Exhibit "000" is atrue and correct copy of the Residential

Harassment Law, which took effect on May 26, 2020.

City Council's Laws and Resolutions to Reduce Interest Rates for Nonpayment of Taxes on
Certain Real Property by Property Owners Who Were Adversely Affected by COVID-19

               60.    On June 25, 2020, the City Council passed Local Law No. 62 of 2020 (a

true and correct copy of which is attached as Exhibit "PPP") and Local Law No. 63 of 2020 (a




                                               25
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page269 of 298
                                  A-1363


          Case 1:20-cv-05301-RA          Document 38        Filed 08/12/20      Page 26 of 28




true and correct copy of which is attached as Exhibit "QQQ"). Although signed by the Mayor on

July 7, 2020, these local laws took effect on June 25, 2020.

                61.       On June 25, 2020, the City Council also passed Resolution No. 1349 of

2020 (a true and correct copy of which is attached as Exhibit "RRR"), which adopted "an interest

rate of 7.5 percent ... for aportion of Fiscal Year 2021 for the non-payment of taxes on real

property with an assessed value over $250,000 for property owners adversely affected by

COVID-19 as authorized by" Local Law No. 62 of 2020. 13

                62.       On June 25, 2020, the City Council also passed Resolution No. 1350 of

2020 (a true and correct copy of which is attached as Exhibit "SSS"). By virtue of Resolution

No. 1350 of 2020, the City Council adopted "an interest rate of zero percent ... for aportion of

Fiscal Year 2021 for the non-payment of taxes on real property with an assessed value of

$250,000 or less for property owners adversely affected by COVID-19 as authorized by" Local

Law No. 63 of 2020. 14

Contracts Produced by Plaintiffs Jarican Realty Inc. and Top East Realty LLC

                63.       In response to "Defendants' Limited Requests for the Production of

Documents in Advance of Responding to Plaintiffs' Complaint and Motion for Preliminary

Injunctive and Declaratory Relief' dated July 28, 2020, on July 31, 2020, Plaintiff Jarican Realty

Inc.   produced       a    document     Bates     stamped      as    MELENDEZ00000001             through

13 The interest rate for the non-payment of taxes on properties with an assessed value of over $250,000, or


over $250,000 per residential unit for cooperative apartments, was established at 18% per annum for
Fiscal Year 2021 by the City Council by virtue of Resolution No. 1347 of 2020.                         See
https://legistar.council.nyc. gov/LegislationDetail.aspx?ID=4579027&GUID=73 EBBADD-E91 C-488B-
8A7E-3E87E9A302F4&Options=ID Textj &Search= 13 47.

14 The interest rate for the non-payment of taxes on properties with an assessed value of not more than
$250,000, or not more than $250,000 per residential unit for cooperative apartments, was established at
3.25% for the first quarter of Fiscal Year 2021 and 5% for the remainder of Fiscal Year 2021 by the City
Council        by       virtue     of     Resolution     No.       1348      of      2020.           See
https://legistar.council.nyc. gov/LegislationDetail.aspx?ID=4579030&GUID=BB48C27C-F 1F9-4556-
ADFA-8D6E340911 BD&Options=ID Textj &Search= 13 48.



                                                    26
       Case 20-4238, Document 38, 02/11/2021, 3035076, Page270 of 298
                                  A-1364


         Case 1:20-cv-05301-RA         Document 38          Filed 08/12/20   Page 27 of 28




MELENDEZ00000033 (a true and correct copy of which is attached hereto as Exhibit "TTT"),

and Plaintiff Top East Realty LLC produced two documents, respectively, Bates stamped as

YANG00000001 through YANG00000014 (a true and correct copy of which is attached hereto

as Exhibit "UUU") and YANG00000015 through YANG00000032 (a true and correct copy of

which is attached hereto as Exhibit "VW"). 15

               64.     The     document   Bates     stamped     as    MELENDEZ00000001       through

MELENDEZ00000033 consists of (i) an "Agreement of Lease (Net Lease)" dated February 1,

2017, entered into between Plaintiff Jarican Realty Inc. (as landlord) and Furman's Lab LLC (as

tenant), in connection with the property located at 547 Nostrand Avenue, Brooklyn, NY 11216

(see Ex. TTT at MELENDEZ00000001-29), and (ii) a "Good Guy Guaranty" signed by

principals of the tenant (see Ex. TTT at MELENDEZ00000030-33).

               65.     The     document     Bates       stamped       as   YANG00000001      through

YANG00000014 consists of (i) an "Agreement of Lease" in connection with the property located

at 40-59 College Point Blvd., 2nd Floor, Flushing, Queens, NY, which is not executed by the

parties (see Ex. UUU at YANG00000001-5), (ii) a"Guaranty," which is unsigned (see Ex. UUU

at   YANG00000006),      and    a signed "Rider        to   Lease    Agreement"   (see Ex. UUU at

YANG00000007-14).

               66.     The     document     Bates       stamped       as   YANG00000015      through

YANG00000032 consists of (i) an "Agreement of Lease" dated September 1, 2015, executed

between Plaintiff Top East Realty LLC (as "OWNER") and "Home Decor Expo" and "Khalid

Yehia" (as "TENANTS") in connection with the property located at 40-59 College Point Blvd.,

Flushing, Queens, NY, which expires on August 31, 2020 (see Ex. VVV at YANG000000015-


" These documents have been duly redacted in accordance with the Court's applicable rules, including
Federal Rule of Civil Procedure 5.2.



                                                  27
         Case 20-4238, Document 38, 02/11/2021, 3035076, Page271 of 298
                                    A-1365


              Case 1:20-cv-05301-RA     Document 38      Filed 08/12/20   Page 28 of 28




19),   (ii)    a "Guaranty," which is    signed by tenant Khalid Yehia (see Ex.           VVV at

YANG00000020), and asigned "Rider to Lease" (see Ex. VVV at YANG00000021-32).

                  WHEREFORE, for the reasons stated in Defendants' papers, Defendants

respectfully request that this Court grant Defendants' motion to dismiss the Complaint and deny

Plaintiffs' motion for preliminary injunctive and declaratory relief.

Dated:            New York, New York
                  August 12, 2020




                                                      /s/ Carlos Fernando Ugalde Alvarez
                                                CARLOS FERNANDO UGALDE ALVAREZ




                                                 28
Case 20-4238, Document 38, 02/11/2021, 3035076, Page272 of 298
                           A-1366


 Case 1:20-cv-05301-RA   Document 38-1   Filed 08/12/20   Page 1of 4




                         EXHIBIT A
                        Case 20-4238, Document 38, 02/11/2021, 3035076, Page273 of 298
                                                   A-1367

8/3/2020                     Case       1:20-cv-05301 +RAYorOQCeIdK1 e3 n         i38rlarcFilOCLAWI   kG?-OnatiRage 2 of 4

A09953 Actions:


BILL NO      A09953


03/02/2020   referred to ways         and means
03/02/2020   reported referred         to   rules
03/02/2020   reported
03/02/2020   rules    report   cal.12
03/02/2020   ordered to     third     reading   rules    cal.12
03/02/2020   motion    to   amend    lost
03/02/2020   substituted by         s7919
             507919   AMEND=    STEWART-COUSINS
             03/02/2020      REFERRED TO RULES
             03/02/2020      ORDERED TO       THIRD    READING   CAL.524
             03/02/2020      MESSAGE    OF   NECESSITY        - APPROPRIATION
             03/02/2020      MESSAGE    OF   NECESSITY        - 3 DAY MESSAGE
             03/02/2020      PASSED    SENATE
             03/02/2020      DELIVERED       TO ASSEMBLY
             03/02/2020      referred to ways          and means
             03/02/2020      substituted       for    a9953
             03/02/2020      ordered to       third    reading   rules   cal.12
             03/02/2020      message    of    necessity       - appropriation
             03/02/2020      message    of    necessity       - 3 day message
             03/02/2020      passed    assembly
             03/02/2020      returned to       senate
             03/03/2020      DELIVERED       TO GOVERNOR
             03/03/2020      SIGNED    CHAP.23




https://nyassembly.gov/leg/?default_fld=&leg video=&bn=A09953&term=2019&Actions=Y&Text=Y                                     1/3
                       Case 20-4238, Document 38, 02/11/2021, 3035076, Page274 of 298
                                                  A-1368

8/3/2020                   Case 1:20-cv- 053014ZAYorDQCeIdK1 e3 n                  •3&-1arcFi10CL   12U'Wnatila ge 3of 4
A09953 Text:




                                         STATE OF NEW YORK

                                                9953



                                                 IN ASSEMBLY
                                            March 2,   2020



           Introduced  by  M.  of  A. ORTIZ -- (at request of the Governor)        -- read
             once and referred to the Committee on Ways and Means

           AN ACT to amend the executive law, in relation to issuing by the  gover-
             nor of any directive necessary to respond to a state disaster emergen-
             cy;  making an appropriation therefor; and providing for the repeal of
             certain provisions upon expiration thereof

             The People of the State of New York       represented in Senate and    Assem-
           bly, do enact as follows:

     1        Section 1. Paragraph a of subdivision 2 of section 20 of the executive
     2     law,   as   amended   by   section   1 of part B of chapter 56 of the laws of
     3     2,
            010   is amended to read follows:
     4        a. "disaster" means occurrence or imminent, impending or urgent threat
     5     of wide spread or severe damage, injury, or loss         of  life  or   property
     6     resulting from any natural or man-made causes, including, but not limit-
     7     ed   to,   fire,  flood, earthquake, hurricane, tornado, high water, land-
     8     slide, mudslide, wind, storm, wave action, volcanic activity,          epidemic,
     9     disease    outbreak    air   contamination,   terrorism, cyber event, blight,
    10     drought, infestation, explosion, radiological accident, nuclear,          chemi-
    11     cal, biological, or bacteriological release, water contamination, bridge
    12     failure or bridge collapse.
    13        S 2. Section 29-a of the executive law, as added by chapter 640 of the
    14     laws of 1978, subdivision 1 as amended by section 7 of part G of chapter
    15     55 of the laws of 2012, is amended to read as follows:
    16        S 29-a. Suspension     of   other laws.  1. Subject to the state constitu-
    17     tion, the federal constitution and federal statutes and regulations, the
    18     governor may by executive order temporarily suspend [.,i, -ifi-
    19     eF] any statute, local law, ordinance, or orders, rules or         regulations,
    20     or   parts   thereof,    of any agency during a state disaster emergency, if
    21     compliance with such provisions would prevent, hinder, or         delay   action
    22     necessary    to cope with the disaster or if necessary to assist or aid in
    23     coping with such disaster . The governor        by executive order    may  issue
    24     any   directive during a state disaster emergency declared in the follow-
    25     ing instances : fire     flood   earthquake  hurricane    tornado  high   water
    26     landslide     mudslide     wind    storm   wave   action    volcanic   activity

            EXPLANATION--Matter in italics (underscored) is new;      matter in brackets
                                 [-] is old law to be omitted.
                                                                            LBD12048-08-0




https://nyassembly.gov/leg/?default_fld=&Ieg_video=&bn=AO9953&term=2019&Actions=Y&Text=Y                                   2/3
                        Case 20-4238, Document 38, 02/11/2021, 3035076, Page275 of 298
                                                   A-1369

8/3/2020                    Case 1:20-cv- 053014ZAYorOQCeIdK1 e3 n                     •38AarcROCL   12U'Wnatila ge 4of 4
           A.   9953                                 2

     1     epidemic     disease outbreak    air contamination       terrorism    cyber   event
     2     blight    drought    infestation   explosion     radiological accident      nuclear
     3     chemical      biological     or bacteriological release       water contamination
     4     bridge    failure or bridge collapse . Any such directive must be necessary
     5     to cope with the disaster and        may    provide   for   procedures   reasonably
     6     necessary to enforce such directive.
     7        2.   Suspensions    pursuant   to subdivision one of this section shall be
     8     subject to the following standards and limits, which shall apply to               any
     9     directive where specifically indicated:
    10        a.   no suspension or directive shall be made for a period in excess of
    11     thirty days, provided, however, that upon reconsideration of all of               the
    12     relevant facts and circumstances, the governor may extend the suspension
    13     for additional periods not to exceed thirty days each;
    14        b.   no suspension or directive shall be made which [1....., ....L .,..f..y,.....2
    15     khe] is not in the interest of the health [en&] or welfare of the public
    16     and which is not reasonably necessary to aid the disaster effort;
    17        c. any such suspension order shall specify          the   statute,   local    law,
    18     ordinance, order, rule or regulation or part thereof to be suspended and
    19     the terms and conditions of the suspension;
    20        d.   the   order   may  provide for such suspension only under particular
    21     circumstances, and may provide for the alteration or modification of the
    22     requirements of such statute, local law, ordinance, order, rule or regu-
    23     lation suspended, and may include other terms and conditions;
    24        e. any such suspension order or directive shall provide for the              mini-
    25     mum    deviation    from  the   requirements of the statute, local law, ordi-
    26     nance, order, rule or regulation suspended consistent with the goals               of
    27     the disaster action deemed necessary; and
    28        f.   when practicable, specialists shall be assigned to assist with the
    29     related emergency actions to avoid needless           adverse   effects   resulting
    30     from such suspension.
    31        3. Such suspensions or directives shall be effective from the time and
    32     in    the   manner prescribed in such orders and shall be published as soon
    33     as practicable in the state bulletin.
    34        4. The legislature may terminate by         concurrent    resolution   executive
    35     orders issued under this section at any time.
    36        S 3.     The sum of forty million dollars ($40,000,000) is hereby appro-
    37     priated for transfer by the governor to the           general,   special    revenue,
    38     capital     projects, proprietary or fiduciary funds of any agency, depart-
    39     ment, or authority for services and expenses related to the outbreak               of
    40     coronavirus     disease   2019   (COVID-19).        Such   funds shall be used for
    41     purposes including, but not limited to, additional personnel,             equipment
    42     and    supplies, travel costs, and trainings. A portion of these funds may
    43     be made available as      state   aid    to   municipalities    for   services    and
    44     expenses related to the outbreak of coronavirus disease 2019 (COVID-19).
    45     Such    funds shall be available for payment of financial assistance here-
    46     tofore accrued or hereafter       to   accrue.    Any    disbursements   from    this
    47     appropriation     shall   be   distributed pursuant to a plan approved by the
    48     director of the budget.
    49        S 4. This act shall take effect immediately and sections one             and   two
    50     of this act shall expire and be deemed repealed April 30, 2021.




https://nyassembly.gov/leg/?default_fld=&leg video=&bn=A09953&term=2019&Actions=Y&Text=Y                                    3/3
Case 20-4238, Document 38, 02/11/2021, 3035076, Page276 of 298
                             A-1370

 Case 1:20-cv-05301-RA   Document 38-2   Filed 08/12/20   Page 1 of 4




                         EXHIBIT B
Case 20-4238, Document 38, 02/11/2021, 3035076, Page277 of 298
                           A-1371

             Case 1:20   -cv- 05301-RA Document 38-2 Filed 08/12/20 Page 2of 4




                                             of
                          Ot                             Cx;
   No. 202

                                         EXECUTIVE ORDER

                             Declaring aDisaster Emergency in the State of New York


          WHEREAS, on January 30, 2020, the World Health Organization designated the novel
   coronavinu, COVED-19, outbreak as aPublic Health Emergency of International Concern;

          WHEREAS, on January 31, 2020, United States Health and Human Services Secretary Alex M.
   Azar II declared apublic health emergency for the entire United States to aid the nation's healthcare
   community in responding to COVID-19;

          tVIIEREAS, both travel-related cases and community contact transmission of COVID-19 have
   been documented in New York State and more are expected to continue; and

                                          r.
          WHEREAS, New York State is addressing the threat that COVID-19 poses to the health and
   welfare of its residents and visitors.

           NOW, THEREFORE, I, Andrew M. Cuomo, Governor of the State of New York, by virtue of the
   authority vested in me by the Constitution and the Laws of the State of New York, hereby find, pursuant to
   Section 28 of Article 2-B of the Executive Law, that adisaster is impending in New York State, for which
   the affected local governments are unable to respond adequately, and Ido hereby declare aState disaster
   emergency for the entire State of New York. This Executive Order shall be in effect until September 7,
   2020: and

          IN ADDITION, this declaration satisfies the requirements of 49 C.F.R. 390.23(a)(1)(A), which
   provides relief from Parts 390 through 399 of the Federal Motor Carrier Safety Regulations (FMCSR).
   Such relief from the FMCSR is necessary to ensure that crews are available as needed.

          FURTHER, pursuant to Section 29 of Article 2-B of the Executive Law, Idirect the
   implementation of the State Comprehensive Emergency Management Plan and authorize all necessary State
   agencies to take appropriate action to assist local governments and individuals in containing, preparing for,
   responding to and recovering from this state disaster emergency, to protect state and local property, and to
   provide such other assistance as is necessary to protect public health, welfare, and safety.

            IN ADDITION, by virtue of the authority vested in me by Section 29-a of Article 2-B of the
   Executive Law to temporarily suspend or modify any statute, local law, ordinance, order, rule, or
   regulation, or parts thereof, of any agency during aState disaster emergency, if compliance with such
   statute, local law, ordinance, order, rule, or regulation would prevent, hinder, or delay action necessary to
   cope with the disaster emergency or if necessary to assist or aid in coping with such disaster, Ihereby
   temporarily suspend or modify, for the period from the date of this Executive Order through April 6, 2020
   the following:
Case 20-4238, Document 38, 02/11/2021, 3035076, Page278 of 298
                           A-1372

            Case 1:20-cv-05301-RA           Document 38-2       Filed 08/12/20      Page 3of 4




          Section 112 of the State Finance Law, to the extent consistent with Article V, Section 1of the State
  Constitution, and to the extent necessary to add additional work, sites, and time to State contracts or to
  award emergency contracts, including but not limited to emergency contracts or leases for relocation and
  support of State operations under Section 3of the Public Buildings Law; or emergency contracts under
  Section 9of the Public Buildings Law; or emergency contracts for professional services under Section 136-
  aof the State Finance Law; or emergency contracts for commodities, services, and technology under
  Section 163 of the State Finance Law; or design-build or best value contracts under and Part Fof Chapter
  60 of the Laws of 2015 and Part RRR of Chapter 59 of the LaNvs of 2017; or emergency contracts for
  purchases of commodities, services, and technology through any federal GSA schedules, federal 1122
  programs, or other state, regional, local, multi jurisdictional, or cooperative contract vehicles;

           Section 163 of the State Finance Law and Article 4-C of the Economic Development Law, to the
   extent necessary to allow the purchase of necessary commodities, services, technology, and materials
   without following the standard notice and procurement processes;

            Section 97-G of the State Finance Law, to the extent necessary to purchase food, supplies, services,
   and equipment or furnish or provide various centralized services, including but not limited to, building
   design and construction services to assist affected local governments, individuals, and other non-State
   entities in responding to and recovering from the disaster emergency-,

          Section 359-a, Section 2879, and 2879-a of the Public Authorities Law to the extent necessary to
   purchase necessary goods and services without following the standard procurement processes;

           Sections 375, 385 and 401 of the Vehicle and Traffic Law to the extent that exemption for vehicles
   validly registered in other jurisdictions from vehicle registration, equipment and dimension requirements is
   necessary to assist in preparedness and response to the COVID-19 outbreak;

           Sections 6521 and 6902 of the Education Law, to the extent necessary to permit unlicensed
   individuals, upon completion of training deemed adequate by the Commissioner of Health, to collect throat
   or nasopharyngeal swab specimens from individuals suspected of being infected by COVID-19, for
   purposes of testing; and to the extent necessary to permit non-nursing staff, upon completion of training
   deemed adequate by the Commissioner of Health, to perform tasks, under the supervision of anurse,
   otherwise limited to the scope of practice of alicensed or registered nurse;

           Subdivision 6of section 2510 and section 2511 of the Public Health Law, to the extent necessary to
   waive or revise eligibility criteria, documentation requirements, or premium contributions; modify covered
   health care services or the scope and level oT such services set forth in contracts; increase subsidy payments
   to approved organizations, including the maximum dollar amount set forth in contracts; or provide
   extensions for required reports due by approved organizations in accordance with contracts;

           Section 224-b and subdivision 4of section 225 of the Public Health Law, to the extent necessary to
   permit the Commissioner of Health to promulgate emergency regulations and to amend the State Sanitary
   Code;

           Subdivision 2of section 2803 of the Public Health Law, to the extent necessary to permit the
   Commissioner to promulgate emergency regulations concerning the facilities licensed pursuant to Article
   28 of the Public Health Law, including but not limited to the operation of general hospitals;

           Subdivision 3of section 273 of the Public Health Law and subdivisions 25 and 25-a of section 364-j
   of the Social Services Law, to the extent necessary to allow patients to receive prescribed drugs without
   delay;

            Section 400.9 and paragraph 7of subdivision fof section 405.9 of Title 10 of the NYCRR, to the
   extent necessary to permit general hospitals and nursing homes licensed pursuant to Article 28 of the Public
   Health Law ("Article 28 facilities") that are treating patients during the disaster emergency to rapidly
   discharge, transfer, or receive such patients, as authorized by the Commissioner of Health, provided such
   facilities take all reasonable measures to protect the health and safety of such patients and residents,
   including safe transfer and discharge practices, and to comply with the Emergency Medical Treatment and
   Active Labor Act (42 U.S.C. section 1395dd) and any associated regulations;

            Section 400.11 of Title 10 of the NYCRR, to the extent necessary to permit Article 28 facilities
    receiving patients as aresult of the disaster emergency to complete patient review instruments as soon as
    practicable;

            Section 405 of Title 10 of the NYCRR, to the extent necessary to maintain the public health with
    respect to treatment or containment of individuals with or suspected to have COVID-19;
Case 20-4238, Document 38, 02/11/2021, 3035076, Page279 of 298
                           A-1373

            Case 1:20-cv-05301-RA           Document 38-2         Filed 08/12/20      Page 4of 4




            Subdivision dand uof section 800.3 of Title 10 of the NYCRR, to the extent necessary to permit
    emergency medical service personnel to provide community paramedicine, transportation to destinations
    other than hospitals or health care facilities, telemedicine to facilitate treatment of patients in place, and
    such other services as may be approved by the Commissioner of Health;

           Paragraph 3of subdivision fof section 505.14 of Title 18 of the NYCRR, to the extent necessary to
    permit nursing supervision visits for personal care services provided to individuals affected by the disaster
    emergency be made as soon as practicable;

           Sections 8602 and 8603 of the Education Law, and section 58-1.5 of Title 10 of the NYCRR, to the
   extent necessary to permit individuals who meet the federal requirements for high complexity testing to
   perform testing for the detection o£ SARS-CoV-2 in specimens collected from individuals suspected of
   suffering from aCOVID-19 infection;

           Subdivision 4of section 6909 of the Public Health Law, subdivision 6of section 6527 of the
   Education Law, and section 64.7 of Title 8of the W. CRR, to the extent necessary to permit physicians and
   certified nurse practitioners to issue anon-patient specific regimen to nurses or any such other persons
   authorized by law or by this executive order to collect throat or nasopharyyngeal swab specimens from
   individuals suspected of suffering from aCOVID-19 infection, for purposes of testing, or to perform such
   other tasks as may be necessary to provide care for individuals diagnosed or suspected of suffering from a
   COVID-19 infection;

           Section 596 of Title 14 of the NYCRR to the extent necessary to allow for rapid approval of the use
   of the telemental health services, including the requirements for in-person initial assessment prior to the
   delivery of telemental health services, limitations on who can deliver telemental health services,
   requirements for who must be present while telemental health services are delivered, and arecipient's right
   to refuse telemental health services;

          Section 409-i of the Education Law, section 163-b of the State Finance Law with associated OGS
   guidance, and Executive Order No. 2are suspended to the extent necessary to allow elementary and
   secondary schools to procure and use cleaning and maintenance products in schools; and sections 103 and
   104-b of the General Municipal Law are suspended to the extent necessary to allow schools to do so
   without the usual advertising for bids and offers and compliance with existing procurement policies and
   procedures;

           Article 7of the Public Officers Law, section 41 of the General Construction Law, and section 3002
   of the Public Health Law, to the extent necessary to permit the Public Health and Health Planning Council
   and the State Emergency Medical Services Council to meet and take such actions as authorized by law, as
   may be necessary to respond to the COVID-19 outbreak, without meeting quorum requirements or
   permitting the public in-person access to meetings, provided that any such meetings must be w•ebcast and
   means for effective public comment must be made available; and

          FURTHER, Ihereby temporarily modify, for the period from the date of this Executive Order
   through April 6, 2020, the following laws:

           Section 24 of the Executive Law, Sections 104 and 346 of the Highway Law; Sections 1602, 1630,
   1640, 1650, and 1660 of the Vehicle and Traffic Law; Section 14(16) of the Transportation Law-, Sections
   6-602 and 17-1706 of the Village Law, Section 20(32) of the General City Law; Section 91 of Second
   Class Cities Law; Section 19-107(ii) of the New York City Administrative Code; and Section 107.1 of Title
   21 of the New York Codes, Rules and Regulations, to the extent necessary to provide the Governor with
   the authority to regulate traffic and the movement of vehicles on roads, highways, and streets.



                                                           GIVEN under my hand and the Privy Seal of the

                                                                           State in the City of Albany this

                                                                           seventh day of March in the year two

                                                                           thousand twenty.




  BY THE
        /GOVERNOR



         Secretary to the Governor
Case 20-4238, Document 38, 02/11/2021, 3035076, Page280 of 298
                           A-1374


 Case 1:20-cv-05301-RA   Document 38-3   Filed 08/12/20   Page 1 of 3




                         EXHIBIT C
Case 20-4238, Document 38, 02/11/2021, 3035076, Page281 of 298
                           A-1375

           Case 1:20-cv-05301-RA          Document 38-3        Filed 08/12/20      Page 2of 3




                                     «`     - r-• _,




                                                        V
   No. 202.3

                                          EXECtiTjVE ORDER



    CONTINL"ING TEMPORARY SUSPENSION AND -MODIFICATION OF LAWS RELATING TO
                           THE DISASTER EMERGENCY




         WHEREAS, on March 7, 2020, Iissued Executive Order Number 202, declaring aState disaster
   emergency for the entire State of New York;


          WHEREAS, both travel-related cases and community contact transmission of COVID-19 have
   been documented in New York State and are expected to be continue;

           WHEREAS, one state acting alonexannot control the continued spread of this disease and it
   requires coordination and cooperation amongst the states; and

          NOW, THEREFORE, I, Governor Andrew M. Cuomo, by virtue of the authority vested in me by
   Section 29-a of Article 2-B of the Executive Law to temporarily suspend or modify any statute, local law,
   ordinance, order, rule, or regulation, or parts thereof, of any agency during aState disaster emergency, if
   compliance with such statute, local law, ordinance, order, rule, or regulation would prevent, hinder, or
   delay action necessary to cope with the disaster emergency or if necessary to assist or aid in coping with
   such disaster, or to issue any driective during adisaster emergency necessary to cope with the disaster, I
   hereby issue the following directives and suspensions and modifications for the period from the date of this
   Executive Order 202.3 through April 15, 2020:




               • The directive requiring large gatherings and events to be cancelled or postponed if they
                 had anticipated attendance in excess of 500 people by virtue of Executive Order 202.1
                  dated March 12, 2020, is hereby amended and modified to require that any large
                  gathering or event (concert, conference, worship service, performance before alarge
                  audience, etc.) shall be cancelled or postponed if more than fifty persons are expected in
                  attendance, at any location in New York State until further notice.


               • Any restaurant or bar in the state of lew York shall cease serving patrons food or
                  beverage on-premises effective at 8pm on March 16, 2020, and until further notice shall
                  only serve food or beverage for off-premises consumption. Notwithstanding any
                  provision of the alcohol and beverage control law, aretail on-premises licensee shall be
                  authorized for the duration of this Executive Order to sell alcohol for off-premises
                  consumption, which shall include either take-out or delivery, subject to reasonable
                  limitations set by the State Liquor Authority.


               • Any facility authorized to conduct video lottery gaming, or casino gaming shall cease
                  operation effective at 8pm on March 16, 2020, and until further notice. For aClass III
Case 20-4238, Document 38, 02/11/2021, 3035076, Page282 of 298
                           A-1376

        Case 1:20-cv-05301-RA        Document 38-3       Filed 08/12/20    Page 3of 3




              Tribal Gaming enterprise or Class II Tribal Gaming enterprise, any facility should also
              close to the public until further notice.


          • Any gym, fitness centers or classes, and mode theaters shall also cease operation
            effective at 8pm on March 16, 2020 until further notice.

          • •Io local government or political subdivision shall issue any local emergency order or
              declaration of emergency or disaster inconsistent with, conflicting with or superseding
              the foregoing directives, or any other executive order issued under Section 24 of the
              Executive Law and any local emergency order or any local administrative codes,
              charters, laws, rules or regulations, are hereby suspended with respect to any such order
              issued under such authority different or in conflict with Executive driectives.




                                                    GIVEN under my hand and the Privy Seal of the

                                                                  State in the City of Albany this

                                                                  sixteenth day of March in the year

                                                                  two thousand twenty.




   BY THE GOVERNOR




       Secretary to the Governor
Case 20-4238, Document 38, 02/11/2021, 3035076, Page283 of 298
                           A-1377


 Case 1:20-cv-05301-RA   Document 38-4   Filed 08/12/20   Page 1 of 4




                         EXHIBIT D
Case 20-4238, Document 38, 02/11/2021, 3035076, Page284 of 298
                           A-1378

               Case 1:20-cv-05301-RA            Document 38-4           Filed 08/12/20        Page 2 of 4




                                 •^                         —1


                                      C r
                                        ujijiyje 'C Ix         r                           :
   No. 202.5

                                                EXECU1IVE ORDER

                                  Continuing Temporary Suspension and Modification of Laws
                                              Relating to the Disaster Emergency



            WHEREAS, on March 7, 2020, Iissued Executive Order Number 202, declaring aState disaster emergency
   for the entire State of New York;

          WfUREAS, both travel-related cases and community contact transmission of COVID-19 have been
   documented in New York State and are expected to be continue;

              WHEREAS, in order to facilitate the mosttimely and effective response to the COVID 19 emergency disaster,
   it is critical for New York State to be able to act quickly to gather, coordinate, and deploy goods, services, professionals,
   and volunteers of all kinds; and

           NOW, THEREFORE, I, Andrew M. Cuomo, Governor of the State of New York, by virtue of the authority
   vested in me by Section 29-a of Article 2-B of the Executive Law to temporarily suspend or modify any statute, local
   law, ordinance, order, rule, or- regulation, or parts thereof, of any agency during a State disaster emergency, if
   compliance with such statute, local law, ordinance, order, rule, or regulation would prevent, hinder, or delay action
   necessary to cope with the disaster emergency or if necessary to assist or aid in coping with such disaster, Ihereby
   temporarily suspend or modify, for the period from the date of this Executive Order through April, 17, 2020 the
   following:

       • Sections 6512 through 6516, and 6524 of the Education Law and Part 6o of Title 8of the NYCRR, to the
         extent necessary to allow physicians licensed and in current good standing in any state in the United States to
         practice medicine in New York State without civil or criminal penalty related to lack of licensure;

       • Section 6502 of the Education Law and Part 59.8 of Title 8of the NYCRR, to the extent necessary to allow
         physicians licensed and in current good standing in New York State but not registered in New York State to
         practice in New York State without civil or criminal penalty related to lack of registration;

       • Sections 6512 through 6516, and 6905, 6906 and 6910 of the Education Law and Part 64 of Title 8of the
         NYCRR, to the extent necessary to allow registered nurses, licensed practical nurses, and nurse practitioners
         licensed and in current good standing in any state in the United States to practice in New York State without
         civil or criminal penalty related to lack of licensure;

        • Sections 6512 through 6516, and 6541 of the Education Law and Part 6o.8 ofTitle 8of the NYCRR 8NYCRR,
          to the extent necessary to allow physician assistants licensed and in current good standing in any state in the
          United States to practice in New York State without civil or criminal penalty related to lack of licensure;

        • Section 400.12 of Title 10 of the NYCRR, to the extent necessary to allow patients affected by the disaster
          emergency to be transferred to receiving Article 28 facilities as authorized by the Commissioner of Health;

        • Section 415.11 of Title 10 of the NYCRR, to the extent necessary to permit nursing homes receiving
          individuals affected by the disaster emergency to perform comprehensive assessments of those residents
          temporarily evacuated to such nursing homes as soon as practicable fallowing admission or to forego such
          assessments for individuals returned to facilities from which they were evacuated;

        • Subdivision bof section 415.15 of Title 10 of the NYCRR, to the extent necessary to permit nursing homes
          receiving individuals affected by the disaster emergency to obtain physician approvals for admission as soon
          as practicable following admission or to forego such approval for individuals returned to facilities from which
          they were evacuated;
Case 20-4238, Document 38, 02/11/2021, 3035076, Page285 of 298
                           A-1379

           Case 1:20-cv-05301-RA            Document 38-4          Filed 08/12/20       Page 3 of 4




     • Subdivision iof section 415.26 of Title 10 of the NYCRR, to the extent necessary to permit nursing homes
       receiving individuals affected by the disaster emergency to comply with admission procedures as soon as
       practicable following admission or to forego such procedures for individuals returned to facilities from which
       they were evacuated;

     • Paragraph 2of subdivision gof section 763.4; paragraphs 7arid 8of subdivision hof section 763.4; paragraph
       2of subdivision aof section 766.5; and paragraph 1of subdivision dofsection 766.5 of Title 10 ofthe NYCRR,
       to the extent necessary to permit certified home health agencies, long term home health care programs, AIDS
       home care programs, and licensed home care services agencies serving individuals affected by the disaster
       emergencyto conduct in-home supervision ofhome health aides and personal care aides as soon as practicable
       after the initial service visit, or to permit in-person and in-home supervision to be conducted through indirect
       means, including by telephone or video communication;

     • Subdivision aof section 763.5 of Title 10 of the NYCRR, to the extent necessary to permit initial patient visits
       for certified home health agencies, long term home health care programs and AIDS home care programs
       serving individuals affected by the disaster emergency to be made within 48 hours of receipt and acceptance
       of acommunity referral or return home from institutional placement;

     • Sections 403.3 and 403.5 if Title 10 of the NYCRR, to extend the time in which home care services entities
       must submit information to the Home Care Worker Registry;

     • Sections 358-4.3, 358-5.12 and 358-5.13 of Title 18 ofthe NYCRR, to the extent necessary to allow or requrie
       appearance by any parties to afair hearing by written, telephonic, video or other electronic means;

     • Sections 2999-h and 2999-j of the Public Health Law, to the extent necessary to provide reimbursement to
       Medical Indemnity Fund enrollees, in primary residences where aresident has had COVID-19 or was exposed
       to COVID-19, for costs related to cleaning and disinfection of such primary residences, at the discretion of the
       Commissioner of Health;

     • Section 2805-k ofthe Public Health Law and sections 405.4, 405.5, 405.9, 405.14, 405.19, and 405.22 of Title
       10 ofthe NYCRR, to the extent necessary to allow staff with the necessary professional competency and who
       are privileged and credentialed to work in afacility in compliance with such section ofthe Public Health Law
       and such sections ofthe NYCRR, or who are privileged and credentialed to work in afacility in another state
       in compliance with the applicable laws and regulations of that other state, to practice in afacility in New York
       State;

     • Part 405 of Title 10 of the NYCRR, to the extent necessary to adopt existing policies and procedures in a
       general hospital at anew, temporary facility created for the purpose of treating patients during the COVID-19
       outbreak;

     • Any code related to construction, energy conservation, or other building code, and all state and local laws,
       ordinances, and regulations relating to administration and enforcement ofthe foregoing, to the extent necessary
       to allow, upon approval by the Commissioner of Health or the Commissioner of OPWDD, as applicable, the
       temporary changes to physical plant, bed capacities, and services provided; the construction of temporary
       hospital locations and extensions; the increase in and/or exceeding of certified capacity limits; and the
       establishment of temporary hospital locations and extensions;

     • Part 425 of Title 10 ofthe NYCRR and section 461-k ofthe Social Services Law, to the extent necessary to
       prevent transportation to and attendance at adult day care programs, until authorized by the Commissioner of
       Health;

      • Section 16.17 of the Mental Hygiene Law to the extent necessary to permit the Office of People with
        Developmental Disabilities to take emergency action to suspend or limit aprovider's operating certificate;

      • Sections 633.12 and 636-1 of Title 14 ofthe NYCRR, to the extent necessary to temporarily deviate from an
        individual's service plan, which would otherwise outline participation in day programming and other
        community based served, and to the extent necessary to temporarily relocate individuals, in order to maintain
        the health and safety of that individual during this emergency period and to the extent necessary;

      • Sections 33.02 and 33.05 ofthe Mental Hygiene law and sections 633.4, 636-1.4 and 633.16 of Title 14 ofthe
        NYCRR, to the extent necessary to restrict visitors to facilities certified pursuant Article 16 of the Mental
        Hygiene law and to permit restrictions on community outings for residents of such facilities to reduce the
        spread of COVID-19;

      • Sections 633.8 and 633.14 of Title 14 ofthe NYCRR to the extent necessary to permit abbreviated training of
        direct support professionals employed in programs and facilities certified pursuant to Article 16 ofthe Mental
        Hygiene Law that are experiencing staff shortages;

      • Section 633.17 of Title 14 of the NYCRR, to the extent necessary to permit abbreviated medication
        administration training of direct support professionals employed in programs or facilities certified pursuant to
        Article 16 of the Mental Hygiene Law;

      • Section 390-b of the Social Services Law and regulations at sections 413.4 and 415.15 of Title 18 of the
        NYCRR insofar as that statute and those regulations establish background check requirements for child day
        care;
Case 20-4238, Document 38, 02/11/2021, 3035076, Page286 of 298
                           A-1380

            Case 1:20-cv-05301-RA             Document 38-4          Filed 08/12/20       Page 4 of 4




      • Section 390 of the Social Services Law insofar as that section of law exempts school age child care programs
        operated by a school or entity with experience providing child care and located in aschool providing
        elementary or secondary education from having to comply with the regulations of the office of children and
        family services;

      • Subdivision 7of section 590 and subdivision 2of section 607 ofthe Labor Law, so far as they relate to waiting
        periods for unemployment insurance claimants whose claims for unemployment insurance arise due to closure
        of an employer for areason related to COVID-19 or due to amandatory order of agovernment entity duly
        authorized to issue such order to close such employer, as of March 12, 2020;

      • Subdivision bof section 708 of the Business Corporation Law to the extent necessary to permit business
        corporations to take any action otherwise permitted under that section with the electronic consent of the
        members ofthe board or committee, when such consent is submitted via eleotronic mail along with information
        from which it can reasonably be determined that the transmission was authorized by such member;

      • Sections 65(13)(b) and 66(12)(1) ofthe Public Service Law to the extent of having in-person public hearings,
        provided that such hearings are held by conference call or similar electronic means, which are recorded and
        later transcribed;

      • Section 165(1) ofthe Public Service Law ("PSL") to the extent ofholding public statement hearings, provided
        that the public may file writter. comments in any case subject to PSL Article 10 until issuance of afinal order,
        and

      • Section 123(1) ofthe Public Service Law ("PSL') to the extent of holding apublic hearing, provided that the
        public may file written comments in any case subject to PSL Article VII until issuance of afinal order.

       IT ADDITION, by virtue of the authority vested in me by Section 29-a of Article 2-B of the Executive Law to
   issue any directive during adisaster emergency necessary to cope with the disaster, Ihereby issue the following
   directives for the period from the date of Executive Order through April 17, 2020:

      • Any village election set to be held March 18, 2020 shall be postponed and any elected official holding
        such position shall remain in office until such time as anew election is held.

       • Effective at 8p.m. March 19, 2020, all indoor common portions of retail shopping malls with in excess of
         100,000 square feet of retail space available for lease shall close and cease access to the public. Any stores
         located within shopping malls, which have their own external entrances open to the public, separate from the
         general mall entrance, may remain open, subject to the requirements of Executive Order 202.3 that any
         restaurant shall limit itself to take out or delivery food services, and that any interior entrances to common
         areas ofthe mall remain closed and locked.

       • Additionally, all places of public amusement, whether indoors or outdoors, including but not limited to,
         locations with amusement rides, carnivals, amusement parks, water parks, aquariums, zoos, arcades, fairs,
         children's play centers, funplexes, theme parks, bowling alleys, family and children's attractions shall likewise
         be closed to the public at 8p.m. on March 19. This directive shall not apply to public parks and open recreation
         areas.

       • Notwithstanding section 24 of the Executive Law, no locality or political subdivision shall issue any local
         emergency order or executive order with respect to response of COVID-19 without the approval ofthe State
         Department of Health.




                                                               GIVEN under my hand and the Privy Scal ofthe State

                                                                               in the City of Albany the eighteenth day of

                                                                               March in the year two thousand twenty.




   BY THE GOVERNOR




           Secretary to the Governor
Case 20-4238, Document 38, 02/11/2021, 3035076, Page287 of 298
                             A-1381

 Case 1:20-cv-05301-RA   Document 38-5   Filed 08/12/20   Page 1 of 3




                         EXHIBIT E
Case 20-4238, Document 38, 02/11/2021, 3035076, Page288 of 298
                           A-1382

            Case 1:20-cv-05301-RA          Document 38-5            Filed 08/12/20              Page 2of 3




                                                          f


                          C           ••• • •
                                       Y•C1    y•a..i.   a•   .•T    3.`s••O.nW.,a   + n`•a'•




   No. 202.6

                                          EXECVIIVE ORDER

                             Continuing Temporary Suspension and Modification of Laws
                                         Relating to the Disaster Emergency

         WI REA'S, on March 7, 2020, Iissued Executive Order Number 202 ,dec l
                                                                             ari
                                                                               ng a State disaster

   emergency for the entire State of New York;

          N"HEREAS, both travel-related cases and community contact transmission of COVID-19 have
   been documented in New York State and are expected to be continue;

           VFUEREAS, in order to facilitate the most timely and effective response to the COVID 19 emergency
   disaster, it is critical for New York State to be able to act quickly to gather, coordinate, and deploy goods,
   services, professionals, and volunteers of all kinds; and

           \OW, THEREFORE, I, Andrew M. Cuomo, Governor of the State of New York, by virtue of the
   authority vested in me by Section 29-a of Article 2-B of the Executive Law to temporarily suspend or modify
   any statute, local law, ordinance, order, rule, or regulation, or parts thereof, of any agency during aState
   disaster emergency, if compliance with such statute, local law, ordinance, order, rule, or regulation would
   prevent, hinder, or delay action necessary to cope with the disaster emergency or if necessary to assist or aid
   in coping with such disaster, Ihereby temporarily suspend or modify, for the period from the date of this
   Executive Order through April 17, 2020 the following:



      • Section three of the Public Officer's Law shall not apply to an individual who is deemed necessary
        to hire or to engage in avolunteer capacity to provide for an effective and efficient emergency
        response, for the duration of such emergency;

      • Subparagraph G) of subdivision 1of section 73 of the Public Officers Law Section shall not apply to
        any person who is hired, retained, appointed, or who volunteers in any way to assist New York
        State in its response to the declared emergency;

      • Subparagraph 5of section 73 of the Public Officers Law Section shall not apply to astate officer or
        employee, or avolunteer who is facilitating contributions or donations to assist New York State in
        its response to the declared emergency;

      • Subparagraph 8of section 73 of the Public Officers Law Section 73(8) and section 74 of the Public
        Officer's Law shall not apply to volunteers or contractors who assist New York State in its
        response, provided that any recusals shall be adhered to if determined necessary by the appointing
        entity;

      • Legislative Law Section 1-M is suspended to the extent that any agency may receive adonation in
        kind or otherwise, in any amount from any source, provided such donation is made to the State and
        is administered by astate agency in furtherance of the response effort;

      • State Finance Law Section 11, to the extent necessary to facilitate an efficient and effective New
        York State emergency disaster response, shall not apply to any state agency efforts to further the
        response to the declared emergency;
Case 20-4238, Document 38, 02/11/2021, 3035076, Page289 of 298
                           A-1383

           Case 1:20-cv-05301-RA          Document 38-5        Filed 08/12/20     Page 3of 3




          NOW, THEREFORE, by virtue of the authority vested in me by Section 29-a of Article 2-B of the
   Executive Law to issue any directive during adisaster emergency necessary to cope with the disaster, I
   hereby issue the following directives for the period from the date of Executive Order through April 17,
   2020:



          • Effective on March 20 at 8pm.: All businesses and not-for-profit entities in the state shall
            utilize, to the maximum extent possible, any telecommuting or work from home procedures that
            they can safely utilize. Each employer shall reduce the in-person workforce at any work
            locations by 50% no later than March 20 at 8p.m. Any essential business or entity providing
            essential services or functions shall not be subject to the in-person restrictions. This includes
            essential health care operations including research and laboratory services; essential
            infrastructure including utilities, telecommunication, airports and transportation infrastructure;
            essential manufacturing, including food processing and pharmaceuticals; essential retail
            including grocery stores and pharmacies; essential services including trash collection, mail, and
            shipping services; news media; banks and related financial institutions; providers of basic
            necessities to economically disadvantaged populations; construction; vendors of essential
            services necessary to maintain the safety, sanitation and essential operations of residences or
            other essential businesses; vendors that provide essential services or products, including
            logistics and technology support, child care and services needed to ensure the continuing
            operation of government agencies and provide for the health, safety and welfare of the public;

          • Any other business may be deemed essential after requesting an opinion from the Empire State
            Development Corporation, which shall review and grant such request, should it determine that it
            is in the best interest of the state to have the workforce continue at full capacity in order to
            properly respond to this disaster. No later than 5p.m. on March 19, 2020, Empire State
            Development Corporation shall issue guidance as to which businesses are determined to be
            essential.


                                                         GIVEN under my hand and the Privy Seal o£ the

                                                                        State in the City of Albany this

                                                                        eighteenth day of March in the year

                                                                        two thousand twenty.




   BY THE GOVERNOR




          Secretary to the Governor
Case 20-4238, Document 38, 02/11/2021, 3035076, Page290 of 298
                           A-1384


 Case 1:20-cv-05301-RA   Document 38-6   Filed 08/12/20   Page 1 of 3




                         EXHIBIT F
Case 20-4238, Document 38, 02/11/2021, 3035076, Page291 of 298
                           A-1385

            Case 1:20-cv-05301-RA           Document 38-6         Filed 08/12/20      Page 2of 3




   No. 202.7

                                           EXECUTIVE ORDER

                             Continuing Temporary Suspension and Modification of Laws
                                         Relating to the Disaster Emergency


         WHEREAS, on March 7, 2020, Iissued Executive Order Number 202, declaring aState disaster
   emergency for the entire State of New York;

         NNT EREAS, both travel-related cases and community contact transmission of COVID-19 have been
   documented in New York State and are expected to be continue;

            WHEREAS, in order to facilitate the most timely and effective response to the CO VID 19 emergency
   disaster, it is critical for New York State to be able to act quickly to gather, coordinate, and deploy goods,
   services, professionals, and volunteers of all kinds; and

           NOW, THEREFORE, I, Andrew M. Cuomo, Governor of the State of New York, by virtue of the
   authority vested in me by Section 29-a of Article 2-B of the Executive Law to temporarily suspend or modify
   any statute, local law, ordinance, order, rule, or regulation, or parts thereof, of any agency during aState
   disaster emergency, if compliance with such statute, local law, ordinance, order, rule, or regulation would
   prevent, hinder, or delay action necessary to cope with the disaster emergency or if necessary to assist or aid
   in coping with such disaster, Ihereby temporarily suspend or modify, for the period from the date of this
   Executive Order through April 18, 2020 the following:



       • The suspensions made to the Public Officer's Law, including provisions of Section 73 and Section
         74, by Executive Order 202.6 are hereby modified to require that such suspensions and
         modifications chap only be valid with respect to aperson hired for anominal or no salary or in a
         volunteer capacity.

       Lei ADDITION, by virtue of the authority vested in me by Section 29-a of Article 2-B of the Executive Law to
   issue any directive during adisaster emergency necessary to cope with the disaster, Ihereby issue the following
   directives for the period from the date of Executive Order through April 18, 2020:

          • Any notarial act that is required under New York State law is authorized to be performed
            utilizing audio-video technology provided that the following conditions are met:
                c The person seeking the Notary's services, if not personally known to the Notary, must
                    present valid photo ID to the Notary during the video conference, not merely transmit it
                    prior to or after;
                o The video conference must allow f    or di rec ti
                                                                  nterac ti on between the person an dt
                                                                                                      he
                    Notary (e.g. no pre-recorded videos of the person signing);
                o The person must affirmatively represent that he or she is physically situated in the State
                    of New York;
                  o The person must transmit by fax or electronic means alegible copy of the signed
                    document directly to the Notary on the same date it was signed;
                  o The Notary may notarize the transmitted copy of the document and transmit the same
                    back to the person, and
Case 20-4238, Document 38, 02/11/2021, 3035076, Page292 of 298
                           A-1386

        Case 1:20-cv-05301-RA          Document 38-6        Filed 08/12/20      Page 3of 3




              o The Notary may repeat the notarization of the original signed document as of the date of
                execution provided the Notary receives such original signed document together with the
                electronically notarized copy within thirty days after the date of execution.

       • Effective March 21, 2020 at 8p.m. and until further notice, all barbershops, hair salons, tattoo
         or piercing parlors and related personal care services will be closed to members of the public.
         This shall also include nail technicians, cosmetologists and estheticians, and the provision of
         electrolysis, laser hair removal services, as these services cannot be provided while maintaining
         social distance.

       • The provisions of Executive Order 202.6 requiring in-person work environment restrictions are
         modified as follows: Effective March 21, 2020 at 8p.m. and until further notice all businesses
         and not-for-profit entities in the state shall utilize, to the maximum extent possible, any
         telecommuting or work from home procedures that they can safely utilize. Each employer shall
         reduce the in-person workforce at any work locations by 75% no later than March 21 at 8p.m.
         Any essential business or entity providing essential services or functions shall not be subject to
         the in-person restrictions.




                                                      GIVEN under my hand and the Privy Seal of the State

                                                                     in the City of Albany the nineteenth day of

                                                                     March in the year two thousand twenty.




       Secretary to the Governor
Case 20-4238, Document 38, 02/11/2021, 3035076, Page293 of 298
                           A-1387


 Case 1:20-cv-05301-RA   Document 38-7   Filed 08/12/20   Page 1 of 3




                         EXHIBIT G
Case 20-4238, Document 38, 02/11/2021, 3035076, Page294 of 298
                           A-1388

           Case 1:20-cv-05301-RA           Document 38-7        Filed 08/12/20      Page 2of 3




                      5




                                            - •4"
                                                            l'




                                                        v

   No. 202.8

                                          EXE9U11ME ORDER

                            Continuing Temporary Suspension and Modification of Laws
                                        Relating to the Disaster Emergency

         WHEREAS, on March 7, 2020, Iissued Executive Order Number 202, declaring aState disaster
   emergency for the entire State of New York;

          WHEREAS, both travel-related cases and community contact transmission of COVID-19 have
   been documented in New York State and are expected to be continue;

          WI-M,REAS, in order to facilitate the most timely and effective response to the COVID-19 emergency
   disaster, it is critical for New York State to be able to act quickly to gather, coordinate, and deploy goods,
   services, professionals, and volunteers of all kinds; and

           NOW, THEREFORE, I, Andrew M. Cuomo, Governor of the State of New York, by virtue of the
   authority vested in me by Section 29-a of Article 2-B of the Executive Law to temporarily suspend or modify
   any statute, local law, ordinance, order, rule, or regulation, or parts thereof, of any agency during aState
   disaster emergency, if compliance with such statute, local law, ordinance, order, rule, or regulation would
   prevent, hinder, or delay action necessary to cope with the disaster emergency or if necessary to assist or aid
   in coping with such disaster, Ihereby temporarily suspend or modify, for the period from the date of this
   Executive Order through April 19, 2020 the following:

       • In accordance with the directive of the Chief Judge of the State to limit court operations to essential
         matters during the pendency of the COVID-19 health crisis, any specific time limit for the
         commencement, filing, or service of any legal action, notice, motion, or other process or
         proceeding, as prescribed by the procedural laws ofth e state, i
                                                                        nc ludi ng but not li m i
                                                                                                te dto t
                                                                                                       he
          criminal procedure law, the family court act, the civil practice law and rules, the court of claims act,
          the surrogate's court procedure act, and the uniform court acts, or by any other statute, local law,
          ordinance, order, rule, or regulation, or part thereof, is hereby tolled from the date of this executive
          order until April 19, 2020;
      • Subdivision 1of Section 503 of the Vehicle and Traffic Law, to the extent that it provides for a
        period of validity and expiration of adriver's license, in order to extend for the duration of this
        executive order the validity of driver's licenses that expire on or after March 1, 2020;
      • Subdivision 1of Section 491 of the Vehicle and Traffic Law, to the extent that it provides for a
        period of validity and expiration of anon-driver identification card, in order to extend for the
        duration of this executive order the validity of noa-driver identification cards that expire on or after
        March 1, 2020;
      • Sections 401, 410, 2222, 2251, 2261, and 22$2(4) of the Vehicle and Traffic law, to the extent that
        it provides for aperiod of validity and expiration of aregistration certificate or number plate for a
        motor vehicle or trailer, amotorcycle, asnowmobile, avessel, alimited use vehicle, and an all-
        terrain vehicle, respectively, in order to extend for the duration of this executive order the validity of
        such registration certificate or number plate that expires on or after March 1, 2020;
      • Section 420-a of the vehicle and traffic law to the extent that it provides an expiration for temporary
        registration documents issued by auto dealers to extend the validity of such during the duration of
        this executive order.
      • Subsection (a) of Section 602 and subsections (a) and (b) of Section 605 of the Business
        Corporation Law, to the extent they require meetings of shareholders to be noticed and held at a
        physical location.
Case 20-4238, Document 38, 02/11/2021, 3035076, Page295 of 298
                           A-1389

           Case 1:20-cv-05301-RA          Document 38-7       Filed 08/12/20      Page 3of 3




          NOW, THEREFORE, by virtue of the authority(vested in me by Section 29-a of Article 2-B of the
   Executive Law to issue any driective during adisaster emergency necessary to cope with the disaster, I
   hereby issue the following directives for the period from the date of Executive Order through April 19,
   2020:

      • The provisions of Executive Order 202.6 are hereby modified to read as follows: Effective on
        March 22 at 8p.m.: All businesses and not-for-profit entities in the state shall utilize, to the
        maximum extent possible, any telecommuting or work from home procedures that they can safely
        utilize. Each employer shall reduce the in-person workforce at any work locations by 100% no later
        than March 22 at 8p.m. Any essential business or entity providing essential services or functions
        shall not be subject to the in-person restrictions. An entity providing essential services or functions
        whether to an essential business or anon-essential business shall not be subjected to the in-person
        work restriction, but may operate at the level necessary to provide such service or function. Any
        business violating the above order shall be subject to enforcement as if this were aviolation ofan
        order pursuant to section 12 of the Public Health Law.
      • There shall be no enforcement of either an eviction of any tenant residential or commercial, or a
        foreclosure of any residential or commercial property for aperiod of ninety days.
      • Effective at 8p.m. March 20, any appointment that is in-person at any state or county department of
        motor vehicles is cancelled, and until further notice, only on-line transactions will be permitted.
      • The authority of the Commissioner of Taxation and Finance to abate late filing and payment
        penalties pursuant to section 1145 of the Tax Law is hereby expanded to also authorize abatement
        of interest, for aperiod of 60 days for ataxpayers who are required to file returns and remit sales
        and use taxes by March 20, 2020, for the sales tax quarterly period that ended February 29, 2020.




                                                         GIVEN under my hand and the Privy Seal of the

                                                                        State in the City of Albany this

                                                                        twentieth day of March in the year

                                                                        two thousand twenty.




   BY THE GOVERNOR




          Secretary to the Governor




                                                          I
Case 20-4238, Document 38, 02/11/2021, 3035076, Page296 of 298
                             A-1390

 Case 1:20-cv-05301-RA   Document 38-8   Filed 08/12/20   Page 1 of 3




                         EXHIBIT H
Case 20-4238, Document 38, 02/11/2021, 3035076, Page297 of 298
                           A-1391

            Case 1:20-cv-05301-RA          Document 38-8        Filed 08/12/20      Page 2of 3




                                                         w•
   No, 202.9

                                          EXECUTIVE ORDER

                             Continuing Temporary Suspension and Modification of Laws
                                         Relating to the Disaster Emergency


         WI EREAS, on March 7, 2020, Iissued Executive Order Number 202, declaring aState disaster
   emergency for the entire State of New York;

          WHEREAS, both travel-related cases and community.contact transmission of COVED-19 have
   been documented in New York State and are expected to be continue;

           R'HEREAS, in order to facilitate the most timely and effective response to the COVED-19 emergency
   disaster, it is critical for New York State to be able to act quickly to gather, coordinate, and deploy goods,
   services, professionals, and volunteers of all kinds; and

           NOW, THEREFORE, I, Andrew M. Cuomo, Governor of the State of New York, by virtue of the
   authority vested in me by Section 29-a of Article 2-B of the Executive Law to temporarily suspend or modify
   any statute, local law, ordinance, order, rule, or regulation, or parts thereof, of any agency during aState
   disaster emergency, if compliance with such statute, local law, ordinance, order, rule, or regulation would
   prevent, hinder, or delay action necessary to cope with the dsiaster emergency or if necessary to assist or aid
   in coping with such disaster, Ihereby temporarily suspend or modify, for the period from the date of this
   Executive Order through April 20, 2020 the following:

               • Subdivision two of Section 39 of the Banking Law is hereby modified to provide that it shall
                 be deemed an unsafe and unsound business practice if, in response to the COVID-19
                 pandemic, any bank which is subject to the jurisdiction of the Department shall not grant a
                 forbearance to any person or business who has afinancial hardship as aresult of the
                 COVID-19 pandemic for aperiod of ninety days.


          NOW, THEREFORE, by virtue of the authority vested i        n me by S ec tion 29- a ofArt i
                                                                                                   cle 2-B ofthe

   Executive Law to issue any directive during adisaster emergency necessary to cope with the disaster, I
   hereby issue the following directives for the period from the date of Executive Order through April 20,
   2020:

               • The Superintendent of the Department of Financial Services shall ensure under reasonable
                  and prudent circumstances that any licensed or regulated entities provide to any consumer in
                  the State of New York an opportunity for aforbearance of payments for amortgage for any
                  person or entity facing afinancial hardship due to the COVID-19 pandemic. The
                  Superintendent Shall promulgate emergency regulations to require that the application for
                  such forbearance be made widely available for consumers, and such application shall be
                  granted in all reasonable and prudent circumstances solely for the period of such
                  emergency.
Case 20-4238, Document 38, 02/11/2021, 3035076, Page298 of 298
                           A-1392

        Case 1:20-cv-05301-RA          Document 38-8        Filed 08/12/20     Page 3of 3




          • Further, the Superintendent shall be empowered to promulgate emergency regulations to
              direct that,solely for the period of this emergency,fees for the use of automated teller
              machines (ATMs), overdraft fees and credit card late fees, may be restricted or modified in
              accordance with the Superintendent's regulation of licensed or regulated entities taking into
              account the financial impact on the New York consumer, the safety and soundness of the
              licensed or regulated entity, and any applicable federal requirements.




                                                      GIVEN under my hand and the Privy Seal of the

                                                                     State in the City of Albany this

                                                                     twenty-first day of March in the year

                                                                     two thousand twenty.




   BY THE GOVERNOR


       / 4l•
       Secretary to the Governor
